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Exhibit A: First Amended Complaint
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  T. A. BLACKBURN LAW, PLLC
  Tyrone A. Blackburn, Esq.
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  Brooklyn, NY 11236
  347-342-7432
  Attorneys for Plaintiff Liza Gardner
                                                         UNITED STATES DISTRICT COURT
      LIZA GARDNER,                                      DISTRICT OF NEW JERSEY
                            Plaintiff,

      -against-                                           DOCKET NO.: 2:24-cv-07729-LMG-JRA

      SEAN COMBS,                                                    CIVIL ACTION
      AARON HALL,                                            FIRST AMENDED COMPLAINT
      DONALD EARLE DEGRATE JR., AKA,                                JURY DEMAND
      DEVANTE SWING,
      UMG RECORDINGS, INC., UNIVERSAL
      MUSIC GROUP, N.V.
      JOHN DOES 1-10 (names being fictitious and
      used to connote an unidentified person
      responsible for this occurrence), JANE DOES
      1-10 (names being fictitious and used to
      connote an unidentified person responsible for
      this occurrence), ABC CORPORATIONS 1-10
      (names being fictitious and used to connote
      unidentified entities responsible for this
      occurrence),
                              Defendants.

           Plaintiff Liza Gardner (“Plaintiff Gardner,” “The Children,” “The Child,” “Ms. Gardner”),
  by and through her attorneys at T. A. Blackburn Law, PLLC., alleges as follows:
                                            INTRODUCTION
       1. Plaintiff Gardner files this Complaint for damages and other relief pursuant to New Jersey
           P.L. 2019, c.120; Plaintiff’s claims are timely in the State of New Jersey. A copy of the
           New Jersey P.L. 2019, c.120 statute is attached hereto. (See Exhibit 1).
       2. Plaintiff Gardner brings this action seeking declaratory and monetary relief against
           Defendants for an injury resulting from the commission of sexual assault, any other crime
           of a sexual nature, a prohibited sexual act as defined in section 2 of P.L.1992, c.7
           (C.2A:30B-2), or sexual abuse as defined in section 1 of P.L.1992, c.109 (C.2A:61B-1).
       3. As previously stated, this cause of action is timely pursuant to New Jersey P.L. 2019, c.120
           because it arises out of conduct perpetrated against Plaintiff, who was a minor child at the


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        tender age of sixteen years old at the time of the conduct, which constitutes multiple sexual
        offenses as defined NJ Rev Stat § 2C:14-2 (2023).
        NJ Rev Stat § 2C:14-2 (2023) States in Relevant Part:
           2C:14-2. Sexual assault. a. An actor is guilty of aggravated sexual assault if the actor
           commits an act of sexual penetration with another person under any one of the
           following circumstances:
               1) The victim is less than 13 years old;
               2) The victim is at least 13 but less than 16 years old; and
                  a. The actor is related to the victim by blood or affinity to the third degree, or
                  b. The actor has supervisory or disciplinary power over the victim by virtue of
                      the actor's legal, professional, or occupational status, or
                  c. The actor is a resource family parent, a guardian, or stands in loco parentis
                      within the household;
               3) The act is committed during the commission, or attempted commission,
                  whether alone or with one or more other persons, of robbery, carjacking,
                  kidnapping, homicide, aggravated assault on the victim or a person other than
                  the victim, burglary, arson, or criminal escape;
               4) The actor is armed with a weapon or any object fashioned in such a manner as
                  to lead the victim to reasonably believe it to be a weapon and threatens by word
                  or gesture to use the weapon or object;
               5) The actor is aided or abetted by one or more other persons, and the actor
                  commits the act using coercion or without the victim's affirmative and freely
                  given permission;
               6) The actor commits the act using coercion or without the victim's affirmative
                  and freely given permission and severe personal injury is sustained by the
                  victim;
               7) The victim, at the time of sexual penetration, is one whom the actor knew or
                  should have known was:
                  a. physically helpless or incapacitated;
                  b. intellectually or mentally incapacitated; or
                  c. had a mental disease or defect which rendered the victim temporarily or
                      permanently incapable of understanding the distinctively sexual nature of
                      the conduct, including, but not limited to, being incapable of providing
                      consent, or incapable of understanding or exercising the right to refuse to
                      engage in the conduct.

           Aggravated sexual assault is a crime of the first degree.

           Except as otherwise provided in subsection d. of this section, a person convicted under
           paragraph (1) of this subsection shall be sentenced to a specific term of years which
           shall be fixed by the court and shall be between 25 years and life imprisonment of
           which the person shall serve 25 years before being eligible for parole, unless a longer
           term of parole ineligibility is otherwise provided pursuant to this Title.




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             An actor is guilty of sexual assault if the actor commits an act of sexual contact with a
             victim who is less than 13 years old and the actor is at least four years older than the
             victim.

             An actor is guilty of sexual assault if the actor commits an act of sexual penetration
             with another person under any one of the following circumstances:
                1) The actor commits the act using coercion or without the victim's affirmative
                    and freely-given permission, but the victim does not sustain severe personal
                    injury;
                2) The victim is on probation or parole, or is detained in a hospital, prison or other
                    institution and the actor has supervisory or disciplinary power over the victim
                    by virtue of the actor's legal, professional or occupational status;
                3) The victim is at least 16 but less than 18 years old and:
                        a. The actor is related to the victim by blood or affinity to the third degree;
                             or
                        b. The actor has supervisory or disciplinary power of any nature or in any
                             capacity over the victim; or
                        c. The actor is a resource family parent, a guardian, or stands in loco
                             parentis within the household;
                4) The victim is at least 13 but less than 16 years old and the actor is at least four
                    years older than the victim;
                5) The victim is a pupil at least 18 but less than 22 years old and has not received
                    a high school diploma and the actor is a teaching staff member or substitute
                    teacher, school bus driver, other school employee, contracted service provider,
                    or volunteer and the actor has supervisory or disciplinary power of any nature
                    or in any capacity over the victim. As used in this paragraph, "teaching staff
                    member" has the meaning set forth in N.J.S.18A:1-1.

            Sexual assault is a crime of the second degree.
                1) Notwithstanding the provisions of subsection a. of this section, where a
                    defendant is charged with a violation under paragraph (1) of subsection a. of
                    this section, the prosecutor, in consideration of the interests of the victim, may
                    offer a negotiated plea agreement in which the defendant would be sentenced
                    to a specific term of imprisonment of not less than 15 years, during which the
                    defendant shall not be eligible for parole. In such event, the court may accept
                    the negotiated plea agreement and, upon such conviction, shall impose the term
                    of imprisonment and period of parole ineligibility as provided for in the plea
                    agreement and may not impose a lesser term of imprisonment or parole or a
                    lesser period of parole ineligibility than that expressly provided in the plea
                    agreement. The Attorney General shall develop guidelines to ensure the
                    uniform exercise of discretion in making determinations regarding a negotiated
                    reduction in the term of imprisonment and period of parole ineligibility set forth
                    in subsection a. of this section.
      4. This suit arises from the actions of Defendants Sean Combs (“Combs”), Aaron Hall
         (“Hall”), Donald Earle DeGrate Jr., aka, Devonte Swing (“Swing”), and UMGR



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             Recordings, Inc. (“UMGR”), a subsidiary of a subsidiary of Universal Music Group, N.V.
             (“UMGNV”), JOHN and JANE DOES 1-10 and ABC CORPS.                         1-10 (hereinafter
             collectively the “Corporate Defendants”) and their participation in the harm visited upon
             Plaintiff Gardner.
         5. Upon information and belief, Uptown Records (“UR”) and MCA, Inc. (“MCA”) merged into
             UMGR, which is a subsidiary of Universal Music Group, N.V.
         6. UMGR and UMGNV are successors in interest to UR and MCA.
         7. Ms. Gardner is a Caucasian female and a United States citizen who was, at all relevant
             times, a resident of and domiciled in the State of North Carolina.
         8. Combs, also known as, Inmate 37452-054, is a United States citizen and was at all relevant
             times a resident of and domiciled in the State of New York. Upon information and belief,
             Mr. Combs currently resides at the The Metropolitan Detention Center, located at 80
             29th St, Brooklyn, NY 11232.
         9. Hall is a United States citizen and was at all relevant times a resident of and domiciled in
             the State of New Jersey. Upon information and belief, Hall currently resides in one of the
             following states: Georgia, Ohio, California, or Florida1.
         10. Upon information and belief, at the time of the assault, Hall resided in Englewood, New
             Jersey, in an apartment paid for and subsidized by the corporate defendant.
         11. Upon information and belief, Swing is a United States Citizen and was at all times relevant
             a resident of and domiciled in the State of California.
         12. UMGRR is a global Music Company headquartered at 2220 Colorado Avenue in Santa
             Monica, California. It is registered as a foreign business in the State of New Jersey.
         13. UMGRRNV is a is a Dutch–American multinational music corporation under Dutch law.
             UMGRRNV's corporate headquarters are located in Hilversum, Netherlands and its
             operational headquarters are located in Santa Monica, California.
         14. During the relevant period, Defendants John and Jane Does 1-10 are currently unknown
             individuals and/or employees who aided and/or abetted in the commission of conduct
             complained of herein and/or who either acted within the scope of their employment,
             Defendants ratified, embraced and added to this conduct. As parties engage in discovery,



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      Hall has intentionally dogged service of process in this case.


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         Plaintiff retains the right to amend the Complaint to add these individual employees by
         name.
      15. During the relevant period, Defendants ABC Corps. 1-10 are currently unknown entities
         who employed Plaintiff or aided and/ or abetted in the commission of conduct complained
         of herein. As the parties engage in discovery, Plaintiff retains the right to amend the
         Complaint to add these entities or individuals by name.


                                JURISDICTION AND VENUE
      16. This Court has personal jurisdiction over the Defendant under and consistent with the
         Constitutional requirements of Due Process in that the Defendants, acting directly or
         through his agents or apparent agents, committed one or more of the following:
             a. The transaction of any business within the state;
                    i. Corporate Defendants are Foreign Registered Businesses in the State of
                       New Jersey.
             b. The making of any contract within the state;
                    i. Upon information and belief, at the time of the assault, corporate defendants
                       purchased, leased, or subleased real estate in the State of New Jersey for the
                       individual defendants.
             c. The commission of a tortious act within this district, and
                    i. Individual defendants raped the child in the State of New Jersey by violently
                       and forcefully inserting their penis in the vagina of the child in the state of
                       New Jersey. The corporate defendants facilitated and or supported this act
                       by intoxicating the child with alcohol, and then transporting the child across
                       state lines from New York to New Jersey to the property they procured for
                       the individual defendants.
             d. The ownership, use, or possession of any real estate in this state.
                    i. The individual defendants possessed real estate in New Jersey. The real
                       estates were procured by the corporate defendants.

             REQUEST FOR JUDICIAL NOTICE OF FEDERAL INDICTMENT
      17. According to Rule 201(b)(2) of the Federal Rules of Evidence, Plaintiff respectfully
         requests this Court take notice of certain public records and documents, as detailed below:
             a. THE COURT MAY TAKE JUDICIAL NOTICE OF FACTS THAT ARE NOT
                SUBJECT TO REASONABLE DISPUTE WHERE THEIR ACCURACY CAN BE
                DETERMINED BY RELIABLE SOURCES
      18. According to Rule 201(b)(2) of the Federal Rules of Evidence, courts may take judicial
         notice of facts that are not subject to reasonable dispute and are capable of accurate and
         ready determination by resorting to sources whose accuracy cannot reasonably be



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         questioned. Where a Court is supplied with the necessary information, taking judicial
         notice is mandatory. See Fed. R. Evid. 201(d). Pleadings and public filings are just the
         kinds of documents that are not subject to reasonable dispute and are capable of an accurate
         and ready determination under Rule 201(b)(2) of the Federal Rules of Evidence.
         Accordingly, it is proper for courts to take judicial notice of the existence of such
         documents.      See Roe v. Johnson, 334 F. Supp.        2d 415, 419-20 (S.D.N.Y. 2004)
         (recognizing that a court, according to Rule 201(b), may take notice of the public record);
         see also A.I. Trade Finance, Inc. v. Centro Internationale Handelsbank AG, 926 F. Supp.
         378, 387 (S.D.N.Y. 1996) (in taking judicial notice of a judgment in Vienna, Austria, the
         Court pointed out that “[t]he Second Circuit has noted that Rule 201 permits a court to take
         judicial notice of a foreign judgment”).
      19. Here, Plaintiff requests the Court to take judicial notice of a September 19, 2024, true and
         correct copy of the federal indictment of Defendant Sean Combs, which is attached hereto
         as Exhibit 2.
      20. Additionally, Plaintiff requests the Court to take judicial notice of the following
         Complaints filed against Sean Combs:
         •    in the matter of Graves v. Combs et al., United States District Court, Southern District
              of New York, Case No 1:24-cv-07201-AT;
          • in the matter of English v. Combs et al., United States District Court, Southern District
              of New York, Case 1:24-cv-05090-AT;
          • in the matter of Jane Doe v. Combs et al., United States District Court, Southern District
              of New York, Case 1:23-cv-10628-JGLC;
          • in the matter of USA v. Combs et al., United States District Court, Southern District of
              New York, Case 1:24-cr-00542-ALC;
          • in the matter of McKinney v. Combs et al., United States District Court, Southern
              District of New York, Case 1:24-cv-03931-NRB;
          • in the matter of Richard v. Combs et al., United States District Court, Southern District
              of New York, Case 1:24-cv-06848-KPF; and
          • in the matter of Jones v. Combs et al., United States District Court, Southern District
              of New York, Case 1:24-cv-1457
  a true and correct copy of which is attached hereto as Exhibit 3.
      21. There is no dispute regarding the existence of these documents. See 21B Wright &
         Graham, Federal Practice and Procedure: Evidence 2d § 5106.4 (noting that, in contrast to
         facts discussed within court documents, it is proper to take judicial notice of the fact that
         the court documents exist). Additionally, "[c]onsideration of documents subject to judicial
         notice does not necessarily convert a motion to dismiss into a motion for summary


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         judgment.” Weston Funding, LLC v. Consorcio G Grupo Dina, S.A. de C.V., 451 F. Supp.
         2d 585, 588 (S.D.N.Y. 2006).
      22. Court documents are public records of which the Court can take judicial notice. See
         Kramer v. Time Warner, Inc., 937 F.2d 767, 774 (2d Cir. 1991) ("Courts routinely take
         judicial notice of documents filed in other courts[.]"); Global Network Commc'ns v. City
         of New York, 458 F.3d 150, 157 (2d Cir. 2006) ("A court may take judicial notice of a
         document filed in another court not for the truth of the matters asserted in the other
         litigation, but rather to establish the fact of such litigation and related filings.") (citation
         and internal quotation marks omitted); see, e.g., Blount v. Moccia, No. 1:16-cv-4505-
         GHW, 2017 U.S. Dist. LEXIS 192983, 2017 WL 5634680, at *2 n.5 (S.D.N.Y. November
         21, 2017) (taking judicial notice of indictment but expressing no opinion as to the
         innocence or guilty of those indicted); Bond v. City of New York, No. 14-cv-2431, 2015
         U.S. Dist. LEXIS 130922, 2015 WL 5719706, at *2 (E.D.N.Y. September 28, 2015)
         (taking judicial notice of "fact of the grand jury indictment"); Obilo v. City Univ. of N.Y.,
         No. 10-cv-5118, 2003 U.S. Dist. LEXIS 2886, 2003 WL 1809471, at *4-5 (E.D.N.Y.
         February 28, 2003) (noting that it is "well established" that a court may take judicial notice
         of a grand jury indictment). In taking judicial notice of the indictment, the Court expresses
         no opinion as to the innocence or guilt of the indicted party. Young v. Commissioner, No.
         6:18-cv-00135 (DNH/TWD), 2018 U.S. Dist. LEXIS 172986, at *11-12 n.5, 123
         A.F.T.R.2d (RIA) 2019-660 (N.D.N.Y. October 4, 2018).
      23. Under Federal Rule of Evidence 201, a court "must take judicial notice if a party requests
         it and the court is supplied with the necessary information." Fed. R. Evid. 201(c)(2). It is
         well established that a court may "take judicial notice of its own orders," and "its own
         records." Rosado-Acha v. Red Bull GmbH, No. 15 Civ. 7620, 2016 U.S. Dist. LEXIS
         84543, 2016 WL 3636672, at *7 (S.D.N.Y. June 29, 2016) (citations omitted). The Court
         thus grants the Motion and takes judicial notice of these documents. Levin v. Bank of N.Y.
         Mellon, No. 09-CV-5900 (JPO), 2019 U.S. Dist. LEXIS 22788, at *83 n.2 (S.D.N.Y.
         February 12, 2019).
      24. Plaintiff respectfully requests the Court to take judicial notice according to FCRP 201(c)(2)
         of the documents attached here as Exhibit 2 and 3.




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                             SUMMARY OF FACTUAL ACCUSATIONS
      25. Upon information and belief, in 1990, the child was in New Jersey/New York City with a
          few friends. They were Monica Case (a fifteen-year-old child), Dalvin DeGrate, and
          DeVante Swing, who were all members of the R&B group Jodeci.
      26. The child was invited to New Jersey by close friends Dalvin DeGrate and DeVante Swing
          and other members of the group Jodeci2. Upon information and belief, at the time, Jodeci
          were employees of Corporate Defendants or their predecessors in interest, UR/MCA.
      27. The Child and the members of Jodeci are all from North Carolina.
      28. Upon information and belief, UR, MCA, and UMGR subsidized Jodeci’s housing and
          living arrangements in New Jersey. Upon information and belief, UR, MCA, and UMGR
          senior executives wanted their “urban artists” to live in suburban neighborhoods out of
          state.
      29. Upon information and belief, UR, MCA, and UMGR wanted to keep their “Urban Artists”
          out of the streets of Harlem and New York City, which were dangerous at the time.
      30. According to NYPD crime statistics data, in 1990, there was a total of 527,257 crime
          complaints. In addition to the number of murders confirmed to Newsweek, the data also
          shows that there were over 3,000 rape incidents, 100,280 robberies, 44,122 felony assaults,
          and over 100,000 burglary and grand larceny incidents in 19903.
      31. In 1990, prior to inviting the children to New Jersey, Jodeci was signed by Hip-Hop artist
          Heavy D to UR, a label that was a subsidiary of MCA, which was a subsidiary of UMGR.
      32. Upon information and belief, Jodeci was assigned to UR employee Sean Combs, who took
          on the task of developing the new act.             The group was introduced after providing
          background vocals on the 1990 song “Treat Them Like They Want to Be Treated.”
      33. Upon information and belief, “Forever My Lady” is the debut studio album of Jodeci,
          released in 1991 by UR and MCA.



  2
    Jodeci is an American R&B quartet consisting of members DeVanté Swing, Mr. Dalvin, K-Ci, and JoJo. Formed in
  1988 in Charlotte, North Carolina.
  3
    https://www.newsweek.com/new-york-city-most-dangerous-year-crime-1990-compared-2022-
  1750454#:~:text=According%20to%20NYPD%20crime%20stat,grand%20larceny%20incidents%20in%201990.


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      34. Upon information and belief, the end of summer into the fall of 1990 MCA held an event
         at their New York City offices.
      35. The Child and her friend Monica Case met Combs and Hall at the offices of MCA Records
         for this event. In addition to Combs and Hall, Ms. Gardner met R&B Singer Mary J. Blige
         and Hip-Hop artist Queen Latifah.
      36. At the MCA event, the children were provided a lot of alcohol. Upon information and
         belief, MCA provided transportation for the children and other artists as they were visibly
         intoxicated.
      37. Upon information and belief, after the MCA event, the children attended dinner with
         members of Jodeci, Combs, and Hall. Combs and Hall were very flirtatious and handsy
         with the intoxicated children.
      38. Upon information and belief, individual defendants offered the children more drinks even
         though the children had been provided excessive amounts of alcohol at the MCA event.
         Upon information and belief, Hall and Combs provided the children with marijuana as
         well. These substances were provided to the children throughout the evening.
      39. At the ages of sixteen and fifteen, the children were minors in 1990 and incapable of
         consenting to drink alcohol. Marijuana was also illegal in New York and New Jersey in
         1990.
      40. Upon information and belief, in 1990, the legal drinking age in New Jersey was 21 years
         old. This was due to the National Minimum Drinking Age Act (NMDAA) of 1984, which
         was signed into law by President Ronald Reagan and gradually raised the legal drinking
         age to 21 by 1990. The NMDAA threatened to withhold 10% of a state's annual federal
         highway funds if it allowed people under 21 to purchase alcohol. As a result, by mid-1988,
         all 50 states and the District of Columbia had raised their drinking age to 21.
      41. Towards the end of the night, Combs and Hall invited the children back to Hall’s home in
         New Jersey for an afterparty. Upon information and belief, the corporate defendants
         transported the children to the home of Hall through cabs or private cars from New York
         to New Jersey.
      42. It is important to note that Hall was one of the biggest R&B artists at the time. He had
         enjoyed great success as a member of the R&B group Guy.




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      47. While at Hall’s apartment depicted in the image above, Ms. Gardner was offered more
         alcohol and was physically forced into having sex with Combs against her will.
      48. At the time Combs assaulted Ms. Gardner, she recalls feeling the side effects of the alcohol.
         She recalls Combs mounting her and forcing up her skirt, pulling her underwear to the side,
         and forcefully penetrating her vagina with his erect penis.
      49. Unbeknownst to Ms. Gardner at the time, Defendant Swing was in the room when this
         assault took place and did not take any steps to prevent this abuse from occurring.
         Defendant Swing is six months older than Combs and was the assumed co-guardian (along
         with corporate defendants) of the child since he was an adult and was the individual who
         invited the child to NY/NJ and housed her in his home that was subsidized by the corporate
         defendants. He not only provided her shelter, he provided food and drink as well (all
         subsidized by corporate defendant).
      50. The children were not at the legal age to consent to sexual intercourse with Combs or Hall.
      51. After Combs finished doing his business, the child was in bed, shocked and traumatized.
         As she was in the process of getting dressed, Hall barged into the room, pinned her down,
         and forced open the child’s legs. He then forced his erect penis into the child’s vagina.
      52. As depicted in the photo above, the child who was no more than 90 pounds at the time, was
         no physical match for Hall who is at least 6 feet tall and weighed over 200 pounds.
      53. According to the child, Hall’s penis was extremely large, while Combs’ penis was
         prepubescent. Hall’s penis caused her immense pain as it could not fit, yet he held her
         down and forced it in.
      54. After Hall finished raping the child, she quickly got dressed and ran out of Hall’s
         apartment. Ms. Case was irate and caused a scene for them to leave. At that time, members
         of Jodeci drove them back to their residence.
      55. According to Ms. Gardner, her other friend (not Ms. Case) shared with her that she, too,
         had sex with Combs and Hall in another room. Upon information and belief, when Combs
         finished with Ms. Gardner, he and Hall switched, and they commenced intercourse with
         Ms. Gardner’s friend.
      56. The following day, Combs came to the home where Ms. Gardner and her friends were
         staying. Combs was irate and began assaulting and choking Ms. Gardner to the point that
         she passed out.



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       57. Combs was searching for Ms. Gardner’s friend because he was worried that she would tell
            the girl he was with at the time what he and Hall had done to them.
       58. This violent act by Combs was no surprise to Corporate Defendants as three years prior to
            this, from 1987 to 1989. According to an investigative article published by Rolling Stone4
            on May 28, 2024, Combs was allegedly involved in a violent incident where he beat a
            woman with a belt in front of shocked schoolmates at Howard University. Combs
            reportedly appeared outside the school’s Harriet Tubman Quadrangle dorm and began
            yelling in a "belligerent" manner for his then-girlfriend to come outside.
       59. According to one witness, Combs used what looked like a belt to strike the young woman
            "all over the place." "She was trying to defend herself a little bit," the witness tells Rolling
            Stone. "She was crying. And we were telling him, 'Get off of her.' We were screaming for
            her."
       60. Based on information and belief, this was not the only incident of violence with Combs at
            Howard University. Corporate Defendants’ employee Andre Harrell traveled to Howard to
            bail Combs out of trouble and bring him back to New York.
       61. As evidenced by the hotel video published by CNN, Combs has continued his pattern and
            practice of beating women.
       62. After first denying the claims of his former spouse, Cassie Ventura, SC was seen viciously
            and violently grabbing, shoving, dragging, and kicking Ms. Ventura in a hotel in
            California5. Ms. Ventura attempted to escape Mr. Combs, but as the video shows, he
            refused to let her go. He beat her and attempted to kidnap her (by attempting to drag her
            back into the hotel room against her will) to make her stay:




 4
     https://www.rollingstone.com/music/music-features/diddy-friends-bad-boy-artists-abuse-violence-1235028178/
 5
     https://www.cnn.com/2024/05/17/entertainment/video/sean-diddy-combs-cassie-venture-surveillance-digvid


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 AARON HALL AND SEAN COMBS ROUTINELY ENGAGED IN SEX ACTS IN EACH
                                 OTHER’S PRESENCE
   63. Hall confirmed Combs’ presence in the room when he engaged in sex acts.
       64. In a YouTube video posted by VladTV, titled “Aaron Hall Claims that Diddy Watched
           Him Make Love to a Woman (Flashback)6.”




 6
     https://youtu.be/2LVditdoACM?si=8esfOwbGEYCGUylr


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 Hall says the following:
        [00:00:05] Aaron Hall: Can no bitch out there say that she handled my shit. My father’s a
        pastor, so my whole thing is that my grandfather being a pimp, it’s just like I’m 3rd
        generation Aaron Hall III. My father’s is Aaron Hall junior. He’s a pastor, so I just skipped
        over it like checkers.

        [laughter]

        My whole thing is this that if you never heard a girl say that no fucked up trick shit about
        Aaron Hall, then you understand that less chill shit is some real shit.

        [00:00:31] Interviewer: That was basically from some life experience?

        [00:00:35] Aaron: Now my whole thing is that I just think that girls think that a whole lot
        of guys run after they shit. You know what I mean?

        [00:00:42] Interviewer: Talk to me. You can say what you want on there.

        [00:00:46] Aaron: A whole lot of girls out there with the umbilical cords, them young
        1970s, 1980s bitches, they try to go up there with the fresh out the pussy shit and think they
        can get like a nigga like Aaron Hall. I’m a historical dick, they fuck with me it’s a—

        [laughter]


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            [00:01:02] Interviewer: That’s right.

            [00:01:03] Aaron: IF THEY FUCK WITH ME, IT’S A BIG DICK7. Everybody know
            my son’s mother. Everybody know that shit.

            [00:01:08] Interviewer: Yes. That’s Gloria, ain’t it? Tell them about it.

            [00:01:10] Aaron: When you put Aaron’s on it, when you fuck a bitch for three days and
            take the bitch’s hand and take them out of the man’s hand, then you are a retired pimp. At
            the time, as soon as I came to South Beach, I just grabbed her. She’ll tell you the same
            story. I just grabbed her and fucked her for three days, then Aaron’s got on a pussy with an
            apostrophe s like it’s Aaron with three colors on it. You feel me?

            [00:01:31] Interviewer: Yes. Crazy glue.

            [00:01:32] Aaron: MY WHOLE THING IS THIS IS THAT IF NIGGAS CAN’T
            HANDLE ME, I’M NOT GOING TO NEVER LET THEM GET MY LAST NAME.
            IF YOU CAN’T HANDLE MY DICK, YOU AIN’T GETTING MY LAST NAME,
            SO I’VE BEEN SINGLE FOR 50 YEARS.

            [laughter]

            [00:01:41] Interviewer: Oh, all right, man.

            [00:01:42] Aaron: A whole lot of niggas out there from Jamie Foxx to Denzel Washington
            to whoever, everybody know me. Everybody know if I say it, I’m a fuck to death. I LIKE
            TO FUCK IN PUBLIC. YOU FEEL ME? Niggas can’t say nothing about it. Them
            square ass niggas, them precious cake, little dick niggas. I like for them niggas to see how
            I fuck. YOU SPEAK TO JODECI OR PUFFY OR ANY OF THEM NIGGAS,
            THEY’VE BEEN AT MY HOUSE. THEY ALL SEE ME FUCK. THEY ALL KNOW
            I’M A BIG NIGGA.

            If a bitch touch my dick and she say my dick is small, then she’s a lying bitch. Tell her to
            name the tattoo that’s on my rib that says warning.

            [laughter]

            You get this, nigga, I’m fucking you up. The thing is that a whole lot of niggas write about
            taking girls out to shop, taking girls to fly to Dubai, and all that shit. Bitch, close your eyes,
            we anywhere. My whole thing is this is that-

            [00:02:31] Interviewer: Talk about it.



 7
     Presumably, this confirms Ms. Gardner’s claim that Halls penis was extremely large and painful to take.


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           [00:02:32] Aaron: -if you can handle my dick and you can make me still be Aaron Hall
           without fucking rubbing off your mouth, then I’ll take you anywhere. Other than that shit,
           you back home, bitch.

       65. Hall’s disgusting claims are eerily similar, if not identical, to the trauma he and Combs
           visited upon Ms. Gardner.

             AARON HALL TAKES PRIDE IN STATUTORILY RAPING MINORS
       66. Hall has bragged about his sexual promiscuity and the fact that he has engaged in sexual
           intercourse with minors.
       67. In a YouTube video posted by VladTV, titled “Aaron Hall on Gloria Velez: I Took Her &
           F***ed Her8.”




 Hall says the following:
        [00:00:00] Interviewer: Luke said that he introduced you to Gloria Velez.

           [00:00:08] Aaron Hall: Luke didn’t introduce me to no Gloria Velez. We can call Luke
           right now, you know what I mean?

           [00:00:12] Interviewer: He said it in an interview a while back.


 8
     https://youtu.be/X3PrjTVgteM?si=nTWaU1d1O40XcvZd


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       [00:00:12] Speaker 3: Well, how did it happen?

       [00:00:14] Aaron Hall: Look what I’m saying to you. She was standing up with a Jamaican
       rapper named Mad Lion.

       [00:00:22] Interviewer: Okay, I know who that is.

       [00:00:26] Aaron Hall: Big Pun, Fat Joe, Method Man, whoever you speak to, just ask
       them how I did it. I got out the limo, grabbed her hand and went upstairs and fucked her.
       Luke didn’t never fucking introduce me to anybody in his life. I love Luke to death.

       [00:00:41] Speaker 3: He just had on porno.

       [00:00:42] Aaron Hall: Look, the reason why he’s saying he introduced me to her because
       it’s a good thing to say, “Okay, I introduced Aaron Hall to this girl.” I took her. Me and
       Gloria’s cool. We got cool in two weeks. You feel me? I’m a boss. I ain’t going to argue
       with you about no shit. You an umbilical cord bitch. You fucking 35, 36 years old. I’m not
       going to disrespect you, but I’m a boss motherfucker. I love my son, so I ain’t going to
       break probation by fucking with you and not being able to speak to him again. You feel
       what I’m saying?

       When I speak to a nigger that got dick and balls, he can never say he introduced me to no
       bitch. Nobody ain’t never introduced me to a bitch in their life. I wish they did. The thing
       is that you can ask Gloria though. It have nothing to do with me. I don’t like talking about
       no man. We both Adam first.

       [00:01:29] Interviewer: You know something I just remembered? That Gloria had tattooed
       Aaron’s right above her—

       [00:01:34] Aaron Hall: In black, red, and green.

       [00:01:37] Interviewer: Right above her vagina.

       [00:01:38] Aaron Hall: Right above it with a parenthesis with an S. Aaron’s.

       [00:01:45] Interviewer: It belongs to—

       [00:01:46] Aaron Hall: Look. When I saw her, she was dancing with Luke. I didn’t know
       she was a puppy. She was tall. She was big, blonde hair, with the black pant leather. I was
       like, “I’m getting that.” Everybody knows I couldn’t even really speak then. I had a speech
       impediment. I don’t stutter anymore. I just went there and just grabbed her hand and went
       inside the hotel and gave it to her. You feel me? She going to say Luke is lying. You feel
       me? Because I don’t lie on my dick. You feel what I’m saying?




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            My mother was Puerto Rican. From Ponce. When I see anybody that’s Spanish, I’m going
            to grab them. I ain’t going to ask if you holding the hand all loose and you holding a
            conversation with a nigga-

            [00:02:31] Speaker 3: Preach.

            [00:02:32] Aaron Hall: I’m going to take your bitch. She chose up already. Now she want
            to go renegade? Go renegade, bitch.

            [00:02:38] Interviewer: At what point did she get the tattoo?

            [00:02:40] Aaron Hall: Three days after I fucked her.

            [00:02:41] Interviewer: Three days.

            [00:02:42] Aaron Hall: Three whole days. If anybody can do that shit, I don’t care if you
            was married, I don’t care if you was engaged, if it’s your anniversary, if your bitch did that
            shit, then I’ll stop singing I Miss You. My whole thing is this, is that I love Gloria to death
            because she gave me a beautiful son. You feel what I’m saying? My whole thing is I want
            to make sure that it’s right. I love my son Aaron Robin Hall IV to death. I ain’t seen him
            in 15 years, but I love him to death. We talk all the time. Gloria didn’t do no bad thing to
            me.

            I thought she was older. You feel what I’m saying? Sometime I see a puppy on the field
            when I’m doing dog training, I think it’s a year old or two years old, and it be like eight
            months. I don’t know. When I saw her, everybody was trying to get at her. Why y’all scared
            of her? I took her. I couldn’t even talk, I had a speech impediment after.

            [00:03:27] Speaker 3: Yes, because they didn’t know what to do.

            [00:03:28] Aaron Hall: They ain’t know what to say.

        68. Based on information and belief, when Hall met Gloria Velez, she was a sixteen-year-old
            high school student in Broward County, Florida. She attended Stoneman Douglas High
            School.
        69. Upon information and belief, in the State of Florida, a child under 16 years of age cannot
            consent to sexual activity, regardless of the age of the defendant. A child who is at least
            16 years of age and less than 18 years of age cannot consent to sexual activity if the
            defendant is 24 years of age or older9.




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     https://aspe.hhs.gov/reports/state-laws


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      70. Upon information and belief, when Hall statutorily raped Ms. Velez in 1994, he was 30
         years old, which is 14 years older than Ms. Velez.
      71. Upon information and belief, at the time that Hall statutorily raped Ms. Velez, he was an
         employee of Corporate Defendants or a subsidiary of Corporate Defendants, Silas Records.
         He met Ms. Velez at a Silas/Corporate Defendants’-sponsored event. This represents
         another example of Corporate Defendants facilitating and sponsoring events where
         children are present and susceptible to being raped by predatory employees like Hall and
         Combs.
      72. In discussing her past and the fact that she was groomed as a child by the likes of Hall, Ms.
         Velez posted to her social media page the following photo of her high school ID card from
         1994:




       Gloria Velez’s Social Media Post Evidencing Her Adolescence When Groomed and
                                       Statutorily Raped by Hall
      73. As indicated in the transcript above, Hall referred to sixteen-year-old Ms. Velez as a puppy.
         He goes on to say that when he is on the field doing dog training, he sometimes
         misidentifies an 8-month-old puppy (Ms. Velez) for a 2-year-old dog (an adult).


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        74. Hall goes on to brag about grabbing sixteen-year-old Ms. Velez by the hand and forcing
            her to have sex with him.
        75. Upon information and belief, in 1994, at the time Hall raped Ms. Velez; Hall was an
            employee of Silas Records, a subsidiary label of Corporate Defendants, which is a
            subsidiary of UMGR.

       SEAN COMBS HAS A WELL-DOCUMENTED HISTORY OF LEGAL TROUBLE
        76. According to an article by NPR10, the following is a brief timeline of Mr. Combs legal
            troubles:
            1991: According to a November 2023 lawsuit, Combs allegedly drugs, sexually assaults
            and videotapes 19-year-old Joi Dickerson Neal, after going on a date with him.
            1996: Combs is found guilty of criminal mischief for threatening a photographer from
            the New York Post with a gun.
            April 16, 1999: Combs is arrested and charged with two felonies — second-degree assault
            and criminal mischief — in the beating of record executive Steve Stoute, who says Combs
            and two bodyguards beat him with their fists, a telephone, a champagne bottle and a chair.
            When Combs publicly apologizes, Stoute asks for the charges to be dismissed. (Combs
            reportedly pays Stoute $500,000.) The assault charge is dropped, Combs pleads guilty to
            the lesser charge of harassment, and he is sentenced to one day of anger management
            classes.
            Dec. 27, 1999: Combs, along with then-girlfriend Jennifer Lopez and rapper Shyne, are
            arrested in relation to a shooting at Club New York. Combs shot Natalia Reuben in the
            face, and she consistently blamed Combs for shooting her.
            March 26, 2001: In a lawsuit, local TV host Roger Mills sues Combs, accusing him of
            assault, false imprisonment, destruction of property, intentional infliction of emotional
            distress, and a civil conspiracy, in an exchange where Combs’ entourage roughed him up
            and destroyed his camera.
            2003: According to a December 2023 lawsuit, Combs, his former Bad Boy Records
            president, Harve Pierre, and a third unidentified man allegedly gangrape an unnamed 17-
            year-old victim at a Manhattan recording studio.


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      https://www.npr.org/2024/02/29/1234684758/sean-combs-diddy-allegations-timeline


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       February 2006: Ventura signed a 10-album deal with Bad Boy Entertainment. Her debut
       single “Me & U” is released, and her self-titled album drops the same year. According to
       a November 2023 lawsuit, Combs’ “vicious cycle of abuse” begins here. Ventura alleges
       years of physical, psychological and emotional abuse. She claims Combs forced her to
       purchase and take illegal drugs like cocaine, ketamine and ecstasy; that he filmed her as he
       forced her to participate in sex with male sex workers in multiple cities for his own
       voyeuristic pleasure in a practice he called “freak offs”; and that he beat her on many
       occasions in retaliation for talking to other men, often with witnesses present.
       March 6, 2007: In a lawsuit, Gerard Rechnitzer alleges that Combs punched him, pushed
       his girlfriend and tried to spit on another woman outside Teddy’s nightclub at the
       Hollywood Roosevelt Hotel. In a statement, Combs’ attorney, Benjamin Brafman, says,
       “It’s just another example of an opportunist seeking to fabricate a lawsuit based on a flat-
       out lie to try to take advantage of Mr. Combs’ celebrity status.” The case is settled out of
       court in March 2008, the terms undisclosed.
       May 11, 2007: In a complaint to the police, Combs’ Making the Band co-star Laurieann
       Gibson alleges that he threatened her with a chair while New Edition’s Michael Bivins held
       her in place.
       2010: In the November 2023 suit, Ventura claims all aspects of her life were “controlled
       by either Mr. Combs or his management companies.” She claims he paid for her apartment
       and all living expenses and that he had access to her medical records: “For instance, when
       Ms. Ventura began experiencing memory loss — potentially due to excessive drug use
       and/or head injuries caused by Mr. Combs’ beatings, as described below — her MRI results
       were provided directly to Mr. Combs. Mr. Combs also repeatedly arranged for his staff to
       drive Ms. Ventura to certain medical appointments. In this way, Mr. Combs exerted
       ownership over Ms. Ventura.”
       February 2012: In the November 2023 suit, Ventura alleges that Combs said he was going
       to blow up the car of rapper Kid Cudi, whom Ventura was dating at the time, “and that he
       wanted to ensure that Kid Cudi was home with his friends when it happened. Around that
       time, Kid Cudi’s car exploded in his driveway.” Kid Cudi, in a statement to The New York
       Times, corroborated the account.




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       September 2018: After multiple attempts to sever ties with Combs, Ventura says she met
       with him to have dinner and believed it was to talk of concluding her Bad Boy contract and
       “have a discussion about concluding their relationship for good.” But after the dinner,
       Ventura alleged he forced himself into her apartment and forcibly raped her. From her
       November 2023 suit: “Soon thereafter, Ms. Ventura took steps to completely separate
       herself from her long-time abuser, including by leaving the home that he paid for and
       returning the car he purchased for her.”
       2022 – 2023: In a February 2024 lawsuit, producer Rodney “Lil Rod” Jones, a former
       producer of Combs who worked with him on his latest release, The Love Album: Off the
       Grid, alleges that the music mogul groped him repeatedly and during the duration of
       making the album, Combs forced Jones to solicit sex workers, take illegal drugs and more.
       The suit names others close to Combs, including Combs’ son, Justin Dior Combs, and high-
       ranking members of Motown Records and Universal Music Group, as co-defendants.
       Nov. 16, 2023: Ventura accuses Diddy of years of sexual misconduct, harassment, sex
       trafficking and rape. Ventura’s allegations lasted for the entirety of their working and
       personal relationship. Ventura files the civil suit in New York Superior Court under the
       state’s Adult Survivors Act, a New York law permitting victims of sexual abuse a one-year
       window to file civil action regardless of the statute of limitations of the crimes themselves.
       (Tiffany Red, a songwriter and one of Cassie’s collaborators, later publicly corroborates
       her claims.)
       Nov. 23, 2023: One day before the window for filing suits under the Adult Survivors Act
       is set to close, two separate lawsuits alleging misconduct in the early 1990s are filed against
       Combs in New York Superior Court: one by Joi Dickerson and the other by an unnamed
       plaintiff.
       Dec. 6, 2023: The unnamed fourth person comes forward, accusing Combs and others of
       gang rape in 2003.
       Dec. 10, 2023: In response to the accusations, 18 brands sever ties with Combs’ Black-
       owned e-commerce venture, Empower Global.
       Dec. 11, 2023: A public petition started by feminist and survivor advocacy group
       UltraViolet circulates, calling for The Recording Academy to rescind Combs’ 2024
       Grammy nomination for progressive R&B album amid the sexual abuse allegations.



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         Dec. 13, 2023: In response to the accusations, streaming network Hulu scraps a reality
         show project featuring Combs that was previously in development and centered around the
         mogul and his family.
         Feb. 26, 2024: The fifth assault lawsuit is filed against Combs by Rodney “Lil Rod” Jones.
         Combs’ lawyer denies the allegations, claiming, “We have overwhelming, indisputable
         proof that his claims are complete lies.”

      77. Hall and Combs have a pattern and practice of engaging in illegal sex acts.

                Corporate Defendants Have A Pattern and Practice of Employing
                       Convicted Rapists and Alleged Sexual Predators

      78. Upon information and belief, UMGR has contracted with Łukasz Sebastian Gottwald (aka,
         Dr. Luke”). In October 2014, Kesha sued Dr. Luke, accusing him of drugging and raping
         her. According to information and belief, in 2021, Gottwald launched Amigo Records as
         an imprint of Republic Records, a subsidiary of UMGR. Apparently, UMGR saw no issue
         with employing Dr. Luke to produce music for their artist Nicki Minaj.
      79. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         Music Producer Drew Dixon in 1995.
      80. Upon information and belief, UMGR’s former employee, Antonio Marquis "L.A." Reid,
         the former CEO of UMGR subsidiary, the Island Def Jam Music Group, brutally raped
         music producer Drew Dixon.
      81. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         writer Jenny Lumet.
      82. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         filmmaker Jennifer Jarosik.
      83. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         singer turned lawyer Tina Baker.
      84. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         musician Sherri Hines.
      85. Upon information and belief, former UMGR employee Russell Simmons brutally raped
         writer and activist Sil Lai Abrams.




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      86. Upon information and belief, former UMGR employee Russell Simmons sexually harassed
         or assaulted model Keri Claussen Khalighi.
      87. Upon information and belief, former UMGR employee Russell Simmons sexually harassed
         or assaulted publicist and author Kelly Cutrone.
      88. Upon information and belief, former UMGR employee Russell Simmons sexually harassed
         or assaulted reality television personality Luann de Lesseps.
      89. Upon information and belief, former UMGR employee Russell Simmons sexually harassed
         or assaulted actress Natashia Williams-Blach.
      90. Upon information and belief, former UMGR employee Russell Simmons sexually harassed
         or assaulted musical journalist Toni Sallie.
      91. In 2023, a judge ordered UMGR to pay $500,000 to the child victims of UMGR employee
         R. Kelly. Mr. Kelly was convicted of sex trafficking in the United States District Court for
         the Eastern District of New York. He is currently serving 30 years in prison.
      92. At his sentencing, US District Judge Ann Donnelly said UMGR employee R. Kelly had an
         "indifference to human suffering" and had used sex as a weapon, forcing his victims to do
         unspeakable things while saddling some with sexually transmitted diseases. "You taught
         them that love is enslavement and violence.”
      93. As evidenced by their pattern and practice of employing depraved deviants, Corporate
         Defendants employed admitted rapist Hall and Combs.
      94. Throughout the years, UMGR has partnered with and employed Combs despite his many
         public run-ins with the law:
             a. In April of 1999, after a dispute over the use of footage in a music video, the record
                producer and UMGR employee Steve Stoute claimed Mr. Combs and his
                bodyguards beat him with a champagne bottle, a telephone, a chair, and their fists.
                Upon information and belief, despite one of their employees being physically
                assaulted by Combs, UMGR did not hesitate to employ Combs from 2003 to 2005.
             b. According to a December 2023 lawsuit, in 2003, Combs, his former Bad Boy
                Records president, Harve Pierre, and a third unidentified man allegedly gang-raped
                an unnamed 17-year-old victim at a Manhattan recording studio while Combs was
                an employee of UMGR. Upon information and belief, UMGR did not end Combs’
                employment at that time.



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                        UR, UMGR, MCA and/or UMGRRNV WERE
                RESPONDEAT SUPERIOR FOR HALL, SWING, AND COMBS
      95. Hall was an employee of UR, UMGR, MCA and/or UMGRRNV at the time he raped
         Plaintiff. Swing was an employee of these corporate entities at the time when he aided and
         abetted in the rape of the child whom he was the co-guardian of. Combs was an employee
         of these corporate entities at the time he raped Plaintiff.
      96. Corporate Defendants enabled Hall and Combs to statutorily rape the child and to commit
         many other crimes of a sexual nature. This includes prohibited sexual acts as defined in
         section 2 of P.L.1992, c.7 (C.2A:30B-2), or sexual abuse as defined in section 1 of
         P.L.1992, c.109 (C.2A:61B-1) violence motivated by gender. Corporate Defendants are
         liable to Plaintiff.
      97. Corporate Defendants enabled or participated in the sexual abuse of Plaintiff because
         Defendants failed to, among other things, protect Plaintiff from a known danger; have
         sufficient policies and procedures in place to prevent sexual assault and the distribution of
         alcohol to a child; properly implement policies and procedures to prevent sexual assault
         and the distribution of alcohol to a child; take reasonable measures to ensure that policies
         to prevent sexual assault and the distribution of alcohol to a child were working; train their
         employees on identifying sexual assault and inappropriate workplace behaviors; protect
         their employees from sexual assault; and adhere to the applicable standard of care.
      98. Corporate Defendants enabled or participated in the sexual abuse of Plaintiff because
         Defendants failed to timely and properly educate, train, supervise, and/or monitor their
         agents or employees regarding policies and procedures that should be followed when
         sexual abuse is suspected or observed.
      99. Prior to Combs and Hall sexually assaulting Plaintiff, Corporate Defendants knew or
         should have known that Combs and Hall were not fit to be in a position of authority.
         Defendants, by and through their agents, servants, and/or employees, became aware, or
         should have become aware, of Combs and Hall’s propensity to commit sexual assault and
         of the risk to Plaintiff’s safety. At the very least, Defendants knew or should have known
         that they did not have sufficient information about whether their leaders, managers, and
         people were safe to be in positions of power to harm a minor child like Plaintiff.




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      100.      Defendant Corporate Defendants knew or should have known that Combs and Hall
         posed a risk of sexual assault. Corporate Defendants failed to properly supervise Combs
         and Hall and protect Plaintiff from a known danger, thereby enabling Combs and Hall to
         repeat sexual assault on Plaintiff.
      101.      Defendant Corporate Defendants negligently deemed Hall and Combs as fit to be
         in a position of authority and/or that any previous suitability problems Hall and Combs had
         were fixed and cured and/or that Hall and Combs would not commit acts of sexual assault
         and/or that Hall and Combs would not injure others.
      102.      Moreover, Corporate Defendants enabled the sexual abuse of Plaintiff by actively
         maintaining and employing Hall and Combs in a position of power and authority through
         which Hall and Combs had control and influence over people, including Plaintiff.
                                               DAMAGES
      103.      The actions of Hall and Combs have stayed with Ms. Gardner throughout the
         duration of her life. After being violently and statutorily raped by Combs and Aaron Hall,
         Ms. Gardner’s life has been overwhelmed by depression, post-traumatic stress disorder,
         and strained relationships with men.
      104.      The harm that Ms. Gardner has suffered is well documented through multiple
         excited utterance witness statements, as well as through documentation from her medical
         providers.
      105.      In an affidavit, Ms. Gardner’s friend whom she met in 2017, details a conversation
         the pair had during a trip to Las Vegas in 2019 where they discussed their childhood and
         some interactions with musicians and artists.
      106.      In the affidavit, Ms. Gardner’s friend went on to say, at that time, Ms. Gardner
         shared her experience of sexual assault at the hands of Aaron Hall and Sean “Puffy”
         Combs.
         She writes,
         “Liza said she was 16 years old and had been invited to New York by a couple of her
         friends who were members of the RnB group Jodeci. At the time, Jodeci was signed to
         MCA or Uptown Records. Liza is from North Carolina and had known members of Jodeci
         from their neighborhood and church in North Carolina.

         When she came to New York, MCA hosted an event for one of their artists. Liza was given
         alcohol at this event and was invited to dinner. Other MCA artists, Queen Latifah and Mary



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         J. Blige, were at this dinner. After dinner, Liza was invited back to Aaron Halls apartment
         for an afterparty. Present at this afterparty were members of Jodeci, Puffy, and Aaron Hall.

         Aaron Hall gave Liza more alcohol, and she recalls feeling lightheaded and dizzy. She said
         Puffy was acting very aggressive and forced himself onto her. After he finished, she tried
         to collect herself and get dressed. Before she knew it, Aaron Hall burst into the room, held
         her down, and raped her. She said she felt helpless. She could not fight him off as he was
         significantly bigger and stronger than her. She said she laid there in disbelief. After Aaron
         Hall was finished raping her, she ran out of the house.

         The following day, she was awoken by Puffy yelling and screaming as he searched for
         Liza’s friend, who he believed was going to report the assault from the night before. Liza’s
         friend was not in the house, and Puffy turned to her, demanding that she give up her friend’s
         location. She told him she did not know, and Puffy began to strangle her.”

      107.       Ms. Gardner’s licensed therapist provided a letter that said the following:
      The therapist writes,
         “I am writing to verify my recorded notes of what my client Liza Gardner disclosed during
         her treatment, as well as my professional opinion of her subsequent symptomology as a
         result of her early Trauma.

         I began seeing Liza as of 1/9/2014 through 7/30/2014. Unfortunately, therapy became cost-
         prohibitive for the client to continue for any length of time. While in treatment, Liza was
         consistent and engaged in the therapy.

         As my records indicate on 2/18/2014, my client disclosed that she was raped by two males
         in New York when she was 16 years of age.”

         It is my professional opinion that the trauma of being raped by two men accounted for
         much of her ongoing symptoms of hypervigilance, anxiety, panic attacks, and episodes of
         depression, all, symptoms indicative of PTSD.

                                 FIRST CAUSE OF ACTION
                                            Battery
                                   (Against Hall and Combs)
      108.       Liza Gardner incorporates by reference all preceding paragraphs and re-alleges
         them as if set forth fully herein.
      109.       Defendants committed battery against Ms. Gardner when they both penetrated Ms.
         Gardner’s sixteen-year-old vagina with their penises against her will and, in the case of
         Combs, physically assaulted her when he choked her the following morning.
      110.       Defendants intentionally, and without her consent, attacked Ms. Gardner to satisfy
         their sexual desires. Under all circumstances, the defendants’ physical contact with Ms.


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         Gardner was offensive and wrongful. Defendants continued to attack Ms. Gardner despite
         her attempts to thwart their actions.
      111.       The Plaintiff’s claim for battery is thus timely under the amendment to the CSAA
         (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child sexual abuse
         that 'occurred prior to, on or after'" the effective date. Id. at 512 (quoting N.J.S.A. 2A:14-
         2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at *21 (May 15, 2024).
      112.       Plaintiff repeats and reiterates each paragraph and allegation of this complaint as if
         set forth at length herein.
      113.       As this Court may be aware, new legislation that affects all sexual abuse-based
         lawsuits was passed on May 13, 2019, and took effect on December 1, 2019. This
         legislation significantly alters Sexual Abuse Litigation. The legislation listed as P.L. 2019,
         c.120 extends the Statute of Limitations in civil actions for sexual abuse claims, expands
         categories of potential defendants in Civil Actions, and creates a two-year window for
         parties to bring previously time-barred actions based on sexual abuse.
      114.       Specifically, P.L. 2019, c.120 expands the Statute of Limitations from two (2) years
         to seven (7) years. P.L. 2019, c .120 makes charitable organizations liable for the negligent
         or willful, wanton, or grossly negligent conduct of trustees, officers, agents, employees,
         volunteers, and servants. Defendants may attempt to rely on claims that Plaintiff’s counts
         are time-barred. However, this law renders these defenses moot. Absent said defenses,
         Defendants’ possible motion to dismiss will rely upon fact sensitive contentions which are
         improperly brought under a motion to dismiss.
      115.       This Complaint alleges, among other things, that the Defendants had actual or
         constructive knowledge of sexual abuse by allowing their teachers, instructors, trustees,
         officers, agents, employees, volunteers, and servants to target young children for
         involuntary sexual activity. Despite this knowledge, Defendants failed to supervise,
         control, and monitor their teachers, instructors, trustees, officers, agents, employees,
         volunteers, and servants, failed to maintain effective policies and procedures for reporting
         and recognizing nonconsensual sexual activities, failed to properly protect children, failed
         to provide proper security, and failed to exercise due care under the circumstances.




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      116.       Defendants’ conduct was the direct and proximate cause of Ms. Gardner’s past and
         future substantial damages, including significant pain and suffering, lasting psychological
         and financial harm, loss of dignity, and invasion of privacy.
      117.       The Defendants’ actions constitute sexual offenses as defined in the New Jersey
         Penal Law, including but not limited to sexual abuse as defined in section 1 of P.L.1992,
         c.109 (C.2A:61B-1).
      118.       The Plaintiff’s claim for battery is thus timely under the amendment to the CSAA
         (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child sexual abuse
         that 'occurred prior to, on or after'" the effective date. Id. at 512 (quoting N.J.S.A. 2A:14-
         2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at *21 (May 15, 2024).
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.


                                SECOND CAUSE OF ACTION
                                     Assault/Sexual Assault
                                   (Against Hall and Combs)
      119.       Liza Gardner incorporates by reference all preceding paragraphs and re-alleges
         them as if set forth fully herein.
      120.       As described above, Defendants Hall and Combs frightened and placed Plaintiff in
         apprehension of harm when they raped her within the State of New Jersey.
      121.       Defendants Hall and Combs forcibly touched and attempted and/or threatened to
         touch Plaintiff’s intimate areas and/or touched her with their intimate body parts.
      122.       As a result of Defendants’ conduct, Plaintiff has suffered and continues to suffer
         harm, including physical injury, severe emotional distress, humiliation, anxiety, and other
         consequential damages for which she is entitled to an award of monetary damages and
         other relief.
      123.       The Defendants’ actions constitute sexual offenses as defined in the New Jersey
         Penal Law, including but not limited to sexual abuse as defined in section 1 of P.L.1992,
         c.109 (C.2A:61B-1).
      124.       The Plaintiff’s claim for assault/sexual assault is thus timely under the amendment
         to the CSAA (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child



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         sexual abuse that 'occurred prior to, on or after'" the effective date. Id. at 512
         (quoting N.J.S.A. 2A:14-2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at
         *21 (May 15, 2024).
      125.       The conduct of Defendants Hall and Combs described above was willful, wanton,
         and malicious. At all relevant times, Defendants acted with conscious disregard for
         Plaintiff’s rights and feelings, acted with the knowledge of or with reckless disregard for
         the fact that his conduct was certain to cause injury and/or humiliation to Plaintiff, and
         intended to cause fear, physical injury and/or pain and suffering to Plaintiff. By virtue of
         the foregoing, Plaintiff is entitled to recover punitive damages.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.

                                  THIRD CAUSE OF ACTION
                             Negligent Infliction of Emotional Distress
                                     (Against All Defendants)
      126.        Liza Gardner repeats and realleges by reference all paragraphs above as though
         fully set forth herein.
      127.       Defendants’ conduct created an unreasonable risk of causing emotional distress to
         Ms. Gardner, and the Defendants knew or should have known that such conduct
         (intoxicating a child with alcohol and marijuana transporting her across state lines, failing
         to provide a chaperone for a visibly intoxicated child, allowing their employees to rape her)
         was likely to result in emotional distress that might and/or likely would cause illness or
         bodily harm.
      128.       Swing had a duty to plaintiff as her host and co-guardian not to place plaintiff in a
         position where she would be provided alcohol and then raped. He invited her to NY/NJ
         under false pretenses, knowing that he intended to have Combs and Hall rape plaintiff.
         Swing failed his duty, and Plaintiff was harmed.
      129.       Ms. Gardner’s emotional distress was foreseeable to the Defendants.
      130.       As a direct and proximate result of said extreme and outrageous conduct by the
         defendants, Ms. Gardner suffered humiliation, mental anguish, disassociation, and
         emotional and physical distress and has been hurt and injured in her health, both mentally



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         and physically, strength, activity, and her ability to lead an everyday life without mental
         anguish. All of these have caused, continue to cause, and will continue to cause Plaintiff
         great mental and physical pain and suffering for the rest of her life.
      131.      As a result of such severe emotional and mental distress, Ms. Gardner has been
         generally, especially, and consequentially damaged in an amount to be established,
         according to evidence.
      132.      The Defendants’ behavior toward Ms. Gardner was so outrageous as to exceed all
         reasonable bounds of decency. The defendants knew with substantial certainty or should
         have known that their behavior would cause Ms. Gardner to be a victim of intoxication,
         sexual assault, sexual abuse, and sexual contact.
      133.      The Defendants knew with substantial certainty or should have known that
         intoxicating, transporting plaintiff across state lines, drugging, and raping Plaintiff would
         cause her to endure severe emotional distress.
      134.      The Defendants committed the infliction of emotional, physical, and mental distress
         willfully and intentionally and through coercion, oppression, fraud, and malice and
         consciously disregarded Ms. Gardner’s rights. Therefore, Ms. Gardner is entitled to an
         award of exemplary or punitive damages in an amount to be established at Trial to
         meaningfully punish Defendants’, thereby deterring similar conduct in the future.
      135.      The Plaintiff’s claim for NIED is thus timely under the amendment to the CSAA
         (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child sexual abuse
         that 'occurred prior to, on or after'" the effective date. Id. at 512 (quoting N.J.S.A. 2A:14-
         2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at *21 (May 15, 2024).
      136.      Upon information and belief, the aforementioned corporate Defendants, through its
         officers, directors, agents, and employees, was responsible for the acts and omissions that
         give rise to this action. Specifically, Defendants, acting by and through its duly authorized
         agents and employees, negligently and/or recklessly performed or failed to perform duties
         within the scope of their employment and/or authority, which directly and proximately
         caused Plaintiff's injuries and damages.
      137.      At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously



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         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      138.         Plaintiff has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Ms. Gardner’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful act.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.

                                   FOURTH CAUSE OF ACTION
                       Negligence (Premises Liability For The Sexual Assault)
                             (Against Hall and Corporate Defendants)
      139.         Ms. Gardner’s references and realleges all preceding paragraphs as if set forth fully
         herein.
      140.         Premises liability is not a cause of action under New Jersey law but a theory in
         which a plaintiff may bring a negligence claim. To establish such a claim, Plaintiff must
         plead four elements: "(1) a duty of care; (2) a breach of that duty; (3) actual and proximate
         causation; and (4) damages." Shelley v. Christopher Acad., Civil Action No. 19-20751,
         2021 U.S. Dist. LEXIS 139611, at *6-7 (D.N.J. July 27, 2021).
      141.         Duty: As detailed above, Hall was the owner, lessee, or beneficiary of the property
         where the Plaintiff was drugged and raped. Corporate Defendants were the landlords,
         homeowners, or lessors of the property where the Plaintiff was raped. Hall invited, and
         Corporate Defendants transported the Plaintiff via a cab or private vehicle to the property
         where the Plaintiff was raped. On the night of the rape, Plaintiff was a child who was
         intoxicated because of the alcohol provided by Corporate Defendants. Defendant Hall had
         a duty not to sleep with Plaintiff or to provide her with additional alcohol and marijuana
         when she arrived at his property in New Jersey. Hall was 26 years old at the time, while
         Plaintiff was a child. Hall also had a duty to prevent Combs from sleeping with Plaintiff,
         who was a visibly intoxicated child. Corporate Defendants had a duty to ensure that
         Plaintiff, who was visibly intoxicated, was safe when she arrived at their property. They



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         had a duty to ensure that Plaintiff, who was a child, was not subject to drug use and sexual
         contact from Combs and Halls. Who were corporate defendants adult employees.
      142.       Breach of Duty: Defendants did not protect Plaintiff from sexual assault from Hall
         and Combs. Defendants breached their duty to prevent Plaintiff from being raped by Hall
         and Combs.
      143.      Actual and Practical Cause: Defendants were the actual and proximate cause of
         the harm that was visited upon Plaintiff due to their decision to invite and transport Plaintiff
         to the property where Plaintiff was raped. Defendants were responsible for Plaintiff’s
         intoxication. Defendants were the cause of Hall and Combs sleeping with Plaintiff, who
         was a visibly intoxicated child.
      144.      Damages: as a direct result of Defendants’ negligence, Plaintiff suffers from PTSD,
         depression, severe anxiety, sleep deprivation, public humiliation, and shame.
      145.      The conduct of Defendants described above was willful, wanton, and malicious.
         At all relevant times, Corporate Defendants knew or should have known that providing
         alcohol to a sixteen-year-old child and transporting that child across state lines was certain
         to cause injury to the child. Hall knew or should have known that providing alcohol and
         marijuana to a child and then allowing Combs to rape her was certain to cause injury to
         Plaintiff. Corporate Defendants knew or should have known that by sending an intoxicated
         child, unsupervised, to a home they either leased or owned to be with Hall and Combs,
         who were at least ten years older than her, would or could result in Plaintiff being raped.
         Corporate Defendants knew or should have known that Hall had the propensity to sleep
         with children, as evidenced by his admissions mentioned above.               Collectively, the
         defendants acted with the knowledge of or with reckless disregard for the fact that their
         respective conduct was certain to cause injury and/or humiliation to Ms. Gardner and
         intended to cause fear, physical injury, and/or pain and suffering to Ms. Gardner. By virtue
         of the preceding, Ms. Gardner is entitled to recover punitive damage.
      146.       The Plaintiff’s claim for Negligence is thus timely under the amendment to the
         CSAA (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child sexual
         abuse that 'occurred prior to, on or after'" the effective date. Id. at 512 (quoting N.J.S.A.
         2A:14-2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at *21 (May 15, 2024).




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      147.       Upon information and belief, the aforementioned corporate defendants, through
         their officers, directors, agents, and employees, were responsible for the acts and omissions
         that give rise to this action. Specifically, the corporate defendants, acting by and through
         their duly authorized agents and employees, negligently and/or recklessly performed or
         failed to perform duties within the scope of their employment and/or authority, which
         directly and proximately caused Ms. Gardner’s injuries and damages.
      148.       At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously
         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      149.       Ms. Gardner has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Plaintiff’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful
         acts.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.
                                     FIFTH CAUSE OF ACTION
                                           Vicarious Liability
                                   (Against Corporate Defendants)
      150.       Plaintiff repeats, reiterates, and re-alleges all of the above paragraphs as if set fully
         forth herein.
      151.       Combs and Hall both sexually assaulted and inflicted extreme emotional distress
         on Plaintiff.
      152.       Defendants are vicariously liable for the actions of their agents, servants, licensees,
         and/or employees, especially Defendants Hall and Combs due to the fact that defendants
         created the environment, and the opportunity for their agents/employees to intoxicate and
         rape a minor child.




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      153.         Corporate Defendants’ vicarious liability is triggered in part by the overt acts they
          committed when they provided Plaintiff, who was a child at the time, with unlimited
          amounts of alcohol. At 16 years old, Plaintiff was statutorily prohibited from consuming
          alcohol, and the Corporate Defendants were statutorily prohibited from providing alcohol
          to Plaintiff. Upon information and belief, in 1984, Congress passed the Minimum Drinking
          Age Act. All states gradually began to raise their legal drinking age to 21. By 1990, all
          states had enacted this law, including New York and New Jersey.
      154.         In addition to intoxicating the minor plaintiff, the Corporate Defendants then
          transported the plaintiff across state lines from New York to New Jersey in violation of the
          MANN Act. Upon information and belief, the plaintiff, who had not drank alcohol prior
          to the Corporate Defendants providing it, was visibly intoxicated. She was unchaperoned
          and was sent to the house that the Corporate Defendants purportedly subsidized for their
          employee, Hall. The Corporate Defendants knew or should have known that Hall and
          Combs had a propensity to sleep with children.
      155.         Upon information and belief, the corporate defendants have a pattern and practice
          of covering up the sexual assaults of their artist by paying off the victims through unmarked
          international wire transfers11. This practice explains why the Corporate Defendants did not
          hesitate to provide sixteen-year-old Plaintiff with alcohol and transport her across state
          lines to the home they subsidize for Hall.
      156.         The Plaintiff has experienced pain and suffering as an adolescent and an adult;
          physical injury and pain; bodily injury (including sickness, disease, mental anguish or
          injury, shock, fear, and fright); social isolation; educational adjustment problems; mood
          swings; low self-esteem; relationship and intimacy problems; lack of trust in people;
          feelings of insecurity; discomfort from letting his children be in the presence of others;
          family discord; medical expenses; emotional trauma; diminished childhood; diminished
          enjoyment of life; costs of counseling; lost wages; severe emotional distress; diminished
          enjoyment of life; diminished enjoyment of childhood; difficulty and an inability to focus;
          difficulty and an inability to perform educational tasks; anxiety; depression; humiliation;
          pain in mind and body; and severe embarrassment. Additionally, Plaintiff is having and


 11
   If corporate defendants are foolish enough to challenge this point the plaintiff reserves her right t replead and add
 the names of all of their artist who’s rapes the corporate defendants covered up through hush money payments.


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         has had difficulty living a normal life; is and has not engaged in normal development and
         activities; suffers from behavior patterns and will continue to do so in the future; will in
         the future be caused to endure severe pain in mind and body; has endured interference with
         and will continue to endure interference with engaging in his full normal daily activities.
      157.       The Plaintiff’s claim for Vicarious Liability is thus timely under the amendment to
         the CSAA (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child
         sexual abuse that 'occurred prior to, on or after'" the effective date. Id. at 512
         (quoting N.J.S.A. 2A:14-2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at
         *21 (May 15, 2024).
      158.       Upon information and belief, the aforementioned corporate defendants, through
         their officers, directors, agents, and employees, were responsible for the acts and omissions
         that give rise to this action. Specifically, the corporate defendants, acting by and through
         their duly authorized agents and employees, negligently and/or recklessly performed or
         failed to perform duties within the scope of their employment and/or authority, which
         directly and proximately caused Plaintiff's injuries and damages.
      159.       At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously
         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      160.       Plaintiff has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Plaintiff’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful
         acts.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
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                                       SIXTH CAUSE OF ACTION
                        Violation Of The New Jersey Child Sexual Abuse Act
                                            N.J. Stat. § 2A:61B-1
                                     (Against Corporate Defendants)
      161.         Plaintiff repeats, reiterates, and re-alleges all of the above paragraphs as if set fully
         herein.
      162.         Corporate Defendants, as social hosts, employers, organizers, supervisors, and
         sanctioning body for Hall and Combs, owed a duty to invitees and guests, such as Plaintiff.
      163.         Corporate Defendants had a duty to take reasonable steps to protect Plaintiff, a
         minor child, from foreseeable harm when she was invited to their event. Upon her arrival
         at their event, the Corporate Defendants assumed a duty of care, custody, and control over
         the minor plaintiff, including when they placed the intoxicated minor in a car and trafficked
         plaintiff across state lines to a property they subsidized for Hall in a clear violation of the
         MANN Act.
      164.         Corporate Defendants owed a duty to keep participants at their event, such as
         Plaintiff, who was a minor, safe.
      165.         Corporate Defendants had a duty to prevent Hall and Combs from using the
         premises, instrumentalities in their position with each institutional defendant to target,
         groom, intoxicate (marijuana and alcohol, which were both illegal for children to consume
         in 1990), and sexually abuse children, including Plaintiff.
      166.         The Corporate Defendants were in loco parentis with the Plaintiff, knew or should
         have known that the Plaintiff was vulnerable to Defendants Hall and Combs' actions, and
         should have had measures in place to prevent such conduct.
      167.         Corporate Defendants recklessly, negligently, and carelessly breached their duty in
         the following ways:
             a. Failing to observe, supervise, and keep the plaintiff safe when it invited the plaintiff
                to their event. Knew or should have known that Plaintiff was a child. They
                assumed the responsibility of caring for the minor plaintiff by failing to request the
                presence of the plaintiff's parents, guardians, or chaperones. In doing so, Corporate
                Defendants stood in loco parentis to plaintiffs;
             b. Failing to have or enforce proper protocols and procedures within their
                organizations to prevent sexual abuse of minors;
             c. Failing to have proper policies and procedures for the adequate supervision and
                observation of Plaintiff;
             d. Failing to adequately monitor the activities of Hall and Combs to ensure that they
                do not pose a risk to minors attending the institutional defendant’s party;


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             e. Failing to recognize Hall and Combs’ conduct as presenting a risk of sexual abuse
                to Plaintiff;
             f. Failing to identify Combs and Hall as sexual abusers; Failure to investigate,
                research, and/or perform background checks of Hall and Combs before certifying,
                promoting, and presenting them as employees;
             g. Failure to have policies in place to identify potential sexual abusers before
                certifying, promoting, and presenting them as employees; and Creating a culture of
                permissiveness that allowed adults to prey on minors such as Plaintiff.

      168.         Defendants knowingly permitted and/or acquiesced in the sexual abuse Plaintiff
         suffered in violation of the New Jersey Child Sex Abuse Act.
      169.         Defendants’ acts and/or omissions constitute negligence, gross negligence, malice
         vindictiveness, wanton and reckless disregard, and indifference to Plaintiff’s rights and
         safety.
      170.         Specifically, Plaintiff has experienced pain and suffering as an adolescent and an
         adult; physical injury and pain; bodily injury (including sickness, disease, mental anguish
         or injury, shock, fear, and fright); social isolation; educational adjustment problems; mood
         swings; low self-esteem; relationship and intimacy problems; lack of trust in people;
         feelings of insecurity; discomfort from letting his children be in the presence of others;
         family discord; medical expenses; emotional trauma; diminished childhood; diminished
         enjoyment of life; costs of counseling; lost wages; severe emotional distress; diminished
         enjoyment of life; diminished enjoyment of childhood; difficulty and an inability to focus;
         difficulty and an inability to perform educational tasks; anxiety; depression; humiliation;
         pain in mind and body; and severe embarrassment. Additionally, Plaintiff is having and
         has had difficulty living a normal life; is and has not engaged in normal development and
         activities; suffers from behavior patterns and will continue to do so in the future; will in
         the future be caused to endure severe pain in mind and body; has endured interference with
         and will continue to endure interference with engaging in his full normal daily activities.
      171.         The Plaintiff’s claim for Vicarious Liability is thus timely under the amendment to
         the CSAA (N.J.S.A. 2A:14-2a(a)(1)) was explicitly made retroactive, applying to child
         sexual abuse that 'occurred prior to, on or after'" the effective date. Id. at 512
         (quoting N.J.S.A. 2A:14-2a(a)(1)). Maia v. IEW Constr. Grp., 2024 N.J. LEXIS 439, at
         *21 (May 15, 2024).




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      172.       Upon information and belief, the aforementioned corporate defendants, through
         their officers, directors, agents, and employees, were responsible for the acts and omissions
         that give rise to this action. Specifically, the corporate defendants, acting by and through
         their duly authorized agents and employees, negligently and/or recklessly performed or
         failed to perform duties within the scope of their employment and/or authority, which
         directly and proximately caused Plaintiff's injuries and damages.
      173.       At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously
         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      174.       Plaintiff has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Plaintiff’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful
         acts.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.


                                   SEVENTH CAUSE OF ACTION
                   Negligent Hiring, Training, Accreditation and Supervision
                                  (Against Corporate Defendants)
      175.       Plaintiff Gardner repeats, reiterates, and re-alleges all of the above paragraphs as if
         set fully herein.
      176.       This is an action for negligence and/or gross negligence and/or recklessness and/or
         intentional conduct, conspiracy and damages against defendants.
      177.       At all relevant times, Defendants Combs and Hall were employees, agents, and/or
         servants of the Corporate Defendants, John DOES 1-10 and Jane DOES 1-10.
      178.       As such, Defendants Combs and Hall were under the direct supervision, employ,
         and/or control of the Corporate Defendants, John DOES 1-10 and Jane DOES 1-10.



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      179.       At all relevant times, Defendants had a duty to ensure that Hall and Combs did not
         sexually abuse, assault, and/or molest children.
      180.       Defendants recklessly, negligently, and carelessly breached their duty in the
         following ways:
             a. Failing to properly investigate their employees, including Hall and Combs.
             b. Failing to perform a proper background check on Defendants Combs and Hall prior
                to allowing them to come into contact with minors such as Ms. Gardner;
             c. Failing to review and assess Hall and Combs’s application to be an employee;
             d. Failing to check Hall and Combs references prior to allowing them to be an A&R
                and Artist;
             e. Failing to adequately investigate and/or ignoring the previous misconduct and/or
                general lack of fitness as an A&R and Artist;
             f. Ignoring the misconduct and/or general lack of fitness for duties of Hall and Combs;
             g. Failing to make sufficient inquiry into the moral character of Hall and Combs by,
                among other things, failing to investigate his overall fitness and suitability to be an
                A&R and Artist;
             h. Failing to subject Hall and Combs to adequate, valid, and appropriate psychological
                testing;
             i. Failing to monitor defendant Hall and Combs’ conduct during their
                teaching/instructing, supervising, or advising regard to his relationship with
                minors; failed employment, period with to warn the plaintiff of the deviant sexual
                behaviors of Hall and Combs.
             j. Upon information and belief, and according to public accounts, failing to fire and
                remove Defendants Hall and Combs, resulting in Hall kidnapping, raping and
                impregnating 15-year-old Gloria Velez four years later at one of corporate
                defendants parties and or events;
             k. Failing to adequately monitor the activities of its employees, such as Hall and
                Combs, to ensure that they do not pose a risk to minors;
             l. Failing to strip Defendants Hall and Combs’ of their employment; and
             m. Failing to train agents, servants, licensees, and/or employees on investigation,
                detection, and reporting of sexual abuse allegations.

      181.       The actions/inactions complained of hereinabove were at least negligent and/or
         grossly negligent and were malicious, willful, intentional, and revealed a reckless and
         wanton disregard and indifference for the safety and protection of the plaintiff and the
         rights of the plaintiff.
      182.       Specifically, Plaintiff has experienced pain and suffering as an adolescent and an
         adult; physical injury and pain; bodily injury (including sickness, disease, mental anguish
         or injury, shock, fear, and fright); social isolation; educational adjustment problems; mood
         swings; low self-esteem; relationship and intimacy problems; lack of trust in people;



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         feelings of insecurity; discomfort from letting his children be in the presence of others;
         family discord; medical expenses; emotional trauma; diminished childhood; diminished
         enjoyment of life; costs of counseling; lost wages; severe emotional distress; diminished
         enjoyment of life; diminished enjoyment of childhood; difficulty and an inability to focus;
         difficulty and an inability to perform educational tasks; anxiety; depression; humiliation;
         pain in mind and body; and severe embarrassment.
      183.       Additionally, Plaintiff is having and has had difficulty living a normal life; is and
         has not engaged in normal development and activities; suffers from behavior patterns and
         will continue to do so in the future; will in the future be caused to endure severe pain in
         mind and body; has endured interference with and will continue to endure interference with
         engaging in his full normal daily activities.
      184.       Upon information and belief, the aforementioned corporate defendants, through
         their officers, directors, agents, and employees, were responsible for the acts and omissions
         that give rise to this action. Specifically, the corporate defendants, acting by and through
         their duly authorized agents and employees, negligently and/or recklessly performed or
         failed to perform duties within the scope of their employment and/or authority, which
         directly and proximately caused Plaintiff's injuries and damages.
      185.       At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously
         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      186.       Plaintiff has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Plaintiff’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful
         acts.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.



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                                        EIGHT CAUSE OF ACTION
                       Failure To Detect, Investigate and Report Sexual Abuse
                                     (Against Corporate Defendants)
      187.         Plaintiff repeats, reiterates, and re-alleges all of the above paragraphs as if set fully
         herein.
      188.         Defendants recklessly, gross negligently, negligently, and carelessly breached its
         duty in the following ways:
             a. Failing to have adequate processes for detection, investigation, and reporting of
                sexual abuse allegations;
             b. Failure to enforce processes for detection, investigation, and reporting of sexual
                abuse allegations;
             c. Failing to investigate complaints of child sex abuse, together with other complaints
                made regarding Defendants Hall and Combs;
             d. Ignoring complaints of child sex abuse made regarding Defendants Hall and
                Combs;
             e. Concealing complaints of child sex abuse made regarding Defendants Hall and
                Combs;
             f. Failing to report complaints of child sex abuse made regarding Defendants Hall and
                Combs to appropriate authorities for investigation;
             g. Failing to have proper protocols, procedures, and guidelines for the prevention,
                detection, and investigation of sexual abuse allegations.
      189.      Specifically, Plaintiff has experienced pain and suffering as an adolescent and an
         adult; physical injury and pain; bodily injury (including sickness, disease, mental anguish
         or injury, shock, fear, and fright); social isolation; educational adjustment problems; mood
         swings; low self-esteem; relationship and intimacy problems; lack of trust in people;
         feelings of insecurity; discomfort from letting her children be in the presence of others;
         family discord; medical expenses; emotional trauma; diminished childhood; diminished
         enjoyment of life; costs of counseling; lost wages; severe emotional distress; diminished
         enjoyment of life; diminished enjoyment of childhood; difficulty and an inability to focus;
         difficulty and an inability to perform educational tasks; anxiety; depression; humiliation;
         pain in mind and body; and severe embarrassment. Additionally, Plaintiff is having and
         has had difficulty living a normal life; is and has not engaged in normal development and
         activities; suffers from behavior patterns and will continue to do so in the future; will in
         the future be caused to endure severe pain in mind and body; has endured interference with
         and will continue to endure interference with engaging in his full normal daily activities.
      190.         Upon information and belief, the aforementioned corporate defendants, through
         their officers, directors, agents, and employees, were responsible for the acts and omissions


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         that give rise to this action. Specifically, the corporate defendants, acting by and through
         their duly authorized agents and employees, negligently and/or recklessly performed or
         failed to perform duties within the scope of their employment and/or authority, which
         directly and proximately caused Plaintiff's injuries and damages.
      191.         At all relevant times, the aforementioned corporate defendants had the duty to
         properly hire, train, supervise, and retain their employees and agents. The corporate
         defendants’ failure to do so constitutes corporate negligence for which they are vicariously
         and directly liable under the doctrines of respondeat superior, agency, and corporate
         negligence.
      192.         Plaintiff has properly pleaded the corporate liability of the aforementioned
         corporate defendants by establishing that the wrongful acts and omissions of their
         employees and agents, while acting within the scope of their employment, were the direct
         and proximate cause of Plaintiff’s injuries. Accordingly, the aforementioned corporate
         defendants are liable to Plaintiff for all damages sustained as a result of these wrongful
         acts.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.

                                     NINTH CAUSE OF ACTION
                                 Intention Infliction of Emotional Distress
                                  (Against The Corporate Defendants)
      193.         Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
         herein.
      194.         Defendants, including the corporate defendants, and individual defendants Hall,
         Combs and Swing, engaged in extreme and outrageous conduct by knowingly allowing the
         sexual assault of a minor, Ms. Gardner, to occur.
      195.         Defendants were fully aware of the ongoing assault against Ms. Gardner, as a
         minor, and other victims under their control or on their premises and deliberately failed to
         intervene. Despite their responsibility to ensure the safety and well-being of those in their
         care, Defendants allowed the assaults to continue unchecked.
      196.         At all relevant times, Defendants knew, or should have known, that Ms. Gardner
         was being assaulted and/or otherwise abused as a minor. Despite this knowledge, the


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         corporate defendants refused to discipline the perpetrators, take protective measures, or
         stop the abuse. Defendants’ inaction in the face of this known and repeated misconduct
         amounted to a complete disregard for Ms. Gardner’s safety and well-being, creating an
         environment where assaults were permitted to continue, as evidenced by the kidnapping
         and rape of 15-year-old Gloria Velez four years later.
      197.      Defendants either intended to cause severe emotional distress to Ms. Gardner or
         acted with reckless disregard for the probability that their failure to intervene would result
         in severe emotional harm. Their refusal to protect Ms. Gardner, to stop the assault, or to
         discipline those responsible was carried out with a reckless indifference to the emotional
         trauma that would naturally result from such ongoing abuse.
      198.      As a direct and proximate result of Defendants’ extreme and outrageous conduct,
         Ms. Gardner has suffered severe emotional distress, including but not limited to, anxiety,
         depression, fear, humiliation, and profound psychological trauma. This emotional distress
         stems from the continuous assaults and Defendants’ knowing and deliberate refusal to act,
         despite their awareness of the ongoing harm.
      199.      The emotional distress suffered by Ms. Gardner as a result of the Defendants’
         conduct is severe and enduring. Ms. Gardner has experienced significant psychological
         trauma, loss of security, mental anguish, and a fear for her personal safety that has impacted
         her life in a lasting and debilitating manner. Defendants’ failure to protect Ms. Gardner and
         their disregard for her emotional and physical well-being has caused substantial harm.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.




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                                 TENTH CAUSE OF ACTION
                                  MANN ACT VIOLATIONS
                                        18 U.S.C. § 2421
  Coercion of a minor to engage in illegal sexual activity in violation of 18 U.S.C. § 2422(b),
  and transportation of a minor with intent to engage in illegal sexual activity in violation
                                     of 18 U.S.C. § 2423(a).
                                    (Against All Defendants)
    200.       Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
         herein.
      201.         Defendants knowingly violated the Mann Act, 18 U.S.C. § 2421, et seq., that
         provides, inter alia
             a. IN GENERAL.—
                Whoever knowingly transports any individual in interstate or foreign commerce,
                or in any Territory or Possession of the United States, with intent that such
                individual engage in prostitution, or in any sexual activity for which any person
                can be charged with a criminal offense or attempts to do so, shall be fined under
                this title or imprisoned not more than 10 years, or both.
      202.      Defendants knowingly transported the child across state lines, from New York to
         New Jersey, with the intent to violate New Jersey’s statutory rape, drinking and marijuana
         laws as set forth above.
      203.         Defendants actions involved interstate commerce, with the intent to have Plaintiff
         engage in what Defendants’ knew was illegal underage drinking, marijuana use, and sexual
         intercourse. Defendants knowingly engaged in such fraudulent and unlawful acts with the
         express knowledge that Plaintiff was visibly intoxicated, weight less than a hundred
         pounds, was a child, and could not consent to drinking alcohol, smoking marijuana, and
         having sex with two adult males. These matters have been pled with particularity in
         previous numbered paragraphs of the within Complaint and those averments are
         incorporated herein by reference thereto.
      204.         Defendants knew that the child would, as a result of Defendants’ unlawful activities,
         engage in sexual activity whereby Defendants can be charged (and should be charged) with
         a criminal offense.
      205.         Defendants have violated 22 U.S. Code § 7101, et seq., that provides for criminal
         penalties for violations of the Statute as well as civil cause of action.
      206.         Defendants have violated the Mann Act, 18 U.S.C. § 2421, et seq., for which
         Defendants can and should be criminally prosecuted.



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      207.      Pursuant to 18 U.S.C. § 1595(a), “An individual who is a victim of a violation of
         this chapter may bring a civil action against the perpetrator (or whoever knowingly
         benefits, financially or by receiving anything of value from participation in a venture which
         that person knew or should have known has engaged in an act in violation of this chapter)
         in an appropriate district court of the United States and may recover damages and
         reasonable attorneys fees”.
      208.      Defendants have violated the criminal laws of New Jersey, as are set forth in
         previous numbered paragraphs of this Complaint for which Defendants may be criminally
         prosecuted; these paragraphs are incorporated herein by reference thereto.
      209.      Defendants have violated the criminal laws of New York, as are set forth below, for
         which Defendants may and should be criminally prosecuted:
             a. Unlawfully Dealing with a Child in the First Degree prohibits providing alcohol to
                a person under 21. (Penal Law § 260.20(2).
             b. Sex Trafficking (PL 230.34)
             c. Sex Trafficking of a Child (PL 230.34-a).
      210.      Defendants’ actions were meant to intoxicate and prostitute the child to satisfy their
         personal and their employees sexual needs.
      211.      Defendants actions have damaged Plaintiff in an amount in excess of
         $10,000,000.00, caused her other financial damage as well as physical and mental damages.
      212.      Plaintiff is entitled to monetary damages against the Defendants, jointly and
         severally, in an amount in excess of $10,000,000.00. Further Plaintiff is entitled to
         attorneys’ fees for bringing this action.
      213.      The emotional distress suffered by Ms. Gardner as a result of the Defendants’
         conduct is severe and enduring. Ms. Gardner has experienced significant psychological
         trauma, loss of security, mental anguish, and a fear for her personal safety that has impacted
         her life in a lasting and debilitating manner. Defendants’ failure to protect Ms. Gardner and
         their disregard for her emotional and physical well-being has caused substantial harm.
         WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.




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                                 ELEVENTH CAUSE OF ACTION
                                         Aiding and Abetting
                                     (Against Defendant Swing)
      214.       Plaintiffs repeat and reiterate the allegations above as if set forth verbatim herein.
      215.       The New Jersey Supreme Court has adopted the definition of "aiding and abetting"
         set forth in Hurley v. Atlantic City Police Dep't 174 F.3d 95, 129 (3d Cir. 1999).
      216.       Aiding and abetting liability requires "active and purposeful conduct." Id. at 83.
         Colantino v. Villa Enters. Mgmt., 2019 N.J. Super. Unpub. LEXIS 3665, *23-24.
      217.       Here, as evidenced by the sworn declaration of Monica Case the Defendant Swing
         was: “in the room, leaning against the wall or furniture or something, watching whatever
         Puffy was doing to Liza.”
      218.       As detailed above, Puffy (Combs) was raping the Child. Swing was her co-
         guardian at the time, he invited her to New York/New Jersey. He had a duty to protect the
         Child as her parents entrusted him with her safety. He trafficked and or coerced the child
         travel across state lines from North Carolina to New York and New Jersey with the hidden
         intention of providing the child with alcohol, and marijuana and prostituting the child to
         his A&R Combs. As evidenced by the YouTube states from Hall, Swing was accustomed
         to “watching him fuck.” Ms. Case’s sworn declaration under penalty of perjury, confirms
         Halls statement as it relates to the child.
      219.       Defendant Swing, in his position as an employee/agent for Defendant Corporation,
         and Combs, knowingly, and eagerly aided and abetted the defendants plan to intoxicate,
         drug, sex traffic, and brutally rape the child. Defendant Swing got personal gratification
         while pervertedly treating the child’s statutory rape as a live pornographic film. As the
         child indicated above, she tried to fight Hall off and was writhing in pain due to the size of
         his penis, presumably, Defendant Swing stood there, witnessed this, and did nothing to
         help the child whom he had a co-responsibility to care for.
      220.       The harm suffered by Ms. Gardner because of the Defendants’ conduct is severe
         and enduring. Ms. Gardner has experienced significant psychological trauma, loss of
         security, mental anguish, and a fear for her personal safety that has impacted her life in a
         lasting and debilitating manner. Defendants’ failure to protect Ms. Gardner and their
         disregard for her emotional and physical well-being has caused substantial harm.




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        WHEREFORE, Plaintiff demands judgment in her favor and against Defendants, jointly
 and severally, for general, compensatory, exemplary, and punitive damages plus such interest fees
 and costs as are allowed by law.
                              PRAYER FOR RELIEF
        WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against
 Defendants, containing the following relief:
            a. A declaratory judgment that the actions, conduct, and practices of Defendants
               complained of herein violate the laws of the State of New Jersey;
            b. An award of damages against Defendants, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic
               damages;
            c. An award of damages against Defendants, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or
               compensatory damages, including, but not limited to, compensation for her mental
               anguish, humiliation, embarrassment, stress and anxiety, emotional pain and
               suffering, and emotional distress;
            d. An award of punitive damages, in an amount to be determined at Trial;
            e. Prejudgment interest on all amounts due;
            f. An award of costs that Plaintiff has incurred in this action, including, but not limited
               to, expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to
               the fullest extent permitted by law; and,
            g. Such other and further relief as the Court may deem just and proper.




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                           DEMAND FOR INSURANCE COVERAGE
         In accordance with R. 4:10-2, defendants are demanded to provide a complete copy of their
 applicable insurance policies and declaration sheets demonstrating coverage within thirty (30) days
 of service of this Complaint.

 DATED: October 8, 2024
                                                           T. A. Blackburn Law, PLLC

                                                ___________/s/Tyrone a. Blackburn, esq._______
                                                             TYRONE A. BLACKBURN

                                         CERTIFICATION
          I hereby certify that this matter is not the subject of any other action pending in any court
 or arbitration proceeding, that Plaintiff contemplates no such other action or arbitration
 proceeding, and that there are no other parties, whom to the knowledge of Plaintiff's counsel,
 should be joined in this action. I hereby certify that the statements I made are factual. I am aware
 that if any of the preceding statements I made are willfully false, I am subject to punishment.

 DATED: October 8, 2024
                                                           T. A. Blackburn Law, PLLC

                                                ___________/s/Tyrone a. Blackburn, esq._______
                                                             TYRONE A. BLACKBURN

                                DEMAND FOR TRIAL BY JURY
        The plaintiffs demand a trial by jury on all issues involved in this matter.

 DATED: October 8, 2024
                                                               T. A. Blackburn Law, PLLC

                                                ___________/s/Tyrone a. Blackburn, esq._______
                                                             TYRONE A. BLACKBURN

                             DESIGNATION OF TRIAL COUNSEL
 Please note that Tyrone Blackburn, Esq. is hereby designated as Trial Counsel in the above-
 captioned matter, according to R.4:25 et. seq.

 DATED: October 8, 2024
                                                           T. A. Blackburn Law, PLLC

                                                ___________/s/Tyrone a. Blackburn, esq._______
                                                             TYRONE A. BLACKBURN




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                                   PRESERVATION NOTICE
 The term "you," "your," or "yours" as used herein shall refer to you (the recipient of this letter), as
 well as to the respondents and any individuals responsible for the custody and control of the below
 information, including, but not limited to, those individuals' administrative assistants, secretaries,
 agents, employees, information technology personnel and third-party vendors.

 From this point forward, you are directed to prevent "spoliation," defined as altering, changing,
 updating, destroying (even if periodically), editing, or deleting any information set forth hereafter.

 If you cause any such alteration, destruction, or change, direct it, or allow it to occur, you
 may be charged with discovery rule violations for which sanctions may be imposed. Further,
 your failure to abide by this request could result in severe penalties against you and form the
 basis of legal claims for spoliation.

 Electronically Stored Information:
 In terms of electronically stored information, you are directed to prevent any destructive,
 alternative or other change to any web pages, virtual profiles or identical (including, but not limited
 to, Facebook, Instagram, Pinterest, Twitter, Tumblr, LinkedIn, Snapchat, Google Plus+, Flickr,
 Vine, About.me, ask.fm etc., or any other social media-based web profile or networking site
 account), emails, voice messages, text messages, instant messages or messaging systems,
 recordings, digital recordings, media images and videos, temporary memory, memory sticks,
 portable memory devices, laptops or computers, C.D.s, DVDs, USB devices, databases, computer
 activity logs, internet browsing history (including cookies), network access and server activity
 logs, word processing files and file fragments, backup and archival files, imaging and facsimile
 files, electronic calendar and scheduling program files and file fragments as well as any other
 contact and relationship management data (e.g., Outlook), electronic spreadsheet files and file
 fragments, pertaining in any way to this controversy of the parties or any potential witnesses. This
 includes a request that such information not be modified, altered, or deleted due to data
 compression or disk fragmentation (or other optimization procedures), which processes you are
 hereby directed to suspend until that data can be preserved, copied, and produced.

 You are directed not to modify, alter, or delete or allow modifications, alterations, or deletions to
 be made to any electronically stored information. You are further directed to preserve all, and not
 to destroy any, passwords, decryption productions (including, if necessary, the software to decrypt
 the files), network access codes, manuals, tutorials, written instructions, decompression or
 reconstruction software, and any other information and things necessary to access, view and (if
 necessary) reconstruct the electronic data we will request through discovery.

 Paper Information:
 In terms of the paper information, you are directed to preserve any and all emails, videos, texts,
 memos, reports, documents, notes, correspondence, photographs, investigative information, or
 other documents which pertain in any way to the controversy, parties, or witnesses in this matter.

 Through discovery, we expect to obtain from you a number of documents and other data, including
 text messages, emails, photographs, and other information stored on computers, electronic devices,
 and telephones.



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 Although we may bring a motion with a court to order the preservation of documents and other
 data from destruction or alteration, your obligation to preserve documents and other data for
 discovery, in this case, arises independently from any order on such motion.

 Electronic documents and the storage media, including but not limited to telephones on which they
 reside, contain relevant, discoverable information beyond what may be found in printed
 documents. Therefore, even where a paper copy exists, we are likely to seek all documents in their
 original, electronic form, along with metadata or information about those documents in the media.
 We will seek paper printouts of only those documents that contain unique information created after
 they were printed (e.g., paper documents containing handwriting, signatures, marginalia,
 drawings, annotations, highlighting, and redactions) and any paper documents for which no
 corresponding electronic files exist.

 The laws and rules prohibiting the destruction of evidence apply to electronically stored
 information in the same manner they apply to other evidence. Due to its format, electronic
 information is quickly deleted, modified, or corrupted. Accordingly, you must take every
 reasonable step to preserve this information until the final resolution of this matter. This may
 include, but would not be limited to, an obligation to discontinue all data destruction and backup
 tape recycling policies.

 Concerning electronic data created after the date of filing this pleading, relevant evidence should
 not be destroyed. You must take the steps necessary to avoid the destruction of such evidence.

 DATED: October 8, 2024
                                                         T. A. Blackburn Law, PLLC

                                              ___________/s/Tyrone a. Blackburn, esq._______
                                                           TYRONE A. BLACKBURN




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         DEMAND FOR ANSWERS TO SUPPLEMENTAL INTERROGATORIES
 Under R. 4:17-1 et seq., Plaintiff hereby demands that Defendants Sean Combs and Aaron Hall
 provide certified answers to the following supplemental interrogatories:

 1. Please state whether, upon or about 1990, you had physical contact with the Plaintiff by
      inserting your penis in the Plaintiff's vagina.
 2. Please state whether, upon or about 1990, you had physical contact with the Plaintiff by
      inserting your penis in the Plaintiff's mouth.
 3. Please state whether, upon or about 1990, you had physical contact with the Plaintiff by
      inserting your penis in the Plaintiff's anus.
 4. If your answer to interrogatory numbers 1-3 was yes, please identify each person who knows
      any fact relating to this conduct.
 5. If your answer to interrogatory numbers 1-3 was yes, please identify each writing relating to
      this conduct (including but not limited to email, text messages, WhatsApp, Signal, Sessions,
      and/or social media app messages).
 6. Please identify the present custodian of each writing identified in your answer to interrogatory
      number 5.
 7. If your answer to interrogatory numbers 1-3 was no, please set forth each fact upon which you
      base such denial.
 8. If your answer to interrogatory numbers 1-3 was no, please identify each person who knows
      any fact relating to such denial.
 9. If your answer to interrogatory numbers 1-3 was no, please identify each writing relating to
      such denial (including but not limited to email, text messages, WhatsApp, Signal, Sessions,
      and/or social media app messages).
 10. Please identify the present custodian of each writing identified in your answer to interrogatory
      number 9.
 DATED: October 8, 2024
                                                           T. A. Blackburn Law, PLLC

                                                  ___________/s/Tyrone a. Blackburn, esq._______
                                                               TYRONE A. BLACKBURN




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                     DEMAND FOR PRODUCTION OF DOCUMENTS
  Under R. 4:18-1, et seq., Plaintiff hereby demands that the individual Defendants provide the
  following documents:

1. Any statements or reports from any person or governmental entity concerning this civil action or
   its subject matter.
2. Copies of any and all photographs or videos in your possession of the Plaintiff and the defendants
   in or about 1990 at the location where Plaintiff claims the sexual assault took place.
3. Copies of any claims information bureau or other insurance claim searches or other documents
   referencing any prior or subsequent injuries and claims by Plaintiff.
4. Copies of any oral or written statements made by any person with regard to all happenings having
   to do with the subject matter of this action.
5. Copies of any and all expert reports, reports of diagnostic tests, hospital and medical records, X-
   rays, CAT scan films, MRI films, and any other films and bills relating to any condition or injury
   sustained by Plaintiff.
6. Copies of all written reports or summaries of oral reports of all expert or treating or examining
   physicians along with their curriculum vitae.
7. Copies of any and all books, treatises, commentaries, reports, statutes, codes, ordinances, rules,
   regulations, or other published documents referred to, utilized by, or relied upon by any expert
   witness whom the plaintiff/defendant intends to call during the Trial.
8. Copies of any and all photographs, diagrams, charts, drawings, maps, plans, models, or other
   visual reproductions of any object, place, or thing related to this litigation.

  DATED: October 8, 2024
                                                             T. A. Blackburn Law, PLLC

                                                   ___________/s/Tyrone a. Blackburn, esq._______
                                                                TYRONE A. BLACKBURN




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          DEMAND FOR ANSWERS TO SUPPLEMENTAL INTERROGATORIES
 Under R. 4:17-1 et seq., Plaintiff hereby demands that Defendants UR, MCA, and UMGR provide
 certified answers to the following supplemental interrogatories:

 1. State whether, in or about 1990, Aaron Hall was an artist or employee of your company.
 2. State whether, in or about 1990, Sean Combs was an artist or employee of your company.
 3. State whether, in or about 1994, Aaron Hall was an artist or employee of your company.
 4. State whether, in or about 1994, your company subsidized housing for Aaron Hall in the state
      of New Jersey.
 5. State whether, in or about 1994, your company subsidized housing for Jodeci.
 6. State whether, in or about 1994, your company subsidized housing for Sean Combs.
 7. State whether, in or about 1994, your company hosted a party in the summer and or fall of
      1990.
 8. Please identify the present custodian of each writing identified in your answer to interrogatory
      numbers 1-7.
 9. If your answer to interrogatory numbers 1-7 was no, please set forth each fact upon which you
      base such denial.
 10. If your answer to interrogatory numbers 1-7 was no, please identify each person who knows
      any fact relating to such denial.
 11. If your answer to interrogatory numbers 1-7 was no, please identify each writing relating to
      such denial (including but not limited to email, text messages, WhatsApp, Signal, Sessions,
      and/or social media app messages).
 12. Please identify the present custodian of each writing identified in your answer to interrogatory
      number 9.
 13. From on or about 2015 to 2023, did you ever wire $100,000 from an unnamed overseas account
      to an individual that accused one of your artists or employees of rape/sexual assault which
      occurred in the state of California?
 14. From on or about 2015 to 2023, did you ever wire $200,000 from an unnamed overseas account
      to an individual that accused one of your artists or employees of rape/sexual assault which
      occurred in the state of California?




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 15. From on or about 2015 to 2023, did you ever wire $300,000 from an unnamed overseas account
      to an individual that accused one of your artists or employees of rape/sexual assault which
      occurred in the state of California?
 16. From on or about 2015 to 2023, did you ever respond to the home of one of your artists or
      employees who was involved in a domestic dispute?
          a. Did you provide the domestic partner of that artist with a sedative, taking her to a
              nearby hotel where you forced her to sign an NDA in exchange for a wire between
              $100,000 to $500,000?
 17. From on or about 2015 to 2023, did you ever wire money from an unnamed overseas account
      to an individual who was under the age of 18 that accused one of your artists or employees of
      rape/sexual assault?
 18. From on or about 2015 to 2023, how many times has your organization wired money from an
      unnamed, unmarked account to an individual who has accused one of your employees and or
      artists of sexual assault, rape, and or battery?
 19. Have you ever forced an artist or employee to sign a long-term recording contract with your
      company through acts of coercion?
 20. Have you ever forced an artist or employee to sign and or renew a recording contract with your
      company through sexual bribery?
 21. Have you ever forced an artist or employee to watch a video of themselves being sexually
      assaulted to force them to sign and or renew a recording contract with your company?
 22. Have you ever forced an artist or employee to watch a video of themselves using narcotics or
      illegal substances to force them to sign and or renew a recording contract with your company?


 DATED: October 8, 2024
                                                           T. A. Blackburn Law, PLLC

                                                  ___________/s/Tyrone a. Blackburn, esq._______
                                                               TYRONE A. BLACKBURN




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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X

  THALIA GRAVES,

                            Plaintiff,                                 No. 24 Civ. 7201

                   v.

  SEAN COMBS, JOSEPH SHERMAN, DADDY’S                                  COMPLAINT AND
  HOUSE RECORDINGS INC., CE OPCO, LLC d/b/a                            DEMAND FOR
  COMBS GLOBAL f/k/a COMBS ENTERPRISES LLC,                            JURY TRIAL
  BAD BOY ENTERTAINMENT HOLDINGS, INC.,
  BAD BOY PRODUCTIONS HOLDINGS, INC.,
  BAD BOY BOOKS HOLDINGS, INC., BAD BOY
  RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
  BAD BOY PRODUCTIONS LLC, AND
  ORGANIZATIONAL DOES 1-10,

                            Defendants.

  ---------------------------------------------------------------X

                   Plaintiff Thalia Graves (“Plaintiff”), by and through her attorneys, Allred Maroko

  & Goldberg and Cuti Hecker Wang LLP, for her Complaint alleges as follows:

                                               INTRODUCTION

          1.       In or around the summer of 2001, Plaintiff’s life was violently knocked off course

  when Defendants Sean Combs and Joseph Sherman viciously raped her at the Bad Boy Records

  studio in New York City.

          2.       Plaintiff was twenty-five at the time and dating one of Combs’ employees, a

  relationship that Combs exploited to lure Plaintiff into meeting him and Sherman alone. Once

  they successfully sequestered Plaintiff, Combs and Sherman gave Plaintiff a drink, likely laced

  with a drug that eventually caused her briefly to lose consciousness. She awoke to find herself

  bound and restrained.
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         3.        Combs and Sherman proceeded to brutally sexually abuse and violate Plaintiff.

  Combs mercilessly raped her, anally and vaginally. Sherman forcefully slammed Plaintiff onto a

  table, slapped her, and repeatedly thrust his penis into her mouth. Both men were undeterred by

  Plaintiff’s cries for help throughout the attack.

         4.        Plaintiff never recovered from Defendants’ violent rape. She had suicidal

  thoughts and ideation and has received extensive psychological treatment because of

  Defendants’ attack. For decades, she remained silent and did not report the crime out of fear that

  Defendants would use their power to ruin her life, as they had repeatedly, explicitly threatened to

  do. To this day, Plaintiff suffers from severe depression, anxiety, and panic attacks, and still

  lives in fear of Defendants.

         5.        Any progress Plaintiff had made in healing from the attack over the years was

  dramatically reversed on or around November 27, 2023, when she learned for the first time that

  Combs and Sherman had video-recorded the horrific rape twenty-two years before and had

  shown the video to multiple men, seeking to publicly degrade and humiliate both Plaintiff and

  her boyfriend.

         6.        Plaintiff could not believe that Defendants would record themselves committing

  such a gruesome crime and then proceed proudly and widely to disseminate the recording of it.

  She was distraught and sunk into a deep depression. She again considered ending her life.

         7.        This action seeks redress for Defendants’ brutalizing, misogynistic, and violent

  attacks on Plaintiff, starting in 2001 with their rape and continuing in the subsequent years as

  they compounded her humiliation by showing the video of the sexual assault to others.

                                               PARTIES

         8.        Plaintiff Thalia Graves is a female who resides in Harris County, Texas.




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         9.      Defendant Sean Combs is a male who, on information and belief, resides in Los

  Angeles County, California, though at the time of filing was incarcerated in the Metropolitan

  Detention Center in Brooklyn. On information and belief, at all relevant times Combs owned

  and/or controlled Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc.,

  Bad Boy Books Holdings, Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, Bad Boy

  Productions LLC, (collectively “Bad Boy”), Daddy’s House Recording Studio, Inc., and CE

  OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC (all together, the “Combs

  Corporations”). The facts of Combs’ ownership and titles at the Combs Corporations enabled

  him to commit the unlawful sexual violence against Plaintiff described herein and/or to harass

  and subsequently intimidate her into silence after the rape.

         10.     Defendant Joseph Sherman, a/k/a “Big Joe” is a male who, on information and

  belief, resides in Westchester County, New York. On information and belief, Sherman was

  employed by Combs and/or by the Combs Corporations during the relevant period. The facts of

  Combs’ ownership and titles and Sherman’s titles at the Combs Corporations enabled Sherman

  to commit the unlawful sexual violence against Plaintiff described herein and/or to harass and

  subsequently intimidate her into silence after the rape.

         11.     Defendant Daddy’s House Recordings, Inc. (“Daddy’s House”) is a domestic

  business corporation that is incorporated in New York and on information and belief now has its

  principal place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California

  90069. Combs is listed as the CEO in public filings, with a listed address of 1710 Broadway,

  New York, New York 10019. At the time of the events alleged herein, Daddy’s House was a

  world-class recording studio owned by Combs located at 321 W 44th Street, Suite 201, New

  York, New York 10036. On information and belief, at all relevant times, Bad Boy and Combs




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  together owned and operated Daddy’s House. On information and belief, the Bad Boy recording

  studio was located on the premises of Daddy’s House. Combs and Sherman used the Daddy’s

  House premises and their ownership and titles at Daddy’s House to commit the unlawful sexual

  violence against Plaintiff described herein and/or to harass and subsequently intimidate her into

  silence after the rape.

          12.     Defendant CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC

  (“Combs Global”) is a limited liability company incorporated in Delaware that has its principal

  place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California 90069. On

  information and belief, all members of Combs Global are citizens of Delaware, New York,

  and/or California. On information and belief, Combs Global is an alter ego for Combs and/or a

  successor in interest to Combs’ other corporations and/or was established or used by Combs for

  the purpose of moving, disposing of, and/or insulating his assets, including in connection with

  his criminal activities and to avoid liability. Combs Global currently owns, controls, and/or

  oversees Bad Boy and Combs’ other business ventures in the music, fashion, fragrance,

  beverage, marketing, film, television, and media industries.

          13.     As part of his renowned Bad Boy record label and brand, Combs has established

  several corporate entities under the “Bad Boy” name over the past few decades, including but not

  limited to Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy

  Books Holdings, Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, and Bad Boy

  Productions LLC (together, “Bad Boy”). On information and belief, all Bad Boy corporate

  entities are alter egos for Combs, are controlled and/or directed by Combs, and/or were

  established or used by Combs for the purpose of moving, disposing of, and/or insulating his

  assets, including in connection with his criminal activities and to avoid liability. On information




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  and belief, all active Bad Boy entities are now owned and/or controlled by Combs and/or by

  Combs Global. Combs and Sherman used the Bad Boy premises/recording studio and their

  ownership and titles at Bad Boy to commit the unlawful sexual violence against Plaintiff

  described herein and/or to harass and subsequently intimidate her into silence after the rape.

             a. Defendant Bad Boy Entertainment Holdings, Inc. is a domestic business

                 corporation incorporated in New York, that on information and belief now has its

                 principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

                 Hollywood, California 90069. Bad Boy Entertainment Holdings, Inc. is part of

                 the Bad Boy enterprise founded and owned by Combs, and on information and

                 belief is now owned and/or controlled by Combs and/or by Combs Global.

                 Combs is listed as the CEO in public filings, with a listed address of 1710

                 Broadway, New York, New York 10019.

             b. Defendant Bad Boy Productions Holdings, Inc. is a domestic business corporation

                 incorporated in New York, that on information and belief now has its principal

                 place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood,

                 California 90069. Bad Boy Productions Holdings, Inc. is part of the Bad Boy

                 enterprise founded and owned by Combs, and on information and belief is now

                 owned and/or controlled by Combs and/or by Combs Global. Combs is listed as

                 the CEO in public filings, with a listed address of 1710 Broadway, New York,

                 New York 10019.

             c. Defendant Bad Boy Books Holdings, Inc. is a domestic business corporation

                 incorporated in New York, that on information and belief now has its principal

                 place of business at 1440 Broadway, 3rd Floor, New York, New York 10018.




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               Bad Boy Books Holdings, Inc. is part of the Bad Boy enterprise founded and

               owned by Combs, and on information and belief is now owned and/or controlled

               by Combs and/or by Combs Global. The CEO listed on public filings is Eddie

               Norward Jr., with a listed address of 1710 Broadway, New York, New York

               10019, the same address listed for Sean Combs in public filings for Bad Boy

               Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., and Daddy’s

               House Recordings, Inc.

            d. Defendant Bad Boy Records LLC is a Delaware limited liability company that on

               information and belief is headquartered in New York and/or California. On

               information and belief, all members of Bad Boy Records LLC are citizens of

               Delaware, New York, and/or California. On information and belief, Bad Boy

               Records LLC is part of the Bad Boy enterprise and/or a successor-in-interest to

               other Bad Boy Defendants that comprise the Bad Boy enterprise founded and

               owned by Combs. On information and belief, Bad Boy Records LLC is now

               owned and/or controlled by Combs and/or by Combs Global.

            e. Defendant Bad Boy Entertainment LLC is a New York limited liability company

               that on information and belief is headquartered in New York and/or California.

               On information and belief, all members of Bad Boy Entertainment LLC are

               citizens of New York and/or California. Bad Boy Entertainment LLC is part of

               the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

               Defendants that comprise the Bad Boy enterprise founded and owned by Combs.

               On information and belief, Bad Boy Entertainment LLC is now owned and/or




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                  controlled by Bad Boy Entertainment Holdings, Inc. and/or by Combs, and/or by

                  Combs Global.

               f. Defendant Bad Boy Productions LLC is a New York limited liability company

                  that on information and belief is headquartered in New York and/or California.

                  On information and belief, all members of Bad Boy Productions LLC are citizens

                  of New York and/or California. Bad Boy Productions LLC is part of the Bad Boy

                  enterprise and/or a successor-in-interest to other Bad Boy Defendants that

                  comprise the Bad Boy enterprise founded and owned by Combs. On information

                  and belief, Bad Boy Productions LLC is now owned and/or controlled by Combs

                  and/or by Combs Global.

         14.      Defendants Organizational Does 1-10 are currently unknown entities who were

  owned by and/or employed Defendants Combs and/or Sherman and enabled the commission of

  the conduct complained of herein. As the parties engage in discovery, Plaintiff retains the right

  to amend the Complaint to add these entities by name.

         15.      Each of the Combs Corporations (a) aided and abetted Combs and Sherman in

  committing the unlawful sexual violence against Plaintiff described herein and/or in harassing

  and subsequently intimidating her into silence after the rape, (b) provided Combs and Sherman

  with the studio/office space where they committed the rape, and/or with chattel including

  recording equipment, storage equipment, etc. to record the rape and disseminate it; (c) are alter

  egos for Combs, completely dominated by him and used for his personal interests and to engage

  in wrongdoing which harmed Plaintiff and others, and/or (d) serve or have served as vehicles for

  Combs to move, dispose of, and/or insulate his assets, including in connection with his criminal

  activities and to avoid compensating the victims of his many crimes, including Plaintiff.




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                                    JURISDICTION AND VENUE

           16.    This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332 because

  this case is between citizens of different states, and the amount in controversy exceeds $75,000.

           17.    This Court has specific personal jurisdiction over Defendants because the acts

  giving rise to Plaintiff’s claims took place in New York State, and because several of the

  Defendants are domiciled in New York State and/or regularly transact business in New York

  State.

           18.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

  substantial part of the events or omissions giving rise to the claims occurred in this District.

                                            JURY DEMAND

           19. Plaintiff hereby demands a trial by jury on her claims in this action.

                                     FACTUAL ALLEGATIONS

  Background

           20.    Plaintiff’s family immigrated to New York City when Plaintiff was a teenager in

  connection with her mother’s work. Her family ultimately settled in Rego Park, Queens, where

  she completed her education, and where she was living when she met Combs.

           21.    Defendant Combs, also known by his stage names Puff Daddy, Puffy, P. Diddy,

  Diddy, Brother Love, or Love, is a prominent rapper, record executive, and businessman. He

  rose to fame in the 1990s with his record label Bad Boy, and continued to be a notable figure in

  the music and entertainment industry in the following years. Combs has continued to amass

  wealth and power through his business ventures in the music, fashion, fragrance, beverage,

  marketing, film, television, and media industries.




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       22.     The Bad Boy enterprise is the foundation of Combs’ wealth and power. Bad Boy

has sold over 500 million records through its lucrative distribution deals with the top music

companies in the world, and has signed acclaimed hip hop and R&B artists, including The

Notorious B.I.G., Mary J. Blige, and Usher. Combs later founded CE OPCO, LLC a/k/a Combs

Enterprises, later rebranded as Combs Global, to serve as a home for his portfolio of businesses,

including his investments in the music, fashion, fragrance, beverage, marketing, film, television,

and media industries. On information and belief, Combs Global houses Bad Boy and other

notable businesses such as Combs’ fashion line Sean Jean, his vodka line Cîroc, and his cable

media company REVOLT MEDIA.

       23.     As detailed below, see infra ¶¶ 57 through 64, Combs has a long history of

violence and of abusing and raping women, and there have been several civil lawsuits filed

against Combs in the past year alleging sexual violence and abuse. On September 16, 2024

Combs was arrested and charged with racketeering and sex trafficking. He was denied bail.

       24.     Defendant Sherman, also known as “Big Joe,” was employed by Combs as his

bodyguard and head of security during the relevant time period described herein and served in

various roles in the Combs Corporations. Sherman is also the founder of Rhymes N Dimes

Magazine, Inc., a New York State registered corporation, and through or in connection with that

company produces and distributes pornography. On information and belief, he has often

distributed videos of his and/or his friends’ sexual assaults through his pornography company.

       25.     Plaintiff met Defendant Combs in or around late 1999 or early 2000 through her

then-boyfriend, who was an executive at Bad Boy. In addition to working together, Plaintiff’s

boyfriend and Combs had a close personal relationship. Plaintiff frequently visited her boyfriend

at the Bad Boy studio in New York City and attended events hosted at Combs’ residences. Over




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time, Plaintiff became familiar with Combs, and he knew about her relationship with her

boyfriend.

Defendants Trick, Drug, and Violently Rape Plaintiff

       26.     In or around the summer of 2001, Plaintiff received a call from Combs concerning

her boyfriend’s employment at Bad Boy. He told her he wanted to meet with her in person to

discuss her boyfriend’s supposed performance issues. Her boyfriend was determined to climb up

the ladder at Combs’ records label and as his romantic partner, Plaintiff was committed to

helping him. Plaintiff agreed to meet with Combs. In retrospect, it was evidently a sick and

twisted way of using his ownership of and title at Bad Boy and its affiliate entities to abuse

Plaintiff and also show his power and ability to humiliate her boyfriend, his executive.

       27.     A few hours later, Combs arrived at Plaintiff’s mother’s residence in Queens with

Sherman, who was employed by Combs as his bodyguard at the time. Sherman was driving an

SUV and Combs was in the backseat. After Plaintiff entered the vehicle, Combs offered her a

glass of wine, which she accepted.

       28.     Combs began discussing his alleged concerns about her boyfriend’s performance

at work. Meanwhile, as Plaintiff drank what had been handed to her, she started to feel

lightheaded, dizzy, and physically weak. In retrospect, it is clear that Combs had caused a drug

to be put into Plaintiff’s drink, as a few sips of wine had never impacted her that way.

       29.     Combs and Sherman drove Plaintiff to the Bad Boy studio in Manhattan. When

they arrived and Plaintiff tried to get out of the car, she realized that she was feeling odd, and

found it difficult to walk. She assumed this was her fault, and did her best to act normal, and

followed Combs as he led her eventually to a couch in a private room in the Bad Boy studio.

She later came to understand this was Combs’s personal lounge and office at the Bad Boy studio.




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Combs sat on the couch next to Plaintiff and continued speaking to her. Plaintiff began feeling

even more woozy and sedated. She then lost consciousness.

        30.     When Plaintiff regained consciousness, she was naked, and her hands were tied

behind her back with what felt like a plastic grocery bag. Plaintiff shouted for help. In response

Sherman lifted her up from the couch and forcefully slammed her face down on what was

apparently a pool table. Shortly thereafter, Combs entered the room naked.

        31.     Combs reached for a container of lubricant that smelled like menthol, and

proceeded to apply it to his penis. He then bent Plaintiff over the table causing her feet to dangle

above the floor, forcefully held her down, and anally penetrated her without her consent.

Plaintiff is 4 feet 11 inches tall and weighed only 103 pounds at the time. Plaintiff was unable to

move, totally overpowered physically, in addition to being drugged and bound.

        32.     Plaintiff screamed out in pain, but Combs continued to violently anally rape her.

He easily physically overpowered her, smashing her head down on the pool table while she

futilely tried to wriggle out from under him.

        33.     During the brutal attack, Plaintiff vomited into her mouth and on the table. At

one point, she involuntarily defecated. Combs was undeterred. He wiped himself off, applied

more lubricant, and without any acknowledgement of Plaintiff’s distress, proceeded to vaginally

penetrate Plaintiff.

        34.     Plaintiff experienced intense pain and burning sensations in her vagina and anus.

Plaintiff continued to scream for help because of the extreme pain she felt as Combs penetrated

her over and over. She then lost consciousness again.

        35.     The next time she regained consciousness, Plaintiff was on the couch and

Sherman was standing in front of her with his bare penis in her face. Sherman slapped Plaintiff




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in the face and forcefully inserted his penis into her mouth. Sherman slapped her yet again, and

continued to thrust his penis into Plaintiff’s mouth. Plaintiff once again lost consciousness.

       36.     When she next awoke, Plaintiff was on the couch naked and alone in the room.

       37.     Plaintiff was in severe pain and distress. Her anus and vagina burned, her face

and wrists were bruised, and her genital area smelled strongly of menthol. She felt a liquid,

presumably semen, dripping out from inside of her.

       38.     Her dress was thrown over her, her purse was on the couch next to her, and her

bra was on the floor nearby. She did not see her underpants.

       39.     Terrified that Combs and Sherman would return, Plaintiff quickly got dressed and

bolted out of the studio room where she had been raped.

       40.     Still dizzy and weak, Plaintiff called a livery driver that her family regularly hired

and knew well. The driver picked her up from outside Bad Boy studio. She was disheveled,

crying uncontrollably and suffering from agonizing pain.

       41.     The driver drove her to the hospital and tried to convince her to report the rape

and get a rape kit, but she was unable to leave the car, “shaking and crying hysterically” and

terrified of what Combs would do to her and her family if she reported him.

The Aftermath and Impact of the Rape on Plaintiff

       42.     Plaintiff sustained serious physical injuries in the aftermath of the rape. As noted,

she had burning in her vagina and anus, and bruising on her wrists and face. In the days after the

assault, she suffered prolonged anal bleeding and hemorrhoids.

       43.     Because of Combs’ power and notoriety, Plaintiff was afraid to report what had

happened. She was involved in a contentious divorce and custody battle at the time and feared

that reporting the rape would cause her to lose custody of her young child.




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       44.     Plaintiff confided in her boyfriend, Combs’ employee, hoping he would comfort

and support her. But instead of supporting her, he discouraged her from disclosing the assault,

telling her that it could negatively impact his own career.

       45.     Following the assault and multiple times over the years, both Combs and Sherman

contacted Plaintiff and warned her to be silent, threatening repercussions including Plaintiff

potentially losing custody of her son if she ever disclosed the assault. Because of their enormous

power in the industry, including through their ownership of and positions at the Combs

Corporations, Plaintiff knew that they could follow through on their threats.

       46.     Plaintiff told close friends that Combs and Sherman had drugged and savagely

raped her, but as noted was afraid to report the attack to the police out of fear that Defendants

would follow through on their threats. She was even afraid to stay in New York City while

Combs lived there, so with the help of a friend, she fled to Pennsylvania. Plaintiff has in fact

relocated multiple times throughout the years in an effort to stay away from Combs.

       47.     Plaintiff has suffered irreparable harm because of the brutal rape by Defendants

Combs and Sherman. She suffers from severe depression and post-traumatic stress disorder.

She also has suffered suicidal ideation and intrusive thoughts, and has attempted to end her life.

       48.     Plaintiff lives in constant fear. She struggles with hypervigilance and experiences

anxiety and panic attacks in social settings, preferring to be alone. Her need to hide to feel safe

has strained her relationships with friends and family.

       49.     Defendants’ rape has also impacted Plaintiff’s ability to engage in sexual acts

with her intimate partners. To this day, she cannot be in certain sexual positions without

experiencing flashbacks of Combs violently penetrating her from behind.




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Plaintiff Learns that the Rape was Videotaped and Published

       50.     On or around November 27, 2023, all the trauma of the rape came flooding back

to Plaintiff when her former boyfriend revealed to her for the first time that Combs and Sherman

had recorded and published the video of the horrific attack.

       51.     Earlier that month, Cassie Ventura had come forward and filed a lawsuit against

Combs for subjecting her to years of severe sexual and physical abuse. The case had been settled

one day after it had been filed. Plaintiff’s former boyfriend invoked Ms. Ventura’s effort to hold

Combs’ accountable and for the first time confessed that years earlier, but sometime after the

actual rape itself, Sherman and Combs had showed him and a group of men – some of whom

were also employed by Combs’ companies and/or their related entities – the video of Plaintiff

being raped. He disclosed that Combs and Sherman had a pattern and practice of non-

consensually recording women engaging in sexual acts and making those videos available to the

public, including by selling tapes as pornography. A Bad Boy artist later corroborated in a text

message that Sherman “use[d] to sell porn of him doing this to chix” and that Sherman “did that

to a lot of women.”

       52.     Plaintiff’s former boyfriend reported that he and the other men watched the

recording of Plaintiff’s rape on a handheld camera while at the Bad Boy studio in New York

City. Combs, Sherman, and some of the other men made derogatory comments about the former

boyfriend’s relationship with Plaintiff, in an attempt to shame him into cutting ties with Plaintiff

and to cause her further emotional harm and embarrassment.

       53.     On information and belief, Defendants continued to show the video of the rape to

others over the years and through to the present and/or sold the video as pornography.




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       54.     Plaintiff was shocked and horrified that Combs and Sherman had recorded and

publicized the video of them raping her. After over two decades spent trying to heal and distance

herself from the experience, Plaintiff was devastated by the news. She felt as if her life had been

turned upside down, again, and like the rape had been happening again and again even as she

was trying to forget it. She experienced acute psychological distress, plunging into a deep

depression and having suicidal ideations. She felt intense fear, anger, and anxiety.

       55.     Plaintiff lives with the distress of knowing that the video of her brutal rape is in

circulation and that anyone, including her family, friends, and peers, could view it at any time.

       56.     In a panic, she reached out to Sherman after learning about the tape, hoping to

protect herself from further humiliation by convincing him to destroy the tape or provide it to

her, but he did not respond.

Combs’ Pattern and Practice of Violence and Abuse, Including of Drugging, Raping, and
Secretly Recording His Violence Against Women

       57.     Combs has a long history of violence and abuse. This long-standing behavior has

been enabled by his ownership of and titles at the Combs Corporations and their affiliated

entities and the immense wealth and power he has amassed through such business dealings.

       58.     Among a long list of allegations: In 1996 he was found guilty of criminal

mischief for threatening a photographer from the New York Post with a gun. In 1999 he was

arrested and charged with second-degree assault and criminal mischief in connection with the

beating of a record executive, and arrested again the same year in relation to a shooting at a club

in New York; that female victim has consistently stated that Combs shot her in the face at point-

blank range.

       59.     Combs also has a pattern and practice of using his power and influence in the

music and entertainment industries to submit people to sexual violence, often drugging his



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victims and/or coercing them to consume drugs and recording the assaults, often without the

victim’s knowledge, just as he did with Plaintiff. In the past year, a number of these people have

come forward to accuse Combs of sexual assault, violent rapes and/or sex trafficking:

           a. In November 2023, three lawsuits were filed against Combs under the New York

               Adult Survivors Act. As noted above, Cassie Ventura, an artist signed to Bad

               Boy, sued Combs in the Southern District of New York for rape and years-long

               physical abuse, facilitated in part by Combs having supplied Ms. Ventura with

               copious amounts of drugs and urging her to take them, beginning in 2006. Combs

               regularly recorded Ms. Ventura engaging in sex acts he forced her to engage in.

           b. Joi Dickerson-Neal, who had appeared with Combs in a music video, sued Combs

               in New York County Supreme Court alleging Combs drugged her, sexually

               assaulted her, and secretly recorded the assault in 1991.

           c. Liza Gardner, whom Combs met at an event hosted by a record label affiliated

               with Bad Boy, sued him for raping her and a friend in 1990 or 1991 when she was

               only 16.

           d. In December 2023, an anonymous plaintiff sued Combs in the Southern District

               of New York for drugging and gang-raping her in 2003 when she was only 17

               years old. That complaint alleges that Combs and one of his business associates

               and employees lured the plaintiff to Daddy’s House through their affiliations with

               the Bad Boy enterprise and its related entities, and raped her at the same location

               where Plaintiff was raped.

           e. In February 2024, Rodney “Lil Rod” Jones, one of Combs’ former producers,

               sued Combs for forcing him to engage in unwanted sex acts and sex trafficking,




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           among other allegations. In that complaint, Mr. Jones alleges that Combs

           regularly drugged others including minors by giving them alcoholic beverages

           laced with ecstasy and other date rape drugs, that he believes he himself was

           drugged by Combs, and that Combs routinely secretly recorded sexual encounters.

        f. In May 2024, two more women sued Combs. Former model Crystal McKinney

           sued Combs in the Southern District of New York for drugging and sexually

           assaulting her at his recording studio in 2003. Combs had promised to help

           advance Ms. McKinney’s modeling career, a promise she believed he would

           fulfill because of his ownership of and/or titles at the Bad Boy enterprise and its

           related entities. April Lampros, an intern at Arista Records, which was an owner

           of Bad Boy, also sued Combs in May 2024 in New York County Supreme Court

           for raping her on multiple occasions, secretly filming at least one of the assaults,

           and showing the recording to multiple people. Ms. Lampros alleges that Combs

           ordered her to take drugs on one occasion before he raped her.

        g. In July 2024, former adult film star Adria English – who was employed by Combs

           as an entertainer at his infamous White Parties that brought together the biggest

           names in the music and entertainment industries – sued Combs in the Southern

           District of New York for sex trafficking, alleging that he required her to consume

           drinks laced with ecstasy and secretly recorded the sexual acts he forced her to

           engage in.

        h. In September 2024, singer and songwriter Dawn Angelique Richard also sued

           Combs. Richard was employed by Combs as part of the girl group Danity Kane,

           formed by Combs, and later as a key member of Combs’ band Diddy – Dirty




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               Money. She sued Combs in the Southern District of New York for sexual assault,

               false imprisonment, and for subjecting her to hostile working conditions due to

               her gender, including degrading comments and threats. Ms. Richard has alleged

               that Combs regularly supplied others including minors with copious amounts of

               drugs and alcohol, and subjected them to sexual acts while they were sedated

               and/or unconscious due to the drugs and alcohol.

       60.     On September 16, 2024, Combs was arrested at a Manhattan hotel after a grand

jury indicted him on charges of sex trafficking and racketeering. The indictment details how

“[f]or decades, [Combs] abused, threatened, and coerced women and others around him to fulfill

his sexual desires, protect his reputation, and conceal his conduct.” See United States of America

v. Sean Combs, a/k/a “Puff Daddy,” a/k/a “P. Diddy,” a/k/a “Diddy,” a/k/a “PD,” a/k/a

“Love,” Index No. 24 Crim. 542, Indictment (SDNY), at ¶ 1.1 It notes that Combs’ abuse of

women was enabled by “the employees, resources, and influence of the multi-faceted business

empire that he led and controlled—creating a criminal enterprise whose members and associates

engaged in, and attempted to engage in, among other crimes, sex trafficking, forced labor,

kidnapping, arson, bribery, and obstruction of justice.” Id.

       61.     The indictment notes that Combs’ “business” was operated at various times in

both Manhattan and Los Angeles, “under a variety of United States-based corporate entities,

including Bad Boy Entertainment, Combs Enterprises, and Combs Global (collectively, the

‘Combs Business’).” Id. at ¶ 2.

       62.     According to the indictment, “[p]hysical abuse by [Combs] was recurrent and

widely known.” Id. at ¶ 4. It notes that Combs’ assaults on women included “striking,



1 All allegations in the indictment are incorporated by reference herein.




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punching, dragging, throwing objects at, and kicking them.” Id. Combs was also charged with

“us[ing] the Combs Business, including certain employees, to carry out, facilitate, and cover up

his abuse and commercial sex” and the indictment notes that his employees’ conduct “was

facilitated and assisted by Combs’ control of the Combs Business.” Id. at ¶ 5. The indictment

specifically refers to the involvement of “Combs’ security staff,” likely referring to Sherman. Id.

It notes that Combs and his affiliates recorded sexual assaults and controlled victims through the

use of drugs. See id. at ¶ 12. In or about March 2024, law enforcement seized narcotics and

more than 1,000 bottles of baby oil and lubricant from Combs’ residences. Id.

          63.   Combs’ long history of violence against women makes unmistakably clear that

his actions, including his attack of Plaintiff, have been motivated by gender. Specifically, he has

a profound contempt for women and an ongoing practice of denigrating and trying to humiliate

them.

          64.   Combs’ treatment of Plaintiff accords with his pattern and practice of drugging,

raping, and secretly recording the women he is abusing.

                              FIRST CAUSE OF ACTION
    (Violation of New York City Victims of Gender-Motivated Violence Protection Act)
                                     (All Defendants)

          65.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          66.   By viciously and violently forcing sexual contact, oral sex, anal sex, and sexual

intercourse on Plaintiff, Defendants Combs and Sherman committed a “crime of violence

motivated by gender” under the Victims of Gender-Motivated Violence Protection Act

(“VGMVPA”) as defined in New York City Administrative Code § 10-1103.




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        67.    The requirement that the crime of violence be committed because of gender or on

the basis of gender, and due, at least in part, to an animus based on the victim’s gender is

satisfied because Defendants Combs and Sherman violently forced Plaintiff to engage in vaginal

intercourse, and oral and anal sex without her consent. Gender animus inheres when consent is

absent. Moreover, Combs’ long history of violence against women evinces a deep contempt for

women, as does Sherman’s alleged pattern of committing his own sexual assaults, recording

them, and selling them as pornography.

        68.    Defendants Combs’ and Sherman’s rapes of Plaintiff presented a serious risk of

physical injury to her and in fact caused her significant physical injuries including burning and

pain in her vagina and anus, anal bleeding, and bruising to her face and wrists.

        69.    The Combs Corporations enabled Combs and/or Sherman to commit the crime of

violence motivated by gender because Combs and Sherman raped Plaintiff at the Bad Boy

studio, where on information and belief they routinely committed sexual assault and gender-

motivated violence, as detailed in other civil lawsuits. Given Combs’ and Sherman’s long-

standing pattern and practice of committing sexual violence against women, including at the

same location where they raped Plaintiff, the Combs Corporations had and/or should have had

knowledge of Combs and Sherman using the premises for this unlawful conduct, and did nothing

to stop it.

        70.    The Combs Corporations enabled Combs and/or Sherman to commit the crime of

violence motivated by gender by failing to, among other things, protect Plaintiff from a known

danger and/or have sufficient policies and procedures in place to prevent sexual assault and/or

train their employees on identifying and preventing sexual assault. Given Combs’ and

Sherman’s long-standing pattern and practice of committing sexual violence against women,




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including on premises owned and/or operated by Defendants, the Combs Corporations had

and/or should have had knowledge that Combs and Sherman were a danger to Plaintiff, and did

nothing to stop Combs and Sherman.

       71.     The Combs Corporations enabled Combs and/or Sherman to commit the crime of

violence motivated by gender by failing to properly supervise Combs and/or Sherman. Further,

Combs, as the owner of Bad Boy and Daddy’s House, watched Plaintiff being raped by his

employee, on the premises of Bad Boy. The Combs Corporations had knowledge and/or should

have had knowledge of Combs’ widespread and well-known practice of committing sexual

assault and gender-motivated violence, including on premises owned and/or operated by

Defendants, and did nothing to stop it.

       72.     The Combs Corporations further enabled Combs and/or Sherman to commit the

crime of violence motivated by gender by actively placing, maintaining, and/or employing

Combs and/or Sherman in positions of power and authority, despite the fact that they knew

and/or should have known that Combs had a widespread and well-known practice of committing

sexual assault and gender-motivated violence, including on premises owned and/or operated by

Defendants. Combs and Sherman used their titles and authority conferred by the Combs

Corporations, including as CEO, Founder, and Chairman (Combs) and Head of Security

(Sherman), to facilitate and perpetuate the violent assault on Plaintiff, and to intimidate and force

Plaintiff to keep quiet in subsequent years.

       73.     The Combs Corporations also enabled Combs and/or Sherman to commit the

crime of violence motivated by gender because Combs and Sherman used Plaintiff’s boyfriend’s

employment as an executive for Bad Boy and Daddy’s House, and their stated concerns about his

performance at work, to lure Plaintiff out of her home to meet with them alone.




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          74.   On information and belief, Plaintiff alleges that Defendant Organizational Does 1

through 10, inclusive, are other parties not yet identified who have enabled Combs and/or

Sherman to commit the crime of violence motivated by gender, in the ways articulated above

and/or in other ways.

          75.   As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be

determined at trial and pursuant to the fee-shifting provision of the statute.

          76.   This legal action has been commenced within the statutory timeframe provided by

the two-year look-back window for VGMVPA claims. See New York City Administrative Code

§ 10-1105.

                                 SECOND CAUSE OF ACTION
                        (Violation of New York Civil Rights Law § 52-B)
                                      (Combs and Sherman)

          77.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          78.   By raping Plaintiff and recording it, Defendants caused Plaintiff to be depicted in

a video image unclothed and with intimate body parts exposed, and engaging in sexual conduct

with another person in violation of New York Civil Rights Law § 52-B.

          79.   Defendants published and/or disseminated the video without Plaintiff’s

knowledge or consent. On information and belief, Defendants have continued to disseminate the

video, including by selling it as pornography, through the present.

          80.   Plaintiff was fully identifiable in the video.

          81.   Plaintiff had a reasonable expectation that Defendants would not secretly record a

violent rape of her and disseminate the video to others.




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          82.   By intentionally publicly humiliating Plaintiff and trying to ruin Plaintiff’s

romantic relationship with her then-boyfriend when they published the video, Defendants had the

purpose of harassing, annoying, and/or alarming Plaintiff.

          83.   As a direct and proximate result of Defendants’ actions in violation of New York

Civil Rights Law § 52-B, Plaintiff has suffered and continues to suffer emotional harm, including

mental anguish, emotional distress, and humiliation in an amount to be determined at trial.

          84.   Defendants’ violations of New York Civil Rights Law § 52-B were malicious,

willful, wanton, and outrageous, entitling Plaintiff to an award of punitive damages.

          85.   Defendants should be ordered to account for and destroy all copies of the video

that are in their actual or constructive possession, custody, or control.

          86.   Defendants should be temporarily and permanently enjoined from further

disseminating or publishing any intimate images of Plaintiff.

                                 THIRD CAUSE OF ACTION
                  (Violation of New York City Administrative Code § 10-180)
                                    (Combs and Sherman)

          87.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.

          88.   By recording and showing others the video of themselves violently raping

Plaintiff, Defendants disclosed an intimate image of Plaintiff without her consent in violation of

New York City Administrative Code § 10-180.

          89.   Defendants are covered recipients because they recorded and/or caused the video

to be recorded themselves.

          90.   On information and belief, Defendants have continued to disseminate the video,

including by selling it as pornography, through the present.




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       91.     Such intimate images depicted Plaintiff unclothed and with intimate body parts

exposed, and engaging in sexual conduct with another person, in violation of § 10-180.

       92.     Plaintiff was fully identifiable in the video.

       93.     Plaintiff had a reasonable expectation that Defendants would not secretly record a

violent rape of her and disseminate the video to others and certainly did not intend for the

recording to be disclosed to anyone.

       94.     Defendants intentionally disclosed and disseminated the video to Plaintiff’s then-

boyfriend and others without Plaintiff’s consent with the intent to publicly humiliate Plaintiff and

ruin her relationship with her then-boyfriend, causing her economic, physical, and/or substantial

emotional harm.

       95.     Defendants’ intention in disseminating and publishing the video was to harass,

annoy, alarm, and humiliate Plaintiff, and to cause her economic, physical, and/or substantial

emotional harm.

       96.     As a direct and proximate result of Defendants’ actions in violation of New York

City Administrative Code § 10-180, Plaintiff has suffered and continues to suffer emotional

harm, including mental anguish, emotional distress, and humiliation in an amount to be

determined at trial.

       97.     Defendants’ violations of New York City Administrative Code § 10-180 were

malicious, willful, wanton, and outrageous, entitling Plaintiff to an award of punitive damages.

       98.     Defendants should be ordered to account for and destroy all copies of the video

that are in their actual or constructive possession, custody, or control.

       99.     Defendants should be temporarily and permanently enjoined from further

disclosing and disseminating any intimate images of Plaintiff.




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       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants as follows:

          a. Awarding compensatory damages for all physical injuries, emotional distress,

              psychological harm, anxiety, humiliation, physical and emotional pain and

              suffering, family and social disruption, and other harm, in an amount to be

              determined at trial;

          b. Awarding punitive damages in an amount to be determined at trial;

          c. Awarding attorneys’ fees and costs pursuant to any applicable statute or law,

              including under New York City Administrative Code § 10-1104, New York Civil

              Rights Law § 52-B(2), New York City Administrative Code § 10-180, and any

              other applicable statute or law;

          d. Awarding pre- and post-judgment interest on all such damages, fees, and/or costs;

          e. Attaching any and all of Defendants’ real property and other assets located in the

              State of New York pursuant to Federal Rule of Civil Procedure 64;

          f. Ordering Defendants to account for and destroy all copies of any and all images

              and videos taken of or in connection with Combs’ and Sherman’s sexual assault

              of Plaintiff that are in their actual or constructive possession, custody, or control,

              and enjoining Defendants temporarily and permanently from further

              disseminating or publishing any intimate images or videos of Plaintiff; and

          g. Awarding such other and further relief as this Court may deem just and proper.


Dated: New York, New York
       September 24, 2024




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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


DAWN ANGELIQUE RICHARD,

              Plaintiff,
                                                            CIVIL CASE NO. cv-24-6848
       v.

SEAN COMBS, HARVE PIERRE, REMOTE
PRODUCTIONS INC, NEW REMOTE PRODUCTIONS                     COMPLAINT
INC, THE NORDLINGER GROUP LLC, NOVEMBER
15 LLC, DADDY’S HOUSE RECORDING STUDIO,                     JURY TRIAL DEMAND
BAD BOY ENTERTAINMENT LLC, BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT
HOLDINGS INC, BAD BOY PRODUCTIONS
HOLDINGS INC, BAD BOY BOOKS HOLDINGS INC,
THE SEAN COMB MUSIC INC, SEAN COMBS
CAPITAL LLC, COMBS ENTERPRISES, LLC,
UNIVERSAL MUSIC GROUP NV, INTERSCOPE
GEFFEN A&M RECORDS, DIAGEO AMERICAS
SUPPLY INC D/B/A CIROC DISTILLING COMPANY
D/B/A CIROC CANNING CO, COMBS WINES AND
SPIRITS LLC, JANICE COMBS PUBLISHING INC,
JANICE COMBS PUBLISHING HOLDINGS INC,
SONY SONGS, a division of SONY MUSIC
PUBLISHING LLC, LOVE RECORDS INC, EPIC
RECORDS, DOE CORPORATIONS 1-10, AND DOE
DEFENDANTS 11-20,
              Defendants.



       Plaintiff Dawn Angelique Richard (“Ms. Richard”), by and through her attorneys, The

Bloom Firm and IP Legal Studio LLC, brings this action against Defendants. Ms. Richard alleges

upon knowledge concerning her own experience and upon information and belief as to all other

matters.

                                 PRELIMINARY STATEMENT

       1.     Dawn Angelique Richard, known professionally as Dawn Richard, is an American

musician, singer, songwriter, and performer. She gained widespread recognition as a member of

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the girl group Danity Kane, formed by Defendant Sean Combs (“Mr. Combs”), and later

transitioned into a key member of Mr. Combs’ band Diddy – Dirty Money.

       2.      Defendant Sean Combs, a once-celebrated hip-hop mogul popularly known by his

stage names Puff Daddy, Puffy, P. Diddy, Diddy, or Love, skyrocketed to fame in the late 1990s

and became a powerful and enduring figure in the music and entertainment industry. In 1998, Mr.

Combs explained the origins of his stage name in a USA Today interview: his nickname was

“Puff” because he had a “temper” and was known to “huff and puff” when he was angry.

       3.      Over the decades following his rise to fame, Mr. Combs’ star-studded, larger-than-

life persona overshadowed his vicious temper and pervasive acts of violence directed towards

those in his inner circle – specifically, women.

       4.      Mr. Combs’ namesake temper frequently manifested in physical violence. Mr.

Combs regularly hurled objects in fits of rage, often throwing items such as mobile phones,

laptops, food, and studio equipment across the room or at people. On numerous occasions, Ms.

Richard witnessed Mr. Combs brutally beat his girlfriend, Ms. Casandra (“Cassie”) Ventura (“Ms.

Ventura”). His persistent abuse included choking and strangling Ms. Ventura, striking her with

his hands and with objects, slapping her, punching her, and throwing items at her, including a

scalding hot pan.

       5.      On many occasions, Ms. Richard tried to intervene, offering Ms. Ventura support

and encouragement to leave Mr. Combs. Each time, Mr. Combs learned of her efforts to help Ms.

Ventura and became enraged, threatening Ms. Richard’s life with statements such as “you want

to die today,” “I make n***** go missing” and “I end people.”

       6.      Compounding Mr. Combs’ violent acts and death threats, he flagrantly exploited

Ms. Richard’s musical talent as a singer and writer while withholding her rightful earnings,

stealing her copyrighted works, and subjecting her to years of inhumane working conditions

which included groping, assault, and false imprisonment, among other violations.

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       7.      For nearly a decade, Mr. Combs manipulated Ms. Richard with mantras that

submission to his depraved demands was necessary for career advancement, instilling in her the

belief that such abuse and exploitation were required for female artists to succeed in the music

industry. It was not until Ms. Ventura’s bravery in coming forward that Ms. Richard realized her

own personal suffering was tied to the many years of abuse by Mr. Combs that had become

normalized for her.

       8.      As more women courageously come forward, Plaintiff has been empowered by

this collective strength and now adds her voice to the growing chorus of victims bravely sharing

their harrowing stories. Together, they seek justice and stand in solidarity, as the latest victims of

the #Me Too movement in the music industry.

                                                 PARTIES

       9.      Ms. Dawn Angelique Richard is a resident of the State of California and was

employed by Defendants Remote Productions Inc., New Remote Productions Inc., Bad Boy

Entertainment LLC, Bad Boy Records LLC, Bad Boy Entertainment Holdings LLC, Bad Boy

Productions Holdings Inc., Bad Boy Books Holdings Inc., The Sean Comb Music Inc., Sean

Combs Capital LLC, and Combs Enterprises LLC (hereinafter collectively “Bad Boy Records”)

from 2005 until 2012. At all relevant times herein, Ms. Richard met the definition of an

“employee” of Defendant Bad Boy Records and related entities. At all relevant times herein, Ms.

Richard was a resident of the State of New York.

       10.     Defendant Sean Combs, upon information and belief, resides within the State of

California. At all relevant times herein, Mr. Combs met the definition of an “employer” of Ms.

Richard under all relevant statutes.

       11.     Defendant Harve Pierre (“Mr. Pierre”), upon information and belief, resides within

the state of New Jersey. At all times relevant herein, Defendant Harve Pierre was the president of



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Bad Boy Entertainment and Bad Boy Records in New York and met the definition of an

“employer” of Ms. Richard under all relevant statutes.

          12.   Defendants Remote Productions Inc. (“RPI”) and New Remote Productions Inc.

(“NRPI”) are Delaware corporations and television production companies, which upon

information and belief, were created by Mr. Combs to produce Making The Band in New York

and in California. At all relevant times herein, RPI and NRPI employed Ms. Richard under all

relevant statutes.

          13.   Defendant The Nordlinger Group LLC is a finance firm with its principal place of

business in New York, and on information and belief, is/was employed by other named defendants

herein to pay and account to Ms. Richard pursuant to her employment with other named

defendants. On information and belief, The Nordlinger Group LLC formed November 15 LLC

for purposes of disbursing funds relative to Making The Band.

          14.   Upon information and belief, Defendant Daddy’s House Recording Studio Inc. is

a New York corporation and a music recording studio owned by Defendant Bad Boy Records, in

New York. At all relevant times herein, Ms. Richard was an employee required to work at said

studio.

          15.   Defendant Bad Boy Entertainment LLC is a music, media, and entertainment

company founded by Defendant Sean Combs, which includes the record label Defendant Bad

Boy Records LLC. Defendant Bad Boy Entertainment LLC is a Delaware limited liability

company and successor-in-interest to RPI. At all relevant times herein, Bad Boy Entertainment

LLC met the definition of an “employer” of Ms. Richard under all relevant statutes.

          16.   Defendant Bad Boy Entertainment Inc. is a Florida corporation. At all relevant

times herein, Bad Boy Entertainment Inc. met the definition of an “employer” of Ms. Richard

under all relevant statutes.



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        17.     Defendant Bad Boy Entertainment Holdings Inc. is a New York corporation.

Upon information and belief, Defendant Bad Boy Entertainment Holdings Inc. is a successor-in-

interest to Defendants Bad Boy Entertainment LLC, Bad Boy Records LLC, and Bad Boy

Entertainment Inc. as alleged herein.

        18.     Defendant Bad Boy Productions Holdings Inc. is a New York corporation. Upon

information and belief, Defendant Bad Boy Production Holdings Inc. is a successor-in-interest to

other “Bad Boy” Defendants as alleged herein.

        19.     Defendant Bad Boy Books Holdings Inc. is a New York corporation. Upon

information and belief, Defendant Bad Boy Books Holdings Inc. is a successor-in-interest to other

“Bad Boy” Defendants as alleged herein.

        20.     Defendant The Sean Comb Music Inc. is a company under which Ms. Richard was

employed by Defendant Sean Combs. Upon information and belief, The Sean Comb Music Inc.

is a part or successor to other “Bad Boy” company Defendants as alleged herein.

        21.     Defendants Sean Combs Capital LLC and Combs Enterprises LLC are New York

limited liability companies, which upon information and belief are successor-in-interest

companies to Defendant The Sean Comb Music, Inc.

        22.     Defendant Universal Music Group N.V. (“UMG”) is a Dutch–American

multinational music corporation. UMG's corporate headquarters are located in Hilversum,

Netherlands and its operational headquarters are located in Santa Monica, California. Defendant

Interscope Geffen A&M Records are subsidiaries of UMG, with operational headquarters in

California. At all relevant times herein, UMG and subsidiaries Interscope Geffen A&M Records

financially benefited from, condoned and enabled Defendant Combs’ misconduct as defined

under all relevant statutes.

        23.     Defendant Diageo Americas Supply Inc. was a New York corporation, and upon

information and belief, currently is a Kentucky and/or an Illinois corporation, doing business as

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Ciroc Distilling Company in New York. Ms. Richard conferred a benefit on these Defendants

pursuant to the direction of Defendant Combs.

        24.     Defendant Combs Wines and Spirits LLC is a New York limited liability

company, which upon information and belief, is Defendant Combs’ holding company for

sponsorships by Defendant Diageo Americas Supply Inc. d/b/a Ciroc Distilling Company. At all

relevant times, Ms. Richard was employed by Defendant Combs Wines and Spirits LLC under

all relevant statutes.

        25.     Defendant Janice Combs Publishing Inc. is a music publishing administrator and

a New York corporation, who at all relevant times, held or holds the publishing copyrights of Ms.

Richard pursuant to her employment with other defendants herein under all relevant statutes.

        26.     Defendant Janice Combs Publishing Holdings Inc. is a music publishing

administrator, a New York corporation, and a successor in interest to Janice Combs Publishing

Inc., who at all relevant times, held or holds the publishing copyrights of Ms. Richard pursuant to

her employment with other defendants herein under all relevant statutes.

        27.     Defendant Sony Songs, a division of Sony Music Publishing LLC, is a New York

limited liability company who is the assignee of Ms. Richard’s publishing copyrights from

Defendants Janice Combs Publishing Inc. and Janice Combs Publishing Holdings Inc.

        28.     Defendant Love Records Inc. is a music record label owned and/or, upon

information and belief, controlled by Defendant Sean Combs, with its principal place of business

in California. Ms. Richard conferred a benefit on this Defendant pursuant to the direction of

Defendant Combs.

        29.     Defendant Epic Records, a record label currently managing other defendants’

companies, interests and music, is a subsidiary of Sony Music Entertainment, with its principal

place of business in New York. Ms. Richard conferred a benefit on these Defendants pursuant to

the direction of Defendant Combs.

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                                         JURISDICTION AND VENUE

         30.      This Court has jurisdiction pursuant to 28 U.S.C. §§1331 and 1343, as this action

asserts violations of 18 U.S.C. § 1591 et seq., 18 U.S.C. § 1589 et seq., and 17 U.S.C. § 106 et

seq., and therefore raises federal questions regarding the deprivation of Ms. Richard’s rights. The

Court has supplemental jurisdiction over Ms. Richard’s related claims arising under state and city

law pursuant to 28 U.S.C. § 1367(a).

         31.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to this action occurred in this District, and Defendants

Sean Combs and Bad Boy Records conduct substantial business and/or are domiciled in this

District.

                                             FACTUAL ALLEGATIONS

    I.         Ms. Richard is selected to be in Mr. Combs’ all-female musical group Danity
               Kane after competing on MTV’s Making The Band

         32.      In or around 2004, Ms. Richard was selected to participate in Season 3 of MTV

Networks’ reality television show, Making The Band. The show centered around the formation

and development of a new musical group under the mentorship of Mr. Combs. The contestants

would compete and be chosen by Mr. Combs to form a band, which would go on to create albums

and perform.

         33.      For aspiring artists like Ms. Richard, Making The Band represented a concrete path

to a career in the entertainment industry. Ms. Richard appeared in Seasons 3 and 4 of Making The

Band, which first aired in 2005,1 and in Season 5 of Making His Band, which aired in 2009.2




1
 Making The Band is a reality television series that premiered on MTV in 2000. The show has had several iterations,
each featuring a different musical group. The stars of Season 3 and 4 were Aubrey O’Day, Wanita “D. Woods”
Woodgett, Shannon Bex, Aundrea Fimbres, and Ms. Richard, known as the all-female group Danity Kane.
2 Season 5 of Making The Band featured Diddy – Dirty Money, a trio consisting of Mr. Combs, Kalenna Harper, and

Ms. Richard.

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       34.    Out of thousands of contestants, Ms. Richard along with approximately twelve

other women were selected to participate in Season 3 of Making The Band. Five women, including

Ms. Richard, were ultimately chosen to be in the group, Danity Kane, which was named by Ms.

Richard.

       35.    Prior to and including the first Danity Kane album, Making The Band was filmed

entirely at Daddy’s House Recording Studio at 3120 W. 44th Street, New York, New York. The

Making The Band content that focused on Danity Kane’s work on its second album, Welcome to

the Dollhouse, was filmed at Daddy’s House and at Mr. Combs’ Miami residence. Other Making

The Band episodes included Los Angeles as a third filming location.

       36.    Upon information and belief, to create Making The Band, camera crews filmed 24

hours a day, gathering months’ worth of footage to condense into mere hours of entertainment for

viewers.

       37.    Danity Kane released its self-titled debut album in August 2006 and its second

album Welcome to the Dollhouse in March 2008.

       38.    Danity Kane’s first album sold over 4,000,000 copies; damages to Ms. Richard for

unpaid salaries are estimated at $1,000,000.00; Danity Kane’s second album Welcome to the

Dollhouse sold over 2,000,000 copies; damages to Ms. Richard for unpaid salaries and royalties

are estimated at $500,000.00. Damages on unpaid wages for touring on over 100 dates for Ms.

Richard with Danity Kane are estimated at $1,800,000.00.

       39.    Mr. Combs fired bandmate Aubrey O’Day and Wanita “D. Woods” Woodgett

from Danity Kane on live television at the height of its fame in 2008; which resulted in Danity

Kane being disbanded in 2009.

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   II.         Ms. Richard first encounters Mr. Combs’ aggressive, intimidating behavior and
               animus toward women

         40.      During the auditions and on the set of Making The Band, Mr. Combs projected an

aura of superiority, wealth, and power. Mr. Combs regularly wore sunglasses and avoided looking

the female contestants in the eyes, contributing to an atmosphere of uncertainty and intimidation.

         41.      During auditions, Mr. Combs spoke to the female contestants in a hostile,

condescending manner, making disparaging gender-based remarks such as calling them “fat,”

“ugly,” “bitches,” and “hoes.” Ms. Richard felt threatened and intimidated by Mr. Combs’ blatant

disdain for the young women, like herself, who were excited for the opportunity to be on his show.

         42.      Once the band was made, Mr. Combs’ contempt for women was readily apparent

as he continued to display aggressive and hostile behavior towards Ms. Richard and her all-female

Danity Kane bandmates. Mr. Combs regularly referred to the five women as “bitches” and “hoes”

and denigrated their physical appearances. By way of example, Mr. Combs stated that Ms.

Richard was too skinny and needed to “do something about this [her face].”

         43.      On one occasion in or around 2005, during the first season of Making The Band 3,

Ms. Richard observed Mr. Combs’ ex-partner and the mother of three of his children, Kim Porter,

leaving Mr. Combs’ recording studio in tears with visible facial injuries including a lacerated lip.

Realizing that Mr. Combs was capable of committing acts of violence against women caused Ms.

Richard to feel deep apprehension and fear that Mr. Combs could one day physically harm her.

         44.      Ms. Richard was present when Mr. Combs was introduced to Casandra (“Cassie”)

Ventura for the first time, in or around 2006. The moment Mr. Combs first saw Ms. Ventura, his

demeanor noticeably shifted. Mr. Combs positioned himself directly in front of Ms. Ventura’s

seat, invading her personal space, and fixated on her with an intense, unyielding stare, isolating

her from the other people in the room including Ms. Ventura’s then-boyfriend, music producer

Ryan Leslie.


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          45.      Coincidentally, this first meeting between Mr. Combs and Ms. Ventura was the

first time that Ms. Richard was in Mr. Combs’ presence without a camera crew filming. Observing

Mr. Combs behave in such an intimidating, predatory manner the first time that they were off

camera made Ms. Richard feel deeply apprehensive and afraid of him.

          46.      Subsequently, Ms. Ventura ended her relationship with Mr. Leslie and began

dating Mr. Combs, who would become violent and abusive towards her.

   III.         Danity Kane: Sexual harassment, inhumane treatment, and denial of basic needs
                by Mr. Combs

          47.      For the majority of Ms. Richard’s tenure as a member of Danity Kane and Diddy

– Dirty Money, Mr. Combs required her to remain at his various residences and studios in New

York, Los Angeles, Florida, and New Jersey for activities such as recording, rehearsing, dressing,

preparing costumes, and exercising.

          48.      Throughout the productions of Making the Band 3 and 4, Mr. Combs deprived Ms.

Richard and her Danity Kane bandmates of basic needs such as adequate food and sleep. When

Ms. Richard or her Danity Kane bandmates requested meals or rest, Mr. Combs refused and

chastised them with derogatory comments like “you bitches don’t want this” or “y’all are not

hungry enough” and “I’m paying you bitches to work.” This demeaning behavior gradually

undermined Ms. Richard’s confidence and contributed significantly to her growing feelings of

insecurity and fear of reprisal from Mr. Combs.

          49.      Upon information and belief, Mr. Combs would regularly be awake for prolonged

periods of time because he was high on drugs. During these periods, Mr. Combs demanded

continuous access to Ms. Richard and her Danity Kane bandmates, often forcing them to record

and rehearse for stretches of 36 to 48 hours without breaks. Forced to choose between eating and

sleeping, Ms. Richard lost a significant amount of weight, weighing approximately 100 pounds




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at a height of 5’4”. Ms. Richard began to normalize these extreme conditions and perceive them

as standard requirements of her participation in Danity Kane.

       50.     Mr. Combs regularly sent his associates to wake Ms. Richard and her Danity Kane

bandmates in the overnight hours so he could watch them rehearse. The regularity of these

disturbances led Ms. Richard to adapt by sleeping in a sitting position, fully dressed and with

makeup on, heightening her anxiety. Over time, this abnormal sleeping arrangement came to feel

routine, further normalizing Mr. Combs’ invasive demands.

       51.     In addition to exhausting rehearsals, Mr. Combs required Ms. Richard and her

bandmates to participate in intense workouts with a personal trainer. On one occasion, while

running on the beach, Ms. Richard became so dehydrated that she vomited. Instead of offering

medical assistance, MTV Networks’ camera crew filmed the incident – contributing to her

acceptance of such treatment as part of her professional life.

       52.     The unrelenting and rigorous schedule of rehearsals, performance, and near-

constant filming that Mr. Combs imposed caused Ms. Richard to experience extreme weight loss,

dehydration, fatigue, and painful rashes from the microphone pack she was required to wear on

her back. These conditions intensified Ms. Richard’s feelings of powerlessness, as she

increasingly viewed them as part of her professional reality and feared the consequences of any

resistance.

       53.     In a further assertion of power and dominance, Mr. Combs insisted on holding

meetings while dressed only his underwear. On one occasion in 2008 at his Miami residence, Mr.

Combs emailed Ms. Richard directing her to meet him in the living room. When she arrived, he

was wearing only his underwear. Ms. Richard asked Mr. Combs to put clothes on, but he refused,

stating “This is my fucking house.” Mr. Combs then conducted a meeting lasting approximately

an hour while dressed in his underwear, causing Ms. Richard to feel violated and embarrassed,

and amplifying her feelings of powerlessness.

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          54.      Following the official Danity Kane breakup in early 2009 effectuated by Mr.

Combs, Ms. Richard experienced significant financial hardship. With no prospective

opportunities for employment within the entertainment field, Ms. Richard spent several months

traveling from Baltimore to Daddy’s House Recording Studio in New York, without pay or

allocated budget. Mr. Combs promised that Ms. Richard’s compositions would result in payment

of license fees and royalties pursuant to her contract with Bad Boy Records; however, no such

compensation was ever reported or paid to Ms. Richard. Damages relative to these continuing

copyright infringements will be proved at trial.

    IV.         Diddy – Dirty Money: Ms. Richard experiences Mr. Combs’ gender-based
                physical violence, criminal acts, sexual assault, threats, and intimidation

          55.      By approximately the fall of 2009, many of Ms. Richard’s compositions had been

recorded by other Bad Boy Records artists. Due to the success of her compositions, Ms. Richard

was invited to meet with musical artist Kalenna Harper (“Ms. Harper”) and shortly thereafter Mr.

Combs, Ms. Richard and Ms. Harper formed a new group: Diddy – Dirty Money.

          56.      Initial recording for Diddy – Dirty Money’s album Last Train to Paris took place

in Mr. Combs’ home on Doheny Drive in Los Angeles, California. On the first day of recording,

Ms. Richard and Ms. Harper arrived at Mr. Combs’ home and waited in the kitchen, where Mr.

Combs’ girlfriend, Ms. Ventura, was frying eggs for him.

          57.      Ms. Richard observed Mr. Combs come down the stairs looking high on drugs,

enter the kitchen, approach Ms. Ventura, and scream, “I’ve been asking you for my shit; I can’t

stand you bitch, you never do it right!” Mr. Combs pushed Ms. Ventura against the wall and

choked her, then picked up the scalding hot pan of eggs and threw it at her, causing her to fall to

the ground in a fetal position. Cursing and screaming, Mr. Combs dragged Ms. Ventura up the

stairs.




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       58.     Frozen in shock and terror, Ms. Richard heard glass shattering, crashing, and

banging noises as Mr. Combs dragged Ms. Ventura up the stairs. Ms. Richard wanted to intervene

and help Ms. Ventura, but Ms. Harper adamantly refused to interfere in Mr. Combs’ relationship,

and physically led Ms. Richard out of the residence. Terrified and shaken, Ms. Richard returned

to her hotel where she was unable to sleep due to worrying about Ms. Ventura and her own safety.

       59.     The following day, Ms. Richard received a call demanding that she return to Mr.

Combs’ residence to continue recording. Mr. Combs brought Ms. Richard and Ms. Harper into

the recording room at his studio, locked the door, dimmed the lights, and gave each of them

flowers. Mr. Combs went on at length, stating: “this is normal, this was just a lover’s argument

where no one was hurt . . . this is what love is… I’m giving you an opportunity, if you want to

make it you’ll shut your mouth…if you say anything, there will be consequences.” Mr. Combs

further warned that “people end up missing.” Being threatened while locked for over 20 minutes

in a small, enclosed space with Mr. Combs after observing Mr. Combs violently assault Ms.

Ventura the day before, Ms. Richard was terrified and genuinely believed that Mr. Combs would

follow through on his threats.

       60.     In or around November 2009, after the Soul Train Awards in Atlanta, Georgia, Mr.

Combs flew Ms. Richard and Ms. Harper to his house in New York on his private jet for an

afterparty. There were many well-known celebrities at the afterparty, and copious amounts of

illegal drugs were being openly consumed. Upon information and belief, Mr. Combs had arranged

for dozens of young women and girls – some of whom appeared to be underage – to be transported

to the party. The women arrived wearing little to no clothing and were given drugs and alcohol.

Many of them appeared lethargic or passed out while Mr. Combs and his guests performed sexual

acts on them. Ms. Richard believed that her presence at the party was a test to see whether Mr.

Combs could trust her.



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       61.     Mr. Combs repeatedly said things like “this is a buffet, enjoy yourselves; this is

what we do, this is how we party.” Ms. Richard felt shocked and horrified at the sight of Mr.

Combs and his guests violating incapacitated young women, and implored Mr. Combs’ personal

assistant Capricorn Clark to allow her to leave. Ms. Clark insisted that Ms. Richard wait 15

minutes for Ms. Clark to “make it make sense” – that is, to make Ms. Richard’s exit less

conspicuous so that Mr. Combs would not notice that she had left. Knowing that she was not free

to leave and had to wait for Ms. Clark to help her orchestrate her departure, Ms. Richard

experienced feelings of panic and being trapped against her will.

       62.     Mr. Combs regularly placed Ms. Richard in similar situations with no means to

escape. At Mr. Combs’ drug-fueled parties, his guests, including Ms. Richard, were required to

surrender their phones upon entry. Mr. Combs kept the doors locked and guarded by security

personnel, making it impossible for Ms. Richard to leave without alerting Mr. Combs that she had

done so. Mr. Combs hired police officers to attend his parties, sending a clear message to guests

that his influence extended to law enforcement officers, and creating a climate of fear and a tacit

warning that reporting him to authorities would be both unacceptable and futile.

       63.     On many occasions, Mr. Combs had parties at his Miami, Florida residence that

lasted for several days. At one of the parties, Ms. Richard witnessed Mr. Combs openly stating

that he had arranged for busloads of young “exotic” girls, such as mixed Black and Asian,

Indonesian, and albino. Once again, Ms. Richard observed inebriated young girls being sexually

violated by Mr. Combs and his guests. In a state of panic and terror, Ms. Richard fled to the

bedroom Mr. Combs had insisted she stay in and barricaded the door shut with furniture.

       64.     Mr. Combs openly assaulted Ms. Ventura in front of Ms. Richard and other

witnesses on multiple occasions. On one occasion in or around the fall of 2009, Diddy – Dirty

Money was in New York preparing to perform at a festival. Inside their vehicle, Mr. Combs

grabbed Ms. Ventura’s neck, pulled her out of the van onto the grass and pinned her head down,

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choking her while yelling “you gonna get fucked up today.” This incident took place in the

backstage area just outside the festival and was entirely visible to passersby.

        65.      In another instance, in or around early 2010, Mr. Combs punched Ms. Ventura in

the face in the bathroom of a party in Los Angeles. Frequently, when Ms. Ventura attempted to

voice an opinion or stand up to Mr. Combs, he would strike her or wrap his hands around her

throat and choke her.

        66.      On the first several occasions that they observed Mr. Combs assault Ms. Ventura,

Ms. Richard and Ms. Harper spoke with Ms. Ventura to support and encourage Ms. Ventura in

escaping her abusive relationship with Mr. Combs. Every time that Ms. Richard and Ms. Harper

tried to intervene, Mr. Combs learned of the conversation and became irate. Mr. Combs screamed

at the women: “Y’all bitches don’t get in my relationship,” “Don’t tell my bitch [Ms. Ventura]

what she need to be doing,” “Just make money and shut the fuck up,” “I end artists,” “I shelve

careers,” “You could be missing,” and “You bitches want to die today,” among other threats.

   V.         Interscope Records Enabled Mr. Combs’ Gender-Motivated Violence

        67.      In or around late 2009 or early 2010, Bad Boy Entertainment (“Bad Boy”) entered

an agreement with Interscope Geffen A&M Records (“Interscope”). Upon information and belief,

Bad Boy was paid $50 million in exchange for Bad Boy’s future releases being distributed through

Interscope. In so doing, Mr. Combs intended to capitalize on Interscope’s significant resources

and enhance the promotion and sales of Bad Boy’s releases, including Diddy – Dirty Money’s

upcoming album.

        68.      In the weeks and months leading up to the Bad Boy-Interscope deal, Mr. Combs

had frequent meetings with producer and then-CEO of Interscope Records Jimmy Iovine. On one

such occasion, Combs hosted a dinner at a West Hollywood, California restaurant, which Ms.

Richard and Ms. Harper were required to attend. Among the guests at the dinner were celebrities

like NeYo and Usher, as well as Mr. Iovine. At the dinner, Mr. Combs and Ms. Ventura had an

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argument. In front of the dinner guests, Mr. Combs hissed at Ms. Ventura in a screaming whisper

and forcefully punched her in the stomach causing her to double over in visible pain, crying. Ms.

Clark escorted Ms. Ventura out of the restaurant, and Mr. Combs remained and continued

socializing with the dinner guests. At this point, Interscope Records clearly had actual knowledge

that Combs was dangerous around females and that Combs was willing to brazenly batter a female

in public.

        69.      Even after Mr. Iovine watched Mr. Combs commit a violent assault in front of

numerous high-profile witnesses, the Bad Boy-Interscope deal took place and remained in effect,

providing Mr. Combs with immense financial rewards and enabling him to commit further acts

of violence without fear of repercussions. Watching Mr. Combs openly assault Ms. Ventura in

front of Mr. Iovine and various celebrities – and observing that other powerful music industry

representatives were complicit in Mr. Combs’ behavior – amplified Ms. Richard’s fears that Mr.

Combs could one day harm her and that his actions would be accepted and normalized by

everyone surrounding him.

        70.      As part of the agreement between Bad Boy and Interscope, Interscope heavily

promoted Diddy – Dirty Money’s Last Train to Paris album. Mr. Iovine had presented Mr. Combs

with a demo of “Coming Home” for him to produce – a song that would become a multi-platinum

hit.3 Mr. Iovine was encouraging Mr. Combs to develop a new sound for the album, into which

Interscope was investing significant resources. Ms. Richard, Ms. Harper and Ms. Ventura all

provided vocal performances for this project. Released in November 2010, the album “Last Train

to Paris” became Diddy – Dirty Money’s most commercially successful project, providing vast

financial rewards to both Interscope and Mr. Combs.


3  The album “Last Train to Paris” credits both Interscope Records and Bad Boy Records.
https://www.discogs.com/master/347136-Diddy-Dirty-Money-Last-Train-To-Paris;
https://www.revolt.tv/article/2020-12-14/64067/studio-sessions-never-before-heard-stories-of-diddy-dirty-moneys-
last-train-to-paris-creation


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    VI.         Diddy- Dirty Money: Mr. Combs subjects Ms. Richard to Labor Trafficking and
                Oppressive Working Conditions

          71.      In or around the fall of 2009, Diddy – Dirty Money began recording the song Love

Comes Down. Upon information and belief, Mr. Combs continued to use drugs that caused him

to remain awake for prolonged periods of time. When he was awake, he would demand that Ms.

Richard and Ms. Harper record in the studio, where they would spend three to four consecutive

days recording without a break to eat or sleep. Mr. Combs required Ms. Richard and Ms. Harper

to remain at his home(s) continuously, denying the opportunity to return to their hotel rooms for

breaks. The degree of control Mr. Combs exercised over Ms. Richard’s daily life and basic needs

exacerbated the significant power imbalance and threatening atmosphere that ensured Ms.

Richard’s compliance with his demands.

          72.      Mr. Combs regularly left the studio and required Ms. Richard and Ms. Harper to

stay and write verses to songs. Occasionally, Ms. Richard tried to leave to get something to eat or

to go to her hotel. Whenever Ms. Richard tried to leave, Mr. Combs would call and demand,

“where the fuck are you” and “we have an album to make.” Mr. Combs frequently made threats,

especially if they asked for food or rest, stating “you’re a bitch,” “I don’t want to see your fucking

face,” “I make n****s go missing,” and “I make things go away.” Each time, Ms. Richard

returned to the studio immediately, believing that Mr. Combs was capable of following through

with his threats.

          73.      Mr. Combs criticized Ms. Richard for being “too skinny,” yet denied her requests

for food and demanded that she drink only peanut butter shakes. Mr. Combs had full meals

prepared by a chef and ate them in front of Ms. Richard and Ms. Harper, never offering them

food.

          74.      Ms. Richard and Ms. Harper begged for food and rest breaks, but Mr. Combs

refused, making statements such as “absolutely fucking not” and “this is what it takes to be great.”


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Mr. Combs’ responses underscored the threat he posed and heightened Ms. Richard’s concerns

for her safety and well-being.

       75.     As Ms. Richard continued to work non-stop – transitioning between the studio,

rehearsals, workouts, and back to the studio – she became severely dehydrated and experienced

chronic stomach cramping from being undernourished and excessively thin. On the numerous

occasions that she told Mr. Combs that she was not feeling well, he called her lazy and dismissed

her health concerns, instilling in her further apprehension of communicating her needs.

       76.     In or around the summer of 2010, Ms. Richard experienced abdominal pain,

swollen glands and a fever. She was hospitalized and diagnosed with arthralgia (joint pain due to

overuse, sprains, tendonitis and infection), anemia, and a low white blood cell count. Ms. Richard

presented Mr. Combs with her medical records specifying that she needed to emphasize eating

well, being adequately hydrated, and getting adequate rest, but Mr. Combs ordered her to report

to the studio the next day for another multi-day recording session. Mr. Combs’ blatant disregard

for her health and well-being cemented Ms. Richard’s fear of his authority and control over her

career and health.

       77.     Ms. Richard continued to witness Mr. Combs’ abuse towards Ms. Ventura. Ms.

Ventura often wore sunglasses and makeup in an attempt to hide visible injuries. These incidents

further solidified Ms. Richard’s fear of Mr. Combs, as they were constant reminders of the

physical dangers she potentially could – and eventually would – face.

       78.     Mr. Combs often exhibited uncontrollable anger during recording sessions,

throwing objects like albums, laptops, and food against the wall or at individuals. Mr. Combs

frequently flew into frenzied, unpredictable rages. Ms. Richard feared making any misstep that

could direct his anger toward her. However, her fears went beyond her immediate physical safety.

Because she had witnessed Mr. Combs’ violent nature, a side of Mr. Combs that the world had

not yet seen, she feared that falling out of Mr. Combs’ good graces or worse, standing up to him

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or speaking out against him, could result in serious harm to her. Ms. Richard frequently thought

about Mr. Combs’ threat about making people “go missing” and feared taking any action that

could label her as a target.

         79.       Despite Mr. Combs’ violence, threats, and misogyny, Diddy-Dirty Money

experienced significant sales of records, selling 2,000,000 copies of one single, 500,000 of

another in the US, and in Australia 5,000,000 single copies. Ms. Richard’s unpaid wages and

royalties are estimated at $1,200,000.00. Ms. Richard’s unpaid touring wages are estimated at

over $350,000.00 for touring dates within the United States alone.

    VII.       CIROC / DiddyBeats / Nonpayment

         80.       In or around the summer of 2009, Ms. Richard and Ms. Harper were required by

Mr. Combs to perform as part of Diddy – Dirty Money and attend numerous promotional events,

including late or overnight parties, all of which were under contract between Mr. Combs and

CIROC Vodka, or between Mr. Combs and DiddyBeats pursuant to the Bad Boy – Interscope

record deal.

         81.       Ms. Richard was never compensated for the extra time she spent fulfilling Mr.

Combs’ promotional contracts, including the CIROC and the DiddyBeats campaign. Mr. Combs

was paid approximately $250,000 per CIROC appearance. Mr. Combs did not compensate Ms.

Richard or Ms. Harper for these appearances, other than just $5,000 each on a handful of

occasions.      Mr. Combs’ ongoing explanation for withholding compensation was that their

appearances were a requirement for their tour. Additionally, Ms. Richard was required to appear,

and to promote DiddyBeats, through parties, album songs and videos.

         82.       Over time, Mr. Combs was paid $6.25 million for 25 CIROC shows that Ms.

Richard was required to attend.4 Following each show, Ms. Richard and Ms. Harper approached


4 Numerous videos depict Ms. Richard performing at CIROC events, such as the video available at

https://youtu.be/HtIiNNsIgkw?si=4FFCB1tD6gCeX4R3. This video depicts Ms. Richard singing as part of Diddy – Dirty Money and
is representative of her performances as part of Mr. Combs’ CIROC campaign.

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Mr. Combs to inquire about their insufficient and sporadic payments. Mr. Combs routinely

responded with statements such as “You bitches aren’t grateful” and “you don’t want this.” Ms.

Richard estimates losses from CIROC campaign promotions totaling at least $1,562,500.00.

Upon information and belief, Mr. Combs received an advance on DiddyBeats for which Ms.

Richard received no compensation.

    VIII. Mr. Combs Sexually Harasses and Assaults Ms. Richard

        83.    Between approximately 2009 and 2011, throughout Diddy – Dirty Money’s

recording process, rehearsals, and performances, Mr. Combs repeatedly ordered Ms. Richard to

strip down to her underwear. He frequently referred to her as a “bitch” or “whore” and made

demeaning remarks about her body, alternatingly calling her lazy, fat, ugly, and skinny,

particularly in front of his friends, producers, and bodyguards.

        84.    Mr. Combs frequently held meetings with Ms. Richard wearing only his

underwear, despite Ms. Richard’s protests and repeated requests for him to put on clothing. In

response, Mr. Combs called her a “bitch” and “whore” and reminded her that she should be

grateful for the opportunity to be there.

        85.    Often while they were recording in the studio, Mr. Combs would hold “parties”

where he would invite young men and women, who were often scantily dressed and appeared

underage, to use drugs and engage in sex acts. Ms. Richard observed Mr. Combs and his

colleagues kissing, groping, and inappropriately touching the young women. Upon information

and belief, the participants often left the immediate area to have sex and returned shortly

thereafter.




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       86.     On numerous occasions between approximately 2009 and 2011, under the guise

of preparing for performances, Mr. Combs would intrude into Ms. Richard’s changing room at

Daddy’s House unannounced while Ms. Richard was undressed.

       87.     Even though a female stylist was present and assisting Ms. Richard with her

wardrobe, Mr. Combs would grope Ms. Richard’s body, including her bare buttocks and her chest

area near her breasts. With no legitimate purpose, and without Ms. Richard’s consent, Mr. Combs

caressed her buttocks to show the stylist where he wanted her high-waisted panties positioned,

and attempted to touch her breasts, claiming to show the stylist where he wanted her bra straps to

go.

       88.     When Mr. Combs would enter the changing room, Ms. Richard would cover her

chest with her hands to prevent Mr. Combs from seeing or touching her breasts. When Mr. Combs

would touch her body, Ms. Richard would attempt to swat his hands away and state “don’t touch

me.”

       89.     Mr. Combs frequently smacked Ms. Richard’s bare buttocks and often commented

on her body, noting that although she was “too skinny,” she had an “ass.”

       90.     Ignoring her visible and communicated discomfort, Mr. Combs persisted and

continued to intrude when Ms. Richard was in the dressing room, continued to touch her buttocks

and breast area under the guise of showing the stylist what to do, and continued to smack her

buttocks without her consent.

       91.     In or around October 2010, Diddy – Dirty Money performed in Glasgow, Scotland,

where Mr. Combs engaged in overt sexual advances towards Ms. Richard. On numerous

occasions when Ms. Richard exited the dressing room fully styled, Mr. Combs looked at her

approvingly and smacked her buttocks while making comments such as “you’re looking good,”

“OK Dawn, OK,” and “I see what that is” in a flirtatious tone. Each time, Ms. Richard moved

away and asked him not to touch her, but Mr. Combs disregarded her protests.

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       92.     On their last night in Glasgow, Ms. Richard witnessed Mr. Combs and several

other males gang-banging Mr. Combs’ female assistant at the hotel pool. Ms. Richard

immediately left and went to her hotel room.

       93.     On their flight back to the United States the next day, Ms. Richard asked Mr.

Combs where his assistant was; Mr. Combs replied, “I don’t give a fuck where that bitch is.” Ms.

Richard later learned that Mr. Combs had taken his assistant’s passport with him to the United

States, leaving the assistant stranded in the United Kingdom.

       94.     In Glasgow, Ms. Harper confided in Ms. Richard that her husband and manager,

Tony Vick (“Mr. Vick”), was abusive. After an especially severe assault, she confided in Ms.

Richard that she wanted to leave Mr. Vick, and Ms. Richard helped her to plan her exit from the

relationship. However, Ms. Harper and Mr. Vick reconciled, and both Mr. Combs and Mr. Vick

– who had a close relationship – learned of Ms. Richard’s role in helping Ms. Harper. Both Mr.

Combs and Mr. Vick became noticeably distrustful of Ms. Richard, which exacerbated her fears

of harm and reprisal.

       95.     When Mr. Combs would require his Diddy – Dirty Money bandmates to stay at his

residence in Miami, Ms. Richard would barricade herself inside her room at night, placing heavy

furniture against the door because she feared being harmed in her sleep.

       96.     In or around late December 2010, Ms. Richard, Ms. Harper, and Ms. Ventura were

in Mr. Combs’ Los Angeles home when Mr. Combs stated “I want to gift you [fake] titties for

Christmas.” Mr. Combs reached out and cupped Ms. Richard’s breasts without her permission

and stated “You’re an A; I’m thinking a D.” Ms. Richard recoiled in shock and left the room.

       97.     Throughout the abovementioned time period, when Ms. Richard resisted Mr.

Combs’ advances, Mr. Combs retaliated by denying her singing parts in songs, removing her from

songs, refusing to allow her to sing in performances, and turning her microphone off during



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performances. The more Ms. Richard rebuffed his advances, the more Mr. Combs’ retaliatory

behavior increased.

   IX.         Mr. Combs Assaults and Falsely Imprisons Ms. Richard

         98.      In or around December 2010, Diddy – Dirty Money was preparing for an upcoming

performance on Saturday Night Live (“SNL”). As usual, rehearsals lasted for days without the

opportunity to eat or rest, and the rehearsal schedule was unpredictable. After waiting all day for

Mr. Combs to call or send a car, Ms. Richard received a phone call from Mr. Combs demanding

“Where the fuck are you bitches? You bitches don’t want this; y’all don’t deserve to have

someone pick you up; get a cab.” Ms. Richard and Ms. Harper immediately took a taxi to SIR

Studios at 520 West 25th St, New York NY, anxious because Mr. Combs sounded enraged.

         99.      Upon their arrival at SIR Studios, Mr. Combs and Harve Pierre were waiting for

them in the lobby. Mr. Combs screamed obscenities at them: “Where the fuck were you bitches?

You bitches don’t want to win . . . you don’t want this . . . I’m so tired of y’all.” Ms. Richard

noticed that people in the lobby were reacting to Mr. Combs’ tirade. Embarrassed, Ms. Richard

asked Mr. Combs to stop swearing and calling them “bitches” in front of everyone.

         100.     Mr. Combs’ facial expression shifted as he stepped towards Ms. Richard, raised

his arm, and swung his fist toward her face. Believing that Mr. Combs was going to hit her, Ms.

Richard braced for the impact. Before Mr. Combs could strike her, Mr. Combs’ bodyguard

grabbed her, escorted her out of the studio and forced her into the Bad Boy Records Bentley that

was parked outside. Ms. Harper ran after Ms. Richard, and Mr. Combs’ bodyguard closed and

locked the Bentley’s doors with both women inside.

         101.     Inside the vehicle, Ms. Richard realized there were no interior door handles, and

that they were locked inside with no way to escape. Ms. Richard’s belongings were in the studio,

but she was able to call her father from Ms. Harper’s cell phone. Ms. Richard relayed to her father

what had happened, and that she needed help and feared that she would go missing. Moments

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later, Mr. Combs’ bodyguard removed only Ms. Harper from the Bentley, leaving Ms. Richard

locked in the car alone for over two hours.

       102.    Ms. Richard screamed as loudly as she could, but no one responded. It was late

evening in the wintertime, the windows were heavily tinted, and the interior of the car was dark

except for faint interior lights. Ms. Richard’s belongings and winter coat were in the studio, while

the ignition was off and there was no heat. With Mr. Combs’ prior threats and violence running

through her mind, Ms. Richard felt sheer panic, terror, and feelings of claustrophobia at being

locked in a small, dark, enclosed space with no way to communicate or call for help. She began

to feel cold and feared for her life, not knowing when or if she would be released.

       103.    Ms. Richard’s father drove to New York from Baltimore and arrived at the studio

approximately two hours later. Only after her father arrived and demanded to see her did Mr.

Pierre order Mr. Combs’ bodyguard to release Ms. Richard from the vehicle. Mr. Pierre ushered

Ms. Richard’s father between several rooms at SIR Studios, where he waited for approximately

two hours before being able to confront Mr. Combs. Once Ms. Richard’s father expressed that

he intended to contact police, Mr. Combs warned him to “think about your family” and “think

about your daughter’s career.” Her father appeared visibly frightened by Mr. Combs’ threats and

actions, which in turn made Ms. Richard feel terrified for herself and her family’s safety.

       104.    The next night, Diddy – Dirty Money performed on SNL. Mr. Combs subsequently

called Ms. Richard, complimented her performance, and concluded with a threat: “you don’t call

your dad unless you’re in the hospital.”

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    X.       Unjust Enrichment of Defendants by Breach of Contract and/or Copyright
             Infringement

         105.    As a member of Danity Kane, Ms. Richard has performed on over 15 songs5 and

holds composition credits for more than 3 songs.6 Defendants have failed to account to or pay

Ms. Richard as agreed for her compositions and her performances and have breached contracts

and infringed her copyrights, all of which has unjustly enriched Defendants.

         106.    As a member of Diddy-Dirty Money, Ms. Richard has performances recorded on

over 9 songs;7 additionally Ms. Richard has composition rights and credits on more than 5 songs.8

Defendants have failed to account to or pay Ms. Richard as agreed for her compositions and her


5  1. "Show Stopper" 2. "Ride for You" 3. "Damaged" 4. "Bad Girl" 5. "Pretty Boy" 6. "Striptease" 7. "Poetry"
8. "Lights Out" 9. "Sucka for Love" 10. "Ain't Going" 11. "2 of You" 12. "Do Me Good" 13. "Ecstasy" (featuring
Rick Ross) 14. "Lemonade" (featuring Tyga) 15. "All in a Day's Work"
6

1.“Bad Girl" (featuring Missy Elliott) Written by Dawn Richard, Mary Brown, Mary Brockert, Missy Elliott, Sean
Combs, Quincy Jones, David Wolinski, Shanell Woodgett
2. "Secret Place" (Interlude) • Performed by Dawn Richard
3. "Infrared" Written by Dawn Richard, Kwame Holland

7 1. "Angels"

2. "Love Come Down"
3. "Yeah Yeah You Would"
4. "Hate That You Love Me"
5. "Your Love" (featuring Trey Songz)
6. "Ass on the Floor" (featuring Swizz Beatz)
7. "Yesterday" (featuring Chris Brown)
8. "I Hate That You Love Me"
9. "Shades" (featuring Lil Wayne and Justin Timberlake)
8
  1."I Hate That You Love Me"
Written by Dawn Richard, Richard Butler, Warren Trotter, Arden Altino, Durrell Artaze Babbs
 2. "Looking for Love" (featuring Usher)
Written by Dawn Richard, Usher Raymond IV, Sean Combs, Kalenna Harper, Kevin "KC" Cossom, Marcella
 Ms. Lago Araica, Eric "E-Class" Akon, Mario "Yellowman" Winans
3. "Strobe Lights" (featuring Lil Wayne)
Written by Dawn Richard, Lil Wayne, Sean Combs, Richard Butler, Warren Trotter, Arden Altino, Marcella Ms.
Lago Araica, Kevin "KC" Cossom
4. "Loving You No More" (featuring Drake)
Written by Drake, Dawn Richard, Sean Combs, Richard Butler, Warren Trotter, Arden Altino, Mario Winans, Jerry
"Wonda" Duplessis
5. Change" Written by Dawn Richard, Richard Butler, Warren Trotter, Arden Altino




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performances and breached contracts and/or infringed her copyrights, unjustly enriching

Defendants.

            107.   In 2020, Mr. Combs selected Ms. Richard for a reboot of Making The Band, and

Ms. Richard spent hours preparing to be a judge on the new show. However, the COVID-19

pandemic halted those plans, and Ms. Richard was never compensated in any way.

            108.   On or about July 1, 2021, Mr. Combs and Bad Boy Records (or Holdings or both),

directed Janice Combs Publishing Inc. to assign its administration rights of Ms. Richard’s songs,9


9

SONG TITLE          WRITER NAME                                                                               ARTIST
86                 CARLA HAYNES-CARTER (20), DAWN RICHARD (20), ANDREW SCOTT (60)
2 SIDES (TWO       Ray Romulus (15), Dawn Angelique Richard (13.34), Jeremy Reeves (15), Jonathan Yip (15),
                                                                                                              DANITY KANE
SIDES)             Malcolm McDaniel (13.33), Ray McCullough (15), Rosina Russell (13.33)
AIN'T GOING        Iyanna Dean (45), Bernard Malik (50), DAWN RICHARD (2.5), WANITA WOODGETT (2.5)            DANITY KANE
ASS ON THE         SEAN COMBS (5), KASSEEM DEAN (55), KALENNA HARPER (20), DAWN RICHARD (10),                 DIDDY-DIRTY
FLOOR              LEROY WATSON (10)                                                                          MONEY
                                                                                                              Jimmy Edgar
Burn So Deep       James Michael Edgar (50), DAWN RICHARD (50)                                                Feat. Dawn
                                                                                                              Richard
                                                                                                              DAWN
Dance              Noise Castle (25), Ester Dean (25), DAVID RYAN HARRIS (25), Dawn Richard (25)
                                                                                                              RICHARD
Faith              Ricky Lewis (50), DAWN RICHARD (50)
FIREFLIES          DAWN RICHARD (25), HARMONY SAMUELS (50), ANDREW SCOTT (25)                                 ZENDAYA
FLASHBACK
                   Romeo IX (50), DAWN RICHARD (25), WANITA WOODGETT (25)                                     DANITY KANE
(INTERLUDE)
                   Marcela aracia (5), SEAN COMBS (10), JAMES FAUNTLEROY (35), KALENNA HARPER (2.5), DIDDY-DIRTY
HATE YOU NOW
                   Nathaniel Hills (45), DAWN RICHARD (2.5)                                          MONEY
HOME FOR
                   DAWN RICHARD (100)                                                                         DANITY KANE
CHRISTMAS
HURT (LOVING       SEAN GARRETT (50), AUBREY GRAHAM (15), DAWN RICHARD (5), MIKAL SNODDY
                                                                                                        DIDDY
YOU NO MORE)       (25), MARIO WINANS (5)
LIGHTS OUT         Craig Betz (20), Neil Betz (20), SEAN COMBS (5), DAWN RICHARD (50), MARIO WINANS (5) DANITY KANE
                   Shawn Carter (7.5), SEAN COMBS (17), BERRY GORDY JR (1.5), KALENNA HARPER (10.63),
LOVE COME
                   ROB HOLLADAY (34), ALPHONSO MIZELL (1.5), FREDDIE PERREN (1.5), DAWN                 DIDDY
DOWN
                   RICHARD (10.62), DEKE RICHARDS (1.5), LEROY WATSON (12.75), KANYE WEST (1.5)
PERFECTLY          BRIAN ANDREWS (6.25), Robert Curry (6.25), MICHAEL MCCLUNEY (6.25), QWANELL
                                                                                                              DAY26
BLIND              MOSLEY (25), DIRK PATE (25), DAWN RICHARD (25), Willie Taylor (6.25)
SECRET PLACE       SHANNON BEX (10), AUNDREA FIMBRES (10), AUBREY O'DAY (10), DAWN RICHARD
                                                                                                               DANITY KANE
(INTERLUDE)        (10), MARIO MENDELL WINANS (50), WANITA WOODGETT (10)
                   Derek Scott Bergheimer (10), Jesse Dee Boykins III (33), DAWN RICHARD (20), Karl Rubin (5),
Stopwatch
                   Travis Wayne Stewart (32)
Stopwatch (Salva   Jesse Dee Boykins III (20), DAWN RICHARD (10), PAUL SALVA (50), Travis Wayne Stewart
Remix)             (20)
                   Marcella Araica (5), SHANNON BEX (6), AUNDREA FIMBRES (6), NATE HILL (45), AUBREY
STRIP TEASE                                                                                                    DANITY KANE
                   O'DAY (6), DAWN RICHARD (6), JAMES WASHINGTON (20), WANITA WOODGETT (6)
                   SEVEN AURELIUS (30), Dwayne Carter (10), Kenneth Coby (7.5), KALENNA HARPER (27.5), DIDDY-DIRTY
Strobe Lights
                   Tim McEwan (20), DAWN RICHARD (5)                                                           MONEY
TAILOR MADE
                   DANIEL BRYANT (0), PHILLIP BRYANT (0), CYNTHIA LOVING (0), DAWN RICHARD (0) LIL MO
SUIT
              Ray Romulus (12.50), Briana Jackson (16.67), Dawn Angelique Richard (16.67), Jeremy Reeves
TELL ME                                                                                                  DANITY KANE
              (12.50), Jonathan Yip (12.50), Ray McCullough (12.50), Rosina Russell (16.66)
YEAH YEAH YOU MARCELLA ARACIA (5), RICHARD BUTLER (12), KALENNA HARPER (23), Floyd Hills (45), DIDDY-DIRTY
WOULD         DAWN RICHARD (5), LEROY WATSON (10)                                                        MONEY

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held from her tenure with Defendants in the years 2005-2012, to Sony Songs, a division of Sony

Music Publishing LLC (“Sony”). The assignment, signed by Ms. Richard on October 22, 2024,

purported to credit, through a semi-annual accounting, Ms. Richard’s royalty account for Ms.

Richard’s compositions from between 80 to 90% of publisher’s share. However, no statements

were ever provided, no payments were ever made, and no reversions nor assignment were ever

recorded with Performing Rights Organizations or other royalty collecting entities by Defendants

or by Sony. Defendants have wholly failed to account to or pay Ms. Richard as agreed for her

compositions and her performances in breach of the assignment and have thereby infringed her

copyrights, resulting in Defendants being unjustly enriched.

       109.    During the summer of 2023, Mr. Combs’ new record company, Love Records Inc.,

tendered a contract for negotiation to Ms. Richard for the song entitled “Deliver Me,” embodied

as Track 3 on The Love Album: Off The Grid, officially released on September 15, 2023. Upon

information and belief, Deliver Me sold well prior to Mr. Combs’ legal troubles in November

2023. Continuing to the present, Ms. Richard sought to establish her rightful percentage as a 21%

composer on Deliver Me, Mr. Combs personally called Ms. Richard and left a voicemail

complaining about her fair requests. Upon information and belief, Mr. Combs directed his

attorneys to avoid confirming the composition percentages on the song; and in fact, list composers

who played no part in composing the song. As a result, the contract was never signed by either

Ms. Richard or Love Records Inc. Nevertheless, Ms. Richard obtained a copyright registration

certificate on a timely basis; said registration lists authors/claimants as agreed when the song was

created in 2009. That registration is filed separately in the Court and supports Ms. Richard’s

claim of copyright infringement by Defendants herein. Defendants Love Records Inc. and Mr.




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Combs infringed Ms. Richard’s copyrights in the composition of Deliver Me by releasing Deliver

Me without Ms. Richard’s permission and without compensation.

                                                  DAMAGES
        110.    As a result of the acts and conduct complained of herein, Ms. Richard has suffered
and will continue to suffer the loss of income, wages, benefits, royalties, promotional fees, touring
fees and other compensation. Ms. Richard has also suffered, among other things, future pecuniary
losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, post-traumatic stress
disorder, anxiety disorder, insomnia, panic attacks and other non-pecuniary losses entitling her to
an award of compensatory and punitive damages, injunctive and declaratory relief, attorney’s fees
and costs, and other remedies as this Court may deem appropriate.


                                   FIRST CAUSE OF ACTION
            Violation of The Victims of Gender-Motivated Violence Act, N.Y.C. Admin.
                              Code §§ 10-1101, et seq. (“VGMVPL”)
            Against Defendants Sean Combs, Harve Pierre, Interscope Records & Bad Boy
                                          Records

        111.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

        112.    The above-described conduct of Mr. Combs, including but not limited to Mr.

Combs’ physical and sexual assaults, harassment, and unlawful imprisonment of Plaintiff in New

York City constitutes a “crime of violence” against Plaintiff and is a “crime of violence motivated

by gender” as defined in § 10-1103 of the New York City VGMVPL. The term “crime of

violence” means an act or series of acts that would constitute a misdemeanor or felony against

the person as defined in state or federal law if the conduct presents a serious risk of physical injury

to another, whether or not those acts have actually resulted in criminal charges, prosecution or

conviction; and the term “crime of violence motivated by gender” means a crime of violence

committed because of gender or on the basis of gender, and due, at least in part, to an animus

based on the victim’s gender.


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       113.    The above-described conduct of Mr. Combs, including, but not limited to, sexual

assault, physical assault, threats, and false imprisonment, all conduct proscribed by PL

110/120.00(1), PL 120.15, PL 240.30(3), PL 135.05; PL 135.10 Pl 130.52, PL 240.30(1)(a), PL

120.14(2), PL S 135.5(3), constitutes a “crime of violence” against Plaintiff and is a “crime of

violence motivated by gender” as defined in § 10-1103.

       114.    Defendants Harve Pierre, Interscope Records, and Bad Boy Records have

financially and otherwise benefited from these acts and omissions by keeping Mr. Combs, the

volatile and explosive owner of Bad Boy Records, satisfied, and benefited from facilitating his

behavior.

       115.    Defendants Harve Pierre, Interscope Records, and Bad Boy Records enabled,

condoned, had knowledge of, and failed to act to prevent or mitigate Mr. Combs’ commission of

the abovementioned crimes of violence motivated by gender and are therefore also liable under

the VGMVPL.

       116.    As a direct and proximate result of the above mentioned crimes of violence and

gender-motivated violence, Plaintiff has sustained and will continue to sustain, monetary damages

and/or economic harm, physical injury, pain and suffering, and serious psychological and

emotional distress, entitling her to an award of compensatory and punitive damages, injunctive

and declaratory relief, attorneys fees and costs, and other remedies as this Court may deem

appropriate, as set forth in § 10-1104.

       117.    Pursuant to § 10-1105(a), this cause of action is timely because it is commenced

within “two years and six months after September 1, 2022.”




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                                 SECOND CAUSE OF ACTION
                Sexual Assault pursuant to The California Sexual Abuse and
                   Cover Up Accountability Act, Cal. Civ. Proc. § 340.16
                    Against Defendants Sean Combs & Bad Boy Records

        118.   Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

        119.   Mr. Combs subjected Plaintiff to sexual battery, as defined in Cal. Penal Code §§

234.4(e)(1). In doing so, he intended to and did cause harmful and sexually offensive contact with

their person and place them in imminent apprehension of such contact.

        120.   Pursuant to California Code of Civil Procedure § 340.16, as amended by Assembly

Bill 2777, this cause of action is timely because it is commenced within three years of the date

Plaintiff discovered the injuries resulting from Defendants’ acts, which Plaintiff did not discover,

and could not have reasonably discovered, until November 2023 when Ms. Ventura filed a lawsuit

against Defendant.

        121.   Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

        122.   As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

        123.   Plaintiff also seeks reasonable attorneys’ fees as provided under Cal. Civil Code §

52.5.

                                 THIRD CAUSE OF ACTION
                    Forced Labor in Violation of 18 U.S.C. §§ 1589 and 1595
        Against Defendants Sean Combs, Bad Boy Records & UMG Interscope Geffen A&M

        124.   Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.


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       125.    Defendants knowingly obtained labor from Plaintiff through threats of serious

harm, physical restraint, and other means of coercion, in violation of 18 U.S.C. § 1589.

       126.    Defendants Bad Boy Records, UMG Interscope Geffen A&M Records knowingly

benefited from the forced labor and the trafficking activities conducted by Mr. Combs.

       127.    Under 18 U.S.C. § 1595, Plaintiff is entitled to bring a civil action against all

Defendants for their violation of 18 U.S.C. § 1589.

       128.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       129.    Plaintiff seeks compensatory damages for the harm suffered as a result of

Defendants’ forced labor practices.

       130.    Plaintiff also seeks punitive damages to deter such conduct by Defendants in the

future, along with reasonable attorney’s fees and costs.

       131.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                                 FOURTH CAUSE OF ACTION
        Violation of New York Services for Victims of Human Trafficking, N.Y. Servs. Law
                                        § 483-bb(c)
                        Against Defendants Sean Combs & Bad Boy Records

       132.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       133.    Plaintiff is a victim of labor trafficking within the meaning of N.Y. Penal Law

135.35 and is therefore entitled to bring a civil action under N.Y. Soc. Serv. § 483-bb.

       134.    The Defendants’ acts and omissions, taken separately and/or together, as outlined

above, constitute a violation of N.Y. Soc. Serv. § 483-bb. Specifically, Defendant Sean Combs


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perpetrated labor trafficking of Ms. Richard by inducing her to engage or continue to engage in

labor activity by means of instilling a fear in her that, if she refused to comply, he would cause

physical injury, serious physical injury, or engage in other conduct constituting a felony or

unlawful imprisonment in the second degree in violation of New York Penal Law 135.05, and

Defendant Bad Boy Records benefitted from Mr. Combs’ venture by holding Ms. Richard, an

artist signed with Defendant Bad Boy Records and otherwise employed by other Defendant Doe

Corporations, captive to Mr. Combs’ demands and desires. At all relevant times, Defendant Bad

Boy Records participated in and facilitated the obtainment of Plaintiff’s labor induced by force,

fraud, or coercion.

       135.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       136.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                                    FIFTH CAUSE OF ACTION
                           Sex Trafficking under 18 U.S.C. § 1591, et seq.
                          Against Defendant Sean Combs & Bad Boy Records

       137.     Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       138.    Mr. Combs, one of the most prominent musical artists and producers in the

industry, recruited and enticed Plaintiff by initiating a professional relationship with her and

inviting her to join his band Diddy- Dirty Money as a singer, songwriter, and performer. This

opportunity instilled in Plaintiff the hope and expectation of advancing her career and achieving

greater success in the music industry.



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        139.   Mr. Combs, through a pattern of coercive threats and displays of brutal violence,

caused Plaintiff to engage in commercial sex acts, as defined by 18 U.S.C. § 1591(e)(3). These

acts were carried out to further Mr. Combs’ financial gain from Ms. Richard’s participation in

Diddy-Dirty Money, to exert control over her, and to satisfy his own sexual gratification.

        140.   Mr. Combs used fraud and force to coerce and entice Ms. Richard into commercial

sex acts. Mr. Combs did so by making threats of career derailment and promises of career

advancement in exchange for Ms. Richard acquiescence to Mr. Combs’ sexual batteries and

assaults.

        141.   Mr. Combs acted with knowledge or in reckless disregard of the fact that Plaintiff

was forced to engage in these acts through coercion and that these acts were in exchange for her

continued place in the band and her financial stability.

        142.   Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

        143.   As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

        144.   Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                                    SIXTH CAUSE OF ACTION
                   Violation of the California Trafficking Victims Protection Act,
                                        Cal. Civil Code § 52.5
                        Against Defendants Sean Combs & Bad Boy Records

        145.   Plaintiff repeats and realleges each and every allegation contained in all of the

preceding paragraphs as if fully set forth herein.


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       146.    Plaintiff is a victim of trafficking within the meaning of Cal. Penal Code § 236.1

and is therefore entitled to bring a civil action under Cal. Civil Code § 52.5.

       147.    The Defendants’ acts and omissions, taken separately and/or together, as outlined

above, constitute a violation of Cal. Civ. Code § 52.5. Specifically, Defendant Sean Combs

perpetrated human trafficking of Ms. Richard by depriving or violating her personal liberty with

the intent to obtain forced labor, and Defendant Bad Boy Records benefitted from Mr. Combs’

venture by holding Ms. Richard, an artist signed with Defendant Bad Boy Records and otherwise

employed by other Defendant Doe Corporations, captive to Mr. Combs’ demands and desires. At

all relevant times, Defendants participated in and facilitated the obtainment of Plaintiff’s labor

induced by force, fraud, or coercion.

       148.    Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

       149.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       150.    Pursuant to Cal. Civ. Code § 52.5(d)(3), Defendants’ continuous death threats and

coercion induced Plaintiff to delay the filing of this action and asserting her rights within the

statutorily proscribed period. Defendants should be estopped from asserting the statute of

limitations as a defense due to the duress exerted upon Plaintiff.

       151.    Pursuant to Cal. Civ. Code § 52.5(d)(4), the suspension of the statute of limitations

due to estoppel applies to all other related claims arising out of the trafficking situation, including

but not limited to, Violation of The Victims of Gender-Motivated Violence Act, N.Y.C. Admin.

Code §§ 10-1101, et seq., Forced Labor in Violation of 18 U.S.C. §§ 1589 and 1595, New York

Services for Victims of Human Trafficking, N.Y. Servs. Law § 483-bb(c), Sex Trafficking under

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18 U.S.C. § 1591, Assault Under New York Law, Battery/Sexual Battery Under New York Law,

False Imprisonment under New York Law, False Imprisonment under California Law, Intentional

Infliction of Emotional Distress, Sexual Harassment, Gender Discrimination, and Hostile Work

Environment under New York State Human Rights Law, N.Y. Exec. Law §§ 290, et seq., Sexual

Harassment, Gender Discrimination, and Hostile Work Environment under New York City

Human Rights Law, N.Y. Exec. Law §§ 8-101, et seq., Retaliation in Violation of New York State

Human Rights Law, (“NYSHRL”) Section 296 and California Government Code Section

12940(h), Hostile Work Environment in violation of California Government Code §12940,

Gender Discrimination in violation of California Government Code §12940,Violation of Right of

Publicity Under New York Civil Rights Law § 50 and § 51, Unjust Enrichment, Copyright

Infringement 17 U.S.C. § 106, Breach of Contract, Breach of Implied Covenant of Good Faith &

Fair Dealing, Fraud, Intentional Misrepresentation, False Promise.

       152.       Pursuant to Cal. Civ. Code § 52.5(e), the running of the statute of limitations may

be suspended as Plaintiff could not have reasonably discovered the cause of action due to

circumstances resulting from the trafficking, including psychological trauma.

                                    SEVENTH CAUSE OF ACTION
                                     Assault Under New York Law
                           Against Defendants Sean Combs, & Bad Boy Records

       153.       Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       154.       In engaging in the conduct described above, Mr. Combs committed an assault

against Plaintiff because he intentionally placed Plaintiff in reasonable apprehension of imminent

harmful or offensive contact, and Plaintiff reasonably feared immediate bodily harm as a result

of Defendant’s conduct. Defendant’s actions amount to violations under N.Y. Penal Law §§

110/120.00(1), 120.15, as well as analogous California law and the common law of New York

and California.

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       155.    Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

       156.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       157.    The conduct of Mr. Combs described above was willful, wanton, and malicious.

At all relevant times, Mr. Combs acted with conscious disregard of Plaintiff’s rights and feelings,

acted with the knowledge of or with reckless disregard for the fact that his conduct was certain to

cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical injury, and/or

pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive

and exemplary damages from Defendant Combs according to proof at trial.

       158.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                                   EIGHTH CAUSE OF ACTION
                            Battery/Sexual Battery Under New York Law
                          Against Defendants Sean Combs & Bad Boy Records

       159.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       160.    In engaging in the conduct described above, Mr. Combs committed a battery

against Plaintiff because he intentionally engaged in unlawful, intentional, and offensive touching

or application of force to Plaintiff’s person. Mr. Combs repeatedly and without consent touched

Ms. Richard’s body including her buttocks and chest area. Defendant’s actions amount to

violations under N.Y. Penal Law §§ 150.50, 130.52, 130.55, and 130.65, as well as analogous

California law and the common law of New York and California.

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       161.    Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

       162.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       163.    The above-described conduct by Mr. Combs was willful, wanton, and malicious.

At all relevant times, Mr. Combs acted with conscious disregard of Ms. Richard’s rights and

feelings, acted with the knowledge of or with reckless disregard for the fact that his conduct was

certain to cause injury and/or humiliation to Ms. Richard, and intended to cause fear, physical

injury, and/or pain and suffering to Ms. Richard. By virtue of the foregoing, Ms. Richard is

entitled to recover punitive and exemplary damages from Mr. Combs according to proof at trial.

       164.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                                   NINTH CAUSE OF ACTION
                             False Imprisonment under New York Law
                  Against Defendants Sean Combs, Harve Pierre & Bad Boy Records

       165.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       166.    Defendants Mr. Combs and Mr. Pierre falsely imprisoned Plaintiff in New York

as alleged in this Complaint, by suddenly and without provocation, willfully and maliciously

falsely imprisoning Ms. Richard against her will in the Defendants’ corporate vehicle for over

two hours.




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       167.    Following Plaintiff’s false imprisonment in the Defendants’ corporate vehicle,

Defendant Mr. Combs issued a clear retaliatory threat of future injury and bodily harm to Plaintiff,

underscoring the intent to both control and to silence Plaintiff as to Defendant’s crimes.

       168.    Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

       169.    As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

       170.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights. Defendants should be estopped from asserting the statute of limitations as a

defense due to the duress exerted upon Plaintiff.

                                    TENTH CAUSE OF ACTION
                              False Imprisonment under California Law
                          Against Defendants Sean Combs & Bad Boy Records

       171.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       172.    Defendant Mr. Combs falsely imprisoned Ms. Richard in California as alleged in

this Complaint, by demanding, under false pretenses, that Ms. Richard appear for work, and

subsequently, willfully and maliciously falsely imprisoning and threatening Ms. Richard in Mr.

Combs’ home studio against her will for over twenty minutes.

       173.    Following Plaintiff’s false imprisonment in Mr. Combs’ home studio, Defendant

Mr. Combs issued a clear retaliatory threat of future injury and bodily harm to Plaintiff,

underscoring the intent to both control and to silence Plaintiff as to Defendant’s crimes.




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        174.   Defendant Bad Boy Records has financially and otherwise benefited from these

acts and omissions by keeping Mr. Combs, the volatile and explosive owner of Bad Boy Records,

satisfied, and benefited from facilitating his behavior.

        175.   As a direct and proximate result of Defendants’ actions, Plaintiff has sustained and

will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.

        176.   Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights. Defendants should be estopped from asserting the statute of limitations as a

defense due to the duress exerted upon Plaintiff.

                                ELEVENTH CAUSE OF ACTION
                            Intentional Infliction of Emotional Distress
                  Against Defendants Sean Combs, Harve Pierre & Bad Boy Records

        177.   Plaintiff repeats and re-alleges each and every allegation set forth in all of the

preceding paragraphs as if fully set forth herein.

        178.   Defendants Sean Combs and Harve Pierre’s conduct, which included abuse, death

threats, sexual assault, false imprisonment, deprivation of basic necessities in the workplace,

nonpayment or underpayments, and labor violations was extreme and outrageous, going beyond

all possible bounds of decency and utterly intolerable in a civilized community.

        179.   Defendants’ conduct was intentional and reckless and Defendants knew or should

have known that such conduct would cause Plaintiff severe emotional distress.

        180.   Defendants Harve Pierre and Bad Boy Records have financially and otherwise

benefited from these acts and omissions by keeping Mr. Combs, the volatile and explosive owner

of Bad Boy Records, satisfied, and benefited from facilitating his behavior.

        181.   Plaintiff has sustained and will continue to sustain, monetary damages and/or

economic harm, physical injury, pain and suffering, and serious psychological and emotional

distress.

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        182.   Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                             TWELFTH CAUSE OF ACTION
       Sexual Harassment, Gender Discrimination, and Hostile Work Environment under
     New York State Human Rights Law, N.Y. Exec. Law §§ 290, et seq. (“NYSHRL”)
                     Against Defendants Sean Combs & Bad Boy Records

        183.   Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

        184.   Defendants Sean Combs and Bad Boy Records discriminated against Plaintiff on

the basis of her gender in violation of the NYSHRL by subjecting Plaintiff to disparate treatment,

verbal abuse, systematic exclusion, failure to address complaints of discrimination and/or

harassment, retaliation, derogatory gender-based slurs and comments, insults and offensive

gender-based language, intimidation and bullying, threats, unfair treatment, and denial of

opportunities, promotions, or benefits based on gender.

        185.   As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the NYSHRL, Plaintiff has sustained and will continue to sustain, monetary and/or

economic harm, physical injury, pain and suffering, and serious psychological and emotional

distress.

        186.   Defendants’ unlawful and discriminatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff’s rights

under the NYSHRL for which Plaintiff is entitled to an award of punitive damages.

        187.   Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendant should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

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                          THIRTEENTH CAUSE OF ACTION
      Sexual Harassment, Gender Discrimination, and Hostile Work Environment under
    New York City Human Rights Law, N.Y. Exec. Law §§ 8-101, et seq. (“NYCHRL”)
                    Against Defendants Sean Combs & Bad Boy Records

       188.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       189.    Defendant Sean Combs and Bad Boy Records discriminated against Plaintiff on

the basis of her gender in violation of the NYCHRL by subjecting Plaintiff to unwanted touching

of her intimate parts, forcing Plaintiff to endure derogatory name-calling, and exposing Plaintiff

to sex trafficking and sex acts, constituting a hostile work environment. Defendants engaged in a

pattern of criminal conduct in the workplace that created an offensive, intimidating, and hostile

atmosphere for Plaintiff based on her gender.

       190.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the NYCHRL, Plaintiff has sustained and will continue to sustain, monetary

damages and/or economic harm, physical injury, pain and suffering, and serious psychological

and emotional distress.

       191.    Defendants’ unlawful and discriminatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff’s rights

under the NYCHRL for which Plaintiff is entitled to an award of punitive damages.

       192.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

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                               FOURTEENTH CAUSE OF ACTION
           Retaliation in Violation of New York State Human Rights Law, (“NYSHRL”)
                  Section 296 and California Government Code Section 12940(h).
                         Against Defendants Sean Combs & Bad Boy Records

       193.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       194.    Plaintiff engaged in protected activity by rejecting Defendant’s sexual advances,

which constitutes opposition to unlawful sexual harassment under New York State Human Rights

Law (NYSHRL), Section 296. This rejection is protected activity under NYSHRL and California

Government Code, as it opposes discriminatory conduct in the workplace.

       195.     Defendants Sean Combs and Bad Boy Records’ persistent denial of prominent or

continuing singing/writing/performing roles as to Plaintiff constitutes adverse employment

actions. Plaintiff’s rejection of Combs’ sexual advances subjected her to an increasingly hostile

work environment based on her gender. These actions materially and detrimentally affected

Plaintiff’s terms and conditions of employment, and were in direct response to Plaintiff’s

protected activity of rejecting Defendant’s sexual advances.

       196.    Further, Defendants’ failure to pay Ms. Richard earned wages, royalties, and

concert and promotional appearance fees according to contracts and other promises constitute

adverse employment actions based on gender and were done in retaliation by Defendants.

       197.    There is a direct causal connection between Plaintiff’s protected activity and

Defendants’ adverse employment action. The timing and circumstances indicate Defendant’s

retaliatory motives.

       198.    As a direct and proximate result of Defendants’ retaliation, Plaintiff has sustained

and will continue to sustain, monetary damages and/or economic harm, physical injury, pain and

suffering, and serious psychological and emotional distress.




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       199.    Defendants’ unlawful and retaliatory actions were intentional, done with malice

and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiff’s rights under

the NYSHRL for which Plaintiff is entitled to an award of punitive damages.

       200.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights. Defendants should be estopped from asserting the statute of limitations as a

defense due to the duress exerted upon Plaintiff.

                          FIFTEENTH CAUSE OF ACTION
      Hostile Work Environment in violation of California Government Code §12940
                     Against Defendants Sean Combs & Bad Boy Records

       201.        Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       202.        Defendants Sean Combs and Bad Boy Records subjected Plaintiff to sexual

harassment on the basis of her gender in violation of California Government Code § 12940,

including unwanted touching of her intimate parts, forcing Plaintiff to endure derogatory name-

calling, and exposing Plaintiff to sex trafficking and sex acts, all of which constituted a hostile

work environment.

       203.    The conduct of Defendants Sean Combs and Bad Boy Records created an

intimidating, hostile, and offensive working environment in violation of California Government

Code §12923.

       204.    As a direct and proximate result of Defendants’ unlawful conduct in violation of

Cal. Gov. Code § 12940, Plaintiff has sustained and will continue to sustain, monetary damages

and/or economic harm, physical injury, pain and suffering, and serious psychological and

emotional distress.

       205.    Defendants’ unlawful and discriminatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff’s rights

under Cal. Gov. Code § 12940 for which Plaintiff is entitled to an award of punitive damages.

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       206.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                         SIXTEENTH CAUSE OF ACTION
        Gender Discrimination in violation of California Government Code §12940
                      Against Defendants Sean Combs & Bad Boy Records

       207.    Plaintiff repeats and re-alleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       208.        Defendants Sean Combs and Bad Boy Records discriminated against Plaintiff

on the basis of her gender in violation of California Government Code § 12940 by subjecting

Plaintiff to disparate treatment, verbal abuse, systematic exclusion, failure to address complaints

of discrimination and/or harassment, retaliation, derogatory gender-based slurs and comments,

insults and offensive gender-based language, intimidation and bullying, threats, unfair treatment,

and denial of opportunities, promotions, or benefits based on her gender.

       209.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of Cal. Gov. Code § 12940, Plaintiff has sustained and will continue to sustain,

monetary damages and/or economic harm, physical injury, pain and suffering, and serious

psychological and emotional distress.

       210.    Defendants’ unlawful and discriminatory actions were intentional, done with

malice and/or showed a deliberate, willful, wanton, and reckless indifference to Plaintiff’s rights

under Cal. Gov. Code § 12940 for which Plaintiff is entitled to an award of punitive damages.

       211.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

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                              SEVENTEENTH CAUSE OF ACTION
                 Violation of Right of Publicity Under New York Civil Rights Law
                               § 50 and § 51 and Unjust Enrichment
           Against Defendants Sean Combs, Bad Boy Records, Universal Music Group NV,
     Interscope Geffen A&M Records, Diageo Americas Supply Inc. d/b/a Ciroc Distilling
              Company d/b/a Ciroc Canning Co., Combs Wines and Spirits LLC

            212.   Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

            213.   Mr. Combs required Ms. Richard to perform at and attend numerous promotional

events as part of Diddy – Dirty Money, including late or overnight parties which were under

contract between Mr. Combs and CIROC Vodka, or were between Mr. Combs and DiddyBeats

pursuant to the aforementioned deal between Bad Boy Records and Interscope Records.

            214.   Defendants knowingly used Plaintiff’s voice, likeness, image, and persona without

Plaintiff’s consent for advertising and promotion purposes and for the purpose of trade.

            215.   Defendants have been unjustly enriched at Plaintiff’s expense by using Plaintiff’s

voice, image, likeness, and persona without compensating Plaintiff.

            216.   It would be inequitable for Defendant to retain the benefit conferred by the

unauthorized use of Plaintiff’s voice, image, likeness, and persona.

            217.   As a result of Defendants’ unauthorized use of Plaintiff’s likeness, image, and

persona, Plaintiff has suffered damages and is entitled to restitution in an amount to be determined

at trial.

            218.   Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights. Defendants should be estopped from asserting the statute of limitations as a

defense due to the duress exerted upon Plaintiff.

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                              EIGHTEENTH CAUSE OF ACTION
                                     Copyright Infringement
                                         17 U.S.C. § 106
               Against Defendants Sean Combs, Bad Boy Records & Love Records, Inc.

       219.    Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       220.    Plaintiff wrote, created and performed on the music composition and sound

recording of the song Deliver Me in 2009, as included on Defendants’ 2023 released album The

Love Album: Off the Grid.

       221.    The composition and recording of Deliver Me was published by Defendants absent

agreement on terms; thus, Defendants have no signed or enforceable agreement with Plaintiff.

Plaintiff registered the musical composition and sound recording pertinent thereto with the

Register of Copyrights and received the certificate of registration therefor. Plaintiff owns

copyrights in the musical composition, rights of performance therein, and the exclusive rights to

reproduce and distribute to the public by sale or other transfer of ownership, or by lease, lending

or license, reproductions of the copyrighted works under Copyright Act, 17 U.S.C.§ 106.

       222.    Plaintiff is informed and believes and thereon alleges that on September 14-15,

2023, and continuing to the present, Defendants, and each of them, knowingly and willfully and

without securing Plaintiff’s permission or license: embodied, adapted, used, reproduced,

marketed, distributed and sold Plaintiff’s copyrighted material on Deliver Me as affixed in the

Defendants’ album The Love Album: Off the Grid.

       223.    Accordingly, Plaintiff alleges her claim for copyright infringement based on each

Defendant’s publication of Deliver Me as Plaintiff’s copyrighted musical composition without

license, permission or approval.

       224.    Each Defendant unquestionably had access to Plaintiff’s work through Defendants

previous companies, Bad Boy Records, et al. or other of Defendants’ holders of recorded

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compositions, and each Defendant knowingly and willfully ratified and confirmed said access

thereafter.

        225.    In undertaking the conduct complained of in this action, Defendants knowingly

and intentionally violated Plaintiff’s rights.

        226.    At no time did Plaintiff authorize Defendants to use, license, own, reproduce,

adapt or distribute Plaintiff’s copyrighted material. At the times of the acts of infringement

complained of, Plaintiff was and is the owner of the copyright in the music composition identified

and named above.

        227.    After the respective dates of first publication and continuing to the present, the

Defendants, and each of them, have infringed and continue to infringe Plaintiff’s copyrights in

the music composition by reproducing or causing, contributing to, and participating in the

unauthorized reproduction of the copyrighted music composition and by causing, contributing to,

and participating in the distribution of the unauthorized reproductions of the music composition

as recorded to the public.

        228.    Despite their actual or constructive knowledge through their individual and

collective recording industry experience and knowledge of copyright laws, enforcement of

intellectual property rights in other instances and their duties to view and examine licenses for

uses of copyrighted works, Defendants have used and promoted and continue to use and promote,

reproduce and to enable others to reproduce Plaintiff’s copyrighted music composition in its

complete or substantial entirety as and for the commercial profit of Defendants without any

ongoing payment to or authorization by Plaintiff (i.e. no accountings have been received).

        229.    As a direct and proximate result of the Defendants’ knowing and willful infringing

use of the copyrights, Plaintiff has sustained and will continue to sustain substantial injury, loss

and damage to her ownership, publishing and performance rights in her music composition, which

is copyrighted material.

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       230.     As a result of all of Defendants’ joint, several, willful and deliberate acts of

copyright infringement, Plaintiff is further entitled to recover from Defendants all of the damages

sustained by Plaintiff permitted by federal copyright law, including but not limited to

compensatory damages and the profits derived by Defendants as a result of their infringing acts,

in an amount to be determined according to proof at trial.

       231.     Plaintiff is further entitled to recover from Defendants the gains, profits and

advantages Defendants, and each of them, have obtained as a result of their acts of copyright

infringement.

       232.     Plaintiff is entitled to the maximum statutory damages which copyright

registration confers upon a copyright owner, pursuant to 17 U.S.C. §504(c), in the amount of

$150,000.00 with respect to each Defendant for each work infringed, or for such other amounts

as may be proper under 17 U.S.C. §504(c).

                            NINETEENTH CAUSE OF ACTION
                                    Breach of Contract
       Against Defendants Sean Combs, Bad Boy Records, The Sean Comb Music Inc, The
  Nordlinger Group LLC, November 15, LLC, Janice Combs Publishing Inc & Sony Songs

       233.     Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       234.     Under the initial Participant Agreement signed by Plaintiff in 2005 with Defendant

Remote Productions Inc., on information and belief, a company owned by Sean Combs, Plaintiff

was promised transportation to and from venues, adequate meals, rest and sleep, medical care and

impliedly, safety from a hostile workplace. Despite that Plaintiff fulfilled all of her duties and

beyond, Defendants breached its duty to provide these basic remunerations. Defendants also

failed to pay salary, royalties, profit participation, promotions, and touring to Plaintiff.

       235.     In late 2007, Plaintiff signed The Performer Agreement with Defendant Remote

Productions, Inc. which promised minimum compensation to Plaintiff of $4,000 per episode of

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Making The Band, travel and transportation costs, promotions pay at $3,000 per episode after 6

free, $250 per day for voiceovers or remixes, and performance rights. Despite Plaintiff’s working

overtime and double-time, wages or other promised compensation was withheld at least 80% of

the time.

        236.    Defendant Bad Boy Records, LLC, naming itself as successor-in-interest to

Remote Productions, Inc, and Plaintiff signed an agreement entitled The Danity Kane Letter

Amendment [the “DK Letter”] in late 2007. The DK Letter promised Plaintiff approval rights,

advances, concert remuneration, royalties at 12.5% payable by Defendant The Nordlinger Group

and/or November 15, LLC. Such payments were not made in accordance with contract, if at all,

despite demands to Defendants’ attorneys.

        237.    Defendants not only breached terms of the agreements listed above, but

additionally breached the implied covenants of an employer-employee relationship by acting in

bad faith and unfairly frustrating Plaintiff’s right to receive the benefits of the agreements actually

made.

        238.    Plaintiff entered a contract with Defendants “The Sean Comb Music, Inc.” on

January 1, 2009, promising payment to Plaintiff of 12.5% on sound recording masters in the US

and 10% of Net Tour Revenues or 5% per performance; Plaintiff was required to exclusively

license her music compositions to Defendants and assign the publishing administration to

Defendants.

        239.    On information and belief, at an unknown point in time, Defendant The Sean

Comb Music Inc. assigned its publishing administration to Janice Combs Publishing, Inc. and

such administration rights are alleged to be held by Janice Combs Publishing Holdings Inc.

        240.    On July 1, 2021, Defendants Janice Combs Publishing Inc. granted exclusive

administration rights in Plaintiff’s compositions to Sony Songs, a division of Sony Music

Publishing LLC.      Plaintiff signed her assent to the assignment on October 22, 2021. The

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assignment provided that Plaintiff would receive 90% of publisher’s share of performance

income, 80% of synchronization income and 90% of all other income.

       241.    Since a music publisher owes a duty to a writer to account to the writer for royalties

earned, each of the Defendants named in this count have wholly failed to provide accountings,

statements, payments nor validly register, administer, exploit or oversee the Plaintiff’s copyrights

they were entrusted with via the contracts and thereby breached the contracts with Plaintiff.

       242.    Plaintiff provided her talent as a singer, writer, performer, dancer and recording

artist. Defendants received significant benefits and compensation from Plaintiff’s services. Yet

none of the wages, royalties, publishing, touring, promotional fees and other profits promised by

Defendants were paid as agreed; conversely, Defendants routinely refused to pay despite

Plaintiff’s requests, nor was Plaintiff made whole at any time.

       243.    Defendants’ failure to perform the required duties set forth in the terms and

conditions of the contracts was foreseeable in causing Plaintiff to suffer general, consequential

and incidental damages, including economic damages. Defendants’ conduct is a breach of

contract.

       244.    As an actual and proximate result of Defendants’ unlawful and unconscionable

conduct in breaching its fiduciary duties, Plaintiff has lost wages, profits, benefits, royalties, and

has incurred other out of pocket expenses.

       245.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

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                                  TWENTIENTH CAUSE OF ACTION
                         Breach of Implied Covenant of Good Faith & Fair Dealing
                                          Against All Defendants


        246.    Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

        247.    Plaintiff entered several contracts with Defendants.

        248.    Plaintiff did all, or substantially all of the significant things the contracts required

her to do.

        249.    The allegations set forth in this complaint detail the malevolent and intentional

behavior by Defendants repeated throughout a 20 year span, all of which constitute breaches of

the implied covenant of good faith and fair dealing and demonstrate the bad faith of Defendants

at all relevant times.

        250.    Defendants did not pay Plaintiff her salary as agreed.

        251.    Defendants did not pay Plaintiff her royalties, nor extraneous promotions in any

instance.

        252.    Defendants did not pay Plaintiff her share of income for her contributions to

musical compositions, her publishing, as agreed, despite the assignments to various companies.

        253.    Not only have Defendants failed to pay Plaintiff, they have failed to promote

Plaintiff’s works, and infringed her copyrights.

        254.    Defendants’ unfair interference with Plaintiff’s right to receive the benefits of each

contract was foreseeable in causing Plaintiff to suffer general, consequential and incidental

damages, including economic damages according to proof at trial.

        255.    Defendants knew or could reasonably have foreseen that the harm and/or special

circumstances were likely to occur in the ordinary course of events as a result of the breaches of

Defendants’ obligations to act in good faith, make Plaintiff’s property productive and account for


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and pay Plaintiff as agreed. Accordingly, Defendants’ conduct was a breach of implied covenant

of good faith and fair dealing.

       256.    As an actual and proximate result of the aforementioned violations, Plaintiff has

been harmed in an amount according to proof, and has lost wages, benefits, and other out of

pocket expenses.

       257.    As an actual and proximate result of Defendants’ aforementioned acts, Plaintiff

has suffered physical injury and became mentally upset, stressed and aggravated. Plaintiff has

experienced post-traumatic stress disorder, mental anguish, aggravation, anxiety, humiliation,

embarrassment, sleeplessness, loss of appetite, low self-esteem, depression, upset stomach, and

other forms of extreme emotional distress. Plaintiff claims damages for physical injuries and

mental distress in an amount according to proof at trial.

       258.    The above-described actions were perpetrated and/or ratified by a managing agent,

employee or officer of Defendants, and each of them. These acts were done with malice, fraud,

oppression and in reckless disregard of Plaintiff’s rights. Further, said actions were despicable in

character and warrant the imposition of punitive damages in a sum sufficient to punish and deter

Defendants’ future conduct.

       259.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                              TWENTY FIRST CAUSE OF ACTION
                        Fraud / Intentional Misrepresentation / False Promise
                                        Against All Defendants

       260.    Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       261.    Plaintiff asserts this cause of action against all Defendants.


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       262.    Defendants represented to Plaintiff that certain facts relative to payments to

Plaintiff were true in each of the contracts above-listed. Further, Defendants made multiple

promises in writing to Plaintiff.

       263.    Defendants’ representations were false; Defendants did not intend to perform these

promises when they were made or at any time.

       264.    Defendants knew that their representations were false when they were made and

they made such representations recklessly and without regard for the truth in such representations.

       265.    Defendants intended that Plaintiff rely on their representations and promises.

       266.    Plaintiff reasonably relied on Defendants’ representations and promises.

       267.    Defendants did not perform the promised acts.

       268.    Plaintiff was harmed.

       269.    Plaintiff’s reliance on Defendants’ representations and promises was a substantial

factor in causing Plaintiff to suffer general, consequential and incidental damages, including

economic damages according to proof at trial. Defendants knew or could reasonably have

foreseen that the harm and special circumstances were likely to occur in the ordinary course of

events as a result of the Defendants’ breaches of contracts. Accordingly, Defendants’ conduct

was intentional misrepresentation.

       270.    As an actual and proximate result of Defendants’ intentional and unlawful

misrepresentation and false promises, Plaintiff has lost wages, profits, benefits, royalties, and has

incurred other out of pocket expenses.

       271.    As an actual and proximate result of Defendants’ fraudulent acts, Plaintiff has

suffered physical injury and became mentally upset, stressed and aggravated. Plaintiff has

experienced post-traumatic stress disorder, mental anguish, aggravation, anxiety, humiliation,

embarrassment, sleeplessness, loss of appetite, low self-esteem, depression, upset stomach, and



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other forms of extreme emotional distress. Plaintiff claims damages for physical injuries and

mental distress in an amount according to proof at trial.

       272.    The above-described actions were perpetrated and/or ratified by a managing agent,

employee or officer of Defendants, and each of them. These acts were done with malice, fraud,

oppression and in reckless disregard of Plaintiff’s rights. Further, said actions were despicable in

character and warrant the imposition of punitive damages in a sum sufficient to punish and deter

Defendants’ future conduct.

       273.    Defendants’ continuous death threats and coercion prevented Plaintiff from

asserting her rights within the statutorily proscribed period. Defendants should be estopped from

asserting the statute of limitations as a defense due to the duress exerted upon Plaintiff.

                            PRAYER FOR RELIEF ON CLAIMS


       WHEREFORE, Ms. Richard prays that this Court enter judgment against Defendants

herein and any other Defendants who may later be added to this action as follows:

       1.      For a money judgment representing compensatory damages, including but not

limited to:   consequential damages, lost wages, earning, royalties, publishing, touring and

promotional income, and non-economic damages, and all other sums of money, together with

interest on these amounts, according to proof;

       2.      For a money judgment for mental pain and anguish and severe emotional distress,

according to proof;

       3.      For restitution;

       4.      For disgorgement of all sums unjustly obtained from Plaintiff or inured to the

benefit of Defendants;

       5.      For civil penalties;

       6.      For punitive and exemplary damages according to proof;


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      7.     For attorneys’ fees and costs;

      8.     For prejudgment and post-judgement interest; and

      9.     For such other and further relief as the Court may deem just and proper.

                                      JURY DEMAND

      1. Ms. Richard demands a trial by jury on all issues triable of right by jury.

DATED:       September 10, 2024
             New York, New York

                                              Respectfully submitted,
                                              THE BLOOM FIRM

                                              By: _______________________
                                                     Lisa Bloom
                                                     Arick Fudali
                                                     Yasmine Meyer
                                                     Devin Meepos
                                              Attorneys for Ms. Richard


                                              IP LEGAL STUDIO LLC
                                                     /s/ Lisa A. Cervantes
                                              By: _______________________
                                                     Lisa A. Cervantes
                                              Attorneys for Ms. Richard




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
ADRIA ENGLISH,                                                         :
                                                                       :
                                             Plaintiff,                :   Civil Case No.:
                  v.                                                   :
                                                                       :
                                                                       :   COMPLAINT
SEAN COMBS a/k/a “P. DIDDY, DIDDY, PUFF, PUFF :
DADDY, PUFFY, BROTHER LOVE”,                                           :
BAD BOY ENTERTAINMENT HOLDINGS, INC.,                                  :
SEAN JOHN CLOTHING LLC, INC.,                                          :
COMBS GLOBAL ENTERPRISES,                                              :
TAMIKO THOMAS,                                                         :
JACOB ARABOV a/k/a “JACOB THE JEWELER,”                                :   JURY DEMAND
VIBE MAGAZINE a/k/a “VIBE,”                                            :
PENSKE MEDIA CORPORATION a/k/a and d/b/a                               :
“PMC,”                                                                 :
JOHN and JANE DOES 1-10, and                                               :
ORGANIZATIONAL DOES 1-10                                               :
                                             Defendants                :
-----------------------------------------------------------------------X




        Plaintiff, ADRIA ENGLISH (“PLAINTIFF” or “PLAINTIFF ENGLISH” or “MS.

ENGLISH”), by and through her attorneys, hereby alleges and avers of the Defendants SEAN

COMBS a/k/a “P. DIDDY, DIDDY, PUFF, PUFF DADDY, PUFFY, BROTHER LOVE,” BAD

BOY ENTERTAINMENT HOLDINGS, INC. (“BBE”), SEAN JOHN CLOTHING LLC.

(“SJC”), COMBS GLOBAL ENTERPRISES (“CGE”), TAMIKO THOMAS, JACOB

ARABOV a/k/a “JACOB THE JEWELER” (“JACOB”) VIBE MAGAZINE a/k/a “VIBE,”

PENSKE MEDIA CORPORATION a/k/a and d/b/a “PMC,” JOHN and JANE DOES 1-10, and




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ORGANIZATIONAL DOES 1-10, (collectively referred to as “Defendants”), alleges upon

information and belief as to all other matters as follows:


                                    PRELIMINARY STATEMENT

      1. On November 16, 2023, Casandra Ventura a/k/a “Cassie” filed a 35-page lawsuit in

          which she exposed Defendant Combs of subjecting her to nearly a decade of physical,

          sexual and emotional abuse punctuated by rape, sex trafficking and being forced to

          engage in drug-fueled nonconsensual sexual encounters with other men.

      2. Ordinarily, when a lawsuit such as Ms. Ventura’s is filed that involves events that took

          place long ago, witnesses are few and far between and evidence hard to muster. Not so

          for the claims brought against Defendant Combs. Within minutes of the filing, Ms.

          Ventura’s claims were confirmed by various witnesses, including a rival musician whose

          car Defendant Combs blew up, various individuals who observed Defendant Combs beat

          Ms. Ventura and a video released by CNN, just a few weeks ago, showing Defendant

          Combs physically abusing, battering and assaulting Ms. Ventura.

      3. Since Ms. Ventura’s brave decision to file a lawsuit against Defendant Combs, Defendant

          Combs has accumulated numerous lawsuits across the country for the same conduct

          alleged by Ms. Ventura.

      4. Days later, more lawsuits were filed against Defendant Combs. One being, Plaintiff Joi

          Dickerson-Neal,1 alleged that Defendant Combs drugged and sexually assaulted her when

          she was a college student. The other lawsuit, currently being appropriately refiled in New

          Jersey, accused Ms. Combs and singer Aaron Hall of forcing the Plaintiff and another

          unidentified woman into nonconsensual sex.


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    Supreme Court of the State of New York, New York County Index No. 952341/2023


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    5. At the same time, a fourth lawsuit was filed; this one against Defendant Combs’

        companies and Defendant Harve Pierre, the longtime President of Bad Boy Entertainment

        Holdings, Inc. The suit alleged that Mr. Pierre used his position of power at Bad Boy to

        groom and sexually assault his former assistant, and that Bad Boy looked the other way at

        the time.2

    6. The fifth lawsuit filed against Defendant Combs include allegations brought by a Doe

        Plaintiff are just as egregious than those brought by his prior victims including that

        Plaintiff Doe was sex trafficked and gang raped by Defendant Combs and various other

        individuals.3

    7. A sixth lawsuit was filed against Defendant Combs and various other Defendants by

        Plaintiff Rodney Jones, including allegations of sexual assault, sex work, sex and drug

        trafficking, and an ongoing criminal Enterprise and corrupt organization,4 similar to the

        claims Plaintiff files in this instant action.

    8. A seventh lawsuit was filed against Defendant Combs and Defendant’s son Christian

        Combs by Plaintiff Grace O’Marcaigh.5 Plaintiff in that suit alleges she was sexually

        assaulted and physically harmed by the actions of Defendant’s son and that Defendant

        Combs aided and abetted in his son’s tortious conduct.

    9. An eighth lawsuit was filed against Defendant Combs by model Plaintiff Crystal

        McKinney alleging that she was “drugged and sexually assaulted” by Defendant Combs.6




2
  Supreme Court of the State of New York, New York County Index No. 952246/2023
3
  United States District Court Southern District of New York Case No. 1:23-cv-10628
4
  United States District Court Southern District of New York Case No. 1:24-cv-1457
5
  Superior Court of the State of California, County of Los Angeles Case No.: 24STCV08571
6
  United States District Court Southern District of New York Case No. 1:24-cv-03931


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        The allegations in Plaintiff McKinney’s complaint echo similar claims filed by the

        Plaintiff in the instant action.

    10. A ninth lawsuit was filed against Defendant Combs by Plaintiff April Lampros.7 In that

        suit, Plaintiff Lampros alleges the Defendant of battery, assault, negligent infliction of

        emotional distress and violation of the victims of gender-motivated violence protection of

        the law, again eerily similar to the claims made by Plaintiff herein.

    11. Prior to any of the cases above being filed, Defendant Combs was named as a Defendant

        in a civil sexual assault lawsuit in Florida involving R&B Singer Tremaine Neverson

        a/k/a Trey Songz.8




    12. Defendant Combs was also implicated in a lawsuit filed in California against R&B Singer

        Chris Brown for a sexual assault that took place on a yacht anchored at Defendant

        Combs’ Star Island estate in Miami, FL.9




7
  New York County Supreme Court Index No. 154859/2024
8
  11th Judicial Circuit Court, Miami, Florida Case No.: 21-26889-CA-01
9
  Superior Court of the State of California, County of Los Angeles Case No.: 22VECV00140


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       13. Chris Brown was also referenced in the lawsuit between Plaintiff Rodney Jones and

           Defendant Combs, implicating Mr. Brown was “in Mr. Combs Los Angeles home

           consorting with underaged girls and sex workers.”10




       14. This is now the tenth lawsuit filed against Defendant Combs since November 16, 2023.

           Just as the allegations brought by the other nine Plaintiffs, Plaintiff English’s claims are

           just as egregious.

       15. Due to these numerous lawsuits filed against Defendant Combs alleging the same or

           similar acts, there is now a growing awareness that Defendant Combs was engaging in far

           more sinister acts than previously known including physical abuse and sex trafficking.

       16. Specifically, from 2004-2009, Plaintiff was sex trafficked by Defendants Combs,

           Thomas, and Arabov.

       17. Additionally, because of Defendant Combs relationship with Defendant VIBE, due to

           their conspiracy in the sex trafficking Enterprise, Defendants knew they could publish

           Plaintiff’s likeness, without her consent, and fear of recourse and chose Plaintiff’s

           likeness to use, without permission, in an effort to continue the Defendants sex




10
     United States District Court Southern District of New York Case No. 1:24-cv-1457, E.C.F 38 ¶ 29(j)


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      trafficking Enterprise for their financial benefit. Therefore, Plaintiff brings claims

      pursuant to New York Civil Rights Law §§ 50 and 51 and 15 U.S.C. § 1125(a).

  18. Plaintiff can support her allegations within this complaint and has lived her adult life with

      the memories of being trapped in a cycle of sex trafficking she never asked to be a part of

      and was chosen because Defendant Combs knew he could groom her. For years, Plaintiff

      has been affected by Defendants actions and has suffered extreme emotional distress

      impacting nearly every aspect of Plaintiff’s life and personal relationships. Given all the

      brave individuals who have come forward against Defendant Combs, Plaintiff is doing

      the same.

  19. Plaintiff brings this action seeking injunctive, declaratory and monetary relief against

      Defendants in violation of the Victims of Gender-Motivated Violence Protection Law,

      Gender Motivated Violence Act, N.Y.C. Admin. Code §§ 10-1101, et seq.

      (“VGMVPL”), .


                               JURISDICTION AND VENUE

  20. This Court has personal jurisdiction over the Defendants under and consistent with the

      Constitutional requirements of Due Process in that the Defendants, acting directly or

      through his agents or apparent agents, committed one or more of the following:

         a. The transaction of any business within the state;

         b. The making of any contract within the state;

         c. The commission of a tortious act within this District; and

         d. The ownership, use, or possession of any real estate in this state.

  21. As of the date of this filing, Defendants Combs, Jacob, BBE, SJC, VIBE, PMC and

      Organizational Does have consistently and purposefully availed themselves of the



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      privilege of conducting activities within New York, thus invoking the benefits and

      protections of New York law. In return for these benefits and protections, Defendants

      must submit to the burdens of litigation in New York.

  22. This litigation arises from or relates to the tortious activities the Defendants Combs,

      Jacob and Thomas, BBE, SJC, VIBE, PMC and Organizational Does visited upon

      Plaintiff Jones in New York and Florida. This tortious conduct violated United States

      Federal Rico Laws and the United States Victims (“USVI”) of the Trafficking and

      Violence Protection Act of 2000 (“TVPA”).

  23. Requiring Defendants to litigate these claims in this District does not offend traditional

      notions of fair play and substantial justice. Plaintiffs’ claims arise from some conduct

      occurring by Defendants in New York, specifically, the trafficking of Plaintiff across

      State lines between New York and Florida.

  24. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 for original

      jurisdiction over civil actions where the matter in controversy exceeds to the sum and

      value of $75,000 and is between citizens of different states. This Court has subject matter

      jurisdiction over this matter under 15 U.S. Code § 1121 because one claim at issue arises

      under the Lanham Act. This Court also has subject matter jurisdiction under 28 U.S.

      Code § 1332 and supplemental jurisdiction under 28 U.S. Code § 1367 because the state

      law claim forms part of the same case and controversy as the claim arising under the

      federal statute.

  25. Pursuant to 28 U.S.C. § 1391(b), (c) and 1400(a), venue is proper in this Court because a

      substantial part of the events or omissions giving rise to this action, alleged herein,

      occurred in this district.




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  26. Plaintiff brings suit against Defendants pursuant to the NYC Gender Motivated Violence

      Act, N.Y.C. Admin. Code §§ 8-901 et. seq, to redress the substantial and lifetime injuries

      she has suffered as a result of being drugged, sex trafficked and assaulted by Defendants

      Combs, Thomas and Jacob.

  27. This action arises under N.Y. Civ. Rights Law §§ 50 and 51 and 15 U.S.C. § 1125(a).

  28. This Court has personal jurisdiction over Defendants and each of them because

      Defendants have purposefully directed their unlawful conduct to this judicial district and

      have conducted substantial business in this judicial district.


                            PROCEDURAL REQUIREMENTS

 THE N.Y.C. VICTIMS OF GENDER MOTIVATED VIOLENCE PROTECTION ACT

  29. The N.Y.C. Victims of Gender Motivated Violence Protection Act (“NYC Gender

      Motivated Violence Act”) created a lookback window on March 01, 2023, which runs for

      two years, for survivors of gender motivated violence, allowing them to sue their abusers

      regardless of when the abuse occurred. N.Y.C. Admin. Code § 10-1105(a).

  30. The NYC Gender Motivated Violence Act revives any claims against “a party who

      commits, directs, enables, participates in, or conspires in the commission of a crime of

      violence motivated by gender has a cause of action against such party in any court of

      competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

  31. The Appellate Division has held that sexual assault is an act of gender-motivated

      violence under the law as “Coerced sexual activity is dehumanizing and fear-inducing.

      Malice or ill will based on gender is apparent from the alleged commission of the act

      itself. Animus inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94

      (App. Div. 2019).



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  32. The above-described conduct of Defendant Combs, Thomas and Jacob including, but not

      limited to, Defendant Jacob’s sexual assault of Plaintiff constitutes a “crime of violence”

      and a “crime of violence motivated by gender” against Plaintiff as well as Defendant

      Combs’ direction, enabling, participation and conspiring in the commission of a crime of

      violence motivated by gender as defined by the NYC Gender Motivated Violence Act.

  33. Given the extensive media coverage and numerous lawsuits filed in the District of New

      York, both federal and State against Defendant Combs, Defendants BBE, Combs

      Enterprises, Jacob, VIBE, PMC and Does and Doe Organizations were put on notice of

      the sexual abuse and trafficking allegations made against Defendant Combs.


                                            PARTIES

                                DEFENDANT SEAN COMBS




  34. Defendant Combs retains residences in both Florida and California and upon information

      and belief is a citizen of the State of California.

  35. At all relevant times, Defendant Combs was a citizen and resident of the State of New

      York.

  36. Defendant Sean Combs is a rapper and record executive popularly known by his stage

      names Puff Daddy, Puffy, Puff, P. Diddy, Diddy, Brother Love or Love. Defendant

      Combs rose to prominence in the music and entertainment industry over the decades and


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        is regularly referred to as a hip-hop mogul. Defendant Combs was first accused of acts

        described in this complaint by his long-time paramour and former BBE artist, Cassie

        Ventura as pictured above, on November 16, 2023.

     37. Defendant Combs is a Grammy-awarded musician, rapper and producer.

     38. Defendant P. Diddy founded co-Defendants BBE, SJC and CGE.

     39. Defendant Diddy has signed, through BBE, some of the biggest stars in music including

        Rick Ross, Machine Gun Kelly, Notorious B.I.G., New Edition, Mase, Pitbull, Lil John,

        Fabolous, French Montana and groups like Danity Kane, 112, and Total, to name just a

        few.11

     40. In 2008, Defendant P. Diddy was the first male rapper to get a star on the Hollywood

        Walk of Fame.

     41. Defendant Diddy “founded Bad Boy Records in 1992, and the company has sold over

        500 million records, produced 38 platinum albums, and won multiple Grammy Awards”

        according to the official website of Combs Global.12

     42. In 2022, Forbes estimated that Defendant Diddy was one of the wealthiest hip-hop artists

        in America and that his net worth is over $1 billion.

     43. Upon information and belief, Defendant Diddy has a long history of committing physical

        and sexual violence against women and men, both of age and underaged, as documented

        and publicly available in over nine lawsuits across the country as well as extensive media

        coverage on the lawsuits and the allegations made therein.




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   https://www.ranker.com/list/bands-and-musicians-on-bad-boy-records/music-lover
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           DEFENDANT BAD BOY ENTERTAINMENT HOLDINGS, INC.




  44. Bad Boy Entertainment Holdings, Inc., is a domestic business corporation licensed to do

      business in New York and headquartered at 1440 Broadway, Third Floor, New York, NY

      10018.

  45. Bad Boy Entertainment Holdings, Inc. is a domestic business corporation licensed to do

      business in New York since 1992.

  46. Defendant Bad Boy Entertainment Holdings, Inc. (“BBE”) is a music, media, and

      entertainment company founded and owned by Defendant Sean Combs. Bad Boy is

      incorporated and headquartered in New York, New York.

  47. Defendant BBE has been named in several lawsuits where Defendant Combs has been

      accused of claims of sexual abuse and sex trafficking as every business Defendant Combs

      engages with play a role in his illegal Enterprise.


                               SEAN JOHN CLOTHING LLC




  48. In 1998, Combs founded Sean John, which has retail sales of over $450 million.



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  49. As CEO and president of the company, Defendant Combs was representing Sean John

      when he conspired and sex trafficked Plaintiff.

  50. Sean John Clothing LLC is a domestic liability company licensed to business in New

      York.


                       DEFENDANT COMBS ENTRERPRISE LLC




  51. Defendant Combs Enterprise has its principal place of business located in New York,

      NY.

  52. Upon information and belief, Combs Enterprise, LLC., d/b/a Combs Global.

  53. Upon information and belief, Combs Enterprise LLC is a domestic liability company

      license to do business in New York.

  54. Combs Enterprise, LLC. Is a business conglomerate founded by Defendant Combs which

      is prevalent in the music, entertainment, fashion, spirits, and television industries, while

      including a diverse portfolio of business and investments including fragrance, marketing,

      media properties and liquor.


                              DEFENDANT TAMIKO THOMAS




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  55. Defendant Thomas, upon information and belief, is a citizen of the State of New York.

  56. Defendant Thomas, upon information and belief, was an employee of Defendant BBE at

      all relevant times.

  57. Defendant Thomas, in her employment capacity, was responsible for transporting and

      making payment to individuals like Plaintiff, in furtherance of a corrupt organization of

      sex trafficking on behalf of Defendant Combs and the beneficiaries of the corrupt

      organization including Defendants Jacob, VIBE and PMC.


              DEFENDANT JACOB ARABOV “JACOB THE JEWELER”




  58. Upon information and belief, Defendant Jacob, at all relevant times, was a resident of the

      State of New York.

  59. Upon information and belief, Defendant Jacob, at all relevant times, was a citizen of the

      State of New York despite being born in Uzbekistan.

  60. Defendant Jacob was a beneficiary of the corrupt organization ran by Defendants Combs,

      BBE, Thomas, VIBE and PMC, and is pictured with the Plaintiff above, when he

      knowingly had intercourse with Plaintiff, who was trafficked for that specific purpose.




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  61. Defendant Jacob, in 2008, was sentenced to two and a half years in federal prison

      regarding a multistate drug ring, was fined $50,000 and had to forfeit $2,000,000.00 to

      the U.S. Government.

  62. Prior to being imprisoned, Defendant Jacob frequented parties thrown by Defendant

      Combs and BBE where he knowingly participated in the illegal commodification of

      women via sex trafficking.

  63. Upon information and belief, Defendant Jacob still runs a business, Jacob and Co.,

      licensed to do business in New York with its headquarters located at 48 East 57th Street,

      NY 10022.


                             DEFENDANT VIBE MAGAZINE




  64. Upon information and belief, Defendant VIBE runs a magazine, licensed to do business

      in New York with its headquarters located at 475 5th Ave. New York, NY 10022.

  65. Defendant VIBE has had an ongoing relationship with Defendant Combs and all of

      Defendant’s Enterprises include BBE, SJC and CGE, was corrupt and exploitive to

      Plaintiff and to benefit Defendant VIBE and other members of the corrupt organization.

  66. Defendant VIBE’s ongoing beneficial relationship with Defendant Combs dates back as

      far as 1993.



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  67. Defendant VIBE further injured Plaintiff in an effort to further the corrupt organization

      when it published Plaintiff’s picture, in the issue pictured above, without Plaintiff’s

      notice or consent, written or otherwise.


                    DEFENDANT PENSKE MEDIA CORPORATION




  68. Upon information and belief, Defendant PMC is the owner and the parent company of

      Defendant VIBE.

  69. Upon information and belief ,PMC is a Delaware corporation with its headquarters in

      California.

  70. Defendant PMC does business in New York throughout its ownership of Defendant

      VIBE and its distribution of several media outlets that are distributed, marketed and

      consumed in this jurisdiction.


         DEFENDANT JOHN and JANE DOES 1-10 and Organizational Does 1-10

  71. Upon information and belief, Plaintiff alleges that Defendant Does 1 through 10,

      inclusive, are other parties not yet identified who have violated Plaintiff by sex

      trafficking her, conspired, and/or aided and abetted the Defendant in sex trafficking the

      Plaintiff through their participation in a corrupt organization that contributed to the



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      Plaintiff being sex trafficked or having engaged in one or more of the wrongful practices

      alleged herein. The true names, whether corporate, individual or otherwise, of Defendants

      1 through 10, inclusive, are presently unknown to Plaintiff, which therefore sues said

      Defendants by such fictitious names, and will seek leave to amend this Complaint to

      show their true names and capacities when same have been ascertained, pursuant to

      CPLR §1024.

  72. Upon information and belief, Plaintiff believes all of the Defendant Does 1-10 are

      citizens of the State of New York and/or Florida.

  73. Upon information and belief, Plaintiff believes and thereon alleges that at all times

      relevant hereto each of the Defendant Organizational Does 1-10 were the agent, affiliate,

      officer, director, manager, principal, alter-ego, and/or employee of Defendants Combs,

      BBE, SJC and/or CME and was at all times acting within the scope of such agency,

      affiliation, alter-ego relationship and/or employment; and actively participated in or

      subsequently ratified and adopted, or both, each and all of the acts or conduct alleged,

      with full knowledge of all the facts and circumstances, including, but not limited to, full

      knowledge of each and every violation of Plaintiff’s rights and the damages to Plaintiff

      proximately caused thereby.

  74. Upon information and belief, Plaintiff believes all of the Defendant Organizational Does

      1-10 are business licensed and/or doing business in the State of New York and/or Florida.

  75. Upon information and belief, Plaintiff alleges that Defendant Organizational Does 1

      through 10, inclusive, are other parties not yet identified who have violated Plaintiff by

      sex trafficking her, and/or conspired through their participation in a corrupt organization

      that contributed and aided and abetted the Defendant in sex trafficking the Plaintiff or




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      having engaged in one or more of the wrongful practices alleged herein. The true names,

      whether corporate, individual or otherwise, of Defendants 1 through 10, inclusive, are

      presently unknown to Plaintiff, which therefore sues said Defendants by such fictitious

      names, and will seek leave to amend this Complaint to show their true names and

      capacities when same have been ascertained, pursuant to CPLR §1024.

  76. The limitations Article 16 of the CPLR do not apply because one or more of the

      exceptions set forth in CPLR §1601 and/or §1602 apply.


                               PLAINTIFF ADRIA ENGLISH




  77. Plaintiff is an individual who is a citizen of the United States and a resident of California.

  78. Plaintiff, at all times relevant to the action, resided and was domiciled in the State of New

      York.

  79. Prior to moving to New York, in or around early 2004, Plaintiff participated as an actor in

      the adult film industry under the name “Omunique.”

  80. Plaintiff participated in approximately eight adult films prior to moving to New York

      which were done while Plaintiff was a teenager. Plaintiff was coerced by veteran porn




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        star Jake Steed into doing these films with the promise they would never be viewed or

        circulated within the United States.13




     81. Plaintiff moved to New York from California to evade the disappointment of her family

        when they discovered she was acting in adult movies, as Plaintiff was led to believe the

        adult movies would only be seen and purchased abroad therefore difficult to be viewed

        by those who knew her personally.

     82. Plaintiff moved to New York, destitute and homeless with her then-boyfriend, starving up

        and coming model Anthony Gallo.



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   https://www.tnaflix.com/amateur-porn/Omunique-vs.-Jake-Steed-Black-Street-Hookers-18/video5461090
https://xxxbunker.com/omunique_is_ready_to_fuck
https://spankbang.com/6lb3e/video/jake+steed+ft+omunique+part+1
https://www.holedk.com/sugarwalls-7/
https://www.holedk.com/booty-talk-4/



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  83. While Plaintiff’s then-boyfriend auditioned for modeling gigs and attended go-sees in

     New York, Plaintiff began go-go dancing and performing at Larry Flint’s Hustler Club on

     51st Street in New York under the stage name of “Sasha.”




  84. On or about mid 2004, Mr. Gallo attended an audition for a Sean John modeling

     campaign in New York where Plaintiff accompanied him.

  85. During that audition, another model and Mr. Gallo were asked to perform felatio on

     Defendant Combs in order to book the modeling campaign.

  86. Mr. Gallo refused but was later reapproached by employee, Defendant Thomas, offering

     new terms. The terms being that Mr. Gallo could still book the Sean John campaign if he

     commanded the Plaintiff to work Defendant Combs’ and BBE’s upcoming “White Party”



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     in the Hamptons as a go-go dancer, as Plaintiff was a well-known talented and highly

     sought after dancer at Larry Flint’s Hustler Club.

  87. In an effort to assist Mr. Gallo’s desire to become a model, Plaintiff agreed to what she

     believed to be legitimate employment with Defendant Combs and BBE as entertainment

     at the “White Parties” in the Hamptons, NY and Miami, FL from 2004-2009. Plaintiff did

     not agree to a lifetime of aftermath of being used as a sexual pawn for the pleasure and

     financial benefit of others.


                                    FACTUAL ALLEGATIONS

        Plaintiff’s Employment at Defendant Combs’ Labor Day “White Party”

  88. As agreed to between Mr. Gallo, Defendant Thomas and Defendant Combs, SJC and

     BBE, Plaintiff began her employment at the ultra-exclusive and lavish Labor Day parties

     thrown by Defendant Combs and BBE called the “White Party,” and Mr. Gallo began his

     employment as a Sean John Model.




  89. Plaintiff’s first employment at a “White Party” was Summer, 2004.




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  90. Plaintiff believed this to be a legitimate employment opportunity.

  91. Plaintiff was picked up by Defendant Thomas in a car driven by one of the Defendant

     Does owned either by Defendant Combs, BBE, SJC, CGE or Organizational Doe, and

     transported to Defendant Combs’ estate in the Hamptons, NY which served as the venue

     for the Labor Day “White Party.”

  92. When Plaintiff arrived at Defendant Combs’ Hampton Estates with Defendant Thomas,

     and other sex trafficked individuals, Defendant Thomas brought them into a room where

     they changed into clothes provided for them.



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  93. Plaintiff’s outfit in the above picture was provided to her as a uniform as she was led to

     believe she was in an employment capacity, and Plaintiff was required to wear the

     clothing provided as part of her employment.

  94. Plaintiff was also provided a separate room from the party, away from where the

     partygoers congregated, that was used by Plaintiff and other employees as a break room

     to take respite during the party as Plaintiff was there in an employment capacity.

  95. Plaintiff was encouraged directly by Defendant Thomas to provide lap dances and be

     sexually flirtatious with the guests at the “White Party.”

  96. Plaintiff was also instructed and directed by Defendant Combs as to which guests

     Plaintiff should focus attention and interaction with to ensure his guests were having a

     great time.

  97. Plaintiff was strictly instructed by Defendant Combs and Thomas on which bottles of

     alcohol and champagne female employees were to exclusively drink from and also

     required Plaintiff to take narcotics offered by a “White Party” guest.

  98. Despite being forced to drink copious amounts of alcohol and consume illicit narcotics,

     the encounters Plaintiff was forced to endure were so excruciating that Plaintiff

     remembers them as they still haunt her to this day.

  99. Plaintiff was forced to consume liquor and illicit narcotics as part of her employment at

     the “White Party.”

  100.       Upon information and belief, Defendant Combs laced the liquor with ecstasy

     which is why Plaintiff was provided strict rules on which bottles to consume from.




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  101.      Plaintiff performed to the expectations of Defendant Combs, was personally

     thanked for her obedience by Defendant Combs and was subsequently invited for future

     employment at the “White Parties.”

  102.      Plaintiff was paid, in cash, at the end of the night typically between 4-6 am once

     the party had concluded. Plaintiff was paid by Defendant Thomas who was given the

     money from Defendant Combs.

  103.      The first “White Party” in 2004 had no sinister intent or requirements for physical

     sexual contact and seemed to be a legitimate employment opportunity; so, when Plaintiff

     was offered employment in the proceeding years at the Labor Day “White Party,” she

     accepted the employment opportunity.

  104.      Plaintiff was employed as entertainment at subsequent “White Parties” in the

     Hamptons, NY.

  105.      Plaintiff was always transported to the Hamptons by way of car service provided

     by either Defendant Combs, BBE, SJC, CGE or Organizational Does, with a driver who

     was also an employee of either Defendant Combs, BBE, SJC, CGE or Organizational

     Does and with Defendant Thomas also being present as liaison and coordinator between

     employees and Defendant Combs.

  106.      Plaintiff would use numbers provided to contact either, or both, Defendant Combs

     and Thomas to arrange transportation to the “White Parties.” This included using the

     telephone and text messaging services to confirm the date, time and location of pick up.

  107.      Defendant Thomas would then arrive at the location provided by Plaintiff, at the

     agreed date and time, in a chauffeured driven vehicle provided, or under the control of,

     Defendant Combs which would include Defendant Thomas, a member of Defendant




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     Combs’ security team and other employees who were hired as entertainment for the

     party.

  108.        Plaintiff was always provided wardrobe by Defendants Thomas and Combs and

     also was provided a breakroom while attending the “White Parties.”

  109.        Defendant Thomas and Combs groomed Plaintiff into sex trafficking over time.

  110.        Around the third “White Party,” Defendants Thomas and Combs demanded

     Plaintiff begin engaging in vaginal sexual intercourse with guests, as they had learned

     about her past in adult entertainment and used it forcefully to coerce Plaintiff into sex

     work for the benefit of Defendant Thomas and Combs and their beneficiaries.

  111.        During this “White Party,” Plaintiff was provided a “black dress” to wear by

     Defendants Thomas and Combs when previously Plaintiff was provided white clothing

     like other guests and the theme of the party.

  112.        Upon information and belief, Plaintiff believes she was required to wear a black

     dress to the “White Party” to denote her capacity there as an employee, but more

     sinisterly as a sex trafficked sex worker.

  113.        One beneficiary is Defendant Jacob, who Plaintiff was demanded by Defendant

     Combs to engage in sexual intercourse during a “White Party.”

  114.        Plaintiff, fearing not only her safety, but her and her then-boyfriend’s job security,

     did as instruct and went with Defendant Jacob where she engaged in forced sexual

     intercourse with Defendant Jacob at the demand and behest of Defendant Combs.

     Plaintiff knew refusing Defendant Combs demands was not an option and to do so would

     be at her and Mr. Gallo’s detriment.




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  115.      Plaintiff was coerced by Defendant Combs into consuming copious amounts of,

     allegedly laced, alcohol prior to being coerced and forced into having sexual intercourse

     with Defendant Jacob.

  116.      Plaintiff is pictured with Defendant Jacob after the assault as Plaintiff was still in

     her role of employment at the “White Party.”




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  117.      Plaintiff received an additional one thousand dollars, in cash, on top of what she

     had received as payment at the prior two “White Parties” from Defendant Thomas at the

     end of the night.

  118.      At the end of the night, Defendant Combs, personally, congratulated Plaintiff for

     following his directives with Defendant Jacob and for a job well done.

  119.      Plaintiff has personally witnessed Defendant Combs, Thomas and Jacob solicit

     and ingest narcotics and engage in illicit sex acts.

  120.      Plaintiff was also employed at the “White Parties” that commenced at Defendant

     Combs’ Miami, Star Island, residence.

  121.      During these “White Party” employments, Plaintiff’s travel was arranged by

     Defendant Thomas. Upon arrival at Ft. Lauderdale airport, a car service owned and

     operated by either Defendant Combs, BBE, SJC, CGE or Organizational Does would

     retrieve Plaintiff, Defendant Thomas and the other individuals from the airport and

     transport them to Defendant Combs’ residence on Star Island.




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  122.      Defendant Thomas was to Defendant Combs as Ghislaine Maxwell was to Jeffrey

     Epstein.

  123.      Without Defendant Thomas, a woman using her inherent good will as a woman to

     gain the trust of another woman, coordinating and acting as an avatar for Defendant

     Combs, Defendant Combs would be unable to execute his corrupt sex trafficking

     organization.

  124.      Plaintiff is unable to recall details from the Miami “White Parties” due to the

     increased demand that Plaintiff engage in illicit narcotics and alcohol use while employed

     for Defendant Combs.

  125.      Defendants Thomas and Combs passed off Plaintiff to other Defendants, outside

     of Defendant Jacob named as Defendant Does, to be sexually assaulted as part of their

     ongoing corrupt sex trafficking organization.

  126.      Upon information and belief Plaintiff, believes Defendant Combs had hidden

     cameras in every room of his home in the Hamptons, NY and Star Island, Miami, FL.

  127.      Upon information and belief, Defendant Does, who were individuals Defendants

     Thomas and Combs passed off Plaintiff to be sexually assaulted, were filmed by

     Defendant Combs security cameras sexually assaulting Plaintiff while Plaintiff is

     unconscious during the “White Parties” in both New York and Florida.

  128.      Upon information and belief, these individuals and Plaintiff, were recorded

     without their knowledge and consent.

  129.      Upon information and belief, this treasure trove of evidence in Defendant Combs’

     possession may either still be in Defendant’s possession or in the possession of the FBI,

     as the FBI executed a warrant and raided Defendant Combs residences in April 2024.




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   Defendant Combs Makes Promises of Career Advancement by way of Music Artist to
                                     Plaintiff

  130.      Defendant Combs is very forceful, demanding and does not take no for an answer

     and would often threaten to inflict bodily harm and/or terminate Plaintiff or her then-

     boyfriend’s, Mr. Gallo, employment and “blackball” them from the industry if Plaintiff

     did not comply with his demands. As Defendant Combs acted and was viewed in such a

     way to where Mr. Gallo and Plaintiff believed he had the power where Defendant Combs

     threats were credible.

  131.      Defendant Combs used his power, and influence to threaten and intimidate

     Plaintiff to continue participating in Defendant Combs’ corrupt sex and drug trafficking

     organization.

  132.      Defendant Combs, in an effort to continue to silence Plaintiff and keep her in his

     sex trafficking organization, offered to help Plaintiff enter into the music business as a

     part of an all-female music group.




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  133.      Plaintiff knew of Defendants Combs’ prowess in the music industry and knew he

     had the power to help her advance her music career.

  134.      Plaintiff believed Defendant Combs would fulfill his promises to help her career

     just as he had helped Plaintiff’s then-boyfriends modeling career.

  135.      Plaintiff, having been professionally exposed to the music industry side of

     Defendant Combs’ empire, grew more aware of the true nature of her employment at the

     “White Parties” was grotesque, inexcusable, exploitative and criminal.

  136.      Plaintiff’s only way to escape Defendant Combs was to return to California,

     which Plaintiff did in 2009.




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  137.      Upon information and belief, in retaliation for Plaintiff’s escape, Defendant

     Combs had Plaintiff’s then-boyfriend, Mr. Gallo, “blackballed” from the modeling

     industry and had all of Mr. Gallo’s campaigns with Sean John removed.

  138.      Upon information and belief, in retaliation for Plaintiff’s escape, Defendant

     Combs had Plaintiff “blackballed” from the entertainment industry.


Defendant Combs’ Corrupt Sex and Drug Trafficking Organization Has Caused Plaintiff

                                      Lifelong Harm


  139.      Plaintiff became severely depressed and began to blame herself for being

     trafficked and for sabotaging her own career.

  140.      Being sex trafficked and abused has led Plaintiff into a tailspin of anxiety and

     depression.

  141.      In or about 2010, Plaintiff was hospitalized for mental illness as a direct cause of

     her being trafficked by Defendants.

  142.      Everywhere Plaintiff looked, she was reminded of being trafficked by Defendant

     Combs, as he is an inescapable presence in music, television, and film.

  143.      In the ensuing years, Plaintiff has also experienced alcohol and drug addiction, as

     she attempted to cope with the emotional trauma of being assaulted and trafficked.

  144.      Plaintiff has also experienced intimacy issues, as she struggles to maintain

     emotional and sexual relationships with men.

  145.      Plaintiff was recently married, however fears her marriage may fall apart due to

     her mental breakdowns precipitated by memories of the assault and trafficking.




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  146.      Defendant Combs has altered the trajectory of Plaintiff’s career, denying her a

     successful and lucrative career in the music industry.

  147.      To this day, Plaintiff experiences bouts of depression, anxiety, body image issues,

     feelings of worthlessness, and intimacy issues because of being trafficked by Defendant

     Combs.

  148.      Plaintiff is a woman of faith and when she saw news coverage of the countless

     lawsuits, initiated by brave other individuals against Defendant Combs, she knew she had

     a moral obligation to speak up.

  149.      Plaintiff feared further violence and/or retaliation from Defendant Combs in filing

     this lawsuit, but ultimately decided that it was imperative she speak her truth with the

     hopes that no other individual would have to endure the egregious and heinous treatment

     she has.

  150.      Plaintiff seeks justice for herself and for any of other Combs’ victims.


                           Trafficking And Victims’ Protection Act

  151.          According to Plaintiff, she was transported from New York to Florida throughout

     by Defendant Combs for the purpose of engaging in sexual activities.

  152.      Plaintiff asserts during this time; Plaintiff was forced to engage in sex work and

     perform sex acts to the pleasure of and the behest of Defendant Combs.

  153.      Between 2006-2009, Defendant Combs forced Plaintiff to engage in prostitution

     and sex work at his homes in Hampton, NY and Miami, Florida.

  154.      Plaintiff asserts that Defendants VIBE and PMC were involved in Defendant

     Combs organized sex trafficking Enterprise.




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  155.      Plaintiff asserts that Defendants VIBE and PMC’s involvement in the Enterprise

     included providing Defendant Combs’ resources like intentionally and falsely marketing

     and promoting Defendant Combs’ “White Parties” in its publication as a high-profile

     networking and social event in an effort to disguise and deceive the real intent of the

     event which was to further Defendant Combs, and his various businesses including BBE,

     SJC, CGE, and VIBE and PMC’s profits.

  156.      In furtherance of Defendants illegal Enterprise Defendants VIBE and PMC

     ensured Defendant Combs, and his businesses BBE, SJC, and CGE, appeared

     overwhelming in its magazine be it on covers or pages inside Defendants magazine

     featuring pages dedicated to Defendant Combs personally or his businesses.

  157.      Plaintiff believes Defendants VIBE and PMC engaged in Defendant Combs’

     illegal Enterprise to increase the visibility and profitability of its publication, VIBE

     Magazine, through the magazine’s constant affiliation and relationship with Defendant

     Combs.

  158.      Plaintiff seeks justice against all Defendants for sex trafficking.


                   Claims Related To Plaintiff’s Picture And Likeness

  159.      On or around Labor Day, 2004, Plaintiff’s picture was taken while in her

     employment capacity at Defendant Combs’ “White Party” in Hampton, NY.

  160.      Plaintiff did not know what her picture was being taken for, or would be used for,

     nor was Plaintiff’s consent sought or given.

  161.      Plaintiff has never entered into any agreement with any Defendant to license her

     likeness, nor was it a term for employment at the “White Party.”




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  162.      Defendant VIBE, and PMC, intentionally mislabeled Plaintiff as a guest at the

     “White Party” in its magazine to further conceal the true intentions of the event and

     Plaintiff’s employment role at the event in an effort to further the goals of the Defendants

     illegal and criminal Enterprise.

  163.      Defendant VIBE and PMC exploited Plaintiff’s likeness in their November 2006

     magazine, where Defendant Combs was the cover and the story was about Defendant’s

     “White Parties,” which by this point was a cultural phenomenon.




  164.      Plaintiffs’ unauthorized, non-consensual and infringing use of her picture and

     likeness appears on Page 140 of the magazine.




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  165.       Plaintiff did not discover the infringing use until approximately April, 2024.

  166.       This infringing use promoted, without limitation, products synonomus with

     Defendant Combs including the “White Party” and Defendants BBE, SJC and CGE.

  167.       Plaintiff is readily and easily identifiable in the infringing use, and her picture and

     likeness is prominently displayed in Defendants VIBE and PMC’s publication.

  168.       The aforementioned act violates Plaintiff’s rights to privacy via misappropriation.

  169.       Plaintiff has never given any Defendant a release to use her likeness in any

     publication or platforms, media or formats digital, physical or otherwise.

  170.       The November 2006 issue of Defendants VIBE and PMC is still readily available

     for sale and viewable online.

  171.       At all relevant times, Plaintiff had the sole and exclusive right of publicity with

     regard to the use of her picture, portrait, and likeness under New York State Law and

     Common Law Right of Publicity.

  172.       Defendants have, without Plaintiff’s authorization or consent, since used

     Plaintiff’s likeness for advertising and other trade purposes without consent and without a

     license to promote Defendant Combs, BBE, SJC, CGE, VIBE and PMC products for

     commercial gain. Plaintiff is further informed and believes and thereon alleges that

     Defendants VIBE and PMC used Plaintiff’s likeness in its magazine nationwide,

     including in this District.

  173.       None of the Defendants at any point had a license for the use of Plaintiff’s picture

     and likeness to promote the “White Parties.”




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  174.         At no point did Plaintiff authorize, consent to, or otherwise seek to allow the

     Defendants, or any of them, to exploit her picture, image, or likeness as seen in the

     infringing use in any manner.

  175.         Plaintiff is informed and believes and thereon alleges, that Defendants, and each

     of them, engaged in the unauthorized exploitation and misappropriation of Plaintiff’s

     photograph, image, picture, and likeness by prominently featuring Plaintiff in an

     advertisement and marketing materials for Defendant Combs, BBE, SJC and CGE on

     various online platforms and physical materials, including but not limited to the

     infringing use.

  176.         Plaintiff is informed and believes and thereon alleges, that Defendants, and each

     of them, engaged in the unauthorized exploitation and misappropriation of Plaintiff’s

     photograph, image, picture, and likeness in an effort to further and continue their corrupt

     sex and drug trafficking organization.

  177.         Through their general business partnership, and financial support of Defendant

     Combs, Defendants VIBE and PMC aided and abetted Defendant Combs’ actions as

     herein.

  178.         Defendants’ publication and distribution of the infringing use has resulted in

     substantial injury to Plaintiff.


                                 FIRST CAUSE OF ACTION


CONDUCT AND PARTICIPATE IN A RICO ENTERPRISE THROUGH A PATTERN
OF RACKETEERING ACTIVITY A VIOLATION OF RACKETEER INFLUENCED
 ANDCORRUPT ORGANIZATION ACT, CODIFIED AT 18 U.S.C. § 1962(A), (C)-(D)
                     (Against ALL Defendants)




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  179.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  180.       Defendants VIBE and PMC are 100% liable for the actions of Defendant Combs,

     and by extension, BBE, SJC, CGE, and Thomas (“RICO orchestrators”). Defendants

     VIBE and PMC financially benefited from Defendants Combs, BBE, SJC, and CGE

     through their partnership with Defendant Combs and the brands he owned, listed as

     Defendants above. The collective provided the RICO orchestrators with unfettered access

     to resources and failed to adequately investigate, supervise, and or monitor how those

     resources were being used, who was using those resources and the purpose of use of

     those resources.

  181.       The support provided by Defendants Thomas, Jacob, BBE, SJC, CGE, VIBE and

     PMC was a lifeline that spearheaded and maintained the RICO orchestrators’ depraved

     actions. Upon information and belief, the establishment of a business relationship with a

     prominent publication, VIBE, PMC and Combs allowed for distribution platform for all

     Defendant Combs business endeavors to disguise his true intentions with overly broad

     and vague in nature description of activities. Defendants VIBE and PMC knew or should

     have known that Defendants Combs, BBE, SJC, and CGE had no intention to utilize the

     resources he received for business related purposes and they did not put any mechanism

     in place to ensure that their resources, specifically their publication, were not being used

     for any illegal activity. Defendants VIBE and PMC willful blindness resulted in Plaintiff

     suffering the harm detailed herein.

  182.       Defendants are individuals and entities within the meaning of “person” as defined

     in 18 U.S.C. § 1961(3) because each is capable of holding, and does hold, “a legal or




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     beneficial interest in property.” The association is composed of Defendants Combs, BBE,

     SJC, CGE, VIBE, PMC, Thomas, Jacob, John and Jane Does 1-10, and Organizational

     Does 1-10.

  183.      In the relevant part, 18 U.S. Code 1961 defines a racketeering activity as:


     (1) (A) any act or threat involving murder, kidnapping, gambling, arson, robbery,
         bribery, extortion, dealing in obscene matter, or dealing in a controlled substance or
         listed chemical (as defined in section 102 of the Controlled Substances Act), which is
         chargeable under State law and punishable by imprisonment for more than one year;
         (B) any act which is indictable under any of the following provisions of title 18,
         United States Code: ... section 933 (relating to trafficking in firearms), section 1341
         (relating to mail fraud), section 1343 (relating to wire fraud), sections 1461–1465
         (relating to obscene matter), section 1511 (relating to the obstruction of State or
         local law enforcement), sections 1581–1592 (relating to peonage, slavery, and
         trafficking in persons), section 1952 (relating to racketeering), section 1956 (relating
         to the laundering of monetary instruments), (D) any offense involving fraud
         connected with a case under title 11...the felonious manufacture, importation,
         receiving, concealment, buying, selling, or otherwise dealing in a controlled
         substance or listed chemical.

  184.      Section 1962(a) makes it: unlawful for any person who has received any income

     derived, directly or indirectly, from a pattern of racketeering activity or through a

     collection of an unlawful debt in which such person has participated as a principal within

     the meaning of Section 2, Title18, United States Code, to use or invest, directly or

     indirectly, any part of such income, or the proceeds of such income, in the acquisition of

     any interest in, or the establishment or operation of, any Enterprise which is engaged in,

     or the activities of which affect interstate or foreign commerce. 18 U.S.C. § 1962(a).

  185.      Section 1962(c) makes it: unlawful for any person employed by or associated

     with any Enterprise engaged in, or the activities of which affect, interstate or foreign

     commerce, to conduct or participate, directly or indirectly, in the conduct of such

     Enterprise’s affairs through a pattern of racketeering activity. 18 U.S.C. §1962(c).




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  186.      Section 1962(d) makes it: unlawful for “any person to conspire to violate”

     Section 1962(a) and (c), among other provisions. 18 U.S.C. § 1962(d).

  187.      Defendants mentioned herein are associated with each other as an Enterprise

     within the meaning of “Enterprise” as defined in 18 U.S.C. § 1961(4).

  188.      Plaintiff, in its pleading, has detailed many acts by Defendants Combs, BBE, SJC,

     CGE, VIBE, PMC, Thomas, Jacob, Does 1-10 and Organizational Does 1-10, which are

     prohibited under 18 U.S.C. §1962.

  189.      Defendants have unlawfully increased their profits by luring and deceiving

     individuals such as Plaintiff to their organization for the misstated purpose of using their

     talents as entertainment. Defendants’ true intentions are later revealed through a

     calculated grooming scheme that involves false promises of business opportunities,

     exposure to high level celebrity individuals including: former President Donald Trump,

     Reverend Al Sharpton, and Paris Hilton, music mogul Jay-Z, and music executives like

     Russell Simmons, Irv Gotti, Steve Stout, Andre Harrell, and Lyor Cohen, with the

     promise of introductions, networking, fame and fortune which quickly shifts to

     unauthorized drugging, threats and sex trafficking.




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  190.      While employed by Defendant Combs at the “White Parties,” Plaintiff witnessed

     Defendant Combs instruct, direct Defendant Thomas and other employees to acquire and

     transport the illicit narcotics. Plaintiff personally witnessed Defendant Thomas transport

     illicit narcotics to and from the “White Parties” in New York and Florida. Plaintiff

     personally witnessed Defendant Combs ingest and distribute the illicit narcotics once he

     received them. Plaintiff personally witnessed and was directed by Defendant Combs to

     engage in sex work while employed as an entertainer at the “White Parties.” Plaintiff was

     required to engage in sex acts with attendees at the “White Parties” when instructed by

     Defendant Combs or Thomas. Plaintiff would be paid in cash for complying with the

     demands for se work and there was no negotiation between Plaintiff and either Defendant

     Combs, Thomas or the party receiving services regarding a price to be paid for Plaintiff

     complying with sex work demands.

  191.      The RICO Enterprise activities affected interstate commerce, is comprised of an

     association of persons, including each Defendant and other unnamed co-conspirators

     herein. That association was structured by various agreements, deals, contracts, and non-

     contractual relationships between the Defendants, by which Defendants assumed

     different roles in knowingly and directly or indirectly participating in the acts necessary

     to carry out the directives of the Enterprise which was to acquire and distribute narcotics,

     prostitutes, and sex workers. Defendants also worked collectively to deceptively obtain

     the labor of models and entertainers, such as Plaintiff and Mr. Gallo, to utilize their

     talents and labor to produce tangible goods and services without full compensation. As

     detailed herein, Plaintiff worked for Defendant Combs for several years. Additionally,




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     Plaintiff’s then-boyfriend, Mr. Gallo, was also employed by one of Defendant Combs’

     businesses Defendant SJC. Employee Defendant Thomas solicited Plaintiff, via Mr.

     Gallo, to work for Defendant Combs at his “White Parties” as entertainment. Plaintiff

     was never allowed to negotiate a rate for her employment with Defendant Combs. In fact,

     Plaintiff agreeing to employment with Defendant Combs was a condition precedent to

     Mr. Gallo gaining his employment with Defendant Combs as a model with Defendant

     SJC. Plaintiff fulfilled the condition precedent by providing services of sex work

     demanded by Defendant Combs at his “White Parties.” Defendant Combs benefited from

     Plaintiff’s forced sex work, did not compensate Plaintiff fairly and ultimately blackballed

     Plaintiff, and Mr. Gallo once she no longer cowered to Defendant Combs’ demand for

     continued participation.

  192.      Defendants Combs, BBE, SJC, CGE, VIBE, PMC, Thomas, Jacob, Doe 1-10, and

     Organizational Doe 1-10 all share a common purpose: to use deception, coercion, force,

     and the threat of violence to enrich themselves at the expense of individuals like the

     Plaintiff. As set forth herein, although all Defendants may not have directly threatened

     coerced, forced or violently threatened Plaintiff, they financially benefitted from

     Defendants Combs, BBE, SJC, CGE, Thomas, and Jacob’s scheme of defrauding, and

     intimidating the Plaintiff with threats of destitution and isolation from the music and

     entertainment industry (which Defendant Combs made good on as there is no evidence of

     Mr. Gallo’s Sean John campaign available and both Plaintiff and Mr. Gallo were

     effectively banned from the industry after Plaintiff refused continuing her employment at

     the “White Parties”), fake promises of a music career, guaranteed access to future

     exclusive celebrity events, fame and fortune. It is reasonable to believe Defendants




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     Combs, BBE, SJC, CGE, VIBE, PMC, Thomas, Jacob, Doe 1-10, and Organizational

     Doe 1-10 would not have engaged in these acts of threats but for the existence of the

     RICO scheme and their understanding that they would have unfettered access to engage

     in their illegal and corrupt Enterprise without question.

  193.      As evidenced in Plaintiff’s complaint herein, Defendants all orchestrated,

     participated, managed, and executed the RICO Enterprise.

  194.      Defendants Combs, Thomas and Does purchased and distributed illegal narcotics

     to employees and guest of the “White Parties.” Defendants transported the narcotics by

     flying on commercial airlines from New York to Florida and distributed the narcotics to

     guests of the “White Party” and/or to Defendant Combs directly.

  195.      The RICO Enterprise has functioned as a continuing unit and maintains an

     ascertainable structure separate and distinct from the pattern of racketeering activity.

  196.      This is the second case in this jurisdiction where Defendant Combs has been

     accused of engaging in racketeering, and both cases have similar fact patterns and

     descriptions of racketeering activities.

  197.      Defendant Combs has a pattern of making false representations and omissions to

     entertainers who used their talents to provide services to the RICO Enterprise. These false

     representations and omissions were designed to induce people like the Plaintiff to utilize

     their talents and labor to provide entertainment and engage in forced sex work services

     without full compensation. Entertainers, like Plaintiff, were also forced to solicit and

     participate in sexual encounters with guests of the “White Parties” as part of their

     employment capacity. Entertainers, like Plaintiff, were also required to purchase and

     distribute narcotics. As further part of the Enterprise, Defendant Combs required




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     entertainers, like Plaintiff, wear clothing provided by Defendant Combs, so that she could

     easily be identified as a sex worker by the partygoers.

  198.      Additionally, Defendant Combs used the prospects of a music career,

     participating in future “White Parties” and meeting influential music industry executives,

     coupled with threats to blackball Plaintiff, and her then-boyfriend, if they did not comply

     with Defendant Combs demands. This pattern of false representations was disseminated

     to Plaintiff in Florida and New York. The dissemination typically used interstate

     telephone wires.

  199.      The true nature of Defendants’ Enterprise was left undisclosed, was omitted,

     and/or was affirmatively misrepresented, all to fraudulently increase Defendants’ profits,

     at least some of which were used to expand the Enterprise, causing further injury to

     Plaintiff and possibly many others.

  200.      Upon information and belief, Defendants profited from the Enterprise, and

     Plaintiff suffered because the Enterprise diminished Plaintiff’s finances for nonpayment

     of services rendered and diminished Plaintiff’s health through consistent drugging and

     forced sexual encounters as a sex trafficking victim. Defendants used the proceeds from

     the Enterprise to advance the Enterprise by funding and operating their marketing

     machine, including through the use of the mail, magazine coverage, word of mouth, and

     interstate wires to sell the illusion that Defendant Combs was a serious and legitimate

     businessman who held exclusive networking events that would allow entertainers the

     opportunity to maximize their skills in the entertainment industry when nothing could be

     further from the truth.




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  201.      Defendants VIBE and PMC were a direct participant in the marketing aspect of

     the scheme as, in one issue of VIBE Magazine, November 2006, Defendant Combs

     received an astonishing 18 pages of advertisement including the cover of the magazine,

     the centerfold cover, and several direct 2-page advertisements for Defendant Combs’

     other Enterprises within CGE, including clothing, liquor and a cologne called

     “UNFORGIVABLE.” The tagline for “UNFORGIVABLE” cologne was “Life without

     passion is UNFORGIVABLE.” Who knew Defendant Combs’ true passion was being the

     head of a corrupt organization that abused women, and trafficked sex and narcotics.




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  Two- page “UNFORGIVABLE” cologne advertisement featuring Kimora Lee Simmons.




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Sean John campaign featuring Defendant Combs   Childhood photos of Defendant Combs used
son, Justin Combs.                             to humanize him in furtherance of the
                                               conspiracy.




   Multiple Covers of Defendant Combs for Defendants VIBE and PMC publication “VIBE
                                       Magazine.”




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                   Two- page Centerfold Poster of Defendant Combs
                                “and still champion”




                 Defendant Combs with Jennifer Lopez on World Tour




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Several pages dedicated to Defendant Combs Labor Day “White Parties” in the Hamptons, NY

                                   and Star Island, FL




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  202.      To reiterate, Defendants Combs, BBE, SJC and CGE appeared in 18 (eighteen)

     pages including the cover of Defendants VIBE and PMC’s publication “VIBE Magazine”

     in a SINGLE issue.

  203.      Defendants provided the general public at large this misrepresentative

     information, including over interstate wireline communications systems via their

     nationwide publishing VIBE magazine which is available in print and online.

  204.      Upon information and belief, Defendants obtained revenue via wire transfers,

     documents, and banking transactions that were exchanged via electronic means over

     interstate wires, thereby growing the Enterprise and causing further injury to Plaintiff as

     described throughout.

  205.      Defendants’ scheme was reasonably calculated to deceive Plaintiff of ordinary

     prudence and comprehension through the execution of their complex and illegal scheme

     to misrepresent the true purpose of employment at Defendant Combs’ “White Parties”


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        and that employment at those parties would not and could not lead to a career in the

        music industry, fame nor fortune. Plaintiff would have never engaged in any regard with

        Defendant Combs for five years if not but for the complex and illegal racketeering

        scheme operated by Defendants.

     206.        Upon information and belief, Defendants each had the specific intent to

        participate in the overall RICO Enterprise and scheme to defraud Plaintiff and each

        participated in the Enterprise as follows:

     207.        Upon information and belief, Defendants Combs, BBE, SJC, CGE, VIBE and

        PMC control and participate in the activities of the Enterprise in a variety of ways as set

        forth herein, including but not limited to, developing marketing campaigns to legitimize

        the “White Parties” as a “way to integrate hip hop into the echelons of the mega-rich, to

        find an intersection of both worlds for the sake of unity.”14

     208.        Upon information and belief, throughout the relevant period, Defendant VIBE

        and PMC entered into a partnership agreement with Defendant Combs, BBE, SJC and

        CGE. As general business partners, each member is responsible for the partners’ actions

        in the partnership. Defendants VIBE and PMC have an ethical obligation to ensure their

        business partners, Defendant Combs, BBE, SJC and CGE, were not using the partnership

        to engage in illegal activity.

     209.        Defendants VIBE and PMC provided resources to their general business partners,

        Defendants Combs, BBE, SJC and CGE. Defendants Combs, BBE, SJC and CGE used

        the resources provided by their general business partners to solicit through the mail,



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  https://www.yahoo.com/entertainment/diddy-white-party-labor-day-celebrity-fashion-photos-style-hip-hop-
120027194.html



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     world wide web, and telephone entertainers whom they would promise music careers,

     modeling careers and meetings with powerful music industry executives. Defendants

     Combs and his staff, including Defendant Thomas and Does, would solicit entertainers

     who resided in New York and Florida. Defendants Combs and his staff, including

     Defendant Thomas, VIBE, PMC and Does, relied on the mail, world wide web and

     telephone to disseminate the misleading information described herein. Defendants

     Combs, BBE, SJC, CGE, Thomas, VIBE or PMC did not disclose to the individuals they

     solicited the fact that they would be drugged, required to act as sex workers and forced to

     perform sex work without compensation.

  210.      Defendants authorized the resources to their general business partner, Defendant

     Combs. In furtherance of the goals of their conspiracy, Defendants VIBE and PMC used

     the “White Parties” as a ruse to provide Defendants Combs, BBE, SJC and SGE cover to

     disguise their covert sex trafficking Enterprise. Throughout the relevant period,

     Defendants Combs BBE, SJC and CGE used the resources their general business partners

     provided to solicit entertainers. As detailed throughout, they relied on the mail, email,

     and world wide web to disseminate the misleading information described herein and

     profit from the free labor of these entertainers. In addition to the forced free labor, they

     used their power and influence to force these entertainers to engage in sex work and to

     engage in unwanted sexual encounters with friends and associates of the RICO

     Enterprise. Defendants also used their power and influence to force these entertainers to

     purchase, transport, and distribute illegal narcotics. As the general business partner of

     Defendants Combs, BBE, SJC and CGE, Defendants VIBE and PMC are equally liable

     for the commission of these acts.




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  211.      Upon information and belief, Defendant Thomas ensured the cash payments to

     employees, like Plaintiff, were executed. Plaintiff was never given the opportunity to

     directly negotiate the fees for forced sex work outside of her employment and would

     typically be at the sole discretion of Defendant Thomas’s grace for payment for sex work.

     Plaintiff does not recall receiving appropriate United States federal tax documents for

     payments or if they independently declared these payments on their taxes. It is unclear if

     Defendants BBE, SJC, CGE, Jacob, VIBE or PNC requested an audit of Defendant

     Combs business financial records to ensure the resources provided to Defendant Combs

     was not being used to fund illegal activities like sex and drug trafficking.

  212.      During the ten (10) years preceding the filing of this action and to the present, all

     Defendants did cooperate jointly and severally in the commission of predicate acts

     itemized at 18 U.S.C. §§ 1961(1)(A) and (B), in violation of 18 U.S.C. 1962(d), as

     described in this Complaint.

  213.      Beginning at an exact date unknown to Plaintiff, but within ten (10) years

     preceding the filing of this action, Defendants have knowingly, willfully, and unlawfully

     participated in a pattern of racketeering activity that continues possibly to this day.

  214.      The “Racketeering Acts” followed the same pattern and purpose: to defraud the

     Plaintiff for the Defendants’ benefit. Each Racketeering Act involved the same or similar

     methods of commission and participants.

  215.      Defendants’ business would not have succeeded without the repeated predicate

     acts and the ability to conduct their fraud using mail, telecommunications wires, interstate

     travel, and possibly money laundering. Which is not far-fetched considering Defendant




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           Jacob was sentenced to thirty months for activities related to money laundering and

           required to forfeit over $2,000,000.00 in civil penalties and fees.15

       216.        The Racketeering Acts all relate to each other in that they were part of concerted

           actions by Defendants to use the endorsement and channels of the Enterprise to operate

           their businesses to solicit potential victims as detailed herein.

       217.         The separate Racketeering Acts all relate to each other in that they were part of

           concerted actions by Defendants to use the endorsement and channels of the Enterprise to

           operate their businesses to fraudulently induce Plaintiff, and others like Plaintiff, to

           utilize their talents and labor to provide services without full compensation. In addition to

           the forced free labor, Defendants used their power and influence to force Plaintiff to

           engage in sex work and to engage in unwanted sexual encounters with others when

           directed. Defendants, specifically Defendant Combs, used his power and influence to

           force Plaintiff to engage in sex work but also distribute and consume illegal narcotics.

       218.        Defendants’ wrongful conduct has injured Plaintiff, remaining part of Defendants’

           ongoing business practices, and continues to threaten Plaintiff and the public.

       219.        Defendants’ association with the Enterprise enabled Defendants to conduct,

           direct, and control a pattern of fraudulent, illegal activities over a substantial number of

           years, which continues to this day.

       220.        To further their collective goals, Defendants worked in concert to engage in

           various forms of criminal activity, including forcing individuals into sex work by forcing

           them to solicit and engage in sexual encounters with others and to consume and distribute

           illegal narcotics at the direction and demand of Defendant Combs’.


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     https://www.cbsnews.com/news/jacob-the-jeweler-jailed/



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  221.      Defendant’s ongoing racketeering activity has injured and continues to injure

     Plaintiff. Defendant’s pattern of forcing Plaintiff and others like Plaintiff, to engage in

     sex work and engage in sexual encounters with others and to purchase, transport, and

     distribute illegal narcotics was the proximate cause of the injuries suffered by Plaintiff.


Defendants Committed Multiple Acts of Sex Trafficking in Violation of 18 U.S.C. § 1591
     (Sex trafficking by force, fraud, or coercion) in Furtherance of the Enterprise

  222.      As detailed throughout this complaint, Defendants knowingly affected interstate

     commerce, by recruiting, enticing, harboring, transporting, providing, obtaining,

     advertising, maintaining, patronizing, or soliciting by any means a person, Plaintiff, to

     engage in illegal sex acts and sex work. In addition to violating federal law, these acts

     violated the following state statutes: Florida, Penal Code 796.07(2)(f); and New York,

     Penal Code 230.05.

  223.      As detailed throughout this complaint, Defendants BBE, SJC, CGE, Jacob, VIBE

     and PMC provided resources to Defendant Combs through their general business

     partnership, Defendants BBE, SJC, CGE, Jacob, VIBE and PMC, and by extension

     through Defendant Combs, knowingly benefited, financially or by receiving anything of

     value, in an Enterprise which has engaged in an act described in violation of paragraph

     (1) of 18 U.S.C. § 1591.

  224.      Defendants BBE, SJC, CGE, Jacob, VIBE and PMC, and by extension through

     Defendant Combs, knowingly, or, except where the act constituting the violation of

     paragraph (1) 18 U.S.C. § 1591 advertised, in reckless disregard of the fact, that means of

     force, threats of force, fraud, coercion described in subsection (e)(2) of 18 U.S.C. § 1591,




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     or any combination of such means will be used to cause Plaintiff to engage in several

     commercial sex acts.

  225.      By way of example, in the Summer of 2007, Plaintiff was forced to engage in sex

     work at the “White Party” at Defendant Combs’ home in Hampton, NY with Defendant

     Jacob. The picture included in this pleading of Defendant Jacob and Plaintiff was taken

     after Plaintiff was forced to engage in illegal sex acts with Defendant Jacob at the behest

     and demand of Defendant Combs. Defendant Combs forced Plaintiff to have sex with

     Defendant Jacob against her will. According to Plaintiff, Defendant Combs’ required sex

     work and engaging in sex acts as part of the employment at the “White Parties.” Plaintiff

     was only paid for her services at the party but not for the sex work she was forced to

     engage in.

  226.      By way of example, between 2004-2009, Plaintiff was forced by Defendant

     Combs and Thomas to transport herself to Mr. Combs home located in Miami, FL.

     Plaintiff, upon information and belief, believes there may be videos showing her being

     sexually assaulted, while unconscious, during the “White Parties” at Defendant Combs’

     Florida residence.

  227.      From at least 2004 through 2009, in the states of New York and Florida, and

     possibly elsewhere, Defendant Combs and others known and unknown, in affecting

     interstate commerce, knowingly combined, conspired, confederated and agreed to recruit,

     entice, harbor, transport, provide, obtain and maintain, by any means, a person, and to

     benefit, financially and by receiving anything of value, from participation in an

     Enterprise which has engaged in such act, knowing and in reckless disregard of the fact

     that means of force, threats of force, fraud and coercion and a combination of such




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     means, would be used to cause the person, Plaintiff, to engage in commercial sex acts, to

     wit, Defendants Combs, Jacob and others, known and unknown, caused Plaintiff to

     engage in commercial sex acts in the United States cities of Miami and New York by

     means of force, threats or force, fraud and coercion, and a combination of such means.

  228.      In furtherance of the conspiracy and to effect the illegal object thereof, the

     following overt acts, among others, were committed in the States of New York, and

     Florida:

         a. In or about 2004, Defendant Sean Combs, through his employee, Defendant

            Thomas, recruited Plaintiff to work for him as an entertainer at his “White

            Parties.” Defendant Combs promised to book Plaintiff’s then-boyfriend in the

            Sean John Clothing campaign he auditioned for as a model, make Plaintiff a

            music artist, and introduce Plaintiff to an ultra-exclusive group of high-profile

            individuals to further her career in the entertainment industry.

         b. In or about 2005, after Plaintiff’s second “White Party,” Defendant Combs began

            more aggressively grooming Plaintiff into engaging in sex work. Defendant

            Combs directed Plaintiff with whom to engage in sex work and would give

            approval and congratulations after Plaintiff complied with Defendant Combs’

            demands.

         c. As part of his grooming of Plaintiff, Defendant Combs threatened that if Plaintiff

            did not continue her employment at the “White Parties” that Defendant Combs

            would blackball Plaintiff from the entertainment industry and Plaintiff’s then-

            boyfriend, Mr. Gallo, from the modeling industry, which Defendant Combs

            eventually did anyway.




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               d. At the direction of Defendants Combs and Thomas, Plaintiff was forced to engage

                   in sex work at Defendant Combs’ homes in Hampton, NY and Miami, Florida.

                   Plaintiff had no authority to be on Defendant Combs’ residential premises without

                   Defendant Combs’ consent. All of Defendant Combs’ properties are protected by

                   24-hour security, and all visitors must be verified before entry.

               e. Plaintiff communicated with Defendants Combs and Thomas by telephone.

                   Defendant Combs communicated by a California number ending in “1496.”

                   However, a search of that number leads to New York-based artist Paloma

                   Baillie16 as the registered owner. Why or how a number registered to Ms. Baillie

                   is being used by Defendant Combs is another conspiracy for another time. The

                   number Plaintiff communicated with Defendant Thomas is seemingly still

                   registered to Defendant Thomas.




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     https://www.palomabaillie.com/about


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  229.      From 2004-2009, in the States of New York, and Florida, Defendants Combs,

     Thomas and others known and unknown, in and affecting interstate commerce,

     knowingly did recruit, entice, harbor, transport, provide, obtain, and maintain, by any

     means a person, Plaintiff, and did benefit, financially and by receiving anything of value,

     from participation in an Enterprise which has engaged in any such act, knowing and in

     reckless disregard of the fact that means of force, threats of force, fraud and coercion, and

     a combination of such means, would be used to cause the person to engage in a

     commercial sex act, to wit, Defendants Combs, Thomas and Jacob caused Plaintiff to

     engage in commercial sex acts utilizing force, threats of force, fraud and coercion, and a

     combination of such means. Additionally, Defendant Combs received personal

     gratification by directing and ensuring Plaintiff engage in commercial sex acts with the

     individuals Defendant Combs directed her to engage.

  230.      From 2004-2009, up to and including currently, in the States of New York, and

     Florida, Defendants Combs, Thomas and others known and unknown, in and affecting

     interstate commerce did use, and cause to be used, facilities in interstate and foreign

     commerce, to wit internet and cellular telephone services, with the intent to promote

     manage, establish, carry on and facilitate the promotion, management, establishment and

     carrying on of an unlawful activity, to wit, a business Enterprise involving prostitution

     offenses in violation of applicable state law, and thereafter performed and attempted to

     perform an act to promote, manage, establish and carry on, and to facilitate the

     promotion, management, establishment and carrying on of such unlawful activity.


   Defendants Committed Multiple Acts of procuring, transporting, and distributing
 controlled substances in Violation of Title 18, United States Code, Sections 1961(1) and
                          1961(5) Furtherance of the Enterprise



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     231.         Defendants knowingly affected interstate or commerce did knowingly and

         intentionally conspire to violate Title 18, United States Code, Section 1962(c), that is, to

         conduct and participate, directly and indirectly, in the conduct of the affairs of that

         Enterprise through a pattern of racketeering activity, as defined in Title 18, United States

         Code, Sections 1961(1) and 1961(5). In addition to violating federal law, these acts

         violated the following state statutes: Florida, Penal Code 893.135 and New York, Penal

         Codes 220.77, 220.18, 220.50, and 220.06.

     232.         The Combs Rico Enterprise:17 As detailed throughout this pleading, Defendants

         are an Enterprise as the term is defined pursuant to 18 USCS § 1961 (4). That is, a group

         of individuals associated, in fact, that engaged in, and the activities of which affected

         interstate commerce. The Enterprise constituted an ongoing organization whose members

         functioned as a continuing unit to achieve the Enterprise’s objectives.

     233.         Upon information and belief, the Combs Rico Enterprise is comprised of

         individuals residing in and around Los Angeles, California, Miami, Florida, New York,

         and among other places. Members and associates of the Combs Rico Enterprise have

         engaged in drug trafficking and sex trafficking.

     234.         Upon information and belief, members and associates of the Combs Rico

         Enterprise procured, transported, and distributed ecstasy, cocaine, and other illicit

         narcotics, in and around the States of New York and Florida. During the relevant

         timeframe, through their general business partnership, Defendants provided resources to




17
  “Enterprise” includes any individual, partnership, corporation, association, or other legal entity, and any union or
group of individuals associated in fact although not a legal entity. 18 U.S.C.S. § 1961



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     Defendant Combs in furtherance of the Enterprise during its highly exclusive and sought

     after summer “White Parties.”

  235.        The purpose of the Combs Enterprise: As detailed herein, and according to

     Plaintiff, the purpose of the Combs Enterprise is to:

         a. Use its position, power, and influence to control entertainers and force these

              entertainers to purchase, transport, and distribute illegal narcotics and engage in

              sex work;

         b.   Promote and enhance the prestige, reputation, and position of the Enterprise with

              respect to rival music labels, artists and executives;

         c. Preserve and protect the power, territory, and criminal ventures of the Enterprise

              through the use of intimidation, threats of violence, and coercion;

         d. Keep victims in fear of the Enterprise and its members and associates;

         e.   Enrich the members and associates of the Enterprise through criminal activity,

              including narcotics trafficking, sex trafficking and fraud;

         f.   Conceal the activities of the Enterprise from law enforcement by threatening

              individuals’ livelihoods if they ever spoke about their experiences to others,

              especially law enforcement.

  236.        Methods and Means of the Enterprise: Upon information and belief, among the

     means and methods by which the Defendants and their associates conducted and

     participated in the conduct of the affairs of the Enterprise were the following:

         a. Members of the Enterprise and their associates procured, transported and

              distributed illegal narcotics to Defendant Combs at his homes in New York and




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            Florida. Plaintiff personally witnessed members of the Enterprise doing this

            during domestic travel.

         b. Members of the Enterprise and their associates used force, coercion, threats, or a

            combination therein to force Plaintiff to engage in sex work and have sex with

            “White Party” goers at the direction of Defendant Combs and/or Thomas.

  237.      The pattern of racketeering activity through which Defendants, together with

     others, agreed to conduct and participate directly and indirectly, in the conduct of the

     affairs of the Enterprise consisted of multiple offenses involving dealing in controlled

     substances, in violation of Title 21, United States Code, Sections 841, 843 and 846. Parts

     of the conspiracy involved each Defendant agreeing that a conspirator would commit at

     least two acts of racketeering activity in the conduct of the affairs of the Enterprise.


 Defendants Committed Multiple Acts of Mail Fraud in Violation of 18 U.S.C. § 1341 in
                         Furtherance of the Enterprise

  238.      Defendants voluntarily and intentionally devised and participated in a scheme

     with the intent to defraud Plaintiff.

  239.      Defendants used the mail to execute the fraudulent scheme herein.

  240.      Specifically, the Defendants agreed to each of the acts of mail fraud described

     throughout this Complaint. In addition, they agreed to rely on the mail to distribute their

     marketing materials, VIBE Magazine, secure wires and cash payments from purchasers

     of the illegal sex services and narcotics they required others to sell, distribute and

     perform.

  241.      In furtherance of and for purposes of executing the above-described fraudulent

     and illegal course of conduct and scheme to defraud, Defendants, either individually or in




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     combination with themselves, used and caused to be used the U.S. mail by both placing

     and causing to be placed, marketing materials, advertisements, agreements and other

     matters in depositories and by removing, or causing to be removed, letters and other

     mailable matters from depositories, in violation of the mail fraud statute, 18 U.S.C. §

     1341.

  242.       Defendants could not have furthered their fraudulent scheme without the use of

     the mail. For example, without the mail, Defendants VIBE and PMC would be unable to

     distribute its marketing magazine as, during that time, “online viewing” was still in its

     infancy. Defendants also required the mail to distribute misleading advertisements to

     various states, including New York. For these reasons, the use of mail to conduct

     fraudulent activity was necessary and inevitable.


 Defendants Committed Multiple Acts of Wire Fraud in Violation of 18 U.S.C. § 1343 in
                          Furtherance of the Enterprise

  243.       Defendants voluntarily and intentionally devised and participated in a scheme

     with the intent to defraud Plaintiff.

  244.       Defendants agreed to each of the acts of wire fraud described herein.

     Additionally, Defendants agreed to rely on interstate wires to disseminate funds to others

     in the Enterprise. Defendants illegally acquired and utilized wire transfers to further their

     collective goal of furthering their RICO Enterprise. Defendants knew that these purchases

     were illegally made.

  245.       Defendants agreed that Defendants should facilitate these fraudulent purchases

     over interstate wires in furtherance of the fraud. Plaintiff has received payment for




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     employment and sex work, comingled, in New York and Florida from Defendants Combs

     and Thomas.

  246.      In furtherance of and for purposes of executing the above-described fraudulent

     and illegal course of conduct and scheme or artifice to defraud, Defendants, either

     individually or in combination with themselves, used, or caused to be used, interstate

     wire communications to transmit or disseminate false, fraudulent, and misleading

     communications and information, in violation of the wire fraud statute, 18 U.S.C. § 1343.

  247.       Defendants could not have furthered their fraudulent scheme without the ability

     to use telecommunications to share information with clients and retailers nationwide.

     Defendants needed to communicate with clients and retailers around the country, utilizing

     interstate telecommunications wires to conduct the fraudulent activity. Which was

     necessary and inevitable to use.

  248.      Plaintiff has been damaged in her business or property because Defendants

     violated 18 U.S.C. § 1962(a), (c)-(d)), and, therefore, Plaintiff is entitled to recover the

     damages and other remedies enumerated therein.

  249.      Defendants’ acts or omissions were actuated by actual malice and a willful and

     wanton disregard for the consequences suffered by Plaintiff, were directed towards her

     because of her gender, and with knowledge of a high degree of probability of harm to

     Plaintiff and reckless indifference to the consequences of their acts or omissions.

  250.      Compensatory damages alone will be insufficient to deter such conduct in the

     future. There needs to be a criminal referral to the United States Justice Department, as

     well as to the States Attorney General’s Office.




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     WHEREFORE, Plaintiff requests that the Court issue an Order and grant Judgment to

  the Plaintiffs as follows:


          •   Grant Plaintiff statutory, common law, and punitive damages, and applicable pre-

              and post-judgment interest, in full recompense for damages;

          •   Enter judgment according to the declaratory relief sought;

          •   Grant Plaintiff such other and further relief, including, without limitation,

              injunctive and equitable relief, as the Court deems just in all the circumstances;

              and

          •   Grant Plaintiff an Incentive or Service Award reflective of the work done in

              prosecuting this action, the time spent, the effort and hard costs invested, and

              results obtained, in light of the Court’s judgment informed by awards in other

              similar cases of comparable difficulty and complexity.


                                   SECOND CAUSE OF ACTION

                    SEXUAL ASSAULT AND SEXUAL HARASSMENT
                             (Against Defendant Combs)

  251.        Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

      if set forth fully herein.

  252.        As described herein, Defendant Combs frightened and placed Plaintiff in

      apprehension of harm when he forced and coerced Plaintiff to engage in sex work for him

      during his “White Parties” from 2004-2009 at Defendant Combs’ homes in Miami, FL

      and Hampton, New York.

  253.        Defendant Combs used threats, coercion to force Plaintiff into engaging in sex

      work and sex acts with his partygoers at his “White Parties.”


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  254.        Defendant Combs directed Plaintiff to engage in sex acts with Defendant Jacob

     against Plaintiff’s will at Defendant Combs’ “White Party” in Hampton, NY.

  255.       Upon information and belief, Defendant Combs may have directed others to

     engage in sex acts with Plaintiff while Plaintiff was unconscious at his “White Party” in

     Miami, FL.

  256.       As a result of Defendant Combs’ conduct, Plaintiff has suffered and continues to

     suffer harm, including physical injury, severe emotional distress, humiliation, anxiety,

     and other consequential damages for which she is entitled to an award of monetary

     damages and other relief.

  257.       Defendant Combs’ conduct described herein was willful, wanton, and malicious.

     At all relevant times, Defendant Combs acted with conscious disregard for Plaintiff's

     rights and feelings, acted with the knowledge of or with reckless disregard for the fact

     that his conduct was sure to cause injury and/or humiliation to Plaintiff, and intended to

     cause fear, physical injury and/or pain and suffering to Plaintiff. Plaintiff believes

     Defendant Combs acted with conscious disregard for Plaintiff's rights and feelings, acted

     with the knowledge of or with reckless disregard for the fact that his conduct was sure to

     cause injury and/or humiliation to Plaintiff due to Plaintiff’s gender. By virtue of the

     foregoing, Plaintiff is entitled to recover punitive damages.


                                  THIRD CAUSE OF ACTION

                   SEXUAL ASSAULT AND SEXUAL HARASSMENT
                            (Against Defendant Jacob)

  258.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.




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  259.       As described herein, Defendant Jacob, Combs and Thomas frightened and placed

     Plaintiff in apprehension of harm of physical and sexual assault while employed as

     entertainment at Defendant Combs’ “White Parties.”

  260.        Plaintiff was forced to engage in sex acts with Defendant Jacob against her will

     while the “White Party” was occurring.

  261.       As a result of Defendant Jacob’s assault, Plaintiff has suffered and continues to

     suffer harm, including physical injury, severe emotional distress, humiliation, anxiety,

     and other consequential damages for which she is entitled to an award of monetary

     damages and other relief.

  262.       The conduct of Defendant Jacob willful, wanton, and malicious. At all relevant

     times, Defendant Jacob acted with conscious disregard for Plaintiff's rights and feelings,

     acted with the knowledge of or with reckless disregard for the fact that his conduct was

     certain to cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical

     injury and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is

     entitled to recover punitive damages.


                                  FOURTH CAUSE OF ACTION


                                      SEXUAL ASSAULT
                                    (Against Defendant Does)

  263.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  264.       As described herein, Defendant Does frightened and placed Plaintiff in

     apprehension of harm when they physically and sexually assaulted her at the “White

     Party” in Miami.



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  265.       Defendant Does forcibly touched and attempted to touch Plaintiff's intimate areas

     and/or touched Plaintiff with their own intimate body parts. Upon information and belief,

     Defendant Does touched Plaintiff’s intimate areas while Plaintiff was unconscious from

     forced narcotics use by Defendant Combs. Defendant Combs and/or Thomas failed to

     intervene.

  266.       As a result of Defendant Does conduct, Plaintiff has suffered and continues to

     suffer harm, including physical injury, severe emotional distress, humiliation, anxiety,

     and other consequential damages for which she is entitled to an award of monetary

     damages and other relief.

  267.       The conduct of Defendant Does described herein was willful, wanton, and

     malicious. At all relevant times, Defendant Does acted with conscious disregard for

     Plaintiff's rights and feelings, acted with the knowledge of or with reckless disregard for

     the fact that their conduct was certain to cause injury and/or humiliation to Plaintiff, and

     intended to cause fear, physical injury and/or pain and suffering to Plaintiff. By virtue of

     the foregoing, Plaintiff is entitled to recover punitive damages.


                                  FIFTH CAUSE OF ACTION


  THE NYC VICTIMS OF GENDER-MOTIVATED VIOLENCE PROTECTION ACT
                       (Against ALL Defendants)

  268.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  269.       The NYC Gender Motivated Violence Act revives any claims against “a party

     who commits, directs, enables, participates in, or conspires in the commission of a crime




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     of violence motivated by gender has a cause of action against such party in any court of

     competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

  270.      The herein described conduct of Defendant Combs, Thomas and Jacob, including

     forcing Plaintiff to engage in sex work, constitutes a “crime of violence” against Plaintiff

     and is a “crime of violence motivated by gender” as defined in N.Y. C. Admin Code §

     10-1103. (“The term ‘crime of violence’ means an act or series of acts that would

     constitute a misdemeanor or felony against the person as defined in state or federal law or

     that would constitute a misdemeanor or felony against property as defined in state or

     federal law if the conduct presents a serious risk of physical injury to another, whether or

     not those acts have actually resulted in criminal charges, prosecution, or conviction,” and

     “The term ‘crime of violence motivated by gender’ means a crime of violence committed

     because of gender or on the basis of gender, and due, at least in part, to an animus based

     on the victim’s gender.”).

  271.      Pursuant to § 10-1105(a), this cause of action is timely because it is commenced

     within “two years and six months after September 1, 2022.”

  272.      Defendants’ crimes of violence were motivated by Plaintiff’s gender as defined in

     in the New York City Administrative Code § 8-903, as Defendant Jacob committed

     forcible sex acts upon Plaintiff that would constitute felonies under state law and as the

     conduct presents a serious risk of physical injury, whether or not those acts have resulted

     in criminal charges, prosecution, or conviction.

  273.      The Appellate Division has held that sexual assault is an act of gender-motivated

     violence under the law as “Coerced sexual activity is dehumanizing and fear-inducing.

     Malice or ill will based on gender is apparent from the alleged commission of the act




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     itself. Animus inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94

     (App. Div. 2019).

  274.      The described conduct herein of Defendant Combs, Thomas and Jacob constitutes

     sexual offenses as defined in Article 130 of the New York Penal Law.

  275.      Plaintiff is a woman, who is older than 18, who alleges misdemeanor and/or

     felony penal law violations, including but not limited to sexual misconduct (N.Y. Penal

     L. § 130.20), criminal sexual act in the first degree (N.Y. Penal L. § 130.50), criminal

     sexual act in the third degree ( N.Y. Penal L. § 130.40), forcible touching (N.Y. Penal L.

     § 130.52), sexual abuse in the first degree (N.Y. Penal L. § 130.65), and sexual abuse in

     the second degree ((N.Y. Penal L. § 130.60).

  276.      Defendant Combs coerced and forced Plaintiff to engage in sexual contact and/or

     sexual intercourse with Defendant Jacob, despite her refusal and unwillingness to do so.

  277.      Defendant Combs demanded Plaintiff drink laced alcohol while in her

     employment capacity as entertainment at the “White Party.” Thus, Defendant Combs

     knew or should have known that Plaintiff was incapable of consenting to sexual contact

     and/or sexual conduct.

  278.      Defendants Combs’ and Jacobs’ actions presented a serious risk of physical injury

     to Plaintiff’s person, regardless of whether or not those acts resulted in criminal charges,

     prosecution or conviction.

  279.      Furthermore, Defendants BBE, SJC, CGE, VIBE and PMC enabled Defendant

     Combs’ commission of the crimes of violence motivated by gender, and thus, are liable

     under the NYC Victims of Gender-Motivated Protection Act.




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  280.        Defendants Thomas, Jacob, BBE, SJC, CGE, VIBE and PMC enabled or

     participated in the sexual trafficking of Plaintiff because Defendants failed to, among

     other things, protect Plaintiff from a known danger; have sufficient policies and

     procedures in place to prevent sexual assault; properly implement policies and procedures

     to prevent sexual assault; take reasonable measures to ensure that policies to prevent

     sexual assault were working; train their employees on identifying sexual assault and

     inappropriate workplace behaviors; protect their employees from sexual assault; and

     adhere to the applicable standard of care.

  281.        Defendants BBE, SJC, CGE, VIBE and PMC enabled or participated in the sexual

     trafficking of Plaintiff because Defendants failed to timely and properly educate, train,

     supervise, and/or monitor their agents or employees regarding policies and procedures

     that should be followed when sexual trafficking is suspected or observed.

  282.        Prior to Defendant Combs forcing Plaintiff into sex work, Defendants BBE, SJC,

     CGE, VIBE and PMC knew, or should have known, that Defendant Combs was not fit to

     be in a position of authority. Defendants, by and through their agents, servants and/or

     employees, became aware, or should have become aware of Defendant Combs’

     propensity to commit sexual assault and of the risk to Plaintiff’s safety. At the very least,

     Defendants knew, or should have known, that they did not have sufficient information

     about whether or not their leaders, managers, and people were safe to be in positions of

     power.

  283.        Defendants BBE, SJC, CGE, VIBE and PMC knew, or should have known, that

     Combs posed a risk of sexual violence, assault, harassment and trafficking.




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  284.        Defendants BBE, SJC, CGE, VIBE and PMC failed to properly supervise

      Defendant Combs and protect Plaintiff from a known danger, and thereby enabled

      Combs’ sexual trafficking of Plaintiff.

  285.        Defendants BBE, SJC, CGE, VIBE and PMC negligently deemed that Defendant

      Combs was fit to be in a position of authority; and/or that any previous suitability

      problems Defendant Combs had were fixed and cured; and/or that Combs would not

      commit acts of sexual assault, battery, harassment or trafficking; and/or that Combs

      would not injure others.

  286.        Moreover, Defendants BBE, SJC, and CGE enabled the sexual trafficking of

      Plaintiff by actively maintaining and employing Defendant Combs in a position of power

      and authority through which Combs had control over people, including Plaintiff.

  287.        As a direct and proximate result of the aforementioned crime of violence and

      gender- motivated violence, Plaintiff has sustained and will continue to sustain, monetary

      damages, physical injury, pain and suffering, and serious psychological and emotional

      distress, entitling her to an award of compensatory and punitive damages, injunctive and

      declaratory relief, attorneys’ fees and costs, and other remedies as this Court may deem

      appropriate damages, as set forth in § 10-1104.


  WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants that:


  •   Declares Defendant Combs engaged in unlawful practices prohibited by the New York

      City Victims of Gender-Motivated Violence Protection Act, in that Combs drugged and

      sex trafficked Plaintiff;




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  •   Declares that Defendants BBE, SJC, CGE, Thomas, Jacob, VIBE, PMC, Does and

      Organizational Does engaged in unlawful practices prohibited by the New York City

      Victims of Gender-Motivated Violence Protection Act, in that they enabled Defendant

      Combs’ commission of the crimes of violence motivated by gender;

  •   Awards Plaintiff compensatory damages for mental, and emotional injury, distress, pain

      and suffering and injury to her reputation, consequential damages, lost wages, earning,

      and all other sums of money, together with interest on these amounts in an amount to be

      proven;

  •   Awards Plaintiff damages against Defendants joint and severally;

  •   Awards Plaintiff punitive and exemplary damages according to proof;

  •   Awards Plaintiff attorneys’ fees, costs, and expenses incurred in the pursuance of this

      action;

  •   Awards prejudgment and post-judgment interest; and

  •   Awards Plaintiff such other and further relief as the Court may deem equitable, just and


                                     SIXTH CAUSE OF ACTION

      PREMISES LIABILITY FOR THE SEXUAL ASSAULT COMMITTED BY
                          DEFENDANT JACOB
                        (Against Defendant Combs)

  288.          Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

      if set forth fully herein.

  289.          Plaintiff was sex trafficked to Defendant Jacob at the “White Party” in 2007 in

      Hampton, NY. Defendant Combs was present, along with other high profiled individuals,

      while Plaintiff was being assaulted by Defendant Jacob during the party. Plaintiff was

      legally on the premises as an employee of Defendants Combs, BBE, SJC and CGE.


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     Defendant Jacob was legally on the premises owned by Defendant Combs as a guest and

     invitee of Defendant Combs. Mr. Combs owned the premises and had dominion and

     control over the premises where Plaintiff was harmed. Defendant Combs had dominion

     and control over the actions of Defendant Jacob and failed to step in and stop Defendant

     Jacob from sexually assaulting Plaintiff.

  290.       As the property owner, Defendant Combs had a duty to protect Plaintiff from the

     harm she suffered at the hands of Defendant Jacob. Defendant Combs breached his duty

     when he failed to stop Defendant Jacob from sexually assaulting Plaintiff. In furtherance

     of this breach, Defendant Combs demanded and encouraging Defendant Jacob, and

     possibly others, to assault Plaintiff. Plaintiff has suffered immensely because of

     Defendant Combs’ intentional breach of his duty.

  291.        As a result of Defendant Combs’ breach of his duty, Plaintiff has suffered and

     continues to suffer harm, including severe emotional distress, anxiety, and other

     consequential damages, for which she is entitled to an award of monetary damages and

     other relief.

  292.       Defendant Combs’ conduct described above was willful, wanton, and malicious.

     At all relevant times, Defendant Combs acted with conscious disregard for Plaintiff's

     rights and feelings, acted with the knowledge of or with reckless disregard for the fact

     that their conduct was certain to cause injury to Plaintiff, and intended to cause fear,

     physical injury and/or pain and suffering to Plaintiff. Plaintiff believes Defendant Combs

     intended his conduct against Plaintiff primarily because of her gender. By virtue of the

     foregoing, Plaintiff is entitled to recover punitive damages.


                             SEVENTH CAUSE OF ACTION



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                  TRAFFICKING AND VICTIMS’ PROTECTION ACT
                            (Against ALL Defendants)

  293.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  294.       Defendants knowingly and intentionally participated in, perpetrated, assisted,

     supported, and facilitated a sex-trafficking Enterprise that was in and affecting interstate

     commerce, together and with others, in violation of 18 U.S.C. § 1591(a)(1).

  295.       Among other things, Defendants Combs and Thomas knowingly and intentionally

     recruited, enticed, provided, obtained, advertised, and solicited by various means

     Plaintiff, knowing that Defendants Combs and Thomas would use means of force, threats

     of force, fraud, coercion, and a combination of such means to cause Plaintiff to engage in

     commercial sex acts.

  296.       Defendants BBE, SJC, CGE, VIBE, PMC and its employees had actual

     knowledge that they were perpetrating and facilitating Defendant Combs’ sexual abuse

     and sex trafficking conspiracy to recruit, solicit, entice, coerce, harbor, transport, obtain,

     and provide Plaintiff, as well as others, into commercial sex acts, through the means of

     force, threats of force, fraud, abuse of process, and coercion.

  297.       Despite such knowledge, Defendants intentionally paid for, facilitated,

     perpetrated, and participated in Defendant Combs’ violations of 18 U.S.C. § 1591(a)(1),

     which Defendants were in reckless disregard of the fact that Defendant Combs would

     coerce, defraud, and force Plaintiff to engage in sex work via commercial sex acts.




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  298.       Defendants’ actions were in and affecting interstate commerce, including its

     distributing of marketing material and publishing activities with VIBE magazine which

     were in and affecting interstate commerce.

  299.      By taking the concrete steps alleged in this complaint, Defendants knowingly

     participated in sex trafficking and furthered Defendant Combs’ sex-trafficking Enterprise.

     The concrete steps constituted taking part in the sex-trafficking Enterprise and were

     necessary for its success. The concrete steps constituted active engagement by all

     Defendants in Defendant Combs’s sex-trafficking Enterprise. Defendants knew that their

     active engagement would lead to and cause coercive commercial sex trafficking.

  300.      In perpetrating TVPA violations, upon information and belief, Defendants Combs

     and Thomas willfully failed to file required taxes with the federal government.

  301.      Defendants’ affirmative conduct was committed knowing, and in reckless

     disregard of the facts, that Defendant Combs would use cash and the financial support

     provided by Defendants BBE, SJC, CGE, VIBE, PMC as a means of defrauding, forcing,

     and coercing sex acts from Plaintiff, as well as others. Defendants’ conduct was

     outrageous and intentional.

  302.      Defendants’ knowing and intentional conduct has caused Plaintiff serious harm,

     including, without limitation, physical, psychological, emotional, financial, and

     reputational harm.

  303.      This case does not involve mere fraud. Instead, Defendants’ criminal conduct in

     perpetrating TVPA violations was outrageous and intentional because it was in deliberate

     furtherance of a widespread and dangerous criminal sex trafficking organization.

     Defendants conduct also evinced a high degree of moral turpitude and demonstrated such




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     wanton dishonesty as to imply a criminal indifference to civil obligations. Defendants’

     criminal conduct was directed specifically at Plaintiff, because of her gender, who was a

     victim of Defendant Combs’ sex-trafficking Enterprise.

  304.       Defendants’ outrageous and intentional conduct in this case is part of a pattern

     and practice of profiting by undertaking illegal “high-risk, high reward” actions.

  305.       By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1),

     1595, Defendants are liable to Plaintiff for the damages she sustained, and reasonable

     attorneys’ fees.


                                  EIGHTH CAUSE OF ACTION

  AIDING, ABETTING, AND INDUCING A SEX-TRAFFICKING ENTERPRISE IN
VIOLATION OF THE TRAFFICKING VICTIMS’ PROTECTION ACT, 18 U.S.C. §§ 2,
                               1591(a)(1) & (2), 1595
(against Defendants Thomas, Jacob, BBE, SJC, CGE, VIBE, PMC, Does, Organizational
                                       Does)

  306.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  307.       Defendants BBE, SJC, CGE, VIBE and PMC entered into a general partnership

     agreement with Defendant Combs. As general business partners, each individual member

     is responsible for the actions of the partners of the partnership. Defendants BBE, SJC,

     CGE, VIBE and PMC provide resources to Defendant Combs to throw the lavished

     “White Parties.” According to Plaintiff, the Combs Rico Enterprise was engaging in sex-

     trafficking activities during almost every “White Party” specifically those attended by

     Plaintiff from 2004-2009. As a result of their intentional or negligent failure of their duty

     to supervise, Defendants BBE, SJC, CGE, VIBE and PMC aided, abetted, and induced




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     Sean Combs’ sex-trafficking Enterprise that was in and affecting interstate commerce, in

     violation of 18 U.S.C. §§ 2, 1591(a)(1) & (a)(2).

  308.       The crimes that Defendants BBE, SJC, CGE, VIBE , PMC, Does and

     Organizational Does aided and abetted are (1) Defendant Combs’ perpetrating of

     coercive sex trafficking, in violation of 18 U.S.C. § 1591(a)(1), and (2) Defendant

     Combs’ co-conspirators knowingly benefitting from coercive sex trafficking, in violation

     of 18 U.S.C. § 1591(a)(2). These crimes were in and affecting interstate commerce.

  309.       Defendant Combs’ co-conspirators benefitted financially and received things of

     value from their participation in the Combs’ sex-trafficking Enterprise, including

     payments and other compensation, like actual sex acts co-conspirator Jacob received,

     from Defendant Combs. All co-conspirators who benefitted financially.

  310.       Under 18 U.S.C. § 2, as a result of their general business partnership with

     Defendant Combs, and their failure to monitor Defendant Combs, Defendants BBE, SJC,

     CGE, VIBE , PMC, Does and Organizational Does are punishable as a principal under 18

     U.S.C. §§ 1591(a)(1) & (a)(2) and thereby committed and perpetrated violations of

     Chapter 77, Title 18, U.S. Code, when it aided, abetted, counseled, commanded, induced,

     and procured Defendant Combs’ and his sex-trafficking Enterprise and sex trafficking of

     Plaintiff , as well as others.

  311.       Under 18 U.S.C. § 2, as a result of their general business partnership with

     Defendant Combs, and their failure to monitor Defendant Combs, Defendants BBE, SJC,

     CGE, VIBE , PMC, Does and Organizational Does committed and perpetrated crimes in

     violation of 18 U.S.C. §§ 1591(a)(1) & (a)(2) by aiding, abetting, inducing, and procuring

     Defendant Combs’ and his sex-trafficking Enterprise and the sex trafficking of Plaintiff.




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  312.       Defendants directly committed and perpetrated violations of Chapter 77, Title 18,

     U.S. Code, including 18 U.S.C. §§ 1591(a)(1) & (a)(2), by aiding, abetting, and inducing

     the sex-trafficking Enterprise and the sex trafficking of Plaintiff. Defendants Combs,

     Thomas and Jacob directly violated Chapter 77 by committing and perpetrating these

     violations.

  313.       Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational Does aided,

     abetted, and induced Defendant Combs’ sex-trafficking Enterprise and sex trafficking of

     Plaintiff knowing that Defendant Combs would use means of force, threats of force,

     fraud, coercion, and a combination of such means to cause Plaintiff to engage in

     commercial sex acts.

  314.       By aiding, abetting, and inducing Defendant Combs’ and his co-conspirators’ sex-

     trafficking Enterprise and sex trafficking of Plaintiff, Defendants BBE, SJC, CGE, VIBE

     , PMC, Does and Organizational Does benefited financially and received things of value

     for participating in Defendant Combs’ sex-trafficking Enterprise.

  315.       Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational Does and

     their employees had actual knowledge that they were aiding, abetting, and inducing

     Defendant Combs’ and his co-conspirators’ sexual abuse and sex trafficking conspiracy

     to recruit, solicit, entice, coerce, harbor, transport, obtain, and provide Plaintiff, as well as

     others, into commercial sex acts, through the means of force, threats of force, fraud,

     abuse of process, and coercion. Defendants knew, and should have known, that

     Defendant Combs had engaged in acts in violation of the TVPA.

  316.       Despite such knowledge, and through their intentional or negligent failure to

     monitor Defendant Combs, Defendants BBE, SJC, CGE, VIBE , PMC, Does and




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     Organizational Does financed and aided, abetted, and induced Defendant Combs’

     violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2), which constituted perpetrating violations

     of those laws under 18 U.S.C. § 2. Defendants BBE, SJC, CGE, Jacob, VIBE and PMC

     knew or should have known if they had conducted a simple investigation, they would

     have discovered that Defendant Combs was acting in reckless disregard and was

     coercing, defrauding, and forcing Plaintiff to engage in commercial sex acts.

  317.      Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational Does

     affirmative conduct of blind resources to Defendant Combs aided, abetted, and induced

     Defendant Combs to continue his sex-trafficking Enterprise. Their violations were

     committed knowingly, and in reckless disregard of the facts, that Defendant Combs

     would use the resources provided as a means of defrauding, forcing, and coercing sex

     acts from Plaintiff. Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational

     Does conduct was outrageous and intentional.

  318.      Upon information and belief, Defendants BBE, SJC, CGE, VIBE , PMC, Does

     and Organizational Does intentional conduct of aiding, abetting, and inducing Defendant

     Combs’s violations has caused Plaintiff serious harm including, without limitation,

     physical, psychological, emotional, financial, and reputational harm.

  319.      This case does not involve mere fraud. Instead, Defendants’ criminal conduct in

     aiding, abetting, and inducing Defendant Combs’ violations of the TVPA was outrageous

     and intentional, because it was in deliberate furtherance of a widespread and dangerous

     criminal sex trafficking organization. Defendants BBE, SJC, CGE, VIBE , PMC, Does

     and Organizational Does criminal conduct also evinced a high degree of moral turpitude

     and demonstrated such wanton dishonesty as to imply a criminal indifference to civil




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     obligations. Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational Does

     criminal conduct was directed specifically at Plaintiff who was the victim of Defendant

     Combs’ sexual abuse and sex-trafficking organization.

  320.       Defendants BBE, SJC, CGE, VIBE , PMC, Does and Organizational Does

     outrageous and intentional conduct in this case is part of a pattern and practice of

     Defendants profiting by undertaking illegal “high-risk, high reward” general business

     partnerships.

  321.       By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1),

     1595, Defendants are liable to Plaintiff for the damages she sustained and reasonable

     attorneys’ fees.

  322.       By virtue of these intentional and outrageous violations of 18 U.S.C. §§

     1591(a)(1), 1595, Defendants are liable to Plaintiff for punitive damages.


                                  NINTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                   (against Defendant Combs)

  323.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  324.       Defendant Combs created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant Combs knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  325.       Plaintiff’s emotional distress was foreseeable to Defendant Combs.

  326.       As a direct and proximate result of the negligent conduct of Defendant Combs,

     Plaintiff suffered and will continue to suffer severe emotional distress.




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  327.       Defendant Combs’ conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                                  TENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                   (against Defendant Jacob)

  328.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  329.       Defendant Jacob created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant Jacob knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  330.       Plaintiff’s emotional distress was foreseeable to Defendant Jacob.

  331.       As a direct and proximate result of the negligent conduct of Defendant Jacob,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  332.       Defendant Jacob’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                              ELEVENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                  (against Defendant Thomas)

  333.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  334.       Defendant Thomas created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant Thomas knew or should have known that such conduct was




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     likely to result in emotional distress that might and/or likely would cause illness or bodily

     harm.

  335.       Plaintiff’s emotional distress was foreseeable to Defendant Thomas

  336.       As a direct and proximate result of the negligent conduct of Defendant Thomas,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  337.       Defendant Thomas’s conduct was wanton, malicious, willful, and/or cruel,

     entitling the Plaintiff to punitive damages.


                                  TWELTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                    (against Defendant BBE)

  338.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  339.       Defendant BBE created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant BBE knew or should have known that such conduct was likely to

     result in emotional distress that might and/or likely would cause illness or bodily harm.

  340.       Plaintiff’s emotional distress was foreseeable to Defendant BBE.

  341.       As a direct and proximate result of the negligent conduct of Defendant BBE,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  342.       Defendant BBE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                            THIRTEENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                    (against Defendant SJC)




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  343.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  344.       Defendant SJC created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant SJC knew or should have known that such conduct was likely to

     result in emotional distress that might and/or likely would cause illness or bodily harm.

  345.       Plaintiff’s emotional distress was foreseeable to Defendant SJC.

  346.       As a direct and proximate result of the negligent conduct of Defendant SJC,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  347.       Defendant SJC’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                            FOURTEENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                    (against Defendant CGE)

  348.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  349.       Defendant CGE created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant CGE knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  350.       Plaintiff’s emotional distress was foreseeable to Defendant CGE.

  351.       As a direct and proximate result of the negligent conduct of Defendant CGE,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  352.       Defendant CGE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.




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                             FIFTEENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                   (against Defendant VIBE)

  353.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  354.       Defendant VIBE created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant VIBE knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  355.       Plaintiff’s emotional distress was foreseeable to Defendant VIBE.

  356.       As a direct and proximate result of the negligent conduct of Defendant VIBE,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  357.       Defendant VIBE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                             SIXTEENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                    (against Defendant PMC)

  358.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  359.       Defendant PMC created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant PMC knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  360.       Plaintiff’s emotional distress was foreseeable to Defendant PMC.

  361.       As a direct and proximate result of the negligent conduct of Defendant PMC,

     Plaintiff suffered and will continue to suffer severe emotional distress.



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  362.       Defendant PMC’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                           SEVENTEENTH CAUSE OF ACTION

                                  NIED – SEX TRAFFICKING
                                    (against Defendant Does)

  363.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  364.       Defendant Does created an unreasonable risk of causing emotional distress to

     Plaintiff, and Defendant Does knew or should have known that such conduct was likely

     to result in emotional distress that might and/or likely would cause illness or bodily harm.

  365.       Plaintiff’s emotional distress was foreseeable to Defendant Does.

  366.       As a direct and proximate result of the negligent conduct of Defendant Does,

     Plaintiff suffered and will continue to suffer severe emotional distress.

  367.       Defendant Does’ conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                            EIGHTEENTH CAUSE OF ACTION

                               NIED – SEX TRAFFICKING
                          (against Defendant Organizational Does)

  368.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  369.       Defendant Organizational Does created an unreasonable risk of causing emotional

     distress to Plaintiff, and Defendant Organizational Does knew or should have known that




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     such conduct was likely to result in emotional distress that might and/or likely would

     cause illness or bodily harm.

  370.       Plaintiff’s emotional distress was foreseeable to Defendant Organizational Does.

  371.       As a direct and proximate result of the negligent conduct of Defendant

     Organizational Does, Plaintiff suffered and will continue to suffer severe emotional

     distress.

  372.       Defendant Organizational Does’ conduct was wanton, malicious, willful, and/or

     cruel, entitling the Plaintiff to punitive damages.


                             NINETENTH CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                      (Defendant Combs)

  373.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  374.       Defendant Combs engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting him to sexual assault and misconduct.

  375.       The sexual assault, trafficking and misconduct by Defendant Combs were

     extreme and outrageous conduct that shocks the conscience.

  376.        These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  377.       As a direct and proximate result of Defendant Combs’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.




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  378.       Defendant Combs’ conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                             TWENTIETH CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant Jacob)

  379.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  380.       Defendant Jacob engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  381.       The sexual assault, trafficking and misconduct by Defendant Jacob were extreme

     and outrageous conduct that shocks the conscience.

  382.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  383.       As a direct and proximate result of Defendant Jacob’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  384.       Defendant Jacob’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                           TWENTY-FIRST CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                      (Defendant Thomas)

  385.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.




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  386.       Defendant Thomas engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  387.       The sexual assault, trafficking and misconduct by Defendant Thomas were

     extreme and outrageous conduct that shocks the conscience.

  388.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  389.       As a direct and proximate result of Defendant Thomas’ extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  390.       Defendant Thomas’ conduct was wanton, malicious, willful, and/or cruel,

     entitling the Plaintiff to punitive damages.


                         TWENTY-SECOND CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant BBE)

  391.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  392.       Defendant BBE engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  393.       The sexual assault, trafficking and misconduct by Defendant BBE were extreme

     and outrageous conduct that shocks the conscience.

  394.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.




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  395.       As a direct and proximate result of Defendant BBE’S extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  396.       Defendant BBE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                          TWENTY-THIRD CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant SJC)

  397.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  398.       Defendant SJC engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  399.       The sexual assault, trafficking and misconduct by Defendant SJC were extreme

     and outrageous conduct that shocks the conscience.

  400.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  401.       As a direct and proximate result of Defendant SJC’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  402.       Defendant SJC’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                         TWENTY-FOURTH CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant CGE)




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  403.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  404.       Defendant CGE engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  405.       The sexual assault, trafficking and misconduct by Defendant CGE were extreme

     and outrageous conduct that shocks the conscience.

  406.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  407.       As a direct and proximate result of Defendant CGE’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  408.       Defendant CGE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                           TWENTY-FIFTH CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant VIBE)

  409.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  410.       Defendant VIBE engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  411.       The sexual assault, trafficking and misconduct by Defendant VIBE were extreme

     and outrageous conduct that shocks the conscience.




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  412.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  413.       As a direct and proximate result of Defendant VIBE’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  414.       Defendant VIBE’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                           TWENTY-SIXTH CAUSE OF ACTION

                                  IIED – SEX TRAFFICKING
                                       (Defendant PMC)

  415.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  416.       Defendant PMC engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  417.       The sexual assault, trafficking and misconduct by Defendant PMC were extreme

     and outrageous conduct that shocks the conscience.

  418.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  419.       As a direct and proximate result of Defendant PMC’s extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  420.       Defendant PMC’s conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                        TWENTY-SEVENTH CAUSE OF ACTION



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                                   IIED – SEX TRAFFICKING
                                        (Defendant Does)

  421.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  422.       Defendant Does engaged in conduct toward Plaintiff that is extreme and

     outrageous to exceed the bounds of decency in a civilized society, namely by, inter alia,

     subjecting her to sexual assault and misconduct.

  423.        The sexual assault, trafficking and misconduct by Defendant Does were extreme

     and outrageous conduct that shocks the conscience.

  424.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  425.       As a direct and proximate result of Defendant Does’ extreme and outrageous

     conduct, Plaintiff has suffered severe emotional distress.

  426.       Defendant Does’ conduct was wanton, malicious, willful, and/or cruel, entitling

     the Plaintiff to punitive damages.


                         TWENTY-EIGHTH CAUSE OF ACTION

                                    IIED – SEX TRAFFICKING
                                  (Defendant Organizational Does)

  427.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  428.       Defendant Organizational Does engaged in conduct toward Plaintiff that is

     extreme and outrageous to exceed the bounds of decency in a civilized society, namely

     by, inter alia, subjecting him to sexual assault and misconduct.




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  429.       The sexual assault, trafficking and misconduct by Defendant Organizational Does

     were extreme and outrageous conduct that shocks the conscience.

  430.       These actions were taken with the intent to cause or disregard for the substantial

     probability of causing severe emotional distress.

  431.       As a direct and proximate result of Defendant Organizational Does’ extreme and

     outrageous conduct, Plaintiff has suffered severe emotional distress.

  432.       Defendant Organizational Does’ conduct was wanton, malicious, willful, and/or

     cruel, entitling the Plaintiff to punitive damages.


                          TWENTY-NINTH CAUSE OF ACTION

KNOWING BENEFICIARY IN A SEX-TRAFFICKING ENTERPRISE IN VIOLATION
OF THE TRAFFICKING VICTIMS’ PROTECTION ACT, 18 U.S.C. §§ 1591(A)(2), 1595
                       (Against ALL Defendants)

  433.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  434.       Upon information and belief, Defendants knowingly and intentionally benefitted

     financially and by receiving things of value, from participating in, assisting, supporting,

     and facilitating an illegal coercive sex-trafficking Enterprise that was in and affecting

     interstate commerce, together and with others, in violation of 18 U.S.C. § 1591(a)(2).

     Defendants took several concrete steps to aid and participate in Defendant Combs’ sex-

     trafficking Enterprise. Among the concrete steps that Defendants took to aid Defendant

     Combs was providing unfettered access to resources in his control which made the sex-

     trafficking Enterprise possible. Enabling Defendant Combs with significant,

     unmonitored, resources caused Defendants to receive the benefits detailed throughout this




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     complaint. Defendants’ willingness to provide significant, unmonitored, resources to

     Defendant Combs was the quid pro quo for it receiving the benefits detailed herein.

  435.      Upon information and belief, the resources provided were necessary for

     Defendant Combs to coerce Plaintiff to engage in commercial sex acts. The resources

     directly formed part of the commercial nature of the sex acts. The resources were also a

     necessary and required part of Defendant Combs’ recruitment of Plaintiff. By providing

     unchecked resources, Defendants knew, or should have known, that the money would be

     used to fund the sex-trafficking Enterprise. Through their general business partnership

     with Defendant Combs, Defendants actively participated in the recruitment of sex-

     trafficking victims to the Enterprise.

  436.       Upon information and belief, the unchecked resources that Defendants provided

     went far beyond providing routine partnership or compensation to a general business

     partner. It was far from routine for Defendants to provide substantial marketing and

     resources throughout the years to Defendant Combs on his business ventures including

     the “White Parties” and who did not have an apparent legitimate need for such

     extravagant marketing and resources. The sheer number of pages in which Defendant

     Combs appears in one issue of Defendants VIBE and PMC publication went far beyond

     normal for the music industry. Defendants knew, or should have known, through

     reasonable inquiry that they were feeding Defendant Combs’ sexual deviancy.

  437.      Upon information and belief, Defendants provided extravagant marketing and

     resources to Defendant Combs, which, under the circumstances of this case, was entirely

     inconsistent with the ordinary duties of a partner, or general business partnership

     member.




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  438.      Upon information and belief, the reason that Defendants ignored numerous “red

     flags” about Defendant Combs was to receive financial benefits from the sex-trafficking

     Enterprise. Defendants knew that they would gain far-from-routine benefits by ignoring

     the “red flags” associated with Defendant Combs and by participating in his sex-

     trafficking Enterprise.

  439.      Upon information and belief, among the concrete steps that Defendants took to

     aid and participate in the Combs’ sex-trafficking Enterprise were legitimizing Defendant

     Combs’ “White Parties” as legitimate, high-profile networking events through

     intentionally false and misleading stories in its magazine. By cloaking the true nature of

     the “White Parties,” Defendants were able to continue the Enterprise and receive benefits

     from its participation in the sex-trafficking Enterprise. Through their general business

     partnership agreement with Defendant Combs, Defendants adopted, by association ,the

     intentional acts of their general business partner, Defendant Combs, affirmative conduct

     causing Defendants to receive those benefits.

  440.      Upon information and belief, by taking the concrete steps outlined above (along

     with the others alleged in this complaint), Defendants knowingly participated in sex-

     trafficking and furthered the Combs’ sex-trafficking Enterprise. The concrete steps above

     constituted taking part in the sex-trafficking Enterprise and were necessary for its

     success. The concrete steps above constituted active engagement by Defendants in

     Combs’ sex- trafficking Enterprise.

  441.       Upon information and belief, Defendants knowingly and intentionally benefited

     financially from, and received value for, its participation in the sex-trafficking Enterprise

     named herein with knowledge, or reckless disregard of the fact, that Defendant Combs




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     would use means of force, threats of force, fraud, coercion, and a combination of such

     means to cause Plaintiff to engage in commercial sex acts.

  442.       Upon information and belief, Defendants knew of Defendant Combs deviant and

     violent behavior, through years of lawsuits, hush money settlements, and negative

     publicity surrounding Defendant Combs as early as 2021 and most notably by Ms. Cassie

     Ventura in 2023. Almost all of the suits, since Ms. Ventura’s suit, allege Defendant

     Combs was engaging in sex-trafficking, among other things.

  443.      Upon information and belief, Defendants’ actions extend well beyond a situation

     of failing to train themselves and their staff about recognizing the warning signs of sex-

     trafficking. Defendants did recognize the signs of Combs’ sex-trafficking which is why

     they prominently featured it in Defendants VIBE and PMC’s November 2006 magazine

     publication of VIBE. Upon information and belief, indeed, Defendants’ employees, knew

     about Combs sex-trafficking Enterprise but decided to continue facilitating the Combs’

     sex-trafficking Enterprise rather than ending its participation in the Enterprise.

  444.      Upon information and belief, Defendants VIBE and PMC were also in the

     business of promoting money for sex as seen in the classified section of Defendants

     VIBE and PMC’s November 2006 magazine.




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  445.       Upon information and belief, due to the facts that came to their attention through

     complaint filed by Cassie Ventura, and others, accusing Defendant Combs of sex-

     trafficking, Defendants knew to a certainty that Combs was engaged in sex-trafficking.

  446.      Upon information and belief, Defendants knew the names of many of Combs’

     sex-trafficking victims, including Plaintiff.

  447.       Upon information and belief, Defendants helped to conceal the names of Combs’

     victims from the public and from law enforcement and prosecuting agencies by helping

     to conceal the existence of the sex-trafficking Enterprise, including failing to get a release

     of Plaintiff before publishing her picture in Defendants VIBE and PMC’s November

     2006 magazine. Among the ways in which Defendants helped to conceal the Enterprise’s




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     existence was by failing to properly monitor or audit Defendant Combs to ensure that the

     resources provided were being used in a legal manner as well as ensuring that the proper

     accounting and tax reporting was made to the federal government.

  448.      Defendants had constructive knowledge of Combs’ sex-trafficking Enterprise

     because of specific acts by Defendant Combs that put it on notice of a particular and

     ongoing sex-trafficking Enterprise. Among the specific acts were Combs’ “White Party”

     events that representatives of Defendants, specifically Thomas, Jacob, VIBE and PMC,

     periodically attended; Defendant Combs had narcotics and sex workers present in

     circumstances that should have prompted Defendants and its employees to raise questions

     about Combs's sex-trafficking, and/or if he was using the resources provided to him by

     Defendants to continue such Enterprise.

  449.       Upon information and belief, among the financial benefits that the Defendants

     received for participating in and facilitating Combs’ sex-trafficking Enterprise were the

     affiliation and access to Defendant Combs’ popularity and network of celebrities.

     Defendant Combs was a popular and highly influential figure in the entertainment and

     music industries to whom everyone wanted to connect. Defendant Combs was known for

     the “White Parties” turning it to a cultural phenomenon. Affiliation with and/or general

     business partnerships with Defendant Combs and his “White Parties” garnered

     legitimacy, immense success, and access to top and emerging artists, celebrities, famous

     athletes, political figures, musicians, and international dignitaries like former President

     Donald Trump. Defendants knew first-hand the power, influence, and effect attaching

     themselves to Defendant Combs would have on their bottom-line as evidenced by their

     repeated general business partnership with Defendant Combs ranging from 1993 to




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     recently. Defendants profited from their affiliation with Defendant Combs and their

     general business partnership may have supported his sex-trafficking Enterprise.

     Defendant Combs and Combs-controlled entities used the marketing and resources they

     received from their general business partners to facilitate their sex-trafficking Enterprise.

     Defendant Combs benefited from his general business partners’ apparent willful

     blindness through their willingness to provide substantial resources in suspicious

     circumstances including their failure to ensure that their general business partners

     properly reported to the U.S. Federal Government.

  450.      Upon information and belief, among the financial benefits that Defendants

     received for participating in Combs’ sex-trafficking Enterprise was the referral of

     business opportunities from Defendant Combs and his co-conspirators and access to other

     celebrities, up-and-coming artists, entertainers, producers, songwriters, and creatives.

     Defendants profited from these business opportunities. Defendants VIBE and PMC

     received further financial benefits via an increase in revenue and sales from publications

     featuring Defendant Combs. Defendant Combs supplies numerous benefits to Defendants

     in exchange for assisting in his sex-trafficking Enterprise. These referrals and benefits

     were a quid pro quo for Defendants participation.

  451.      Defendants, especially VIBE and PMC, knew, or should have known, that if they

     stopped assisting, supporting, and facilitating Combs’ sex-trafficking Enterprise, they

     would no longer receive those benefits.

  452.      Upon information and belief, Defendants knew and was in reckless disregard of

     the fact that it was Defendant Combs’ pattern and practice to use the channels and

     instrumentalities of interstate commerce (vehicles, yachts and commercial airplanes) to




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     entice, recruit, solicit, harbor, provide, obtain, and transport individuals, like the Plaintiff,

     for purposes of causing commercial sex acts, in violation of 18 U.S.C. § 1591(a)(1).

  453.       Upon information and belief, Defendants and their employees had actual

     knowledge that they were facilitating Defendant Combs’ sexual abuse and trafficking

     conspiracy to recruit, solicit, entice, coerce, harbor, transport, obtain and propel Plaintiff

     into commercial sex acts, through the means of force, threats of force, fraud, abuse of

     process, and coercion, and a combination of all these means.

  454.       Upon information and belief, despite such knowledge, Defendants intentionally

     facilitated, and participated in Combs’ violations of 18 U.S.C. § 1591(a)(1), which

     Defendants knew, and were in reckless disregard of the fact that Defendant Combs would

     coerce, defraud, and force Plaintiff to engage in commercial sex acts.

  455.       Upon information and belief, Defendants, through its employees and agents,

     actively participated in the sex trafficking conspiracy and led Plaintiff to engage in sex

     work under the belief that she would be rewarded if she cooperated and acquiesced to

     Defendant Combs’ coercive demands.

  456.       Initially, Plaintiff was rewarded by Defendant Combs’ coercive demands as

     Defendant kept his word and hired Plaintiff’s then then-boyfriend, Mr. Gallo, as a model

     in a nationwide Sean John clothing campaign.

  457.       Upon information and belief, Defendants’ affirmative conduct was committed

     knowingly, and in reckless disregard of the facts, that Defendant Combs would use the

     resources provided by Defendants as a means of defrauding, forcing, and coercing sex

     acts from Plaintiff. Defendants’ conduct was outrageous and intentional.




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  458.      Upon information and belief, in addition to actual knowledge that they were

     participating in and facilitating the Combs’ sex-trafficking Enterprise, Defendants also

     should have known that they were participating in and facilitating an Enterprise that had

     engaged in coercive sex-trafficking, as covered by 18 U.S.C. § 1595(a).

  459.      Upon information and belief, in exchange for facilitating and covering up Combs’

     commercial sex-trafficking, Defendants received international recognition, notoriety,

     acclaim and praise in their magazines with Defendant Combs, which was a result of

     securing the partnership with Defendant Combs.

  460.      Facilitating and covering up Combs’ sexual trafficking and misconduct was a

     means of obtaining economic success and promotion within the Defendants’ hierarchy.

  461.      Upon information and belief, Defendants’ knowing and intentional conduct has

     caused Plaintiff serious harm including, without limitation, physical, psychological,

     emotional, financial, and reputational harm.

  462.      Upon information and belief, Defendants’ knowing and intentional conduct has

     caused Plaintiff harm that is sufficiently serious.

  463.      This case does not involve mere fraud. Instead, Defendants’ criminal conduct in

     violating the TVPA was outrageous and intentional because it was in deliberate

     furtherance of a widespread and dangerous criminal sex-trafficking Enterprise.

     Defendants’ willful blindness to Defendant Combs’ criminal conduct also evinced a high

     degree of moral turpitude and demonstrated such wanton dishonesty as to imply a

     criminal indifference to civil obligations. Defendants’ criminal conduct was directed

     specifically at Plaintiff, who was the victim of Defendant Combs’ sexual abuse and sex-

     trafficking Enterprise directed at Plaintiff, largely due to her gender.




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  464.        Upon information and belief, Defendants’ outrageous and intentional conduct, in

     this case, is part of a pattern and practice of Defendants by undertaking illegal “high-risk,

     high reward” general business partnerships.

  465.       By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(2),

     1595, Defendants are liable to Plaintiff for the damages she sustained and reasonable

     attorneys’ fees.


                             THIRTIETH CAUSE OF ACTION

   OBSTRUCTION OF THE ENFORCEMENT OF THE TRAFFICKING VICTIM
                PROTECTION ACT, 18 U.S.C. § 1591(d)
                      (against ALL Defendants)


  466.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  467.        Defendants, and its officers and employees, knowingly and intentionally

     obstructed, attempted to obstruct, interfered with, and prevented the enforcement of 18

     U.S.C. §§ 1591(a)(1) & (a)(2), all in violation of 18 U.S.C. § 1591(d). This activity is

     hereinafter referred to collectively simply as “obstruction.”

  468.       Upon information and belief, Defendants’ obstruction of the enforcement of 18

     U.S.C. §§ 1591(a)(1) and (a)(2) was forbidden by 18 U.S.C. § 1591(d), and Defendants

     thereby violated Chapter 77, Title 18. Defendants’ obstruction described herein directly,

     proximately, and foreseeably harmed Plaintiff by directly resulting in her coercively

     being caused to engage in commercial sex acts and in other ways.

  469.       Upon information and belief, Defendant Combs has a well-documented history of

     criminal investigations. Defendants were on notice of Defendant Combs’ proclivity to




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     criminal activity. They knew or should have known that Defendant Combs sex-

     trafficking Enterprise would or could result in a criminal investigation by State and

     Federal prosecutors for violating (among other laws) the TVPA. Defendants should have

     taken a que from the Federal Prosecutors arrest and prosecution of Jeffrey Epstein on or

     about July 8, 2019. The U.S. Attorney’s Office for the Southern District of New York

     indicted Epstein (and unnamed “associates”) for violating the TVPA. Later, on about

     June 29, 2020, the same Office indicted Epstein’s co-conspirator, Ghislaine Maxwell, for

     conspiracy to entice victims to travel to be abused by Epstein. Defendant Combs, Jacob,

     Thomas and Does all engaged in the same activities as Mr. Epstein and Ms. Maxwell. In

     fact, Defendant Combs, Jacob, Thomas and Does may have done worse.

  470.      Upon information and belief, by providing marketing and resources for Defendant

     Combs’ sex trafficking Enterprise, and concealing their actions thereafter, Defendants

     obstructed, interfered with, and prevented the state and federal government enforcement

     of the TVPA against Defendant Combs, Jacob, Thomas and Does. Any filing of charges

     was delayed by Defendants’ actions; and because of that delay, Plaintiff, and many others

     subsequently, thereafter, was coercively caused to engage in commercial sex acts.

  471.      One example of how Defendants obstructed, attempted to obstruct, interfered

     with, and prevented state and federal government’s enforcement of the TVPA,

     Defendants Combs and Thomas paid Plaintiff in cash so that the coercive commercial sex

     acts would escape the detection of state and federal law enforcement and prosecuting

     agencies. Defendants provided resources to further Defendant Combs’ sex-trafficking

     Enterprise and with the purpose of helping Defendants evade criminal liability for

     violating the TVPA.




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  472.       By providing unchecked resources to Defendant Combs, Defendants intended

     and knew that Defendant Combs’ coercive commercial sex acts would escape the

     detection of law enforcement and prosecuting agencies for some period of time.

     Defendants provided resources to further the Combs sex-trafficking Enterprise and with

     the purpose of helping Defendant Combs evade criminal liability for violating the TVPA.

  473.      Upon information and belief, Defendants’ obstruction, attempted obstruction,

     interference with, and prevention of the enforcement of the TVPA were all done

     intentionally and knowingly. For example, Defendants knew that Defendant Combs was

     high risk— specifically, high risk to violate the TVPA through continuing criminal sex-

     trafficking activities. As evidenced by Ms. Ventura’s civil complaint, she informed

     members of Defendant Combs’ parent label about the abuses he was visiting upon her.

  474.      Upon information and belief, Defendants were aware Defendant Combs had a

     laundry list of criminal charges, and barely escaped serving prison time. Defendants were

     aware that there were public allegations that Defendant Combs’ illegal conduct was

     facilitated by several named co-conspirators. They were made aware of this through

     complaints made by Ms. Ventura, and other lawsuits including R&B singers Tremaine

     Neverson, a/k/a Trey Songz, and Chris Brown. Defendants intentional conduct

     obstructed, attempted to obstruct, in many ways interfered with, and prevented the

     enforcement of the TVPA by investigators and prosecuting agencies.

  475.      Upon information and belief, Defendants’ relationship with Defendant Combs by

     providing his sex-trafficking Enterprise with unchecked resources went far beyond a

     normal (and lawful) partnership relationship. Defendants knew, and intended, that their

     relationship with Defendant Combs would go far beyond a normal entertainment industry




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     relationship. Defendants knew that its decision to go beyond a normal industry

     relationship with Defendant Combs obstructed the ability of law enforcement and

     prosecuting agencies to enforce the TVPA.

  476.      Upon information and belief, Defendants’ obstruction of the government’s TVPA

     and other law enforcement efforts was intentional and willful and, therefore, Defendants

     intentionally and willfully caused Defendant Combs’ commission of the forcible

     commercial sex acts with Plaintiff through its obstruction supporting the concealment of

     Defendant Combs’ sex-trafficking Enterprise. Defendants knew that Defendant Combs

     and his other co-conspirators would use means of force, threats of force fraud, coercion,

     and a combination of such means to cause Plaintiff to engage in commercial sex acts.

  477.      Upon information and belief, Defendants knew, acted in reckless disregard of the

     fact, and should have known, that their obstruction in violation of 18 U.S.C. § 1591(d)

     would directly and proximately lead to unlawful coercive commercial sex acts by

     Plaintiff with men, like Defendant Jacob.

  478.      Upon information and belief, Defendants’ obstruction has caused Plaintiff serious

     harm, including, without limitation, physical, psychological, financial, and reputational

     harm. That harm was directly and proximately caused by the obstruction and the harm

     resulting from obstruction was foreseeable.

  479.      Defendants’ obstruction has caused Plaintiff harm that is sufficiently serious.

  480.      Upon information and belief, this case does not involve mere fraud. Instead,

     Defendants’ criminal conduct in obstructing enforcement of the TVPA was outrageous

     and intentional because it was in deliberate furtherance of a widespread and dangerous

     criminal sex-trafficking organization. Defendants’ obstruction also evinced a high degree




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       of moral turpitude and demonstrated such wanton dishonesty as to imply a criminal

       indifference to civil obligations. Defendants’ obstruction was directed specifically at

       Plaintiff who was the victim of Defendant Combs’ sex-trafficking Enterprise.

   481.        By virtue of these violations of 18 U.S.C. § 1591(d), Defendants are liable to

       Plaintiff for the damages she sustained and reasonable attorneys’ fees by operation of 18

       U.S.C. § 1595. Defendants perpetrated an obstruction of the TVPA, and therefore

       perpetrated a violation of Chapter 77, Title 18.


   WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendants, containing the following relief:


       •   Declaratory judgment that the actions, conduct, and practices of Defendants

           complained of herein violate Federal laws and laws of the States of New York and

           Florida;

       •   Award Plaintiff damages against Defendants, in an amount to be determined at trial,

           plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic

           damages, including, but not limited to, loss of past and future income, wages,

           compensation, seniority, and other benefits of employment;

       •   Award Plaintiff damages against Defendants in an amount to be determined at trial,

           plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or

           compensatory damages, including, but not limited to, compensation for her mental

           anguish, humiliation, embarrassment, stress and anxiety, emotional pain and

           suffering, and emotional distress;

       •   Award Plaintiff punitive damages, in an amount to be determined at trial;



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     •   Award prejudgment interest on all amounts due;

     •   Award of costs that Plaintiff has incurred in this action, including, but not limited to,

         expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to the

         fullest extent permitted by law; and

     •   Any such other and further relief as the Court may deem just and proper.


                            THIRTY-FIRST CAUSE OF ACTION

                   Violation of New York Civil Rights Law §§ 50 and 51
                           (against Defendants VIBE and PMC)

  482.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  483.       Upon information and belief, Plaintiff alleges that Defendants VIBE and PMC

     knowingly used Plaintiff’s picture, image, and likeness for the purposes of advertising

     and marketing their illegal sex-trafficking Enterprise disguised as a lavish and exclusive

     Summer party and otherwise obtaining commercial gain including, without limitation

     through the infringing uses, in violation of New York Civil Rights Law §§ 50 and 51, as

     depicted herein when Defendants VIBE and PMC published Plaintiff’s picture, image,

     and likeness, without permission or consent of Plaintiff, in its November 2006 magazine.

  484.       Defendants VIBE and PMC unlawful uses of Plaintiff’s picture, image, and

     likeness resulted in injuries to Plaintiff.

  485.       Plaintiff’s claim is timely as she discovered Defendants VIBE and PMC

     infringing use in or about April 2024.

  486.       This statute further applies as the violation against Plaintiff occurred within New

     York State.



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  487.       There is no room for doubt that the identity of the person pictured in Defendants

     VIBE and PMC’s November 2006 magazine is Plaintiff and Plaintiff is easily identifiable

     in the picture.

  488.       The statute does not require Plaintiff to be a celebrity in order to have a

     commercially valuable identity.

  489.       Plaintiff’s picture was used for purposes of false advertisement and trade.

  490.       Defendants VIBE and PMC may argue the incidental use exception that

     Defendant Combs’ “White Parties” were a newsworthy matter or a matter of public

     interest, which would be an incredulous untruth, as Defendant Combs’ “White Parties”

     were a ruse to disguise a corrupt sex-trafficking Enterprise.

  491.       Defendants VIBE and PMC attempting to argue the incidental use exception also

     fails because the use of Plaintiff’s likeness is a disguised advertisement to promote

     Defendants VIBE and PMC co-conspirator, Defendant Combs’, “White Parties” and

     various entertainment businesses.

  492.       Defendants VIBE and PMC attempting to argue the incidental use exception

     would further fail because Defendants VIBE and PMC did not give a factual account of

     the Plaintiff’s presence at the “White Parties.” Defendants VIBE and PMC print

     magazine falsely states Plaintiff was a “guest [striking] a revealing pose” despite Plaintiff

     not being a guest of the party. Plaintiff was an employee who was required to act

     revealing, seductive and sexually at the direction of Defendant Combs in an effort to

     further benefit Defendant Combs’ and his co-conspirators sex-trafficking Enterprise.




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  493.       The above referenced violations of New York Civil Rights Law §§ 50 and 51 and

     injuries to Plaintiff subject Defendants VIBE and PMC to statutory damages and

     penalties, including punitive damages, in amounts to be determined at trial.

  494.        Upon information and belief, Plaintiff alleges that Defendants VIBE and PMC’s

     conduct as alleged herein was willful, reckless, and/or with knowledge that such uses of

     Plaintiff’s picture, image, and likeness were forbidden or unlawful. Consequently,

     Plaintiff is entitled to exemplary damages.


                          THIRTY-SECOND CAUSE OF ACTION

            Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)
                          (against Defendants VIBE and PMC)

  495.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  496.       Defendants VIBE and PMC commercially exploited and publicized Plaintiff’s

     image, likeness, and identity as part of the infringing uses and in doing so created a false

     sponsorship and affiliation between Plaintiff and all Defendants. Through the infringing

     uses, Defendants VIBE and PMC have falsely implied that Plaintiff endorses Defendants’

     goods and services like continuing the farce that Defendant Combs’ “White Parties” were

     lavish, high-profile networking events and/or Plaintiff was a willing participant in

     Defendant Combs’ sex-trafficking Enterprise.

  497.        The unauthorized use of the Plaintiff’s image, likeness and identity in Defendants

     VIBE and PMC November 2006 issue, is likely to confuse, deceive, or mislead

     consumers into falsely believing that Plaintiff approves, sponsors, or endorses

     Defendants’ goods or services of the business at issue, like continuing the farce that




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          Defendant Combs’ “White Parties” were lavish, high-profile networking events or as a

          willing participant in Defendant Combs sex-trafficking Enterprise.

      498.         Defendants VIBE and PMC’s conduct as set forth above is likely to cause

          confusion, or to cause mistake, or to deceive as to the affiliation, connection, or

          association of Plaintiff with all Defendants, and as to the origin, sponsorship, or approval

          of Defendants’ goods, services, or commercial activities by Plaintiff.

      499.         Plaintiff’s claim is timely as the Lanham Act does not contain a statute of

          limitations for claims under the Act, nor can the district court borrow from an analogous

          state statute.18

      500.         As a result of the above conduct, Plaintiff has incurred special and general

          damages and seeks the same along with any statutory damages as allowed by law.

      501.         As a result of the above conduct, Plaintiff has been irreparably harmed and is

          entitled to and seeks the remedy of injunctive relief in the form of an order prohibiting

          Defendants VIBE and PMC from exploiting her identity, image, or likeness without her

          prior express written consent.

      502.         Defendants VIBE and PMC’s conduct as alleged herein was willful, wanton, and

          malicious, and exposes them to additional and elevated damages in an amount to be

          proven at trial.


                                THIRTY-THIRD CAUSE OF ACTION

                             Violation of Common Law Unfair Competition
                                  (against Defendants VIBE and PMC)




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  503.       Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

     if set forth fully herein.

  504.       Defendants VIBE and PMC commercially exploited and publicized Plaintiff’s

     image, likeness, and identity as part of the infringing uses and in doing so created a false

     sponsorship and affiliation between Plaintiff and Defendants. Through the infringing

     uses, Defendant has falsely implied that Plaintiff endorses Defendants’ goods and

     services, like continuing the farce that Defendant Combs’ “White Parties” were lavish,

     high-profile networking events and/ or as a willing participant in Defendant Combs’ sex-

     trafficking Enterprise.

  505.       The unauthorized use of the Plaintiff’s image, likeness, and identity in Defendants

     VIBE and PMC November 2006 issue, is likely to confuse, deceive, or mislead

     consumers into falsely believing that Plaintiff approves, sponsors, or endorses

     Defendants’ goods or services of the business at issue, like continuing the farce that

     Defendant Combs’ “White Parties” were lavish, high-profile networking events or as a

     willing participant in Defendant Combs’ sex-trafficking Enterprise.

  506.       Defendants VIBE and PMC’s conduct as set forth above is likely to cause

     confusion, or to cause mistake, or to deceive as to the affiliation, connection, or

     association of Plaintiff with Defendants, and as to the origin, sponsorship, or approval of

     Defendants’ goods, services, or commercial activities by Plaintiff.

  507.       As a result of the above conduct, Plaintiff has incurred special and general

     damages and seeks the same along with any statutory damages as allowed by law.

  508.       As a result of the above conduct, Plaintiff has been irreparably harmed and is

     entitled to and seeks the remedy of injunctive relief in the form of an order prohibiting




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       Defendants VIBE and PMC from exploiting her identity, image, or likeness without her

       prior express written consent.

   509.        Defendants VIBE and PMC acted in bad faith when they misappropriated and

       exploited Plaintiff’s identity, image, or likeness to promote, market, and advertise

       Defendant Combs’ businesses, (BBE, SJC, CGE) and corrupt sex-trafficking Enterprises

       via the “White Parties” and is likely to cause confusion or deceive purchasers as to the

       intent of Defendant Combs’ and goods and services provided by his conglomerate of

       businesses.

   510.        Defendants VIBE and PMC acted in bad faith because they were co-conspirators

       with Defendant Combs in an organized corrupt sex-trafficking Enterprise.

   511.        Defendants VIBE and PMC’s conduct as alleged herein exposes them to

       additional and elevated damages in an amount to be proven at trial.


WHEREFORE, Plaintiff prays for judgment as follows:

   •   Compel Defendants VIBE and PMC, as well as their employees, agents, or anyone acting

       in concert with them, be enjoined from displaying, publishing, reproducing, or otherwise

       exploiting any materials using Plaintiff’s picture, image, or likeness or that otherwise

       violates Plaintiff’s rights to privacy;

   •   Compel Defendants VIBE and PMC, and their respective employees and agents, be

       enjoined from using or displaying Plaintiff’s picture, image, or likeness in any manner;

   •   Award all profits of Defendants VIBE and PMC sales of the November 2006 issue of

       VIBE magazine, plus all losses of Plaintiff, plus punitive damages if found applicable,

       and all costs and attorneys’ fees, the exact sums to be proven at trial, per N.Y. Civ. Rights

       Law § 50 and/or 51 and/or the Lanham Act;


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   •   Award Plaintiff exemplary damages under N.Y. Civ. Rights Law § 50 and/or 51 and/or

       the Lanham Act;

   •   Award Plaintiff her costs and fees;

   •   Award Plaintiff pre-judgment interest as allowed by law; and

   •   Award Plaintiff further legal and equitable relief as deemed proper.


                               FINAL PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for all of the relief enumerated and sought within this complaint.

                                       JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein, so

triable, pursuant to Fed. R. Civ. P. 38 and the 7th Amendment to the United States Constitution.


                                                     Respectfully Submitted,


Dated: July 3, 2024                                  By:/s/ Ariel E. Mitchell-Kidd, Esq.
                                                     Ariel E. Mitchell-Kidd, Esq.
                                                     The Law Office of Ariel E. Mitchell, P.A.
                                                     500 NW 2nd Ave. #12864
                                                     Miami, FL 33103
                                                     305-903-5835
                                                     ariel@arielesq.com
                                                     Attorney for Plaintiff
                                                     (pro hac vice motion pending)


                                                     By:/s/ Steven A. Metcalf, II, Esq.
                                                     Steven A. Metcalf, II, Esq.
                                                     METCALF & METCALF
                                                     99 Park Ave., Suite 110
                                                     New York, NY 10004
                                                     646-253-0514
                                                     Attorney for Plaintiff
                                                     (Co-counsel/local counsel)




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
JANE DOE,                                                       :
                                                                :   Civil Case No. 1:23-cv-10628-JGLC
                                    Plaintiff,                  :
                                                                :   AMENDED COMPLAINT
                  v.                                            :
                                                                :   JURY TRIAL DEMAND
SEAN COMBS, HARVE PIERRE; THE THIRD                             :
ASSAILANT; DADDY’S HOUSE RECORDINGS, :
INC. and BAD BOY ENTERTAINMENT                                  :
HOLDINGS, INC.,                                                 :
                                                                :
                                    Defendants.                 :
----------------------------------------------------------------X




        Plaintiff Jane Doe (“Ms. Doe”) hereby alleges as follows:

                                     PRELIMINARY STATEMENT

        1.       On November 16, 2023, Casandra Ventura a/k/a “Cassie” filed a 35-page lawsuit

in which she exposed Sean Combs for subjecting her to nearly a decade of physical, sexual and

emotional abuse punctuated by rape, sex trafficking and being forced to engage in drug fueled

nonconsensual sexual encounters with other men.

        2.       Ordinarily, when a lawsuit such as Ms. Ventura’s is filed that involves events that

took place long ago, witnesses are few and far between and evidence hard to muster. Not so for

the claims brought against Mr. Combs. Within minutes of the filing, salient facts of Ms.

Ventura’s claims were confirmed by various witnesses, including a rival musician whose car Mr.

Combs blew up as well as various individuals who observed Mr. Combs beat Ms. Ventura.




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         3.    Only a few days later, two other lawsuits were filed against Mr. Combs. In one,

plaintiff Joi Dickerson-Neal alleged that Mr. Combs drugged and sexually assaulted her when

she was a college student. The other lawsuit accused Ms. Combs and singer Aaron Hall of

forcing the plaintiff and another unidentified woman into nonconsensual sex.

         4.    At the same time, a fourth lawsuit was filed; this one against Mr. Combs’

companies and Defendant Harve Pierre, the longtime President of Bad Boy Entertainment

Holdings, Inc. (“Bad Boy”). The suit alleged that Mr. Pierre used his position of power at Bad

Boy to groom and sexually assault his former assistant, and that Bad Boy looked the other way at

the time.

         5.    This lawsuit was the fifth suit filed against Mr. Combs over a three-week period

in winter 2023. Incredibly, the allegations brought by Ms. Doe are in many ways even more

egregious than those brought by his prior victims.

         6.    Specifically, in 2003, when she was only 17 years old and in the 11th grade, Ms.

Doe was sex trafficked and gang raped by Mr. Combs, Mr. Pierre and the Third Assailant. 1 In

short:

         •     When she was just a teenager, Ms. Doe met Mr. Pierre and the Third
               Assailant in a lounge in the Detroit, Michigan area. While at the lounge,
               Mr. Pierre insisted that he was “best friends” with Mr. Combs, and even
               called Mr. Combs with Ms. Doe.

         •     Mr. Combs convinced Ms. Doe, who was half his age at the time, to
               accompany Mr. Pierre and the Third Assailant on a private jet to come to
               his studio in New York City.

         •     Before they left for the private jet, Mr. Pierre smoked crack cocaine in a
               bathroom at the lounge, in which he also sexually assaulted Ms. Doe by
               forcing her to give him oral sex.


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       The “Third Assailant” is a pseudonym. When the name of the Third Assailant is revealed
during discovery, Plaintiff will seek to amend the Complaint to replace the pseudonym.
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     •     Mr. Pierre, Third Assailant and another gentleman then escorted the
           highschooler to a private jet, which flew them to Teterboro, New Jersey.
           There were SUVs awaiting the group at Teterboro, and the four of them
           were driven to Daddy’s House Recording Studio, a studio famously owned
           and operated by Mr. Combs and Bad Boy.

     •     While at the studio, Mr. Combs and his associates, including Mr. Pierre,
           plied Ms. Doe with drugs and alcohol. As the night wore on, the 17-year-
           old Ms. Doe became more and more inebriated, eventually to the point that
           she could not possibly have consented to having sex with anyone, much less
           someone twice her age.

     •     While at the studio, Ms. Doe was gang raped by Mr. Combs, the Third
           Assailant and Mr. Pierre, in that order.

     •     While Mr. Combs was raping Ms. Doe, he complained that he could not
           “get off” unless she pinched his nipples as hard as she could.

     •     Mr. Combs then watched on as Third Assailant, who Ms. Doe had not even
           realized had begun to have sex with her, raped Ms. Doe as she told him to
           stop.

     •     After Third Assailant was finished, Mr. Pierre took his turn at raping Ms.
           Doe and then violently forced her to give him oral sex, during which Ms.
           Doe was choking and struggling to breathe.

     •     When Mr. Pierre finished, he left Ms. Doe in the bathroom alone. Ms. Doe
           fell into the fetal position and lay on the floor. Her vagina was in pain.

     •     Finally, after a period of time, Ms. Doe regained her bearings. However,
           she could barely stand up following the gang rape, and had to be helped to
           walk out of the building and back into a car. She was taken back to an
           airport and flown back to Michigan. However, she has very limited
           recollection of her transport home, and only remembers being in her car
           sometime early in the morning.




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       7.     Unlike many victims who have come forward after decades, Ms. Doe can prove

that she not only met Mr. Combs on the night in question, but was in his studio, in New York

City, with him on that night. Remember when viewing these, Ms. Doe was 17 years old. 2




       8.     Ms. Doe has lived with her memories of this fateful night for 20 years, during

which time she has suffered extreme emotional distress that has impacted nearly every aspect of




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       Ms. Doe’s face has been blurred in the following pictures for the purpose of anonymity.
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her life and personal relationships. Given the brave women who have come forward against Ms.

Combs and Mr. Pierre in recent weeks, Ms. Doe is doing the same.

        9.       To that end, Ms. Doe brings this action seeking injunctive, declaratory and

monetary relief against Defendants in violation of the Victims of Gender-Motivated Violence

Protection Law, Gender Motivated Violence Act, N.Y.C. Admin. Code §§ 10-1101, et seq.

(“VGMVPL”).

                                  JURISDICTION AND VENUE

        10.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as this

action involves citizens of different states and the amount in controversy in this matter exceeds

$75,000. The Court has supplemental jurisdiction over Plaintiff’s related claims arising under

state and city law pursuant to 28 U.S.C. § 1367(a).

        11.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this Court because a

substantial part of the events or omissions giving rise to this action, including the unlawful

employment practices and intentional and negligent tortious conduct alleged herein, occurred in

this district.

                                             PARTIES

        12.      Plaintiff Jane Doe is a citizen of State of Michigan and Canada.

        13.      Defendant Sean Combs is a citizen of the State of California. At all relevant times

Mr. Combs was the owner of Defendants Bad Boy Entertainment Holdings and Daddy’s House

Recordings, Inc.

        14.      Defendant Harve Pierre is, upon information and belief, a citizen of the State of

New Jersey. At all relevant times Mr. Pierre was a high-ranking executive (Senior Vice




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President) of Defendant Bad Boy Entertainment Holdings, Inc., and was promoted to Executive

VP and General Manager of Bad Boy in 2003, the year the events described herein took place.

       15.     Defendant the Third Assailant is, upon information and belief, a citizen of the

State of New York. Upon information and belief, at all relevant times, the Third Assailant was

an employee and/or agent of Defendant Bad Boy Entertainment Holdings, Inc.

       16.     Defendant Daddy’s House Recordings, Inc. (“Daddy’s House”) is a music, media,

and entertainment company founded and owned by Defendant Sean Combs and Bad Boy.

Daddy’s House is incorporated and headquartered in New York, New York. During the relevant

time period, Daddy’s House and/or Sean Combs owned and operated the Daddy’s House

Recording Studio wherein Ms. Doe was raped by Mr. Combs, Mr. Pierre and Third Assailant. As

described herein, Mr. Combs used the facts of his ownership of and title at Daddy’s House in

order to facilitate the unlawful conduct described herein. In addition, he, as the owner of

Daddy’s House, watched Ms. Doe being raped by two of his employees, on the premises of

Daddy’s House, and did nothing to stop them (in fact, he encouraged it).

       17.     Defendant Bad Boy Entertainment Holdings, Inc. (“Bad Boy”) is a music, media,

and entertainment company founded and owned by Defendant Sean Combs. Bad Boy is

incorporated and headquartered in New York, New York. During the relevant time period, Bad

Boy and/or Sean Combs owned and operated the Daddy’s House Recording Studio wherein Ms.

Doe was raped by Mr. Combs, Mr. Pierre and Third Assailant. As described herein, Mr. Combs

used the facts of his ownership of and title at Bad Boy in order to facilitate the unlawful conduct

described herein. In addition, he, as the owner of Bad Boy, watched Ms. Doe being raped by two

of his employees, on the premises of Daddy’s House, and did nothing to stop them (in fact, he

encouraged it). Moreover, Mr. Pierre used his title and that of Mr. Combs in order to facilitate



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the unlawful conduct described herein. Further, he, the Senior Vice President of Bad Boy,

watched Ms. Doe being raped by its owner and one of its employees, on the premises of Daddy’s

House, and did nothing to stop them (in fact, he encouraged it).

                                  FACTUAL ALLEGATIONS

       18.     In 2003, Ms. Doe was a 17-year-old 11th grader residing in a suburb of Detroit

Michigan.

       19.     At the time, Mr. Combs was 34 years old – twice the age of Ms. Doe – and one of

the most well-known and influential music artists of all time.

       20.     A decade earlier, Mr. Combs founded Bad Boy and installed his longtime friend,

Mr. Pierre, into the role of Senior Vice President, then the role of Executive Vice President, and

eventually, promoted him to President of the Company.

       21.     At the time, Mr. Combs had many connections to Michigan, including, among

others, to the Black Mafia Family (“BMF”), a drug trafficking and money laundering

organization that is rumored to have seeded Bad Boy. Accordingly, upon information and belief,

Mr. Combs’ associates, including Mr. Pierre and the Third Assailant, spent significant time in and

around Detroit, Michigan.

       22.     On one evening between the spring and fall of 2003, Ms. Doe was out with

friends. It was not uncommon for her and her friends to frequent bars and lounges in the Detroit

area. Certain of Ms. Doe’s friends were well connected with people in the music industry.

       23.     On the evening in question, Ms. Doe was with friends in a lounge when she was

approached by who she later learned was Mr. Pierre. Mr. Pierre was with his own friends and/or

business associates, including the Third Assailant. Mr. Pierre, the Third Assailant and their

friends were dressed in suits.



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        24.     Mr. Pierre complimented Ms. Doe’s appearance, saying that she was hot, among

other things. He then began talking about his self-described “best friend” and “brother,” Mr.

Combs.

        25.     He told Ms. Doe that he and his friends, including the Third Assailant, were

executives at Bad Boy, Mr. Combs’ well-known recording label. He referenced his affiliation

with Bad Boy and Mr. Combs as a means of keeping Ms. Doe interested in the conversation.

        26.     Specifically, Mr. Pierre continually stated that Mr. Combs would love to meet Ms.

Doe.

        27.     Mr. Pierre even called Mr. Combs and put Ms. Doe on the line. Mr. Combs told

Ms. Doe that he would love to meet her, and that she should accompany Mr. Pierre to New York

City in a private jet.

        28.     The individual defendants used not only their affiliations with Bad Boy as a

means to facilitate the unlawful conduct to follow, but also their affiliations with Daddy’s House,

where Ms. Doe was enticed to meet Mr. Combs.

        29.     Shortly thereafter, Mr. Pierre directed Ms. Doe to go with him into the bathroom

at the lounge. Once inside the bathroom, Mr. Pierre began to smoke crack cocaine from what

appeared to be an aluminum can.

        30.     After he finished smoking crack, Mr. Pierre suddenly took out his penis,

demanded that Ms. Doe “suck [his] dick” and forced Ms. Doe’s head down to perform oral sex

on him.

        31.     After sexually assaulting Ms. Doe, Mr. Pierre directed her to accompany him, the

Third Assailant and a third member of their group to an airport in Pontiac, Michigan, where




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Signature, a Fixed Base Operator, had prepared a private jet to take the four of them to New York

City.

        32.    Upon information and belief, the private jet landed at Teterboro Airport. Upon

departing the jet, two black SUVs were awaiting the group.

        33.    Ms. Doe got into an SUV with Mr. Pierre, and the Third Assailant and the other

member of the group went in the second SUV.

        34.    The SUVs brought the group to Daddy’s House Recording Studio, a recording

studio and hangout owned and operated by Mr. Combs and Bad Boy.

        35.    When Ms. Doe arrived, she was escorted into the building, where she distinctly

remembers seeing a sign for the company, Technicolor.

        36.    Upon entering the studio, Ms. Doe first encountered Mr. Combs. At the time she

arrived, a female recording artist was using the studio as Mr. Combs and her parents watched on.

She finished up shortly after Ms. Doe arrived and left. In other words, Mr. Combs had Ms. Doe

trafficked to New York to observe him working prior to committing unlawful acts against her at

his place of employment.

        37.    While still in the studio section of Daddy’s House, Mr. Combs asked Ms. Doe to

sit on his lap to take a picture. A copy of the photograph is below.




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       38.     Mr. Combs, Mr. Pierre and the Third Assailant began to ply Ms. Doe – a 17-year-

old child at the time – with copious amounts of drugs and alcohol.

       39.     While the evening became a blur, Ms. Doe does recall Mr. Combs, Mr. Pierre and

the Third Assailant hitting on her incessantly, stroking her body, asking to see her “ass” and

telling her how “hot” and “sexy” she was.

       40.     Various other pictures were taken in the studio that night, leaving no doubt that

Ms. Doe was in Mr. Combs’ New York City studio, with Mr. Combs, on the night she was raped.




       41.     And, not only was Ms. Doe at the studio, but the individual defendants used the

accoutrements of the studio (as depicted above) to entice Ms. Doe to stay and drink alcohol and

do drugs.

       42.     As the night wore on, the 17-year-old Ms. Doe became more and more inebriated,

eventually to the point that she could not possibly have consented to having sex with anyone,

much less someone twice her age.




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       43.     Nevertheless, that evening Mr. Combs directed Ms. Doe to accompany him to the

bathroom at the studio. Once there, Mr. Combs removed Ms. Doe’s skirt and underwear and

penetrated her from behind with his penis while she hung over the sink.

       44.     Ms. Doe did not consent to having sex with Mr. Combs, but he continued

thrusting. At some point, Mr. Combs turned Ms. Doe around to face him. He told her that he

could not orgasm and asked her to squeeze his nipples as hard as she could to help him “get off.”

He then turned her back around and continued to rape her.

       45.     Mr. Pierre, then SVP of Bad Boy, and the Third Assailant, who upon information

and belief was also an executive of Bad Boy, watched Mr. Combs rape Ms. Doe, on the premises

of Daddy’s House, and did nothing to stop him. In fact, he encouraged it.

       46.     By this point, Ms. Doe was coming in and out of consciousness because of the

drugs and alcohol she had been given by Defendants. Her next memory was looking up into the

mirror above the sink to find that the Third Assailant had replaced Mr. Combs and was raping her

from behind. Mr. Combs was watching the Third Assailant sexually assault Ms. Doe from a

chair outside of the bathroom.

       47.     At this point, Ms. Doe mustered the energy to tell the Third Assailant to stop, and

that she did not want to be having sex with him. The Third Assailant did not stop, and continued

to rape Ms. Doe, who did not have the strength to force him off of her.

       48.     Mr. Combs used the facts of his ownership of and title at Daddy’s House in order

to facilitate the unlawful conduct described herein. In addition, he, as the owner of Daddy’s

House, watched Ms. Doe being raped by one of his employees, on the premises of Daddy’s

House, and did nothing to stop him. In fact, he encouraged it.




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       49.     And Mr. Pierre, then SVP of Bad Boy, watched one of his employees rape Ms.

Doe, on the premises of Daddy’s House, and did nothing to stop him. In fact, he encouraged it.

       50.     After the Third Assailant was finished, he was replaced by Mr. Pierre, who began

by having nonconsensual vaginal sex with Ms. Doe before violently forcing her to give him oral

sex. During the latter part of the sexual assault, Mr. Pierre forced his penis into Ms. Doe’s mouth

without her consent. Ms. Doe remembers that Mr. Pierre was sweaty and that she had difficulty

breathing.

       51.     Mr. Combs used the facts of his ownership of and title at Daddy’s House in order

to facilitate the unlawful conduct described herein. In addition, he, as the owner of Daddy’s

House, watched Ms. Doe being raped by the Senior Vice President of his Company, on the

premises of Daddy’s House, and did nothing to stop him. In fact, he encouraged it.

       52.     When Mr. Pierre finished, he left Ms. Doe in the bathroom alone. Ms. Doe fell

into the fetal position and lay on the floor. Her vagina was in pain.

       53.     Finally, after a period of time, Ms. Doe regained her bearings. However, she

could barely stand up following the gang rape, and had to be helped to walk out of the building

and back into a car. She was taken back to an airport and flown back to Michigan. However, she

has very limited recollection of her transport home, and only remembers being in her car

sometime early in the morning. Her underwear was missing.

       54.     As a result of being raped by Mr. Combs, Mr. Pierre and the Third Assailant, Ms.

Doe suffered significant emotional distress and feels of shame that have plagued her life and

personal relationships for 20 years.

       55.     Ms. Doe knew that speaking out against Defendants would be extremely difficult

and that she would likely be subjected to retaliation and defamatory slurs and attacks.



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       56.      However, in November 2023, Ms. Doe read about a lawsuit filed against Mr.

Combs by Casandra Ventura a/k/a “Cassie.” Ms. Ventura’s suit described a decade of physical,

sexual and mental abuse. Most triggering for Ms. Doe was reading about Ms. Ventura’s

allegations of sex trafficking and being forced to have sex with other men against her will. Ms.

Doe obviously understands that she too had been sex trafficked, and that Mr. Combs’ behavior in

forcing women into nonconsensual sex was not an isolated incident or unique only to Ms.

Ventura.

       57.      Then, just days later, Ms. Doe read about a case filed against Mr. Pierre. The suit

alleged that Mr. Pierre used his position of power at Bad Boy to groom and sexually assault his

former assistant.

       58.      Seeing two other women bravely speak out against Mr. Combs and Mr. Pierre,

respectively, gave Ms. Doe the confidence to tell her story as well. As such, she filed this suit.

                                   FIRST CAUSE OF ACTION
             Violation of the Victims of Gender-Motivated Violence Protection Law,
                      N.Y.C. Admin. Code §§ 10-1101, et seq. (“VGMVPL”)
                                      Against All Defendants

       59.      Plaintiff repeats and realleges each and every allegation in all of the preceding

paragraphs as if fully set forth herein.

       60.      New York City’s Victims of Gender-Motivated Violence Protection Law was first

passed in 2000 as a remedial statute intended to correct “the void left by the Supreme Court”

when it struck down the federal Violence Against Women Act, VAWA, and “to resolve the

difficulty that victims face in seeking court remedies by providing an officially sanctioned and

legitimate cause of action for seeking redress for injuries resulting from gender-motivated

violence.” New York City, Local Law No. 73 Int. 752-A (2000), Sec.1.



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       61.     In June 2022, the City Legislature amended the VGMVPL to include a two year

“lookback” period, finding that “any civil claim or cause of action brought under this chapter that

is barred because the applicable period of limitation has expired is hereby revived and may be

commenced not earlier than six months after, and not later than two years and six months after,

September 1, 2022.”

       62.     The above-described conduct of Defendant Mr. Combs, including, but not limited

to, Mr. Combs’s sexual assault of Plaintiff in New York City, constitutes a “crime of violence”

against Plaintiff and is a “crime of violence motivated by gender” as defined in § 10-1103 (“The

term ‘crime of violence’ means an act or series of acts that would constitute a misdemeanor or

felony against the person as defined in state or federal law or that would constitute a

misdemeanor or felony against property as defined in state or federal law if the conduct presents

a serious risk of physical injury to another, whether or not those acts have actually resulted in

criminal charges, prosecution, or conviction,” and “The term ‘crime of violence motivated by

gender’ means a crime of violence committed because of gender or on the basis of gender, and

due, at least in part, to an animus based on the victim’s gender.”).

       63.     The above-described conduct of Defendant Mr. Pierre, including, but not limited

to, Mr. Pierre’s sexual assault of Plaintiff in New York City, constitutes a “crime of violence”

against Plaintiff and is a “crime of violence motivated by gender” as defined in § 10-1103 (“The

term ‘crime of violence’ means an act or series of acts that would constitute a misdemeanor or

felony against the person as defined in state or federal law or that would constitute a

misdemeanor or felony against property as defined in state or federal law if the conduct presents

a serious risk of physical injury to another, whether or not those acts have actually resulted in

criminal charges, prosecution, or conviction,” and “The term ‘crime of violence motivated by



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gender’ means a crime of violence committed because of gender or on the basis of gender, and

due, at least in part, to an animus based on the victim’s gender.”).

       64.     The above-described conduct of Defendant the Third Assailant, including, but not

limited to, the Third Assailant’s sexual assault of Plaintiff in New York City, constitutes a “crime

of violence” against Plaintiff and is a “crime of violence motivated by gender” as defined in

§ 10-1103 (“The term ‘crime of violence’ means an act or series of acts that would constitute a

misdemeanor or felony against the person as defined in state or federal law or that would

constitute a misdemeanor or felony against property as defined in state or federal law if the

conduct presents a serious risk of physical injury to another, whether or not those acts have

actually resulted in criminal charges, prosecution, or conviction,” and “The term ‘crime of

violence motivated by gender’ means a crime of violence committed because of gender or on the

basis of gender, and due, at least in part, to an animus based on the victim’s gender.”).

       65.     Defendant Bad Boy Entertainment Holdings, Inc. and Daddy’s House Recordings,

Inc. enabled the commission of the crime of violence motivated by gender, and is therefore also

liable under the VGMVPL § 10-1104.

       66.     As a direct and proximate result of the aforementioned crime of violence and

gender-motivated violence, Plaintiff has sustained and will continue to sustain, monetary

damages, physical injury, pain and suffering, and serious psychological and emotional distress,

entitling her to an award of compensatory and punitive damages, injunctive and declaratory

relief, attorneys fees and costs, and other remedies as this Court may deem appropriate damages,

as set forth in § 10-1104.

       67.     The above-described conduct of Defendants constitutes a sexual offense as

defined in Article 130 of the New York Penal Law.



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       68.    Pursuant to § 10-1105(a), this cause of action is timely because it is commenced

within “two years and six months after September 1, 2022.”

                                       PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays judgment be entered in her favor against Defendants, and

each of them, as follows:

              A.      For a money judgment representing compensatory damages including

       consequential damages, lost wages, earning, and all other sums of money, together with

       interest on these amounts, according to proof;

              B.      For a money judgment for mental pain and anguish and severe emotional

       distress, according to proof;

              C.      For punitive and exemplary damages according to proof;

              D.      For attorneys’ fees and costs;

              E.      For prejudgment and post-judgment interest; and

              F.      For such other and further relief as the Court may deem just and proper.

Dated: March 29, 2024
       New York, New York                              Respectfully submitted,

                                                       WIGDOR LLP


                                                       By: _________________________
                                                              Douglas H. Wigdor
                                                              Michael J. Willemin
                                                              Meredith A. Firetog

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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ----------------------------------------------------------------------X   Index No: 24-3931
 CRYSTAL MCKINNEY,

                                  Plaintiff,                               AMENDED COMPLAINT

                  - against -
                                                                           PLAINTIFF DEMANDS
 SEAN COMBS a/k/a “P. DIDDY,” BAD BOY                                      A TRIAL BY JURY
 ENTERTAINMENT LLC d/b/a BAD BOY
 RECORDS, BAD BOY ENTERTAINMENT
 HOLDINGS, INC., SEAN JOHN CLOTHING LLC,
 and DADDY’S HOUSE RECORDINGS, INC.,



                                   Defendants.
 ----------------------------------------------------------------------X

        Plaintiff CRYSTAL MCKINNEY (“Plaintiff”), by and through her attorneys, PHILLIPS

& ASSOCIATES, PLLC, hereby alleges and avers of the Defendants SEAN COMBS a/k/a “P.

DIDDY,” BAD BOY ENTERTAINMENT LLC d/b/a BAD BOY RECORDS, BAD BOY

ENTERTAINMENT HOLDINGS, INC, (collectively Bad Boy Entertainment LLC and Bad Boy

Entertainment Holdings, Inc. are referred to as “Defendants Bad Boy Records”), SEAN JOHN

CLOTHING LLC (“Sean John”), and DADDY’S HOUSE RECORDINGS INC (“Daddy’s

House”) (Bad Boy Records, Sean John, and Daddy’s House, are collectively referred to as

“Corporate Defendants”) alleges upon information and belief as to all other matters as follows.

                                      NATURE OF THE ACTION

1.      Plaintiff brings suit against Defendants pursuant to the NYC Gender Motivated Violence

        Act, N.Y.C. Admin. Code §§ 8-901 et. seq, to redress the substantial and lifetime injuries

        she has suffered as a result of being drugged and sexually assaulted by Sean Combs or “P.

        Diddy.”


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                                         JURISDICTION

2.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 insofar as there is

      complete diversity between the parties and the amount in controversy exceeds $75,000.00.

3.    Plaintiff is a citizen of the State of Georgia.

4.    Defendant Combs is a citizen of the State of California.

5.    Bad Boy Entertainment Holdings, Inc. is a domestic business corporation licensed to do

      business in New York and is headquartered at 1440 Broadway, 3rd Floor, New York, New

      York 10018.

6.    Bad Boy Entertainment LLC is a domestic limited liability company licensed to do

      business in New York and is headquartered at 1440 Broadway, 3rd Floor, New York, New

      York 10018.

7.    Sean John is a domestic liability company licensed to business in New York and is

      headquartered at 1440 Broadway, New York, NY 10018.

8.    Daddy’s House is a domestic business corporation licensed to business in New York and

      its primary place of business is located at 321 W 44th St # 201, New York, NY 10036.

9.    Venue is proper in the Southern District of New York because a substantial part of the

      events giving rise to the claim, including but not limited to, Defendant Combs’ assault of

      Plaintiff, occurred in this District.

                             PROCEDURAL REQUIREMENTS

 THE N.Y.C. VICTIMS OF GENDER MOTIVATED VIOLENCE PROTECTION ACT

10.   The N.Y.C. Victims of Gender Motivated Violence Protection Act (“NYC Gender

      Motivated Violence Act”) created a lookback window on March 01, 2023, which runs for

      two years, for survivors of gender motivated violence, allowing them to sue their abusers



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      regardless of when the abuse occurred. N.Y.C. Admin. Code § 10-1105(a).

11.   The NYC Gender Motivated Violence Act revives any claims against “a party who

      commits, directs, enables, participates in, or conspires in the commission of a crime of

      violence motivated by gender has a cause of action against such party in any court of

      competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

12.   The Appellate Division has held that sexual assault is an act of gender-motivated violence

      under the law as “Coerced sexual activity is dehumanizing and fear-inducing. Malice or ill

      will based on gender is apparent from the alleged commission of the act itself. Animus

      inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94 (App. Div. 2019).

13.   The above-described conduct of Defendant Combs, including, but not limited to,

      Defendant Combs’ sexual assault of Plaintiff in New York City, constitutes a “crime of

      violence” and a “crime of violence motivated by gender” against Plaintiff as defined by the

      NYC Gender Motivated Violence Act.

                                           PARTIES

                                    DEFENDANT COMBS

14.   P. Diddy a.k.a. Puff Daddy or Diddy is a Grammy-awarded musician, rapper and producer.

15.   In 1992, P. Diddy founded Defendants Bad Boy Records.

16.   In 2008, P. Diddy was the first male rapper to get a star on the Hollywood Walk of Fame.

17.   In 2022, Forbes estimated that P. Diddy is one of the wealthiest hip-hop artists in America

      and that his net worth is over $1 billion.

18.   Upon information and belief, P. Diddy has a long history of committing physical and sexual

      violence against women and men as documented in publicly available lawsuits and

      extensive media coverage.



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19.   On November 16, 2023, Cassie Venture, an artist signed onto Bad Boy Records, filed a

      suit in the United States District Court of the Southern District of New York alleging that

      Combs provided her with copious amounts of drugs, before sexually assaulting her.

20.   On November 23, 2023, Joi Dickerson-Neal, filed suit in the Supreme Court of New York,

      New York County, alleging that Combs drugged her, sexually assaulted her, and filmed a

      “revenge porn” tape of his assault.

21.   On November 23, 2023, Liza Gardener, filed suit in the Supreme Court of New York, New

      York County, alleging that Combs and Aaron Hall sexually assaulted her when she was a

      minor.

22.   On December 06, 2023, a Jane Doe, filed suit in the United States District Court of the

      Southern District of New York alleging that when she was a minor, she was gang raped by

      Combs, Harve Pierre, and a third unnamed assailant at Daddy’s House Recording Studios.

23.   On February 26, 2024, Rodney Jones, filed suit in the United States District Court of the

      Southern District of New York alleging that Combs sexually assaulted him and provided

      laced alcoholic beverages to minors.

24.   On May 23, 2024, April Lampros, filed suit in the Supreme Court of the State of New

      York, County of New York, alleging that Combs sexually assaulted her on multiple

      occasions.

25.   On July 03, 2024, Adria English, filed suit in the United States District Court of the

      Southern District of New York, alleging that Defendant Combs forced her to take narcotics

      and engage in sexual intercourse with guests at Combs’ White Parties.

                          DEFENDANTS BAD BOY RECORDS




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26.   In 1992, Combs founded Bad Boy Records, a record label which has sold over 500 million

      records, and where he produced records by Mary Blige, The Notorious B.I.G., and Usher.

27.   On February 08, 2003, Combs and other Bad Boy Entertainment employees were working

      on One Love, an album by New Edition, at Daddy’s House Recording Studio, located at

      321 W 44th St # 201, New York, NY 10036.

                                       DADDY’S HOUSE

28.   Daddy’s House is a recording studio located at 321 West 44th Street, New York, NY,

      10036.

29.   At all relevant times, Daddy’s House was owned by Sean Combs and/or Bad Boy Records.

30.   At Daddy’s House, albums and singles for Bad Boy Records artists were mixed, recorded,

      and engineered.

                                          SEAN JOHN

31.   In 1998, Combs founded Sean John, which has retail sales of over $450 million.

32.   As CEO and president of the company, Defendant Combs was representing Sean John

      when he attended the Men’s Fashion Week dinner where he met Plaintiff.

33.   As CEO of Sean John, and a prominent figure in the world of fashion, Combs promised

      Plaintiff to help Plaintiff advance her modeling career.

                                 FACTUAL ALLEGATIONS

Plaintiff Begins Her Modeling Career

34.   At the age of seventeen, Plaintiff won MTV’s inaugural Model Mission on December 05,

      1998, a televised modeling competition akin to Miss America, and was awarded a modeling

      contract with IMG.

35.   Shortly thereafter, Plaintiff’s career took off.



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36.   Plaintiff modeled for a Tommy Hilfinger jeans campaign.

37.   Plaintiff was also featured in Macy’s catalogs, Elle, Cosmopolitan and Mademoiselle

      magazines.

38.   Plaintiff also made appearances in television and film program such as MTV’s Total

      Request Live (“TRL”), Fashionably Loud, True Life, and a movie with Joan Rivers.

39.   Furthermore, Plaintiff had international modeling gigs in Germany and Australia.

A Fashion Designer Invites Plaintiff To Men’s Fashion Week to Meet Combs

40.   On or about February 2003, when Plaintiff was twenty-two years old, a fashion designer

      (“the Designer”) invited Plaintiff to attend a Sean John Fall 2003 Fashion Show event held

      at Cipriani Downtown, located at 376 W. Broadway, New York, NY 10012.

41.   At the time, Plaintiff was engaged in modeling gigs in Miami, Florida and flew to New

      York for the event that would take place on February 08, 2003.

42.   The Designer told Plaintiff that he would be introducing her to Combs which could advance

      her modeling career.

43.   The Designer began to direct Plaintiff’s appearance, as he sought to ensure Combs found

      her attractive.

44.   For instance, the Designer instructed Plaintiff to go to Elizabeth Arden to get a root touch

      up to ensure it was platinum blonde.

45.   The Designer also scheduled a stylist to put in hair extensions for Plaintiff.

46.   The Designer then handpicked a black leather coat with a fur hood, a translucent chiffon

      beige v-cut shirt, fur-lined handbag, and jewel encrusted jeans for Plaintiff to wear to the

      event.

47.   Due to the traumatic events to occur later, Plaintiff saved the unwashed clothing from that



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      night in her closet where they remain in a plastic wrap.

Combs Makes Promises of Career Advancement

48.   Soon thereafter, Plaintiff took a car to Cipriani Downtown, where the Designer was dining

      with Combs and other guests.

49.   Plaintiff felt little control over the events as she was directed what to do and put on display,

      for the others in attendance.

50.   For instance, Plaintiff sat down at an empty seat next to the Designer, but he insisted that

      she sit down directly across from Combs instead.

51.   Once seated, Combs made a very public display of coming on to Plaintiff in a sexually

      suggestive manner, which continued throughout the dinner.

52.   For others to hear, Combs bestowed compliments on Plaintiff by stating for example that

      she was beautiful and that her eyes were gorgeous.

53.   Later, and at a more intimate volume, Combs told Plaintiff that she “was going to make it

      big one day” as a model.

54.   Combs went on to tell Plaintiff that he had power in the industry and was going to help her

      advance her career.

55.   Combs provided Plaintiff with his phone number as a gesture of good faith in his promises

      to help her.

56.   Throughout their interactions, Combs was flirtatious, bordering on leering, as he leaned

      across the table towards her.

57.   Combs also plied Plaintiff with alcohol throughout the dinner as he repeatedly refilled her

      glass with wine.

58.   After the meal ended, Combs told Plaintiff that he wanted to get to know her better.



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59.   Combs asked Plaintiff to call him a bit later.

60.   Plaintiff felt confused but hopeful that Combs would fulfill his promises to help her career.

Plaintiff Meets Combs At His Studio Where He Drugs and Sexually Assaults Her

61.   Later that night, Combs requested Plaintiff come see his studio Daddy’s House located at

      321 W. 44th Street, New York, NY 10036.

62.   Upon information and belief, Combs regularly recorded albums at Daddy’s House that

      were produced and released by Bad Boy Records. Upon information and belief, Combs

      invited other women to Daddy’s House to drug and/or sexually assault them.

63.   Plaintiff felt reassured that she would be with others at the studio rather alone in a personal

      residence.

64.   When Plaintiff arrived in the Demo Room, she found that Combs and several other men

      seated together.

65.   The men were Bad Boy Records employees and/or other industry professionals who were

      working on One Love, a New Edition album.

66.   She found that the men were passing around a bottle of Hennesy and joints.

67.   After Plaintiff sat down, one of Combs’ associates asked her: “Do you smoke weed?”, to

      which she responded affirmatively.

68.   Combs’ associate replied: “You’ve never had weed like this before.”

69.   Plaintiff later came to understand that Combs had laced the joint with a narcotic or other

      intoxicating substance.

70.   Combs passed her the joint and Plaintiff took a hit, which felt very powerful.

71.   Although Plaintiff insisted that she had enough after that, Combs pressured her to imbibe

      more alcohol and marijuana by telling her that she was acting too uptight.



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72.   Plaintiff felt as if she was floating.

73.   Although Plaintiff had smoked marijuana in the past, she had never experienced such a

      disorienting feeling after smoking and has not since that night.

74.   Plaintiff would not have ingested the joint if she had known that Combs had laced it.

75.   In providing Plaintiff with a laced joint and/or intoxicating substance, Combs involuntarily

      drugged her. Seeing Plaintiff was very intoxicated, Combs demanded Plaintiff follow him

      and he physically led Plaintiff to the bathroom that adjoined the Demo Room.

76.   The bathroom had a frosted, semi-transparent glass pane which allowed occupants of the

      Demo Room to see activity within the room.

77.   In the bathroom, Combs forced himself on Plaintiff and began kissing her without her

      consent.

78.   Combs, then, shoved her head down to his crotch before commanding her to “suck it.”

79.   Plaintiff refused, but Combs pushed her head down onto his phallus and forced her to

      perform oral sex on him.

80.   As she was being assaulted, Plaintiff felt panicked and physically sick.

81.   Afterwards, Combs led Plaintiff back into the studio.

82.   Upon standing and walking, Plaintiff felt more and more woozy and then lost

      consciousness.

83.   Plaintiff awakened in shock to find herself in a taxicab heading back to the Designer’s

      apartment.

84.   As her consciousness returned, Plaintiff realized that she had been sexually assaulted by

      Combs.

85.   Plaintiff felt humiliated and traumatized and without recourse.



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86.   Upon information and belief, Combs purposely assaulted Plaintiff so others could see it in

      a voyeuristic display for his associates and others present.

87.   A prominent music industry professional who worked for Bad Boy Records was present

      that night and witnessed the events as described herein

Combs’ Assault Has Caused Plaintiff Lifelong Harm

88.   Following the assault, Plaintiff’s modeling opportunities quickly began to dwindle and then

      evaporated entirely.

89.   Upon information and belief, Combs had Plaintiff “blackballed” in the industry and utilized

      his significant influence to impede Plaintiff’s career growth.

90.   Plaintiff became severely depressed as she began to blame herself for the assault and for

      sabotaging her own career.

91.   The assault led Plaintiff into a tailspin of anxiety and depression.

92.   In or about 2004, Plaintiff attempted suicide and was hospitalized.

93.   Everywhere Plaintiff looked she was reminded of Combs’ assault, as Combs was an

      inescapable presence in music, television, and film.

94.   In the ensuing years, Plaintiff has also experienced alcohol and drug addiction, as she

      attempted to cope with the emotional trauma of being assaulted.

95.   Plaintiff has also experienced intimacy issues, as she struggles to maintain emotional and

      sexual relationships with men.

96.   Plaintiff was married from approximately 2006 to 2010, however, her marriage fell apart

      as she had a mental breakdown precipitated by memories of the assault.

97.   Combs’ assault has altered the trajectory of Plaintiff’s career, denying her a successful and

      lucrative career in the modeling and film industries.



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98.    To this day, Plaintiff experiences bouts of depression, anxiety, body image issues, feelings

       of worthlessness, and intimacy issues because of Combs’ assault.

99.    Plaintiff is a woman of faith and when she saw news coverage of the lawsuits from Ms.

       Cassie Ventura, Ms. Dickerson-Neal, and others, she knew she had a moral obligation to

       speak up.

100.   Plaintiff prayed to G-d before bringing this lawsuit, as she feared further violence and/or

       retaliation from Defendant Combs, but ultimately decided that she needed to speak her

       truth.

101.   Plaintiff seeks justice for herself and for any of other Combs’ victims.

Corporate Defendants’ Knowledge Of Combs’ Behavior

102.   Corporate Defendants knew, should have known and/or had actual and constructive notice

       of Defendant Combs’ propensity for sexually harassing, assaulting, and/or drugging

       women.

103.   Upon information and belief, Combs’ propensity for violence was an open industry secret.

104.   Upon information and belief, industry professionals regularly discussed that Combs

       engaged in forceful sex with women and made promises of career advancement.

105.   In a May 28, 2024, article, Rolling Stone reported on several violent acts allegedly

       committed by Combs prior to his assault of Plaintiff.

106.   Rolling Stone reported that Defendant Combs publicly beat his then-girlfriend while he

       was a student at Howard University in approximately 1989 or 1990.

107.   Combs’ propensity for violence was not a secret, as he allegedly told Jet Magazine: “I had

       a temper. That’s why my friend started calling me Puffy.”

108.   Indeed, Combs released his first single in 1996 utilizing the stage name “Puff Daddy” –



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       seven years prior to his assault of Plaintiff.

109.   That same year, Combs allegedly threatened Kirk Burrowes, former president of Bad Boy

       Records, with a baseball, as detailed in the Rolling Stone article and a 2003 lawsuit.

110.   Rolling Stone also reported that Burrowes witnessed Combs attack a woman at the Bad

       Boys office in 1994.

111.   In 2000, according to Rolling Stone, Combs allegedly approached a Bad Boy Records

       employee named “Anna” and began to massage her shoulders without her consent and

       allegedly approached her boss to solicit Anna for sex.

112.   Lawsuits by Liza Gardner and Joi Dickerson-Neal also detail sexual assaults committed by

       Combs in 1990 and 1991.

113.   Given the above-referenced acts, Corporate Defendants were on notice of Combs’ violent

       behavior and negligently placed him and/or allowed him to remain in positions of power

       where he could engage in sexual and/or violent misconduct.

114.   Defendants Bad Boy Records, Sean John, and Daddy’s House allowed Defendant Combs

       to remain in leadership positions such as CEO, which allowed him access to victims such

       as Plaintiff, which he sexually assaulted.

115.   Corporate Defendants and/or their agents, servants and/or employees did not use

       reasonable care in making decisions in regard to hiring and retaining Defendant Combs.

116.   Corporate Defendants and/or their agents, servants and/or employees would have

       discovered Defendant Combs’ ongoing harassing conduct but for their negligence in

       carrying out their supervisory duties.

117.   Corporate Defendants and/or their agents, servants and/or employees breached the above-

       stated duty in a negligent, reckless, willful, and wanton manner, and caused Plaintiff to be



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       sexually harassed, abused, and assaulted.

                                      CAUSE OF ACTION

                     AS A FIRST CAUSE OF ACTION
  THE NYC VICTIMS OF GENDER-MOTIVATED VIOLENCE PROTECTION ACT
                           (Against Defendants)

118.   Plaintiff repeats, reiterates, and realleges each and every allegation made in the above

       paragraphs of this complaint as if more fully set forth herein at length.

119.   The NYC Gender Motivated Violence Act revives any claims against “a party who

       commits, directs, enables, participates in, or conspires in the commission of a crime of

       violence motivated by gender has a cause of action against such party in any court of

       competent jurisdiction.” N.Y.C. Admin. Code § 10-1104.

120.   The above-described conduct of Defendant Combs, including sexually assaulting or

       abusing Plaintiff at a music studio located in Manhattan. constitutes a “crime of violence”

       against Plaintiff and is a “crime of violence motivated by gender” as defined in N.Y. C.

       Admin Code § 10-1103.

121.   Defendant Combs’ crimes of violence were motivated by Plaintiff’s gender as defined in

       in the New York City Administrative Code § 8-903, as Defendant committed forcible sex

       acts upon Plaintiff that would constitute felonies under state law and as the conduct

       presents a serious risk of physical injury, whether or not those acts have resulted in criminal

       charges, prosecution, or conviction.

122.   The Appellate Division has held that sexual assault is an act of gender-motivated violence

       under the law as “Coerced sexual activity is dehumanizing and fear-inducing. Malice or ill

       will based on gender is apparent from the alleged commission of the act itself. Animus

       inheres where consent is absent.” Breest v. Haggis, 180 A.D.3d 83, 94 (App. Div. 2019).

123.   The above-described conduct of Defendant Combs constitutes sexual offenses as defined
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       in Article 130 of the New York Penal Law.

124.   Plaintiff is a woman, who is older than 18, who alleges misdemeanor and/or felony penal

       law violations, including but not limited to sexual misconduct (N.Y. Penal L. § 130.20),

       criminal sexual act in the first degree (N.Y. Penal L. § 130.50), criminal sexual act in the

       third degree ( N.Y. Penal L. § 130.40), forcible touching (N.Y. Penal L. § 130.52), sexual

       abuse in the first degree (N.Y. Penal L. § 130.65), and sexual abuse in the second degree

       (N.Y. Penal L. § 130.60).

125.   Defendant Combs coerced Plaintiff to engage in sexual contact and/or sexual intercourse,

       despite the fact that he was rendered incapable of consenting due to intoxication.

126.   Defendant Combs gave Plaintiff several drinks throughout the night and a laced blunt, thus,

       he knew or should have known that Plaintiff was incapable of consenting to sexual contact

       and/or sexual conduct.

127.   Defendant Combs’ actions presented a serious risk of physical injury to Plaintiff’s person,

       regardless of whether or not those acts resulted in criminal charges, prosecution or

       conviction.

128.   Prior to Combs sexually assaulting Plaintiff, Corporate Defendants knew or should have

       known that Combs was not fit to be in a position of authority. Corporate Defendants, by

       and through their agents, servants and/or employees, became aware, or should have become

       aware of Combs’ propensity to commit sexual assault and of the risk to Plaintiff’s safety.

129.   Corporate Defendants knew or should have known that Combs posed a risk of sexual

       assault.

130.   Corporate Defendants failed to protect Plaintiff from a known danger, and thereby enabled

       Combs’ sexual assaults of Plaintiff.



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131.   Corporate Defendants negligently deemed that Combs was fit to be in a position of

       authority; and/or that any previous suitability problems Combs had were fixed and cured;

       and/or that Combs would not commit acts of sexual assault; and/or that Combs would not

       injure others.

132.   Moreover, Corporate Defendants enabled the sexual abuse of Plaintiff by actively

       maintaining and employing Combs in a position of power and authority through which

       Combs had control over people, including Plaintiff.

133.   As a direct and proximate result of the aforementioned crime of violence and gender-

       motivated violence, Plaintiff has sustained and will continue to sustain, monetary damages,

       physical injury, pain and suffering, and serious psychological and emotional distress,

       entitling her to an award of compensatory and punitive damages, injunctive and declaratory

       relief, attorneys fees and costs, and other remedies as this Court may deem appropriate

       damages, as set forth in § 10-1104.

                                           JURY DEMAND

134.   Plaintiff demands a trial by jury of all issues.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests a judgment against the Defendants:

A.     Declaring that Defendant Combs engaged in unlawful practices prohibited by the New

       York City Victims of Gender-Motivated Violence Protection Act, in that Combs drugged

       and sexually assaulted Plaintiff;

B.     Declaring that Corporate Defendants engaged in unlawful practices prohibited by the New

       York City Victims of Gender-Motivated Violence Protection Act, in that they enabled

       Defendant Combs’ commission of the crimes of violence motivated by gender;



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C.    Awarding Plaintiff compensatory damages for mental, and emotional injury, distress, pain

      and suffering and injury to her reputation in an amount to be proven;

D.    Awarding Plaintiff damages for Defendants’ breach of contract;

E.    Awarding Plaintiff punitive damages;

F.    Awarding Plaintiff attorneys’ fees, costs, and expenses incurred in the prosecution of the

      action; and

G.    Awarding Plaintiff such other and further relief as the Court may deem equitable, just and

      proper to remedy Defendants’ unlawful practices.

Dated: New York, New York
       August 1, 2024



                                                          PHILLIPS & ASSOCIATES,
                                                          Attorneys at Law, PLLC


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                            JURISDICTION AND VENUE
1. This Court has personal jurisdiction over the Defendants under and consistent with the
   Constitutional requirements of Due Process in that the Defendants, acting directly or through
   his agents or apparent agents, committed one or more of the following:
             a. The transaction of any business within the state;
             b. The making of any contract within the state;
             c. The commission of a tortious act within this District; and
             d. The ownership, use, or possession of any real estate in this state.
2. From September 2022 to the date of this filing, Defendants have consistently and purposefully
   availed themselves of the privilege of conducting activities within New York, thus invoking
   the benefits and protections of New York law. In return for these benefits and protections,
   Defendants must submit to the burdens of litigation in New York.
3. This litigation arises from or relates to the tortious activities the defendants visited upon
   Plaintiff Jones in New York, California, Florida, Saint Barthelemy, and the United States
   Virgin Islands. This tortious conduct violated United States Federal Rico Laws and the United
   States Victims (“USVI”) of the Trafficking and Violence Protection Act of 2000 (“TVPA”).
4. Requiring Defendants to litigate these claims in this District does not offend traditional
   notions of fair play and substantial justice. Plaintiffs’ claims arise from some conduct
   occurring by Defendants in New York. Specifically, the trafficking of Plaintiff across State
   lines between California, Florida, New York, and the USVI, and the trafficking of Plaintiff
   internationally to Saint-Barthélemy.
                                          PARTIES
5. Plaintiff Rodney Jones is an American artist and music producer. Mr. Jones is domiciled in
   the state of New York.




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                                  Defendant Sean Combs
6. Defendant Sean Combs is a rapper and record executive popularly known by his stage names
   Puff Daddy, Puffy, P. Diddy, Diddy, Brother Love or Love. Mr. Combs became famous in the
   early 1990s with his record label Bad Boy Records. He rose to prominence in the music and
   entertainment industry over the decades and is regularly referred to as a hip-hop mogul. Mr.
   Combs is domiciled in California, and Florida.




                              Defendant Justin Dior Combs
7. Defendant Justin Dior Combs is the son of Mr. Combs and Misa Hylton. J. Combs was born
   on December 30, 1993. J. Combs is a producer and actor. He has appeared on TV series like
   Catfish: The TV Show, Wild' N Out, and Hip-Hop Squares. Defendant Justin Dior Combs is
   domiciled in Claifornia.




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                                 Lucian Charles Grainge
8. Defendant Lucian Charles Grainge is the CEO of Defendant Universal Music Group. Upon
   information and belief, Defendant Lucian Charles Grainge is domiciled in California.
   Defendant Lucian Charles Grainge, in his capacity as CEO of UMG, authorized Motown
   Records and Universal Music Group to enter into a general business partnership agreement
   and to provide financial resources to their general business partners, Defendants Sean Combs
   and Love Records, Inc.




                                     Cuba Gooding, Jr.
9. Defendant Cuba Gooding, Jr. was a relevant actor who has fallen from grace due to several
   sexual assault lawsuits and a recent guilty plea for sexual assault. Upon information and
   belief, Defendant Gooding, Jr. is domiciled in New York.




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                 Kristina Khorram, Chief of Staff to Sean "Diddy" Combs
10. Defendant Kristina Khorram is the Chief of Staff to Sean “Diddy” Combs, Combs Global
   Enterprises. Upon information and belief, she is domiciled in California.          Defendant
   Khorram manages the day-to-day operation of the Combs RICO and TVPA Enterprises.




11. Defendant Motown Records is a record label with a principal place of business located at 1750
   Vine St, Los Angeles, CA. According to a Declaration by former Motown Chairwoman and
   CEO Ethiopia Habtemariam, Motown Records, with the consent of Defendant UMG, and
   presumably, Ms. Habtemariams direct supervisor, Defendant Lucian Grainge, entered a
   general partnership, as that term is defined by the laws of the State of New York, with
   Defendants Love Records, Inc. and Sean Combs.




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12. Defendant Universal Music Group is a record label with a principal place of business located
   at 2220 Colorado Avenue in Santa Monica, California, and 1755 Broadway # 6, New York,
   NY 10019. Lucian Grainge is the Chairman & CEO of Universal Music Group. Defendant
   Lucian Charles Grainge, as CEO of UMG, authorized Universal Music Group to enter a
   general business partnership with Love Records, Inc. and Sean Combs. Additionally,
   according to former Motown Records Chairwoman, Ms. Habtemariam, they provided funding
   and/or reimbursements for expenses associated with the recording cost of the Love Album.
   The Love Album was released on September 23, 2023.




13. Defendant Love Records is a record label with a principal place of business located California
   and Delaware. Defendant Combs founded Defendant Love Records. According to their
   website, Defendant Motown Records helped Sean Combs establish Love Records and had a
   distribution deal for the Love Album.




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17. Mr. Jones is considered a musical prodigy. His talents have led him to produce and create a
   commercial marketplace for music that has been recorded by some of the most prestigious
   and highly acclaimed artists in music history.
18. Throughout his career, Mr. Jones has worked the south side of the Chicago Music scene,
   playing with the following legendary acts: Georgia Mass Choir, Donald Lawrence, The Clark
   Sisters, and The Smokie Norful.
19. On or about August 2022, Mr. Jones received a call from Mr. Combs's representative
   requesting that he produced several songs on a rhythm and blues album titled "The Love
   Album: Off the Grid," ("Love Album").
20. Mr. Jones agreed, and his life has been detrimentally impacted ever since.
21. During the relevant period, Defendants John and Jane Does 1-10 are currently unknown
   individuals and/or employees who aided and/or abetted in the commission of conduct
   complained of herein and/or who either acted within the scope of their employment,
   Defendants ratified, embraced, and added to this conduct. As parties engage in discovery,
   Plaintiff retains the right to amend the Complaint to add these individual employees by name.
22. During the relevant period, Defendants ABC Corps. 1-10 are currently unknown entities who
   employed Plaintiff or aided and/or abetted in the commission of conduct complained of
   herein. As the parties engage in discovery, Plaintiff retains the right to amend the Complaint
   to add these entities or individuals by name.


                                  SUMMARY OF EVENTS
23. From September 2022 to September 2023, Mr. Jones produced nine songs on Mr. Combs'
   Love album.
24. From September 2022 to September 2023, Mr. Jones lived with Mr. Combs for months,
   spending holidays, birthdays and missing major family events.
25. Mr. Jones resided at Mr. Combs's residences in Los Angeles, California, and Miami, Florida.
   He also spent several weeks on a yacht rented by Mr. Combs in the US Virgin Islands and
   Saint-Barthélemy. As detailed below, Mr. Jones made several trips with Mr. Combs to New
   York City throughout his time living with him.
26. Throughout his time with Mr. Combs, Mr. Jones witnessed, experienced, and endured many
   things that went far beyond his role as a Producer on the Love album.



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    27. The claims raised in this complaint have been corroborated through witness statements,
       video/audio recordings, personal experiences, and images Mr. Jones possesses.
    28. Mr. Combs required Mr. Jones to record him constantly. On several occasions, Mr. Combs
       took Mr. Jones's cell phone and began recording himself. As a result, Mr. Jones has secured
       HUNDREDS of hours of footage and audio recordings of Mr. Combs, his staff, and his guests
       engaging in serious illegal activity.
    29. Mr. Jones has personally witnessed and secured irrefutable evidence of:
           a. The acquisition, use, and distribution of ecstasy, cocaine, GHB, ketamine, marijuana,
               and mushrooms,
           b. The displaying and distribution of unregistered illegal firearms,
           c. Mr. Combs providing laced alcoholic beverages to minors (LA home July 2023) and
               sex workers at his homes in California, the U. S. Virgin Islands1, Florida, and Saint-
               Barthélemy,
           d. Mr. Combs Chief of Staff, Kristina Khorram (“KK”) instructs her staff to retrieve
               drugs so she can provide them to Mr. Combs for his consumption,
           e. Christian Combs drugging and sexually assaulting a woman2,
           f. Mr. Combs detailing how he planned to leverage his relationship with Bishop T.D.
               Jakes, to soften the impact on his public image of Cassie Ventura’s lawsuit,
           g. Yung Miami’s cousin and or assistant sexually assaulting Mr. Jones,
           h. Actor Cuba Gooding Jr. sexually harassing and assaulting Mr. Jones,
           i. Rapper3 (REDACTED) on Mr. Combs yacht consorting with underaged girls, sex
               workers, and
           j. R&B Singer4 (REDACTED) in Mr. Combs Los Angeles home consorting with
               underaged girls and sex workers.


                         CHALICE RECORDING STUDIOS SHOOTING

1
  This writer spoke with several employees of the yacht rented by Mr. Combs in the U.S. Virgin Islands and Saint-
Barthélemy who personally witnessed Defendant Khorram instruct her staff, Brendan Paul, Frankie Santella, and Moy
Baun spike bottles of champagne with ecstasy. Upon information and belief, this occurred the day of the December
31, 2022, New Year’s Eve party.
2
  A complaint is forthcoming.
3
  He is a Philadelphia Rapper who dated Nicki Minaj.
4
  He is a Grammy Award winning R&B singer who had trouble with law enforcement after assaulting a Bajan
Billionaire.


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30. On or about September 12, 2022, Mr. Combs held a writers and producers camp at Chalice
   Recording Studio at 845 Highland Ave, Los Angeles, CA 90038.
31. Mr. Combs, his son Justin Combs, and Justin's friend G were present at this camp.
32. Based on information and belief, Mr. G is a 30-year-old tall African American male.
33. Based on information and belief, in addition to these individuals, other musicians were present
   at the camp. This writer has spoken to several musicians who attended the camp.
34. One evening during this camp, Mr. Combs, J. Combs, and G were in a heated conversation.
35. That conversation was moved out of the studio and into a restroom adjacent to where Mr.
   Jones was sitting.
36. Mr. Jones was approximately 2 feet away from the bathroom when gunshots rang out. Mr.
   Jones recalls hearing multiple gunshots.
37. Mr. Jones immediately went into a state of shock and feared that he would be shot next. Mr.
   Jones genuinely believed that he would be shot through the door due to how close he was.
38. After the shooting ended, a crowd gathered around the restroom.
39. Upon information and belief, when the door finally opened, Mr. Combs and J. Combs exited.
40. G was lying on the restroom floor in a fetal position, holding his stomach and bleeding out of
   his torso and leg/hip area.
41. Everyone stood around looking upon G. Frustrated by the lack of aid to G, Mr. Jones dropped
   everything, ran to G, and immediately began placing pressure on G's gunshot wound to his
   torso.
42. As he was applying pressure to his torso, Mr. Jones realized that G was gushing blood from
   another area near his leg/hip.
43. He decided to lift G and placed him to sit on the toilet. Mr. Jones asked the crowd to call the
   ambulance.
44. Mr. Jones lifted G and brought him to the ambulance at the front of the studio. At this time,
   Mr. Combs and Justin disappeared to another part of the studio.
45. Mr. Combs gave strict instructions to inform the police that he had nothing to do with the
   shooting. He also forced Mr. Jones to lie to the police by telling them that G was shot standing
   outside the studio by a drive-by assailant.




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46. Mr. Jones has several corroborating witnesses who spoke with this writer anonymously
   because they feared retaliation from Mr. Combs. They have agreed to speak publicly when
   subpoenaed.
47. Mr. Jones has the clothing he wore that day and believes it may still have G's blood stains and
   DNA.
48. The following are screenshots of the aftermath of the restroom where G was shot by either
   Mr. Combs or J. Combs:




                                Aftermath of the Shooting of G
49. Upon information and belief, it is clear that G was NOT shot outside of the studio, as Mr.
   Combs instructed his team to report to law enforcement.
50. Upon information and belief, Mr. Combs and Defendant’s LR, MR, UMG, and CRS provided
   private security for the writers’ camp at Chalice.
51. The Security was porous and lackluster at best.




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52. The fact that either Mr. Combs and J. Combs were allowed to enter CRS with guns, and those
   guns were not confiscated by security is a clear breach of duty by Mr. Combs, Defendant’s
   LR, MR, and UMG to protect Mr. Jones and the other attendees of this writers’ camp.
53. As a result of this shooting, Mr. Jones is severely traumatized. Mr. Jones now suffers from
   PTSD, severe anxiety, depression, and insomnia.
54. The following is an image of Mr. Combs a couple of hours before G is shot in the restroom of
   Chalice:




  This photo of Mr. Combs was taken at Chalice Recording Studios outside of Studio G
                              hours before G was shot.

CHALICE RECORDING STUDIOS, AND DEFENDANTS SEAN COMBS AND JUSTIN
                    COMBS REPRESENTATIVE SHAWN HOLLEY
   PROVIDE CONFLICTING AND INTELLECTUALLY DISHONEST ACCOUNTS
                            CONCERNING THE SHOOTING
55. On or about, February 28, 2024, Chalice sent an Instagram message which alleges that G was
   shot a “half a block away from Chalice.”



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    65. Mr. Combs and J. Combs were located in Studio G across the parking lot from the building
        where G was shot (near Studio A). Mr. Combs and J. Combs hid out in Recording Studio G
        while the police “investigated,” and were the first to depart after the officers left7.




                 Mr. Combs Published the Love Records Chalice Recording Studios
                        Assignment List. Mr. Combs Stayed in Studio G
                        Throughout The Duration of the Writers Camp

    66. Upon information and belief, after being shot in the torso and hip/leg, G was physically
        incapable of walking; therefore, the notion that he was shot several blocks away (Shawn
        Holley), half a block away (CRS), or as he stepped outside of the studio is implausible.
    67. If G could do as much walking as Shawn Holley and CRS claim, then Mr. Jones would not
        have been required to physically pick him up off the restroom floor and walk him through the
        maze that is CRS for him to receive care from the ambulance.




7
    This FACT will be made crystal clear in discovery.


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    68. As of the date of this filing, neither the Los Angeles Police Department nor the Los Angeles
       Fire Department has released any official reports surrounding this shooting. There has been
       no body camera footage or 911 call recording. What is even more disturbing is that there has
       been no citing of G.
           a. The LAPD has only released a vaguely written "News Release" dated September 12,
               2022.
    69. The unfortunate shooting of G, the unexplained disappearance of G, the lack of disclosures
       by the LAPD and LAFD, and the incoherent nature of Shawn Holley and Chalice Recording
       Studios' account of the shooting raises more questions than answers point to foul play, and an
       apparent massive coverup.


     THE DEAFENING SILENCE FROM THE ATTENDEES OF THE CRS SHOOTING
     STEMS FROM UNDERSTANDABLE FEAR THAT THE ATTENDEES WOULD BE
                         SUED BY MR. COMBS FOR VIOLATING A
                              NON-DISCLOSURE AGREEMENT
    70. Upon information and belief, a few days before the September 12, 2022, shooting inside of
       Chalice Recording Studio, Mr. Combs required all attendees of the CRS shooting to sign a
       Non-disclosure Agreement.
    71. Mr. Jones did not sign the agreement.
    72. A copy of the non-disclosure agreement8 that a witness who has asked to remain anonymous
       provided this writer is attached. (Attachment A).


      MR. JONES WAS SEXUALLY HARASSED, AND ASSAULTED BY MR. COMBS
    73. Throughout his time living with Mr. Combs, Mr. Jones was the victim of constant unsolicited
       and unauthorized groping and touching of his anus by Mr. Combs.
    74. These events occurred in LA, NY, FL, Saint-Barthélemy, and the United States Virgin Islands.
    75. In addition to the unsolicited and unauthorized touching, Mr. Jones was forced by Mr. Combs
       to work in Mr. Combs' bathroom as Mr. Combs walked around naked and showered in a clear
       glass enclosure.




8
  Unfortunately for the attendees of the writers’ camp, they are unaware that NDAs are non-binding when it comes to
reporting criminal activity such as a shooting, sex trafficking, and the distribution and use of illegal drugs and guns.


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76. As a heterosexual Christian man, Mr. Jones was uncomfortable with Mr. Combs' advances
   and expressed his discomfort to Mr. Combs' Chief of Staff, Defendant Kristina Khorram.
77. KK responded to Mr. Jones complaint with, "you know, Sean will be Sean.”
78. KK also attempted to downplay Mr. Combs groping of Mr. Jones's anus and genitals as
   friendly horseplay, stating that those acts were Mr. Combs's way of "showing that he likes you
   [Mr. Jones].”
79. Despite these assurances, on several occasions, when Mr. Combs began to undress and walk
   around his house naked, KK would say, "Okay, I am leaving now," and she would disappear.
   KK's hypocrisy is breathtaking at best or enabling at worst.
80. Mr. Jones believes that KK aided and abetted Mr. Combs' sexual assault and was working
   with Mr. Combs to groom him into accepting a homosexual relationship.
81. Through these sexually deviant acts, one would say Mr. Combs has a pattern and practice of
   engaging in such nefarious activity. This ongoing conduct shows that Mr. Combs cannot be
   rehabilitated.


MR. COMBS ATTEMPTED TO GROOM MR. JONES INTO ENGAGING IN GAY SEX
82. Mr. Combs knew Mr. Jones looked up to and idolized music Producer Steven Aaron Jordan
   ("Stevie J").
83. Based on information and belief, Stevie J is an American DJ, record producer, and television
   personality.
84. Based on information and belief, Stevie J was part of the Bad Boy Records production team,
   the Hitmen.
85. Upon information and belief, in 1997, Stevie J won a Grammy Award for his work on Puff
   Daddy's debut album.
86. Upon information and belief, throughout the late 1990s, Stevie J produced for several artists,
   including Mariah Carey, Tevin Campbell, The Notorious B.I.G., 112, Jodeci, Faith Evans,
   Jay-Z, and Eve.
87. Based on information and belief, Stevie J was one of the producers of the Love Album.
88. According to Mr. Jones, Mr. Combs used access to Stevie J and his knowledge of Mr. Jones'
   admiration of Stevie J to groom and entice Mr. Jones to engage in homosexual acts.




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    89. Mr. Combs went so far as to share a video of who he claims was Stevie J9 anally penetrating
       a Caucasian male without a condom. Mr. Jones believes that Mr. Combs showed him this and
       attributed it to his idol Stevie J. to ease Mr. Jones’ anxiety concerning homosexuality.
       According to Mr. Jones, Mr. Combs said, “this is a normal practice in the music industry, look
       even Stevie J10 is doing it.”
    90. According to Mr. Jones, Mr. Combs informed Mr. Jones that he had engaged in sexual
       intercourse with rapper11 (REDACTED), R&B singer12 (REDACTED), and Stevie J.
    91. According to Mr. Jones, Mr. Combs promised to make sure that Mr. Jones wins producer of
       the year at the Grammys if he engaged in homosexual acts.


            THANKSGIVING 2022, MR. JONES IS SEXUALLY ASSAULTED BY
                                   YUNG MIAMI’S COUSIN
    92. On Thanksgiving Day, 2022, Mr. Jones was in Mr. Combs' house in Miami, Florida. Yung
       Miami and her female cousin (Jane Doe 1) were also present.
    93. According to Mr. Jones, Mr. Combs was intoxicated and offered cocaine to Mr. Jones. Mr.
       Jones rejected him and proceeded to walk to the restroom.
    94. While using the restroom, Yung Miami's cousin burst into the bathroom and began groping
       Mr. Jones. Mr. Jones believes that Mr. Combs sent her in there to sexually assault Mr. Jones.
    95. According to Mr. Jones, as she entered the bathroom, she dropped to her knees and began
       performing oral sex on Mr. Jones' exposed penis. Mr. Jones pushed her away and exited the
       bathroom.
    96. According to Mr. Jones, Yung Miami's cousin did not accept Mr. Jones rejection, as she
       proceeded to follow Mr. Jones out of the bathroom.
    97. She started undressing and attempted to straddle him and have sex with him in the presence
       of Mr. Combs and his staff.
    98. Despite the lack of assistance from Mr. Combs and his staff, Mr. Jones pushed her off. The
       following are images from a video13 of Yung Miami, her cousin, Mr. Jones, and Mr. Combs:


9
  This writer is in possession of the video and will provide a copy to the court.
10
   Upon information and belief, Stevie J denies that he is the person in the video. A male porn star claimed that he
was the black male in the video. Mr. Jones stands by his position that Mr. Combs provided him with the video and
identified the individual in the video as Stevie J.
11
   He is a Philadelphia Rapper who dated Nicki Minaj.
12
   He performed at the Superbowl and had a successful Vegas residency.
13
   This writer is in possession of the video and will provide a copy to the court.


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Mr. Jones and Mr. Combs on Thanksgiving Day right before Mr. Combs invites Mr. Jones
              into the restroom and attempted to force him to take cocaine.




            Yung Miami, and Jane Doe 1 who sexually assaulted Mr. Jones on
                               Thanksgiving Day 2022

                 TRAFFICKING AND VICTIMS’ PROTECTION ACT
99. According to Mr. Jones, he was transported from California to New York, Florida, Saint-
   Barthélemy, and the United States Virgin Islands throughout his time with Mr. Combs.
100. According to Mr. Jones, during this time, Mr. Jones was forced to solicit sex workers and
   perform sex acts to the pleasure of Mr. Combs.
101. On or about February 4, 2023, Mr. Combs forced Mr. Jones to bring prostitutes and sex
   workers back to his home in Miami, Florida.




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              Sex Workers In Mr. Jones Bed The Morning After Being Drugged
103. According to Mr. Jones, on another occasion in Miami, Florida, on Thanksgiving night of
   2022, Mr. Combs asked Mr. Jones and DeForrest Taylor to enter the studio bathroom.
104. According to Mr. Jones, he asked them for a hundred-dollar bill because he wanted them
   to do cocaine with him.
105. Mr. Jones was scared, but luckily, he didn’t have a hundred-dollar bill, so Mr. Combs
   waited a little later to do coke with Yung Miami.
106. According to Mr. Jones, later that evening, Mr. Combs required Mr. Jones to solicit sex
   workers from Booby Trap on the River, located at 3615 NW S River Dr, Miami, FL 33142.
   Mr. Jones did so, and Mr. Combs forced him to engage in unsolicited sex acts with these
   workers.




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                                  Booby Trap on the River
107. According to Mr. Jones, as part of Mr. Jones' sex worker recruitment tools, Mr. Combs
   provided Mr. Jones with an exclusive Bad Boy baseball cap. They required him to wear it to
   Booby Trap on the River as a signal to any sex worker he approached that Mr. Combs was in
   town and had sent Mr. Jones to recruit them.
108. According to Mr. Jones, Mr. Jones had no desire to visit Booby Trap on the River. Mr.
   Jones had no desire to solicit sex workers from Booby Trap on the River. Mr. Combs used
   his power and influence to intimidate and force Mr. Jones into soliciting sex workers from
   Booby Trap on the River. As detailed below, Mr. Combs used many tactics to maintain
   dominion and control over Mr. Jones.
109. According to Mr. Jones, these workers were accustomed to servicing Mr. Combs and would
   know he was in town by the sight of the Bad Boys baseball cap.
110. The following are Instagram Profiles of two of the sex workers that Mr. Combs required
   Mr. Jones to solicit and have sex with at his home in Miami, Florida:




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        He offered him $250,000.00 to purchase all the instruments he wanted. He promised him
        ownership of his $20,000,000 property, 1 Star Island, in Miami, Florida. He promised access
        to record label executives.
 115. According to Mr. Jones, Mr. Combs would often switch up his approach. He would go
        from promising Mr. Jones the world to threatening Mr. Jones with physical harm. Mr. Combs
        threatened to eat Mr. Jones' face and informed Mr. Jones that he was willing to kill his mother,
        Janice Combs, if he must get what he wanted so he wouldn't think twice about harming Mr.
        Jones. In light of Mr. Combs' detailed history of committing violent crimes, Plaintiffs fear of
        Mr. Combs is reasonable.

     MR. JONES HAS PERSONALLY WITNESSED MR. COMBS AND J. COMBS
               SOLICIT, DRUG AND ENGAGE IN ILLICIT SEX ACTS
 116. On or about July 2, 2023, Mr. Combs held a "listening party" at his home in California.
 117. According to Mr. Jones, present at this party were an R&B artist (REDACTED), J. Combs,
        sex workers, and some underaged girls.
 118. According to Mr. Jones, the event began at 7 pm. Mr. Combs requested female sex workers
        and required Mr. Jones to solicit them. An hour later, several sex workers appeared.
 119. According to Mr. Jones, in addition to sex workers, there were at least five women in the
        crowd who were under the age of sixteen.
 120. According to Mr. Jones, Mr. Combs forced all the women to drink laced DeLeon liquor.
        Upon information and belief, Mr. Combs laced the liquor with ecstasy.
 121. According to Mr. Jones, Mr. Combs did not check the identification of any of these
        underage girls.
 122. According to Mr. Jones, the presence of these underage women made him very
        uncomfortable14. He attempted to leave, and Mr. Combs forced him to stay.
 123. According to Mr. Jones, Mr. Combs went so far as to take Mr. Jones' car keys to prevent
        him from leaving.
 124. After being forced to drink laced DeLeon shots, Mr. Jones began feeling lightheaded and
        recalls passing out and waking up at 4 am the following morning naked with a sex worker
        sleeping next to him.


14
     Plaintiff Jones is in possession of the video and will provide a copy to the court.



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       MR. COMBS ATTEMPTS TO PASS OFF MR. JONES TO CUBA GOODING JR.
 125. Mr. Jones believes Mr. Combs was grooming him to pass him off to his friends.
 126. This fear became a reality when Mr. Combs introduced Mr. Jones to Cuba Gooding Jr.
        while they were on Mr. Combs’ yacht.
 127. According to Mr. Jones, during the introduction, Mr. Combs suggested that Cuba “get to
        know” Mr. Jones better. He then left them alone in a makeshift studio on the yacht15.




             Mr. Combs and Cuba Gooding Jr. Moments Before Mr. Jones is Assaulted

 128. As evidenced by a video, of which screenshots are embedded below, Cuba Gooding Jr.
        began touching, groping, and fondling Mr. Jones’ legs, his upper inner thighs near his groin,
        the small of his back near his buttocks, and his shoulders.
 129. According to Mr. Jones, he was extremely uncomfortable and proceeded to lean away from
        Mr. Gooding Jr.




15
     This writer has spoken to an eyewitness who was a former employee of the yacht who confirmed this.


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 130. He rejected his advances and Mr. Gooding Jr. did not stop until Mr. Jones forcibly pushed
     him away. The following is a screenshot16 of the encounter with Cuba Gooding Jr.:




             Cuba Gooding Jr17. Forcibly Touching Mr. Jones on Mr. Combs yacht

                                            THE LOVE ALBUM
 131. Throughout his time with Mr. Combs, Mr. Jones was under an implied work-for-hire
     agreement.
 132. According to Mr. Jones, he was not compensated for his time living with Mr. Combs or for
     the songs he produced.
 133. According to Mr. Jones, he was recruited by Frankie Santella to work on the Love Album.
     Mr. Jones informed Mr. Santella that he required the following to work on the Love Album:
          a. $20,000.00 per song,
          b. Four royalty points,
          c. Credit as producer and credited for each instrument Mr. Jones played, and
          d. Mr. Jones must retain his publishing rights.
 134. According to Mr. Jones, they agreed to the terms detailed above after meeting with Frankie
     Santella. Mr. Jones met with Defendant Combs, who further reiterated and guaranteed that
     the abovementioned terms were accepted. As a result, Mr. Jones began working on the album.




16
   This writer is in possession of the video and will provide a copy to the court.
17
   Mr. Gooding Jr. has a storied history of sexually assaulting and forcibly touching individuals against their well.
https://www.usatoday.com/story/entertainment/celebrities/2023/11/22/cuba-gooding-jr-lawsuits-sexual-assault-
battery/71682417007/


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 135. As evidence, he was listed as a producer for the following songs on the Love Album final
     release:    Deliver Me, Stay PT 1, Reachin’, What’s Love, Stay Awhile, Moments, Need
     Somebody, Homecoming, and Tough Love.
 136. Mr. Combs and Defendants LR, MR, and UMG benefited from Mr. Jones’ work product.
 137. They failed to compensate Mr. Jones for his work.
 138. As a result, Mr. Combs and Defendants LR, MR, and UMG were all unjustly enriched at
     Mr. Jones' expense.
 139. According to Mr. Jones, he attempted to work with Mr. Combs to secure his publishing and
     royalty rights for the work he completed on the Love album. Mr. Combs only offered Mr.
     Jones $29,000.00 for 13 months, thousands of hours of work, and nine songs that made it to
     the Love album. Mr. Jones was willing to take $50,000.00, his publishing and royalties. Mr.
     Combs' self-serving greed would not allow him to pay18 Mr. Jones an additional $21,000.
 140. Mr. Combs deceptive business practices became so bad that Mr. Jones was left with no
     choice other than to make a public plea on social media for Mr. Combs to pay him for his
     work.
 141. After publicly requesting that Mr. Combs do the right thing and pay him fairly, Mr. Jones
     received an onslaught of threatening messages from Stevie J and Love Records A&R
     DeForrest Taylor 19.




18
   This writer has retained other creatives, artists, and writers who have experienced this same treatment from Mr.
Combs and will file suit in the coming month.
19
   As the A&R of Love Records, DeForrest Taylor did not require Mr. Jones or any of the other creatives, musicians,
or artists to sign an NDA.


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                           DeForrest Taylor Threatening Mr. Jones
             MR. COMBS USED HIS POWER, AND INFLUENCE TO
                   THREATEN AND INTIMIDATE MR. JONES
142. According to Mr. Jones, Mr. Combs is very forceful and demanding.
143. According to Mr. Jones, Mr. Combs does not take no for an answer and would often
   threaten to inflict bodily harm on Mr. Jones if Mr. Jones did not comply with his demands.
144. As detailed above, Mr. Combs threatened to eat Mr. Jones' face.
145. According to Mr. Jones, on another occasion, while standing in Mr. Combs' bedroom, Mr.
   Jones was forced to watch as Mr. Combs displayed his guns and bragged about getting away
   with shooting people.
146. According to Mr. Jones, Mr. Combs shared that he was responsible for the shooting in the
   nightclub in New York City with rapper Shyne.




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147. According to Mr. Jones, he shared that artist and Mr. Combs’ girlfriend at the time, Jennifer
   Lopez, aka, J-Lo, carried the firearm into the club for him and passed him the gun after he got
   into an altercation with another individual.
148. According to a civil complaint filed by Cassie Ventura, during their decade long
   relationship, Mr. Combs “demanded that Ms. Ventura to carry his firearm in her purse just to
   make her uncomfortable and demonstrate how dangerous he is.”
149. According to Mr. Jones, as was the case with Jennifer Lopez and Ms. Ventura, Mr. Combs
   required Brendan Paul and Mr. Jones to carry his firearm on their person whenever they went
   out. One of these occasions Mr. Jones was required to carry Mr. Combs' firearm was when
   Mr. Combs recorded himself coaching Mr. Jones on how to solicit sex workers.




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150. According to Mr. Jones, the shooting in Chalice Recording Studios confirmed Mr. Combs'
   statements.
151. Based on information and belief, these statements reinforced Mr. Jones's fear of Mr. Combs
   and strengthened Mr. Combs's dominion and control over Mr. Jones.
152. Mr. Jones was terrified of Mr. Combs. He felt like he could not tell him no.
153. According to Mr. Jones, Mr. Combs consistently made it clear that he has immense power
   in the music industry and with law enforcement.
154. According to Mr. Jones, Mr. Combs made it clear that his head of security, Faheem
   Muhammad ("Mr. Muhammad"), had the power to make people and problems disappear.




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                                       Faheem Muhammad
 155. According to Mr. Jones, Mr. Combs instructs his staff to always contact Mr. Muhammad if
      the police in Miami or California ever pull them over.
 156. Upon information and belief, Mr. Muhammad spoke with the LAPD after G was shot at
      CRS. The LAPD was in CRS and witnessed the blood in the restroom, and they went with
      the bogus claim that the shooting of G occurred outside of the studio. This was all thanks to
      Mr. Muhammad’s connections within law enforcement.
 157. Mr. Jones had no reason to disbelieve Mr. Combs as he had seen firsthand through the
      shooting of G and the subsequent silence of the LAPD and the media that Mr. Combs indeed
      had the power to harm him.
 158. The LAPD spent HOURS in CRS after the shooting of G, yet there were no arrests. Mr.
      Jones witnessed the LAPD in the restroom pictured above, yet no arrests were made.
 159. The morning after the shooting, Mr. Jones and several others arrived at CRS, and G’s blood
      was still on the floor of the restroom; Mr. Combs hired a cleaning crew to clean it up.
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DEFENDANT LUCIAN CHARLES GRAINGE IN HIS CAPACITY AS CEO OF UMG,
   MOTOWN RECORDS, AND UNIVERSAL MUSIC GROUP THROUGH THEIR
                 GENERAL BUSINESS PARTNERSHIP, AND
  THEIR FINANCIAL SUPPORT OF SEAN COMBS AND LOVE RECORDS, INC.,
     AIDED AND ABETTED MR. COMBS ACTIONS AS DETAILED BELOW
160. On March 21, 2024, former Motown Records Chairwoman and CEO Ethiopia
   Habtemariam provided Mr. Jones with a Declaration ("Habtemariam Declaration"). (See
   attachment B).
161. According to the Habtemariam Declaration, as Motown Records' Chairwoman and CEO,
   she reported directly to Defendant Lucian Charles Grainge.
162. According to the Habtemariam Declaration, Motown Records entered into an agreement
   with Love Records, Inc., in or around May 2022.
163. According to the Habtemariam Declaration, UMG was aware of and authorized Motown
   Records to enter into a license agreement with Love Records.
164. According to the Habtemariam Declaration, under the license agreement, Motown Records
   agreed to pay (or reimburse) Love Records for certain of the invoiced recording costs
   incurred by Love Records in making The Love Album.
165. According to the Habtemariam Declaration, since leaving Motown Records in November
   2022, she has not been involved with Love Records.
166. s detailed throughout this pleading, Plaintiff Jones began working on the Love Album in
   September 2022 until it was released in September 2023.
167. According to Mr. Jones, the recording of the Love Album began in Chalice Recording
   Studios, where Mr. Combs hosted a nightly party where sex workers and alcohol laced with
   drugs were provided.
168. Mr. Jones informed Mr. Combs that the Chalice Recording Studios sessions cost him over
   $500,000.
169. In addition to the Chalice Recording Studios recording sessions, The Love Album was
   recorded in Mr. Combs' homes in Los Angeles, California, and Miami, Florida.
170. Mr. Jones has a copy of every song recorded for the Love Album, including songs recorded
   on the Yacht Mr. Combs and Love Records, Inc., chartered from December 2022 to January
   2023.




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171. According to Mr. Jones, every song has at least five versions, and many other songs never
   made it on the Love Album. Each of these files is timestamped and provides a clear timeline
   of the creation of The Love Album.
172. According to Mr. Jones, during the creation of the Love Album, Mr. Combs was very
   serious about setting the mood and creating a love-making atmosphere. To accomplish this,
   Mr. Combs did the following:
       a. He installed a lighting system so he could adjust the lighting in the room to red, blue,
          pink, or any color he wanted, depending on the mood he was going for.
       b. Mr. Combs required everyone working on the Love Album to take shots of Ciroc and
          Deleon alcohol. He would instruct either DeForrest Taylor or KK to eliminate them
          if they refused. On several occasions, Mr. Combs would send voice notes to the Love
          Album phone group chat and pose questions to the group, soliciting their opinions on
          Mr. Jones, questioning his loyalty and whether they think he is a good fit for the team.
          Mr. Combs knew that Mr. Jones was on the group chat, in his house, and received
          those voice notes. After witnessing several people sent home for refusing to engage
          in the acts Mr. Combs required to show loyalty, Mr. Jones feared what could happen
          to him if he told Mr. Combs no. This is another example of Mr. Combs' grooming of
          Mr. Jones.
       c. Throughout the creation of the Love Album, Mr. Combs required Mr. Jones and others
          to solicit sex workers and engage in sex acts. According to Mr. Jones, Mr. Combs felt
          that you cannot make a love album without making love.




173. As the general business partners of Sean Combs and Love Records, Inc., and the financial
   backer for the creation of the Love Album, Defendant Lucian Charles Grainge, in his capacity
   as CEO of UMG, Motown Records, and Universal Music Group, had a duty to ensure that the
   financial support they provided to Sean Combs and Love Records was not being used for sex
   workers, drugs, and laced alcohol.


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 174. It is no secret that Mr. Combs had specific bottles of alcohol designated for females, and
     other bottles designated for his staff, his artists, and himself. This fact was detailed by former
     artists and bodyguards of Mr. Combs.
 175. n the YouTube channel The Art of Dialogue, former bodyguard Gene Deal exposed Mr.
     Combs's pill-mixing method to spike cranberry juice and orange juice. According to Mr. Deal,
     Mr. Combs would place ecstasy20 and other date rape drugs in the juices21.
 176. On YouTube, the Art of Dialogue, former artist Mark Curry exposed Mr. Combs spiking
     bottles of Moet champagne in the VIP section of night clubs. Mr. Combs would have a set of
     Moet champagne bottles for his artists, and a set for women22.

         DEFENDANT KRISTINA KHORRAM IS THE GHISLAINE MAXWELL
                    TO SEAN COMBS JEFFREY EPSTEIN




 177. According to Mr. Jones, during the thirteen months he lived and traveled with Mr. Combs,
     he witnessed Mr. Combs display and distribute guns from his bedroom closets in Miami,
     Florida, and Los Angeles, California, to questionable individuals dressed in all black.
 178. According to Mr. Jones, during the thirteen months he lived and traveled with Mr. Combs,
     he witnessed Defendant Khorram openly order her assistants to keep Mr. Combs “high” off
     gummies and pills23.
 179. Defendant Khorram required all employees, from the butler to the chef to the housekeepers,
     to walk around with a black Prada pouch or fanny pack filled with cocaine, GHB, ecstasy,




20
   This writer has spoken with several former employees of Mr. Combs who witnessed Defendant Khorram instruct
her staff to lace Champagne, DeLeon, and Ciroc liquor bottles with ecstasy and other drugs.
21
   https://youtu.be/MFIP8b2IDeg?si=VVM397WmKXlnbHU-
22
   https://youtu.be/pjvhfwUmMQw?si=6-5_W6evemGP_AI0
23
   We have a recording of this and will provide it to the court.


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   marijuana gummies (100 - 250 mg’s each), and Tuci (a pink drug that is a combination of
   ecstasy and cocaine).




                                             TUCI
180. According to Mr. Jones, Defendant Khorram wanted Mr. Combs' drug of choice
   immediately ready when he asked for it.
181. According to Mr. Jones, Defendant Khorram ordered sex workers for Mr. Combs. On one
   occasion, she sent Mr. Jones a text message requesting that he call a particular sex worker.
   We have the message.
182. According to Mr. Jones, Defendant Khorram ordered and distributed ecstasy, cocaine,
   GHB, ketamine, marijuana, and mushrooms to Mr. Combs and his celebrity guests, who were
   present on his rented yacht and in his homes in LA and Miami.
183. According to Mr. Jones, on multiple occasions, Defendant Khorram forced him to carry
   Mr. Combs' drug pouch against his will. The pouches were always black, and several of Mr.
   Combs' staff carried black Prada pouches.
184. According to Mr. Jones, Defendant Khorram also sent Mr. Jones to solicit sex workers for
   Mr. Combs. When the sex workers arrived at Mr. Combs' residence, Defendant Khorram
   would negotiate their price and would take them aside and pay them.




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Sean Combs Butler, Frankie with the Black Prada Pouch Mentioned Above While On The
                      Yacht From December 2022 to January 2023
185. As the Chief of Staff, Defendant Khorram was instrumental in organizing and executing
     the RICO and TVPA Enterprises. Defendant Khorram had the following individuals execute
     the following tasks for the RICO, and TVPA enterprises:
         a. Stevie J: Recruits sex workers and attends and participates in freak offs24.
         b. Justin Combs: Solicits Prostitutes, Underaged Girls, and Sex Workers. Would
            engage in Freak Offs.
         c. Brendan Paul: Works as Mr. Combs Mule. He acquires, and distributes, Mr. Combs
            Drugs, and Guns.




                                     Brendan Paul and Mr. Combs

         d. Frankie Santella25: Works alongside Brendan. While Brendan acquires, and
            distributes, Mr. Combs Drugs, and Guns. Frankie carries the money and pays for the
            Guns and Drugs.




24
   We have a video of Mr. Combs, Stevie J, and Plaintiff Jones at a strip club. Mr. Combs is recording the video,
while coaching and training Plaintiff Jones how to recruit the sex workers.
25
   Vice President of Music Management & Strategic Partnerships Vice President of Music Management & Strategic
Partnerships, Combs Global.


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                                      Frankie Santella and Sean Combs

          e. Moy Baun: Hires sex workers, attends and participates in freak offs.




         Moy Baun, Thanksgiving 2022 When Mr. Combs Offered Mr. Jones Cocaine.

 186. According to Mr. Jones, Mr. Combs funded and used his affiliation with local gangs and
     gang leaders26 who would frequent his homes in LA, and Miami to secure the drugs and guns
     he obtained and distributed out of his homes in LA and Miami.


 Plaintiff has intentionally left the names, and images of these individuals out of the pleading out of fear of retaliation.
26

He will provide the information to the Court under seal or in Camera.


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187. According to Mr. Jones, Defendants executed their RICO and TVPA Enterprises with
   threats of violence: threatening to eat Plaintiff’s face, displaying and distributing guns in
   Plaintiff’s presence, bragging about having law enforcement under control, bragging about
   murdering people, and bragging about bribing witnesses, and jurors in the criminal case
   concerning the 1999 NYC nightclub shooting with Shyne. As a result, Mr. Combs could
   maintain dominion and control over Mr. Jones.
188. According to Mr. Jones, Defendants executed his RICO and TVPA Enterprises with threats
   of isolation from the music and entertainment industry: parading powerful music industry
   executives at his parties filled with sex workers and illegal drugs, such as ecstasy, cocaine,
   GHB, ketamine, marijuana, and mushrooms.
189. According to Mr. Jones, Defendant Combs executed his RICO and TVPA Enterprise with
   threats of nonpayment for work completed, fake promises of cash payments ($250,000),
   producer of the year Grammy awards, and guaranteed access to future projects, and a 20-
   million-dollar home on Star Island in Miami.

                    MR. COMBS IS ALLOWED TO WREAK HAVOC
190. While living and traveling with Mr. Combs, Mr. Jones discovered that Mr. Combs had
   hidden cameras in every room of his home.
191. Mr. Jones believes that Mr. Combs has recordings of several celebrities, artists, music label
   executives, and athletes engaging in illegal activity at Mr. Combs' functions.
192. Upon information and belief, these individuals were recorded without their knowledge and
   consent. As is the case with the homosexual sex tape that Mr. Combs provided to Mr. Jones,
   claiming to be Stevie J., Mr. Combs possesses compromising footage of every person who
   has attended his freak-off parties and his house parties.
193. Upon information and belief, due to this treasure trove of evidence he has in his possession,
   Mr. Combs believes that he is above the law and untouchable.
194. Based on information and belief, Mr. Combs employs Jose Cruz as his IT director. This
   writer has spoken to several former employees of Mr. Combs, who confirmed that Jose Cruz
   is the gatekeeper to all of Mr. Combs recordings.




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200.           Besides contacting the individual previously mentioned, Mr. Greene contacted Mr.
    Jones’s eight-year-old daughter. He solicited information from this child about her father until
    she cried in fear and handed the phone to her mother. At that time, her mother hung up the
    phone. Mr. Greene proceeded to text her; she informed him that she did not want to be
    bothered, and he continued to send her unwanted harassing, text messages.

                              FIRST CAUSE OF ACTION
            CONDUCT AND PARTICIPATE IN A RICO ENTERPRISE
            THROUGH A PATTERN OF RACKETEERING ACTIVITY
                 VIOLATION OF RACKETEER INFLUENCED AND
   CORRUPT ORGANIZATION ACT, CODIFIED AT 18 U.S.C. § 1962(A), (C)-(D)
     (Against Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
Motown Records, Universal Music Group, Sean Combs, Justin Combs, Kristina Khorram,
                           Combs Global, and Love Records)
201. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
    forth fully herein.
202. Defendant Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records,
    and Universal Music Group ("the collective"), is 100% liable for the actions of Sean Combs,
    and by extension, Love Records, Combs Global, Justin Combs, and Kristina Khorram ("RICO
    orchestrators") as they were acting in their capacities as the collectives' General Business
    Partners when they committed the acts detailed below. The collective financially benefited
    from Defendants Sean Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina
    Khorram through their partnership and distribution deal with Sean Combs and Love Records.
    The collective provided Defendants Sean Combs, Combs Enterprises, Love Records, Justin
    Combs, and Kristina Khorram with unfettered access to financial resources in the form of
    wire transfers, direct payments, and invoice reimbursements and failed to adequately
    investigate, supervise, and or monitor where the money was being used, who was using the
    money, and what the money was being used for.
203. The financial support provided by the collective was the lifeline that spearheaded and
    maintained Defendants Sean Combs, Combs Enterprises, Love Records, Justin Combs, and
    Kristina Khorram's depraved actions. Upon information and belief, the establishment and
    distribution partnership deal between the collective and Defendants Sean Combs, Combs
    Enterprises, Love Records, Justin Combs, and Kristina Khorram was intentionally written
    overly broad. For Defendants Sean Combs, Combs Enterprises, Love Records, Justin Combs,



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   and Kristina Khorram to receive financial support from the collective, they had to state that
   the payment was for "Love Album Related Expenses." Well, the writer's camp at CRS, the
   nightly Club Love parties at CRS, and the yacht were all spaces that Defendants Sean Combs,
   Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram utilized to produce
   songs that were released on the Love Album.            The "Love Album Related Expenses"
   reimbursement requirement was a ruse. The collective knew or should have known that
   Defendants Sean Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina
   Khorram had no intention to utilize the collective's financial support for album-related
   expenses, and they did not put any mechanism in place to ensure that the money was not being
   used for any illegal activity. The collective's willful blindness resulted in Plaintiff Jones
   suffering the harm detailed herein.
204. Defendants are individuals and entities within the meaning of "person" as defined in 18
   U.S.C. § 1961(3) because each is capable of holding, and does hold, "a legal or beneficial
   interest in property." The association is composed of Lucian Charles Grainge, Sean Combs,
   Justin Combs, Kristina Khorram, Combs Global, Motown Records, Love Records, Universal
   Music Group, JOHN, and JANE DOES 1-10, and ABC CORPORATIONS 1-10.
205. In the relevant part, 18 U.S. Code 1961 defines a racketeering activity as:
     (1) (A) any act or threat involving murder, kidnapping, gambling, arson, robbery, bribery,
     extortion, dealing in obscene matter, or dealing in a controlled substance or listed
     chemical (as defined in section 102 of the Controlled Substances Act), which is
     chargeable under State law and punishable by imprisonment for more than one year; (B)
     any act which is indictable under any of the following provisions of title 18,
     United States Code: … section 933 (relating to trafficking in firearms), section 1341
     (relating to mail fraud), section 1343 (relating to wire fraud), sections 1461–1465 (relating
     to obscene matter), section 1511 (relating to the obstruction of State or local law
     enforcement), sections 1581–1592 (relating to peonage, slavery, and trafficking
     in persons), section 1952 (relating to racketeering), section 1956 (relating to the laundering
     of monetary instruments), (D) any offense involving fraud connected with a case under
     title 11…the felonious manufacture, importation, receiving, concealment, buying, selling,
     or otherwise dealing in a controlled substance or listed chemical.
206. Section 1962(a) makes it:
      unlawful for any person who has received any income derived, directly or indirectly,
      from a pattern of racketeering activity or through a collection of an unlawful debt in which
      such person has participated as a principal within the meaning of Section 2, Title18, United
      States Code, to use or invest, directly or indirectly, any part of such income, or the proceeds
      of such income, in the acquisition of any interest in, or the establishment or operation of,




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      any enterprise which is engaged in, or the activities of which affect interstate or foreign
      commerce. 18 U.S.C. § 1962(a).
 207. Section 1962(c) makes it:
      unlawful for any person employed by or associated with any enterprise engaged in, or the
      activities of which affect, interstate or foreign commerce, to conduct or participate, directly
      or indirectly, in the conduct of such enterprise’s affairs through a pattern of racketeering
      activity. 18 U.S.C. §1962(c).
 208. Section 1962(d) makes it:
      unlawful for “any person to conspire to violate” Section 1962(a) and (c), among other
      provisions. 18 U.S.C. § 1962(d).
 209. Defendants are associated with each other as an enterprise within the meaning of
     “enterprise” as defined in 18 U.S.C. § 1961(4).
 210. Throughout this pleading, Mr. Jones has detailed many acts by Defendants Sean Combs,
     Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram, which are prohibited
     under 18 U.S.C. §1962.
 211. Defendants have unlawfully increased their profits by luring and deceiving producers,
     musicians, writers, creators, and artists such as Plaintiff to their organization for the misstated
     purpose of using their talents as creatives to produce music. Defendants’ true intentions are
     later revealed through a calculated grooming scheme that involves false promises of business
     opportunities, exposure to music executives with the promise of future introductions, and the
     promise of awards and accolades, which quickly shifts to unauthorized drugging, threats of
     bodily harm, sex trafficking, and sleep deprivation. According to Mr. Jones, Defendant
     Combs often required Mr. Jones to work for several consecutive days without sleep.
     According to Mr. Jones, it was imperative always to look like he was working whenever Mr.
     Combs walked by.
 212. Within a few months of working for and living with Mr. Combs, Mr. Jones witnessed KK
     instruct her direct reports and Combs enterprise employees Brendan, Frankie, and Moy to
     acquire and transport the following drugs: ecstasy, cocaine, GHB, ketamine, marijuana, and
     mushrooms. Mr. Jones personally witnessed Combs Enterprise employee Brendan transport
     firearms to and from nightclubs, strip clubs, and other venues for Mr. Combs on his person in
     Miami, Florida. Mr. Jones personally witnessed Mr. Combs distribute firearms out of his
     bedroom closet to individuals that Mr. Jones knew to be members of local gangs28. During

28
  Plaintiff is intentionally being vague, in fear of his personal safety. He can provide more detail to the Court in
camera.


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   the making of the Love Album, several evenings, Mr. Jones personally witnessed Mr. Combs
   instruct the Combs enterprise employees Brendan, Frankie, and Moy to solicit sex workers to
   the recording studio at his homes and to the Chalice Recording Studios. According to Mr.
   Jones, Mr. Combs felt there was too much testosterone in the studio and wanted sex workers
   there to create the vibe for the Love Album. Then these workers arrived, and Mr. Jones and
   the other musicians and producers were required to engage in sex acts with them. KK and
   Frankie would often negotiate the price for the sex workers' services. They would either pay
   the workers in cash, electronically (cash app, Venmo, PayPal, or wire transfers), or through
   any other form requested by the sex worker. As detailed in the chart below, when Mr. Jones
   was groomed into soliciting sex workers for Mr. Combs, he often negotiated the cost via text
   message.
213. The RICO enterprise, which all Defendants have engaged in, and the activities of which
   affected interstate and foreign commerce, is comprised of an association, in fact, of persons,
   including each Defendant and other unnamed co-conspirators.                That association was
   structured by various general partnership agreements, establishment deals, distribution deals,
   contracts, and non-contractual relationships between the Defendants, by which Defendants
   assumed different roles in either knowingly or negligently funding, directly or indirectly
   participating in the acts necessary to carry out a scheme to acquire and distribute drugs,
   firearms, prostitutes, and sex workers. They also worked collectively to deceptively obtain
   the labor of producers, musicians, writers, creators, and artists such as Plaintiff to utilize their
   talents and labor to produce music and other tangible goods and services without full
   compensation. As detailed herein, Plaintiff Jones worked for Mr. Combs for thirteen months.
   Combs Enterprise employee Frankie solicited him to produce the Love Album. Frankie and
   Mr. Combs agreed to provide Mr. Jones $20,000.00 per song, four royalty points per song,
   credit as producer, credit for each instrument Mr. Jones played, and publishing rights for Mr.
   Jones' work in exchange for Mr. Jones' services on The Love Album. Over thirteen months,
   Mr. Jones fulfilled his end of the agreement and provided services for the Love Album. Mr.
   Combs benefited from Mr. Jones' services and refused to compensate him by their agreement.
   Mr. Jones is not the only creative who had his services stolen by Mr. Combs; many creatives
   worked for months on the Love Album and were never compensated for their work.




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214. According to the Habtemariam Declaration, the collective reimbursed or paid for the
   production of the Love Album. Mr. Jones was not compensated, so if the Habtemariam
   Declaration is correct, what was the collective financial support used for? And what
   mechanism did the collective have in place to ensure the money provided to Defendants Sean
   Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram were used
   for the purposes outlined in the collective's partnership deal with Defendants Sean Combs,
   Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram.
215. The collective and Defendants Sean Combs, Combs Enterprises, Love Records, Justin
   Combs, and Kristina Khorram all share a common purpose: to use deception, coercion, force,
   and the threat of violence to enrich themselves at the expense of individuals like the Plaintiff.
   As set forth herein, although members of the collective may not have directly threatened
   coerced, force or violently threaten Plaintiff, they financially benefitted from Defendants Sean
   Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram scheme of
   defrauding, and intimidating the Plaintiff with threats of violence (threatening to eat Plaintiff's
   face, displaying and distributing guns in Plaintiff's presence, bragging about having law
   enforcement under control, bragging about murdering people, and bragging about bribing
   witnesses, and jurors in the criminal case concerning the 1999 NYC nightclub shooting with
   Shyne), threats of isolation from the music and entertainment industry (parading influential
   music industry executives at Mr. Combs parties filled with sex workers, minors, and illegal
   drugs, such as ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms), threats of
   nonpayment for work completed, fake promises of cash payments ($250,000), producer of the
   year Grammy awards, guaranteed access to future projects, and a $20 million dollar home on
   Star Island in Miami. It is reasonable to believe Defendants Sean Combs, Combs Enterprises,
   Love Records, Justin Combs, and Kristina Khorram would not have engaged in these acts of
   threats but for the existence of the Rico scheme and their understanding that the collective
   would provide unfettered access to financial recourses without ever questioning Defendants
   Sean Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram use of
   the money.
216. Upon information and belief, the collective and Defendants Sean Combs, Combs
   Enterprises, Love Records, Justin Combs, and Kristina Khorram have had several
   partnerships throughout the years. As is the case here, Defendant UMG provided Mr. Combs



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     with unfettered access to financial dollars in exchange for Mr. Combs and Defendants Sean
     Combs, Combs Enterprises, Love Records, Justin Combs, and Kristina Khorram providing
     Defendant UMG with the fruits of the labor of producers, musicians, writers, creators, and
     artists such as Plaintiff to utilize their talents and labor to produce music, and other tangible
     goods and services without full compensation.
      Date of Partnership               Participants in the Partnership        Details of the Partnership
 2003 to 200529                         Sean Combs, Bad Boy                    Joint Venture
 (3 years)                              Records, and Universal
                                        Music (subsidiary of
                                        Defendant UMG)
 2009 to 2015                           Sean Combs, Bad Boy                    Worldwide Distribution Deal
 (6 years)                              Records, and
                                        Universal/Interscope Geffen
                                        A&M (subsidiary of
                                        Defendant UMG)30
 2022 to 2023                           Sean Combs and Motown                  Establish Love Records and
 (approx. 1 year)                       Records (subsidiary of                 distribute the Love Album
                                        Defendant UMG)31

 217. As outlined in the chart above, from 2003 to 2005, Defendant Combs, the then CEO and
     owner of Bad Boy Records, entered a joint venture deal with Universal Music, a subsidiary
     of Defendant Universal Music Group. Upon information and belief, at the time Defendant
     Combs and UMG entered their three-year joint venture, it was public knowledge that Mr.
     Combs had a serious reputation for violence and engaging in criminal activity. Defendant
     UMG had firsthand knowledge of Combs' propensity for violence because on April 16, 1999,
     Defendant Combs assaulted Steve Stoute, their Executive Vice President of Interscope Geffen
     A&R. Combs was arrested and charged with two felonies — second-degree assault and
     criminal mischief — in the beating of Steve Stoute, who says Combs and two bodyguards
     beat him with their fists, a telephone, a champagne bottle, and a chair. Mr. Combs had a
     criminal trial surrounding the 1999 Nightclub shooting in NYC, when Mr. Combs required
     his then-girlfriend, Jennifer Lopez, to transport his illegal firearm into the NYC nightclub. In


29
   https://www.nytimes.com/2003/02/08/business/p-diddy-signs-3-year-deal-with-universal-records.html
30
   “Puff is a rare person in the music industry today, that can move the culture in many areas – fashion, TV, music –
as well as making records,” commented IGA Chairman Jimmy Lovine. “Whenever a free agent like him comes along,
which is rare, you grab him.”
31
   https://www.ebony.com/diddy-launches-new-rb-label-in-partnership-with-motown-records/ and
https://www.motownrecords.com/culture/diddy-and-motown-partner-up/


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     2001, Former television host Roger Mills sued Mr. Combs for assault. This case did not end
     until 2004, two years into the joint venture deal. Despite all these public warning signs of a
     pattern and practice of behavior that evidence a propensity to engage in violent crimes and
     other criminal activity, Defendant UMG chose to enter into a general partnership agreement
     with Mr. Combs. Defendant UMG knew or should have known that it had a duty to monitor
     how the financial resources they provided to Mr. Combs were being spentUpon information
     and belief, from 2009 to 2015, the collective and Defendants Sean Combs, Combs Enterprises,
     Love Records, Justin Combs, and Kristina Khorram32 continued their Rico enterprise when
     Mr. Combs, UMG and Mr. Grainge entered a general business partnership to internationally
     distribute music produced by Mr. Combs and Bad Boy Records. As part of that deal UMG
     provided financial support to Mr. Combs and paid for all expenses related to the development
     and distribution of the music Mr. Combs and Bad Boy Records produced.
 218. On or about 2022 to 2023, the collective and Defendants Sean Combs, Combs Enterprises,
     Love Records, Justin Combs, and Kristina Khorram established the latest iteration of their
     RICO enterprise when they entered a general business partnership to establish Love Records
     and to distribute Love Records first album, the Love Album off the Grid. According to the
     Declaration of Ms. Habtemariam, as the Chairwoman and CEO of Motown Records, she
     reported directly to Defendant Lucian Grainge. Ms. Habtemariam also states that she was
     given approval by Defendant UMG to enter the partnership with Sean Comes to help establish
     Love Records. It is safe to assume that Defendant Lucian Grainge, Ms. Habtemariam's direct
     supervisor, was aware of and signed off on the UMG and Sean Combs partnership, which led
     to the establishment of Love Records. According to Ms. Habtemariam, Defendants UMG and
     MR financed Sean Combs for "approved" invoices associated with the creation of the Love
     Album.    Ms. Habtemariam did not identify any mechanism MR or UMG implemented to
     ensure the financial support remitted to Mr. Combs and Love Records went to approved
     invoices associated with the Love Album. If the treatment of Plaintiff Jones is any indication
     of how Defendants UMG and MR ensured that their financing of Love Records and the Love
     Album was applied in accordance with the partnership agreement, then they would have




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  Upon information and belief, Defendant Kristina Khorram began her employment with Defendant Combs, and
Combs Enterprises in 2013.


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   realized that artists like Plaintiff Jones had worked for several months on the Love Album
   without full compensation.
219. Upon information and belief, if the collective financed Defendants Sean Combs, Combs
   Enterprises, Love Records, Justin Combs, and Kristina Khorramin in the manner described
   by Ms. Habtemariam's declaration, then it is safe to assume that they financed the "recording
   costs" at Chalice Recording Studios, Defendant Combs houses in Miami and Los Angeles, as
   well as the Yacht as evidenced by posts Mr. Combs made on his Instagram page from
   September 2022 to September 2023 (on or about the time the Love Album was released), as
   well as the videos, and photos in Mr. Jones possession, Defendants Sean Combs, Combs
   Enterprises, Love Records, Justin Combs, and Kristina Khorram did more than just record
   music. On a daily basis, Defendants Sean Combs, Combs Enterprises, Love Records, Justin
   Combs, and Kristina Khorram had sex workers and endless drugs flowing through the
   recording sessions at CRS, Mr. Combs' homes, and on the Yacht which Mr. Combs rented.
   Unless the collective had an overseer present at the recording sessions to account for how the
   money they provided Defendants Sean Combs, Combs Enterprises, Love Records, Justin
   Combs, and Kristina Khorramwas being spent, it is safe to say they were complicit in allowing
   their money to pay for illegal drugs, and sex workers.
220.    As evidenced by the hundreds of hours of video and audio recordings in Plaintiff's
   possession, Defendants Sean Combs, Justin Combs, Kristina Khorram, his assistants, and staff
   all orchestrated, participated, managed, and executed the RICO Enterprise by purchasing and
   distributing ecstasy, cocaine, GHB, ketamine, marijuana, and mushrooms. They transported
   the drugs by flying on commercial airlines from California to New York, Florida, the Virgin
   Islands, and Saint Barthélemy in the French Caribbean. They placed these controlled
   substances in their carry-on luggage through TSA. They then carried these substances in
   black pouches and distributed the drugs to Mr. Combs, his friends, house guests, girlfriends,
   and sex workers.
221. The RICO enterprise has functioned as a continuing unit and maintains an ascertainable
   structure separate and distinct from the pattern of racketeering activity.
222. Upon information and belief, the enterprise was characterized by the collective providing
   unlimited, unchecked financing to Defendants Sean Combs and Love Records for the
   establishment of Love Records and the creation of the Love Album. Defendants Sean Combs,



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   Love Records, and Kristina Khorram had a pattern of making false representations and
   omissions to the artists, creatives, musicians, and producers who used their talents to provide
   services to the RICO enterprise. These false representations and omissions were designed to
   induce artists, creatives, musicians, and producers to utilize their talents and labor to produce
   music and other tangible goods and services without full compensation.            These artists,
   producers, creatives, and musicians were also forced to solicit and participate in sexual
   encounters with prostitutes and sex workers. They were also required to transport illegal,
   unregistered handguns and to purchase and distribute narcotics.
223.   As part of this scheme, Defendants required their artists, creatives, musicians, and
   producers to visit strip clubs wearing exclusive authentic Bad Boy merchandise and to use the
   name and reputation of Mr. Combs to solicit sex workers and prostitutes.




                     Mr. Jones and Brendan wearing the Bad Boy Hat
224. Additionally, Mr. Combs used the prospects of winning Grammy awards, purchasing 20-
   million-dollar homes, participating in future projects, making $250,000 cash payments, and
   meeting influential music industry executives. This pattern of false representations was
   disseminated to artists, creatives, musicians, and producers who reside in California, Florida,
   New York, and around the country by Defendants based in California, Florida, and New York




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   under the direction and on behalf of Defendants in New York. The dissemination typically
   used interstate telephone wires, social media messages, and electronic mail.
225. Upon information and belief, the true nature of Defendants’ scheme was left undisclosed,
   was omitted, and/or was affirmatively misrepresented, all to fraudulently increase Defendants’
   profits, at least some of which were used to expand the enterprise, causing further injury to
   Plaintiff Jones and other unwitting artists, creatives, musicians, and producers.
226. Upon information and belief, Defendants profited from the enterprise, and Plaintiff Jones
   suffered because the enterprise diminished Plaintiff Jones's finances due to 13 months of
   nonpayment and diminished Plaintiff Jones's health through consistent drugging and forced
   sexual encounters with prostitutes and sex workers. Defendants used the proceeds from this
   scheme to advance the scheme by funding and operating their marketing machine, including
   through the use of the mail, social media, word of mouth, and interstate wires to sell the
   illusion that Mr. Combs was serious about the talents and skills of the artists, creatives,
   musicians, and producers, and wanted to use those skills to make music when nothing could
   be further from the truth.     Defendants provided their artists, creatives, musicians, and
   producers with this misrepresentative information, including via email all over interstate
   wireline communications systems and obtaining free labor, the distribution of drugs and
   firearms, as well as prostitutes, sex workers, and minors. Defendants obtained revenue via
   wire transfers, documents, and banking transactions that were exchanged via electronic means
   over interstate wires, thereby growing the enterprise and causing further injury to Plaintiff
   Jones as described throughout.
227. Upon information and belief, The Defendants' scheme was reasonably calculated to
   deceive Plaintiff Jones, artists, creatives, musicians, and producers of ordinary prudence and
   comprehension through the execution of their complex and illegal scheme to misrepresent the
   effectiveness of soliciting prostitutes, sex workers, and minors and distributing drugs and guns
   that did not, would not, and could not lead to securing Grammy Awards, purchasing $20
   million homes, participating on future projects, $250,000 cash payments, and meeting
   influential music industry executives. Plaintiff Jones would not have lived with Mr. Combs
   for 13 months, missing birthdays, holidays, and family events, but for the illegal racketeering
   scheme operated by Defendants.




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228. Upon information and belief, Defendants each had the specific intent to participate in the
   overall RICO enterprise and the scheme to defraud Plaintiff Jones, and each participated in
   the enterprise as follows:
229. Upon information and belief, Defendants Lucian Charles Grainge, Combs Global, Motown
   Records, Love Records, and Universal Music Group control and participate in the activities
   of the enterprise in a variety of ways as set forth herein, including but not limited to developing
   and marketing scores of writing camps, and listening parties services that are marketed to
   innocent, unassuming artists, creatives, musicians, and producers who are.
230. Throughout the relevant period, Defendant Lucian Charles Grainge in his capacity as CEO
   of UMG, authorized Motown Records and Universal Music Group to enter into a general
   partnership agreement with Sean Combs and Love Records. As general business partners,
   each member is responsible for the partners' actions in the partnership. Defendants Lucian
   Charles Grainge, Motown Records, and Universal Music Group have an ethical obligation to
   ensure their business partners, Sean Combs and Love Records, were not using the partnership
   assets to engage in illegal activity.
231. Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, authorized Motown
   Records and Universal Music Group to provide financial resources to their general business
   partners, Defendants Sean Combs and Love Records.            Defendants Sean Combs and Love
   Records used the financial resources provided by their general business partners to solicit
   through the mail, email, social media, and the telephone artists, creatives, musicians, and
   producers whom they would promise Grammy Awards, expensive property, participation on
   future projects, cash payments, and meetings with powerful music industry executives.
   Defendants Sean Combs and Love Records instructed Defendants Justin Combs, Kristina
   Khorram, and her staff to solicit these artist's creatives, musicians, and producers who resided
   in New York, Illinois, California, Georgia, and Florida. Defendants Justin Combs, Kristina
   Khorram, and her staff relied on the mail, email, social media messenger, and telephone to
   disseminate the misleading information described herein. Defendants Sean Combs, Love
   Records, Justin Combs, and Kristina Khorram did not disclose to the individuals they solicited
   the fact that they would be drugged, required to sleep with sex workers, and forced to work
   for days at a time without compensation. As it relates to Plaintiff Jones, Defendants Sean
   Combs, Love Records, and Kristina Khorram controlled his ability to travel. They did not



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   provide him with full compensation for the work he provided. As a result, Mr. Jones did not
   have the finances to return home without Defendants Sean Combs, Love Records, and
   Kristina Khorram paying for it. On several occasions in Miami, Florida, he asked Defendants
   Sean Combs and Kristina Khorram for permission to visit his family for their birthdays and
   holidays. Defendants Sean Combs and Kristina Khorram refused. They went so far as
   threatening Mr. Jones by telling him that if he left, he would not be paid for the work he had
   done, would not be allowed to return, and would not receive the promised Grammy Awards,
   expensive property, participation in future projects, cash payments, and meetings with
   influential music industry executives.
232. In connection with Defendants acting from New York, these Defendants used the mail and
   interstate wires to solicit Plaintiff Jones and artists, creatives, musicians, and producers and
   to use Plaintiff Jones and the artists, creatives, musicians, and producers to utilize their talents
   and labor to produce music, and other tangible goods and services without full compensation,
   as well as the solicitation of sexual encounters with prostitutes, sex workers, and the
   purchasing and distribution of illegal firearms and drugs. Each of these acts was undertaken
   with the knowledge and approval of all other Defendants to further the goals of their
   conspiracy.
233. Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, authorized Motown
   Records and Universal Music Group to provide financial resources to their general business
   partners, Defendants Sean Combs and Love Records. As the financial supplier of Defendants
   Sean Combs and Love Records, Defendants Lucian Charles Grainge, in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group, had a duty to direct and control the
   manner in which Defendants Sean Combs and Love Records, used the money they supplied.
   In furtherance of the goals of their conspiracy, Defendants Lucian Charles Grainge, in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group, used the Love
   Album as a ruse to provide Defendants Sean Combs and Love Records with the financial
   resources he used to execute his RICO enterprise. Throughout the relevant period, Defendants
   Sean Combs and Love Records used the financial resources their general business partners
   provided to solicit potential artists, creatives, musicians, and producers.           As detailed
   throughout, they relied on the mail, email, social media, text messages, and WhatsApp
   messages to disseminate the misleading information described herein and profit from the free



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   labor of these artists, creatives, musicians, and producers. In addition to the forced free labor,
   they used their power and influence to force these creatives to solicit sex workers and to
   engage in unwanted sexual encounters with these sex workers. They also used their power
   and influence to force these creatives to purchase, transport, and distribute illegal firearms
   and drugs. As the general business partner of Defendants Sean Combs and Love Records,
   Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group, are equally liable for the commission of these acts.
234. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as CEO
   of UMG, authorized Motown Records and Universal Music Group to provide financial
   resources to Defendants Sean Combs and Love Records through wire transfers to Defendants
   Sean Combs and Love Records accountant Robin Greenhill. Upon information and belief,
   Ms. Greenhill ensured the wiring, funds transfer, or cash payments to sex workers were
   completed. Defendant Kristina Khorram, through her direct reports Frankie Santella, Moy
   Baun, and Brendan Paul, would negotiate the fees the sex workers received and would ensure
   that the workers are paid in one of the manners detailed above. According to Plaintiff Jones,
   Defendant Sean Combs bragged about having several women on a monthly stipend.
   According to Plaintiff Jones, the women who received these payments are Caresha Romeka
   Brownlee, aka "Yung Miami," Jade Ramey, aka "Jade," and Daphne Joy Cervantes Narvaez,
   aka, "Daphne Joy" who were paid a monthly fee to work as Mr. Combs' sex workers. Based
   on information and belief, they received payment via wire transfer from Robin Greenhill. It
   is unclear if they were provided the appropriate United States federal tax documents for these
   payments or if they independently declared these payments on their taxes. It is unclear if
   Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group, requested an audit of Defendants Sean Combs and Love Records'
   financial records to ensure the financial support they provided to Defendants Sean Combs and
   Love Records as part of their general business partnership was not being used to pay Caresha
   Romeka Brownlee, Jade Ramey, and Daphne Joy Cervantes Narvaez.
235. During the ten (10) years preceding the filing of this action and to the present, all
   Defendants did cooperate jointly and severally in the commission of three (3) or more of the
   predicate acts that are itemized at 18 U.S.C. §§ 1961(1)(A) and (B), in violation of 18 U.S.C.
   1962(d), as described in this Complaint.



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236. Beginning at an exact date unknown to Plaintiff, but within ten (10) years preceding the
   filing of this action, Defendants have knowingly, willfully, and unlawfully participated in a
   pattern of racketeering activity that continues to this day.
237. The acts set below ("Racketeering Acts") followed the same pattern and purpose: to defraud
   the Plaintiff for the Defendants' benefit. Each Racketeering Act involved the same or similar
   methods of commission and participants.
238. The Defendants' business would not have succeeded without the repeated predicate acts
   and the ability to conduct their fraud using mail, telecommunications wires, interstate travel,
   international travel, and money laundering.
239. The separate Racketeering Acts all relate to each other in that they were part of concerted
   actions by Defendants to use the endorsement and channels of the enterprise to operate their
   businesses to solicit potential artists, creatives, musicians, and producers. As detailed
   throughout, they relied on the mail, email, social media, text messages, and WhatsApp
   messages to disseminate the misleading information described herein and profit from the free
   labor of these artists, creatives, musicians, and producers. In addition to the forced free labor,
   they used their power and influence to force these creatives to solicit sex workers and to
   engage in unwanted sexual encounters with these sex workers. They also used their power
   and influence to force these creatives to purchase, transport, and distribute illegal firearms
   and drugs.
240. The separate Racketeering Acts all relate to each other in that they were part of concerted
   actions by Defendants to use the endorsement and channels of the enterprise to operate their
   businesses to fraudulently induce Plaintiff Jones and the artists, creatives, musicians, and
   producers to utilize their talents and labor to produce music, and other tangible goods and
   services without full compensation. In addition to the forced free labor, they used their power
   and influence to force these creatives to solicit sex workers and to engage in unwanted sexual
   encounters with these sex workers. They also used their power and influence to force these
   creatives to purchase, transport, and distribute illegal firearms and drugs.
241. The Defendants' wrongful conduct has injured Plaintiff Jones, remains part of their ongoing
   business practices, and continues to threaten Plaintiff Jones and the public.




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242. Defendants' association with the enterprise enabled Defendants to conduct, direct, and
    control a pattern of fraudulent, illegal activities over a substantial number of years, which
    continues to this day.
243. To further their goals, Defendants worked in concert to engage in various forms of criminal
    activity, including the solicitation of sexual encounters with sex workers and the purchasing
    and distribution of illegal firearms and drugs.
244. The defendant's ongoing racketeering activity has injured and continues to injure Plaintiff
    Jones. The Defendants' pattern of forcing Plaintiff Jones and the artists, creatives, musicians,
    and producers to solicit sexual encounters with sex workers and to purchase, transport, and
    distribute illegal drugs and firearms was the proximate cause of the injuries suffered by
    Plaintiff.
Defendants Committed Multiple Acts of Sex Trafficking in Violation of 18 U.S.C. § 1591 (Sex
trafficking of children or by force, fraud, or coercion) in Furtherance of the Enterprise
 245. As detailed throughout this pleading, Defendants Sean Combs, Love Records, Combs
    Enterprises, Justin Combs, Kristina Khorram, through her direct reports Frankie Santella,
    Moy Baun, and Brendan Paul knowingly affected interstate or foreign commerce, or within
    the special maritime and territorial jurisdiction of the United States, by recruiting, enticing,
    harboring, transporting, providing, obtaining, advertising, maintaining, patronizing, or
    soliciting by any means a person (Plaintiff Jones) to engage in illegal sex acts. In addition to
    violating federal law, these acts violated the following state statutes: Florida, Penal Code
    796.07(2)(f); California, Penal Code 647(b); New York, Penal Code 230.05; and USVI, Penal
    Code tit. 14, § 1622.
246. In addition to violation of laws in the United States territory, Defendants Sean Combs,
    Love Records, Combs Enterprises, Justin Combs, Kristina Khorram, through her direct
    reports Frankie Santella, Moy Baun, and Brendan Paul’s actions, may have violated the laws
    of Saint-Barthélemy.
247. As detailed throughout this pleading, Defendants Lucian Charles Grainge, in his capacity
    as CEO of UMG, authorized Motown Records and Universal Music Group to provide
    financial resources to Defendants Sean Combs and Love Records. Through their general
    business partnership, Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
    Motown Records, Universal Music Group, Love Records, Sean Combs, and by extension
    through Sean Combs, Justin Combs, Combs Enterprises, and Kristina Khorram knowingly


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     benefited, financially or by receiving anything of value, in a venture which has engaged in an
     act described in violation of paragraph (1) of 18 U.S.C. § 1591.
 248. Defendants Love Records, Kristina Khorram, Sean Combs, and by extension through Sean
     Combs, Justin Combs, and Combs Enterprises knowingly, or, except where the act
     constituting the violation of paragraph (1) 18 U.S.C. § 1591 advertised, in reckless disregard
     of the fact, that means of force, threats of force, fraud, coercion described in subsection (e)(2)
     of 18 U.S.C. § 1591, or any combination of such means will be used to cause Plaintiff Jones
     to engage in several commercial sex acts.
 249. By way of example, on or about January 28, 202333, Plaintiff Jones34 was residing in
     Defendant Combs' home at 2 Star Island Drive in Miami, Florida. Defendants Sean Combs
     and Kristina Khorram forced Mr. Jones to send Ubers to transport a sex worker to Mr. Combs'
     home located at 2 Star Island Drive in Miami, Florida. We have the complete text thread and
     have intentionally opted not to include it here to protect the identity of this sex worker.
     Defendant Combs forced Mr. Jones to have sex with this individual against his will.
     According to Mr. Jones, Defendant Combs felt there was too much testosterone in the studio
     and wanted sex workers there to create the vibe for the Love Album. Upon information and
     belief, this Uber and this sex worker were compensated from the financial support Defendants
     Lucian Charles Grainge, in his capacity as CEO of UMG, authorized Motown Records and
     Universal Music Group to provide to Sean Combs and Love Records for the recording costs
     associated with the creation of the Love Album.




33
   According to Counsel for Defendants Lucian Charles Grainge, Motown Records, and Universal Music Group, they
ended their general business partnership agreement with Mr. Combs and Love Records at some point during the month
of February 2023.
34
   In the interest of preserving Plaintiff Jones Fifth Amendment rights, we will provide the remaining text messages,
and voice memos to the Court in Camera. It is important for the Court to remember that Plaintiff was coerced through
threats of violence to engage in these acts. Additionally, Defendants Khorram and Sean Combs controlled the purse,
and would only allow Plaintiff to leave their custody and control based on their terms.


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 252. In furtherance of the conspiracy and to effect the illegal object thereof, the following overt
     acts, among others, were committed in the States of New York, California, Florida, the USVI,
     and elsewhere:
         a. In or about September 2022, Defendant Sean Combs, through his authorized agent,
              Frankie Santella, recruited Plaintiff Jones to work for him as a producer, musician, and
              creative for Love Records. Defendant Combs promised to pay Mr. Jones the following
              to work on the Love Album: $20,000.00 per song, four royalty points, Credit as
              producer, and Credit for each instrument Mr. Jones played. Mr. Jones must retain his
              publishing rights.
         b. In or about September 2022, Defendant Sean Combs began slowly grooming Plaintiff
              Jones by directly35 teaching Mr. Jones how to go about recruiting sex workers. He
              provided Mr. Jones with a Bad Boy Baseball cap, instructed his agents Stevie J., and
              Moy Baun to teach Plaintiff Jones the type of sex workers to solicit, and way to solicit
              them.
         c. As part of his grooming of Plaintiff Jones, in or about December 2022, while on a
              Yacht, Defendant Combs bragged about and detailed how he got away with a New
              York City nightclub shooting in 1999. In or about January 2023, while in his home in
              Miami, Defendant Combs required Mr. Jones to work out of his bedroom and watch
              as Defendant Combs distributed guns to individuals dressed in all black. In or about
              April 2023 in Los Angeles, Defendant Combs required Mr. Jones to work out of his
              bedroom and watch as Defendant Combs distributed guns to individuals that Mr. Jones
              knew to be members of a local gang. In or about April 2023, Defendant Combs
              threatened to eat Mr. Jones' face and informed him that he would not hesitate to kill
              his own mother to get what he wanted.
         d. As evidenced by the chart below, at the direction of Defendants Combs and Kristina
              Khorram, Plaintiff Jones was forced to solicit the identified sex workers. These
              workers were brought to Mr. Combs' homes at 2 Star Island Drive in Miami, Florida,
              and 1 Star Island Drive in Miami, Florida. Plaintiff Jones had no authority to invite
              guests to Defendant Combs' home without either Defendant Combs' or Defendant


35
  We have a recording, taken my Mr. Combs at a club in Miami Florida. This was the night that Mr. Combs personally
taught Mr. Jones how to solicit sex workers. We will provide a copy of the video to the court in camera.


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          Kristina Khorram's consent. Defendant Combs property is protected by 24-hour
          security, and all visitors must be verified before entry:
           Sex Workers and last        Dates of forced                Location
           two digits of their         solicitation
           cellphone
           Sex Worker 1 (98)           1/30/23, 1/31/23, 2/1/23,      2 Star Island Drive in
                                       2/2/23                         Miami, Florida.

           Sex Worker 2 (87)           2/8/23, 2/9/23, 4/4/23         2 Star Island Drive in
                                                                      Miami, Florida

           Sex Worker 3 (82)           11/29/22, 1/26/23,             2 Star Island Drive in
                                       2/2/23, 2/4/23                 Miami, Florida

           Sex Worker 4 (82)           11/30/22, 12/1/22,             2 Star Island Drive in
                                       12/2/22                        Miami, Florida

           Sex Worker 5 (77)           2/1/23, 2/2/23, 2/4/23,        2 Star Island Drive in
                                       2/5/23                         Miami, Florida

           Sex Worker 6 (43)           1/28/23, 1/28/23               2 Star Island Drive in
                                                                      Miami, Florida

           Sex Worker 7 (31)           12/3/22, 12/6/22,              2 Star Island Drive in
                                       1/26/23, 1/27/23,              Miami, Florida, and
                                       1/29/23, 1/30/23, 4/1/23,      1 Star Island Drive in
                                       5/5/23, 5/6/23, 5/7/23,        Miami, Florida
                                       5/8/23,

           Sex Worker 8 (72)           5/8/23                         2 Star Island Drive in
                                                                      Miami, Florida

253. From at least in or about September 2022, up to and including in or about November 2023,
   in the States of New York, California, Florida, the USVI, and elsewhere, Defendants Sean
   Combs and Kristina Khorram and others known and unknown, in and affecting interstate
   commerce, knowingly did recruit, entice, harbor, transport, provide, obtain, and maintain, by
   any means a person (Plaintiff Jones), and did benefit, financially and by receiving anything
   of value, from participation in a venture which has engaged in any such act, knowing and in
   reckless disregard of the fact that means of force, threats of force, fraud and coercion, and a
   combination of such means, would be used to cause the person to engage in a commercial sex
   act, to wit, Defendants Sean Combs and Kristina Khorram caused Plaintiff Jones to engage in


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     commercial sex acts utilizing force, threats of force, fraud and coercion, and a combination
     of such means. Additionally, Defendant Combs received personal gratification by watching
     Plaintiff Jones engage in commercial sex acts with the aforementioned sex workers.
 254. From at least in or about September 2022, up to and including in or about November 2023,
     in the States of New York, California, Florida, the USVI, and elsewhere, Defendants Sean
     Combs and Kristina Khorram and others known and unknown, in and affecting interstate
     commerce, did use and cause to be used facilities in interstate and foreign commerce, to wit
     internet and cellular telephone services, with the intent to promote manage, establish, carry
     on and facilitate the promotion, management, establishment and carrying on of an unlawful
     activity, to wit, a business enterprise involving prostitution offenses in violation of applicable
     state law, and thereafter performed and attempted to perform an act to promote, manage,
     establish and carry on, and to facilitate the promotion, management, establishment and
     carrying on of such unlawful activity.


Defendants Committed Multiple Acts of procuring, transporting, and distributing controlled
substances in Violation of Title 18, United States Code, Sections 1961(1) and 1961(5)
Furtherance of the Enterprise
 255. As detailed throughout this pleading, Defendants Sean Combs, Love Records, Combs
     Enterprises, Justin Combs, Kristina Khorram, through her direct reports Frankie Santella,
     Moy Baun, and Brendan Paul, knowingly affected interstate or foreign commerce, or within
     the special maritime and territorial jurisdiction of the United States, did knowingly and
     intentionally conspire to violate Title 18, United States Code, Section 1962(c), that is, to
     conduct and participate, directly and indirectly, in the conduct of the affairs of that enterprise
     through a pattern of racketeering activity, as defined in Title 18, United States Code, Sections
     1961(1) and 1961(5). In addition to violating federal law, these acts violated the following
     state statutes: Florida, Penal Code 893.135; California, Health and Safety Code § 11352; New
     York, Penal Codes 220.77, 220.18, 220.50, and 220.06; and USVI, Penal Code tit. 19, § 614a.
 256. The Combs Rico Enterprise36: As detailed throughout this pleading, Defendants Sean
     Combs, Love Records, Combs Enterprises, Justin Combs, Kristina Khorram, through her



36
   “enterprise” includes any individual, partnership, corporation, association, or other legal entity, and any union or
group of individuals associated in fact although not a legal entity. 18 U.S.C.S. § 1961 (LexisNexis, Lexis Advance
through Public Law 118-40, approved March 1, 2024).


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   direct reports Frankie Santella, Moy Baun, and Brendan Paul, are an enterprise as the term is
   defined pursuant to 18 USCS § 1961 (4). That is, a group of individuals associated, in fact,
   that engaged in, and the activities of which affected interstate and foreign commerce. The
   enterprise constituted an ongoing organization whose members functioned as a continuing
   unit to achieve the enterprise's objectives.
257. Upon information and belief, the Combs Rico Enterprise is comprised of individuals
   residing in and around Los Angeles, California, Miami, Florida, New York, New York, among
   other places. Members and associates of the Combs Rico Enterprise have engaged in drug
   trafficking and firearms trafficking.
258. Upon information and belief, members and associates of the Combs Rico Enterprise
   procured, transported, and distributed ecstasy, cocaine, GHB, ketamine, marijuana,
   mushrooms, and tuci in and around the States of New York, California, Florida, the USVI,
   and elsewhere. During the relevant timeframe, through their general business partnership,
   Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, authorized Motown
   Records and Universal Music Group to provide financial resources to Defendants Sean
   Combs and Love Records. According to the Habtemariam Declaration, this financial support
   was supposed to pay (or reimburse) Love Records for certain of the invoiced recording costs
   incurred by Love Records in making The Love Album. According to Plaintiff Jones, while
   the Combs Rico Enterprise was procuring, transporting, and distributing ecstasy, cocaine,
   GHB, ketamine, marijuana, mushrooms, and tuci, it was during the making of The Love
   Album.
259. The purpose of the Combs Enterprise: As detailed throughout this pleading, and
   according to Plaintiff Jones, the purpose of the Combs Enterprise is to:
      a. Use its position, power, and influence to control artists, creatives, musicians, and
          producers to force these creatives to purchase, transport, and distribute illegal firearms
          and drugs,
      b. Promoting and enhancing the prestige, reputation, and position of the enterprise with
          respect to rival music labels, artists and executives,
      c. Preserving and protecting the power, territory, and criminal ventures of the enterprise
          through the use of intimidation, threats of violence, and coercion,
      d. Keeping victims in fear of the enterprise and its members and associates,



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          e. Enriching the members and associates of the enterprise through criminal activity,
               including narcotics trafficking and fraud,
          f. Concealing the activities of the enterprise from law enforcement by instructing the
               associates of the enterprise to consult with Faheem Muhammed, the enterprise head
               of security, if they ever encounter any problems with law enforcement.
 260. Methods and Means of the Enterprise: Upon information and belief, among the means
     and methods by which the defendants and their associates conducted and participated in the
     conduct of the affairs of the enterprise were the following:
          g. Members of the enterprise and their associates procured, transported and distributed
               ecstasy, cocaine, GHB, ketamine, marijuana, mushrooms, and tuci by packing these
               substances in their carry-on luggage and going through TSA.                             Plaintiff Jones
               personally witnessed members of the enterprise do this during national and
               international travel, as detailed below:
                Enterprise Member                 Approximate Dates of               Location: (Starting and
                                                  Travel                             destination)

                DeForrest Taylor                  11/22/2022                         Los Angeles, California to
                                                                                     Miami, Florida

                Brendan Paul                      12/22/2022                         Miami, Florida to Saint
                                                                                     Barthélemy37

                Brendan Paul38, and               04/28/2023                         Los Angeles – to New
                Kristina Khorram                                                     York City – Virginia – to
                                                                                     Los Angeles
                Brendan Paul39                    11/4/2023                          Los Angeles, California to
                                                                                     London England40




37
   Mr. Jones is uncertain if it was a direct flight or if he stopped off in Los Angeles or New York prior to his arrival to
Saint Barthélemy.
38
   Brendan and Kristina Khorram brought drugs. Plaintiff and the Combs Rico Enterprise were rehearsing for
“something in the water festival” in Virginia. Plaintiff Jones personally witness Mr. Combs do a few lines of coke in
his dressing room. Defendant Sean Combs wanted tuci but Brendan forgot it, so Defendant Kristina Khorram called
Yung Miami. Who then brought it on the private jet from Miami.
39
   Packed cocaine in his carryon luggage in the garage of Defendant Combs house the evening of 11/3/2023.
40
   Defendant Combs and Giggs reunited in London, England on November 7, 2023, for a sold-out show at O2
Shepherd’s Bush Empire. https://www.voice-online.co.uk/entertainment/music/2023/10/30/hip-hop-titans-giggs-
and-diddy-to-perform-special-one-night-only-event/


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 261. According to Mr. Jones, the Combs Enterprise defendants informed the members and
     associates of the enterprise that it would be safe to transport narcotics through in their carryon
     luggage because according, to a TSA advisory, TSA security officers do not search for
     marijuana or other illegal drugs41.
 262. The following is a screenshot of a video taken on Mr. Combs' yacht on or about December
     25, 2022, at 2:40 am; Brendan Paul is videotaped with one of the black pouches Defendant
     Combs, and Kristina Khorram required the associates and members of the Combs Rico
     Enterprise to carry. This pouch was filled with ecstasy, cocaine, GHB, ketamine, marijuana,
     mushrooms, and tuc:




41
  https://www.tsa.gov/travel/security-screening/whatcanibring/items/medical-
marijuana#:~:text=Accordingly%2C%20TSA%20security%20officers%20do,to%20a%20law%20enforcement%20
officer.


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263. The pattern of racketeering activity through which Defendants Sean Combs, Love Records,
    Combs Enterprises, Justin Combs, Kristina Khorram, through her direct reports Frankie
    Santella, Moy Baun, and Brendan Paul, together with others, agreed to conduct and participate
    directly and indirectly, in the conduct of the affairs of the enterprise consisted of multiple
    offenses involving dealing in controlled substances, in violation of Title 21, United States
    Code, Sections 841, 843 and 846. It was part of the conspiracy that each defendant agreed
    that a conspirator would commit at least two acts of racketeering activity in the conduct of the
    affairs of the enterprise.
Defendants Committed Multiple Acts of Mail Fraud in Violation of 18 U.S.C. § 1341 in
Furtherance of the Enterprise
 264. Defendants voluntarily and intentionally devised and participated in a scheme to defraud
    Plaintiffs out of money, relying on the mail. They committed these acts with the intent to
    defraud Plaintiff Jones and the artists, creatives, musicians, and producers.
265. Defendants used the mail to execute the fraudulent scheme herein.
266. Specifically, the Defendants agreed to each of the acts of mail fraud described throughout
    this Complaint. In addition, they agreed to rely on the mail to secure wire frauds and cash
    payments from purchasers of the illegal firearms and drugs they required others to sell and
    distribute.
267. In furtherance of and for purposes of executing the above-described fraudulent and illegal
    course of conduct and scheme to defraud, Defendants, either individually or in combination
    with themselves, used and caused to be used the U.S. mail by both placing and causing to be
    placed cash, letters, marketing materials, advertisements, agreements and other matters in
    depositories and by removing or causing to be removed letters and other mailable matters
    from depositories, in violation of the mail fraud statute, 18 U.S.C. § 1341.
268. Defendants could not have furthered their fraud without the use of the mail. For example,
    Defendants sought to acquire wire transfers and cash payments and to utilize their talents and
    labor to produce music and other tangible goods and services without full compensation.
    Defendants also required the mail to distribute misleading advertisements to various states,
    including New York. For these reasons, the use of mail to conduct fraudulent activity was
    necessary and inevitable.




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Defendants Committed Multiple Acts of Wire Fraud in Violation of 18 U.S.C. § 1343 in
Furtherance of the Enterprise
 269. Defendants voluntarily and intentionally devised and participated in a scheme to defraud
    Plaintiff out of money, in reliance on the mail. Defendants committed these acts with the
    intent to defraud Plaintiff Jones and the artists, creatives, musicians, and producers.
270. Specifically, Defendants agreed to each of the acts of wire fraud described throughout this
    Complaint. In addition, Defendants agreed to rely on interstate wires to disseminate funds
    and to submit payment to sex workers and prostitutes, as well as to transfer payment for the
    distribution and procurement of drugs and guns. Defendants illegally acquired wire transfers,
    money transfers, credit cards, and bank cards via search engines and other online platforms
    to further their collective goal of furthering their RICO enterprise. Defendants knew that
    these online purchases were illegally made.
271. Additionally, Defendants agreed that Defendants should facilitate these fraudulent
    purchases over interstate wires in furtherance of the fraud. Sex workers and prostitutes
    nationwide have received payment from Defendants.
272. In furtherance of and for purposes of executing the above-described fraudulent and illegal
    course of conduct and scheme or artifice to defraud, Defendants, either individually or in
    combination with themselves, used or caused to be used interstate wire communications to
    transmit or disseminate false, fraudulent, and misleading communications and information, in
    violation of the wire fraud statute, 18 U.S.C. § 1343.
273. Defendants could not have furthered their fraud without the ability to use
    telecommunications to share information with clients and retailers nationwide. Because
    Defendants needed to communicate with clients and retailers around the country, using
    interstate telecommunications wires to conduct the fraudulent activity was necessary and
    inevitable.
274. Plaintiffs have been damaged in their business or property because Defendants violated 18
    U.S.C. § 1962(a), (c)-(d)), and, therefore, he is entitled to recover the damages and other
    remedies enumerated therein.
275. Defendants’ acts or omissions were actuated by actual malice and a willful and wanton
    disregard for the consequences suffered by Plaintiff and with knowledge of a high degree of
    probability of harm to Plaintiff and reckless indifference to the consequences of their acts or
    omissions.


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 276. Compensatory damages alone will be insufficient to deter such conduct in the future. There
     needs to be a criminal referral to the United States Justice Department, as well as to the States
     Attorney General’s Office.
WHEREFORE, Plaintiff requests that the Court issue an Order and grant Judgment to the
Plaintiffs as follows:
         a. Granting Plaintiff statutory, common law, and punitive damages, and applicable pre-
              and post-judgment interest, in full recompense for damages;42
         b. Entering judgment according to the declaratory relief sought;
         c. Granting Plaintiff such other and further relief, including, without limitation,
             injunctive and equitable relief, as the Court deems just in all the circumstances; and
         d. Granting Plaintiff an Incentive or Service Award reflective of the work done in
             prosecuting this action, the time spent, the effort and hard costs invested, and results
             obtained, in light of the Court's judgment informed by awards in other similar cases
             of comparable difficulty and complexity.

                             SECOND CAUSE OF ACTION
                  SEXUAL ASSAULT AND SEXUAL HARASSMENT
                                    (against Mr. Combs)
 277. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
     forth fully herein.
 278. As described above, Mr. Combs frightened and placed Plaintiff in apprehension of harm
     when he physically and sexually assaulted him from October 2022 to October 2023 in Mr.
     Combs' home in Miami, New York, the United States Virgin Islands, and Los Angeles.
 279. Mr. Combs forcibly touched and attempted and/or threatened to touch Plaintiff's intimate
     areas and/or touched Plaintiff with his own intimate body parts.
 280. Mr. Combs violently gripped and palmed Mr. Jones' anus and crotch without consent. Mr.
     Combs forced Mr. Jones to work in Mr. Combs' bathroom and watch Mr. Combs as he
     showered. Mr. Combs forced Mr. Jones to work in the studio while Mr. Combs stripped naked
     to get his body massaged. Mr. Combs forced Mr. Jones to work while Mr. Combs walked
     around naked.
 281. As a result of Mr. Combs' conduct, Plaintiff has suffered and continues to suffer harm,
     including physical injury, severe emotional distress, humiliation, anxiety, and other
     consequential damages for which he is entitled to an award of monetary damages and other
     relief.


 Damages shall include, but not be limited to, all damages permitted under the New Jersey Racketeer Influenced and
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Corrupt Organizations Act.


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282. Mr. Combs' conduct described above was willful, wanton, and malicious. At all relevant
   times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings, acted with
   the knowledge of or with reckless disregard for the fact that his conduct was sure to cause
   injury and/or humiliation to Plaintiff, and intended to cause fear, physical injury and/or pain
   and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive
   damages.
                             THIRD CAUSE OF ACTION
                                   SEXUAL ASSAULT
                      (against Jane Doe 1 (Yung Miami’s Cousin))
283. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
284. As described above, Jane Doe 1 frightened and placed Plaintiff in apprehension of harm
   when she physically and sexually assaulted him on Thanksgiving Day, 2022, in Mr. Combs's
   home in Miami, Florida.
285. Jane Doe 1 forcibly touched and attempted and/or threatened to touch Plaintiff's intimate
   areas and/or touched Plaintiff with her own intimate body parts. Jane Doe 1 used her mouth
   and performed oral sex on Plaintiff while he was urinating in the restroom. The Plaintiff
   fought her off while Mr. Combs and his associates sat outside loudly laughing. Jane Doe 1
   then followed Mr. Jones outside of the restroom and began undressing in front of Mr. Combs
   and his associates, straddled Mr. Jones, and attempted to have forced sexual intercourse with
   him.
286. As a result of Jane Doe 1's conduct, Plaintiff has suffered and continues to suffer harm,
   including physical injury, severe emotional distress, humiliation, anxiety, and other
   consequential damages for which he is entitled to an award of monetary damages and other
   relief.
287. The conduct of Jane Doe 1 described above was willful, wanton, and malicious. At all
   relevant times, Jane Doe 1 acted with conscious disregard for Plaintiff's rights and feelings,
   acted with the knowledge of or with reckless disregard for the fact that her conduct was certain
   to cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical injury
   and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover
   punitive damages.




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                            FOURTH CAUSE OF ACTION
     PREMISES LIABILITY FOR THE SEXUAL ASSAULT COMMITTED BY
                      JANE DOE 1 (YUNG MIAMI’S COUSIN)
                                   (against Mr. Combs)
288. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
289. Mr. Jones was sexually assaulted by Jane Doe 1 in Miami, Florida, on Thanksgiving 2022.
   Mr. Combs was present while Mr. Jones was being assaulted by Jane Doe 1. Mr. Jones was
   legally on the premises as a guest and invitee of Mr. Combs. Jane Doe 1 was legally on the
   premises as a guest and invitee of Mr. Combs. Mr. Combs owned the premises and had
   dominion and control over the premises where Mr. Jones was harmed. Mr. Combs had
   dominion and control over the actions of Jane Doe 1 and failed to step in and stop Jane Doe
   1 from sexually assaulting Mr. Jones.
290. As the property owner, Mr. Combs had a duty to protect Mr. Jones from the harm he
   suffered at the hands of Jane Doe 1. Mr. Combs breached his duty when he failed to stop Jane
   Doe 1 from sexually assaulting Mr. Jones. In furtherance of this breach, Mr. Combs was
   laughing and encouraging Jane Doe 1 to continue her assault on Mr. Jones. Mr. Jones has
   suffered immensely because of Mr. Combs' intentional breach of his duty to him.
291. As a result of Mr. Combs's breach of his duty, Mr. Jones has suffered and continues to
   suffer harm, including severe emotional distress, anxiety, and other consequential damages,
   for which he is entitled to an award of monetary damages and other relief.
292. Mr. Combs's conduct described above was willful, wanton, and malicious. At all relevant
   times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings, acted with
   the knowledge of or with reckless disregard for the fact that their conduct was certain to cause
   injury to Plaintiff, and intended to cause fear, physical injury and/or pain and suffering to
   Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive damages.

                              FIFTH CAUSE OF ACTION
      PREMISES LIABILITY FOR THE SEXUAL ASSAULT COMMITTED
                               BY CUBA GOODING, JR.
                                  (against, Mr. Combs)
293. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.




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294. Here, Mr. Jones was sexually assaulted by Cuba Gooding Jr. on a yacht rented by Mr.
   Combs in the US Virgin Islands in January 2023. Mr. Combs was present while Cuba
   Gooding Jr. was assaulting Mr. Jones. Mr. Jones was legally on the premises as a guest and
   invitee of Mr. Combs. Cuba Gooding Jr was legally on the premises as a guest and invitee of
   Mr. Combs. Mr. Combs owned (through renting) the premises and had dominion and control
   over the premises where Mr. Jones was harmed. Mr. Combs had dominion and control over
   the actions of Cuba Gooding Jr and failed to step in and stop Cuba Gooding Jr from sexually
   assaulting Mr. Jones.
295. As the owner of the property, Mr. Combs had a duty to protect Mr. Jones from the harm he
   suffered at the hands of Cuba Gooding Jr. Mr. Combs breached his duty when he failed to
   stop Cuba Gooding Jr from sexually assaulting Mr. Jones. In furtherance of this breach, Mr.
   Combs encouraged Cuba Gooding Jr to continue his assault on Mr. Jones when he said that
   Cuba Gooding Jr should privately get to know Mr. Jones better. Mr. Jones has suffered
   immensely because of Mr. Combs's intentional breach of his duty to him.
296. As a result of Mr. Combs' breach of his duty, Mr. Jones has suffered and continues to suffer
   harm, including severe emotional distress, anxiety, and other consequential damages, for
   which he is entitled to an award of monetary damages and other relief.
297. Mr. Combs' conduct described above was willful, wanton, and malicious. At all relevant
   times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings, acted with
   the knowledge of or with reckless disregard for the fact that his conduct was certain to cause
   injury to Plaintiff, and intended to cause fear, physical injury and/or pain and suffering to
   Plaintiff. By virtue of the foregoing, Plaintiff is entitled to recover punitive damages.


                             SIXTH CAUSE OF ACTION
                TRAFFICKING AND VICTIMS’ PROTECTION ACT
      (against, Defendants Sean Combs, Justin Combs, Kristina Khorram, And
                                     Combs Global)
298. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
299. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global knowingly
   and intentionally participated in, perpetrated, assisted, supported, and facilitated a sex-




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   trafficking venture that was in and affecting interstate and foreign commerce, together and
   with others, in violation of 18 U.S.C. § 1591(a)(1).
300. Among other things, Defendants Sean Combs, Justin Combs, Kristina Khorram, and
   Combs Global knowingly and intentionally recruited, enticed, provided, obtained, advertised,
   and solicited by various means Mr. Jones, as well as other Class Members, knowing that
   Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global would use
   means of force, threats of force, fraud, coercion, and a combination of such means to cause
   Mr. Jones, as well as others, some of whom were under the age of seventeen, to engage in
   commercial sex acts.
301. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global and its
   employees had actual knowledge that they were perpetrating and facilitating Mr. Combs’
   sexual abuse and sex trafficking conspiracy to recruit, solicit, entice, coerce, harbor, transport,
   obtain, and provide Mr. Jones as well as others who were under the age of seventeen, into
   commercial sex acts, through the means of force, threats of force, fraud, abuse of process, and
   coercion.
302. Despite such knowledge, Defendants Sean Combs, Justin Combs, Kristina Khorram, and
   Combs Global intentionally paid for, facilitated, perpetrated, and participated in Mr. Combs’
   violations of 18 U.S.C. § 1591(a)(1), which Defendants Sean Combs, Justin Combs, Kristina
   Khorram, and Combs Global knew, and were in reckless disregard of the fact that Mr. Combs
   would coerce, defraud, and force Mr. Jones to engage in commercial sex acts.
303. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s actions
   were in and affecting interstate and foreign commerce, including its music distributing and
   publishing activities which were in and affecting interstate and foreign commerce.
304. By taking the concrete steps alleged in this complaint, Defendants Sean Combs, Justin
   Combs, Kristina Khorram, and Combs Global knowingly participated in sex trafficking and
   furthered the Combs’ sex-trafficking venture. The concrete steps constituted taking part in
   the sex-trafficking venture and were necessary for its success. The concrete steps constituted
   active engagement by Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs
   Global in Mr. Combs’s sex-trafficking venture. Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global knew that its active engagement would lead to and
   cause coercive commercial sex trafficking.



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305. As part of perpetrating TVPA violations, between on or about September 12, 2022, and
   through about November 2023, Defendants Sean Combs, Justin Combs, Kristina Khorram,
   and Combs Global concealed its delivery of hundreds of thousands of dollars in cash to Mr.
   Combs and his associates.
306. In addition to perpetrating TVPA violations, Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global willfully failed to file required taxes with the federal
   government.
307. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s
   affirmative conduct was committed knowing, and in reckless disregard of the facts, that Mr.
   Combs would use cash and the financial support provided by Defendants Love Records,
   Motown Records, and the Universal Music Group as a means of defrauding, forcing, and
   coercing sex acts from Plaintiff Jones as well as others. Defendants Sean Combs, Justin
   Combs, Kristina Khorram, and Combs Global’s conduct was outrageous and intentional. On
   or about January 2023, Justin Combs engaged in a freak-off session on a yacht with his father
   and sex workers.
308. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s knowing
   and intentional conduct has caused Mr. Jones serious harm, including, without limitation,
   physical, psychological, emotional, financial, and reputational harm.
309. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s knowing
   and intentional conduct has caused Mr. Jones harm that is sufficiently serious, under all the
   surrounding circumstances, to compel a reasonable person of the same background and in the
   same circumstances to perform or to continue performing commercial sexual activity, to avoid
   incurring that harm.
310. This case does not involve mere fraud. Instead, Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global’s criminal conduct in perpetrating TVPA violations
   was outrageous and intentional because it was in deliberate furtherance of a widespread and
   dangerous criminal sex trafficking organization. Defendants Sean Combs, Justin Combs,
   Kristina Khorram, and Combs Global’s criminal conduct also evinced a high degree of moral
   turpitude and demonstrated such wanton dishonesty as to imply a criminal indifference to
   civil obligations. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs




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   Global’s criminal conduct was directed specifically at Mr. Jones, who was the victim of Mr.
   Combs’ sexual abuse and sex trafficking harassment.
311. Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global’s
   outrageous and intentional conduct in this case is part of a pattern and practice of profiting by
   undertaking illegal “high risk, high reward” actions.
312. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1), 1595,
   Defendants Sean Combs, Justin Combs, Kristina Khorram, and Combs Global are liable to
   Mr. Jones for the damages they sustained, and reasonable attorneys’ fees.
313. By virtue of these intentional and outrageous violations of 18 U.S.C. § 1591(a)(1), 1595,
   Defendants Sean Combs, Justin Combs, and Kristina Khorram are liable to Mr. Jones.


                            SEVENTH CAUSE OF ACTION
    AIDING, ABETTING, AND INDUCING A SEX-TRAFFICKING VENTURE IN
                  VIOLATION OF THE TRAFFICKING VICTIMS’
              PROTECTION ACT, 18 U.S.C. §§ 2, 1591(a)(1) & (2), 1595
     (against Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
                    Motown Records, and Universal Music Group)
314. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
315. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, authorized Motown
   Records, and Universal Music Group to enter into a general partnership agreement with Sean
   Combs and Love Records.          As general business partners each individual member is
   responsible for the actions of the partners of the partnership. Defendants Lucian Charles
   Grainge in his capacity as CEO of UMG, authorized Motown Records, and Universal Music
   Group to provide financing to Sean Combs, and Love Records, Inc. According to the
   Habtemariam Declaration this financial support was supposed to pay (or reimburse) Love
   Records for certain of the invoiced recording costs incurred by Love Records in making The
   Love Album. According to Plaintiff Jones, while the Combs Rico Enterprise was engaging
   in sex trafficking activities it was during the making of The Love Album. Upon information
   and belief, Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
   Records, and Universal Music Group did not implement any mechanism to monitor how the
   Mr. Combs and Love Records, Inc. was spending the money. As a result of their intentional
   or negligent failure of their duty to supervise, Defendants Lucian Charles Grainge in his



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   capacity as CEO of UMG, Motown Records, and Universal Music Group aided, abetted, and
   induced Sean Combs’ sex-trafficking venture that was in and affecting interstate and foreign
   commerce, together and with others, in violation of 18 U.S.C. §§ 2, 1591(a)(1) & (a)(2).
316. The crimes that Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group aided and abetted are (1) Mr. Combs’s
   perpetrating of coercive sex trafficking, in violation of 18 U.S.C. § 1591(a)(1), and (2) Mr.
   Combs’ co-conspirators knowingly benefitting from coercive sex trafficking, in violation of
   18 U.S.C. § 1591(a)(2). These crimes were in and affecting interstate and foreign commerce.
317. Mr. Combs’ co-conspirators benefitted financially and received things of value from their
   participation in the Combs sex-trafficking venture, including payments and other
   compensation from Mr. Combs. The co-conspirators who benefitted financially include
   Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun.
318. Under 18 U.S.C. § 2, as a result of their general business partnership with Defendant Sean
   Combs, and Love Records, Inc., and their failure to monitor their financing of Defendants
   Sean Combs and Love Records, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group are punishable as a principal under
   18 U.S.C. §§ 1591(a)(1) & (a)(2) and thereby committed and perpetrated violations of Chapter
   77, Title 18, U.S. Code, when it aided, abetted, counseled, commanded, induced, and procured
   Combs’ and his co-conspirators sex-trafficking venture and sex trafficking of Plaintiff Jones,
   as well as others.
319. Under 18 U.S.C. § 2, as a result of their general business partnership with Defendant Sean
   Combs, and Love Records, Inc., and their failure to monitor their financing of Defendants
   Sean Combs and Love Records, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group committed and perpetrated crimes in
   violation of 18 U.S.C. §§ 1591(a)(1) & (a)(2) by aiding, abetting, inducing, and procuring
   Combs’ and his co-conspirator’s sex-trafficking venture and the sex trafficking of Mr. Jones.
   As a consequence, Mr. Jones is a victim of Defendants J. Combs, Khorram and her direct
   reports: Brendan Paul, Frankie Santella, and Moy Baun’s criminally aided, abetted, and
   inducing Combs’ and his co-conspirators’ violations of 18 U.S.C. §§ 1591(a)(1) & (a)(2).




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320. Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun itself directly committed and perpetrated violations of Chapter 77, Title 18, U.S.
   Code, including 18 U.S.C. §§ 1591(a)(1) & (a)(2), by aiding, abetting, and inducing the sex-
   trafficking venture and the sex trafficking of Plaintiff Jones. Defendants J. Combs, Khorram
   and her direct reports: Brendan Paul, Frankie Santella, and Moy Baun themselves directly
   violated Chapter 77 by committing and perpetrating these violations.
321. Among other things, Defendants J. Combs, Khorram and her direct reports: Brendan Paul,
   Frankie Santella, and Moy Baun aided, abetted, and induced Combs’ and his co-conspirators’
   sex-trafficking venture and sex trafficking of Plaintiff Jones knowing that Combs and his-
   conspirators would use means of force, threats of force, fraud, coercion, and a combination of
   such means to cause Mr. Jones to engage in commercial sex acts.
322. By aiding, abetting, and inducing Mr. Combs’ and his co-conspirators’ sex-trafficking
   venture and sex trafficking of Plaintiff. Defendants J. Combs, Khorram and her direct reports:
   Brendan Paul, Frankie Santella, and Moy Baun benefited, both financially and by receiving
   things of value, from participating in Combs’ sex-trafficking venture.
323. Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie Santella, and
   Moy Baun and its employees had actual knowledge that they were aiding, abetting, and
   inducing Combs’ and his co-conspirators’ sexual abuse and sex trafficking conspiracy to
   recruit, solicit, entice, coerce, harbor, transport, obtain, and provide Mr. Jones as well as
   others, into commercial sex acts, through the means of force, threats of force, fraud, abuse of
   process, and coercion. Defendants knew, and should have known, that Mr. Combs had
   engaged in acts in violation of the TVPA.
324. Despite such knowledge, and through their intentional or negligent failure to monitor how
   their financial support of Mr. Combs and Love Records was being spent, Defendants Lucian
   Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
   Group financed and aided, abetted, and induced Combs’ violations of 18 U.S.C. §§ 1591(a)(1)
   & (a)(2), which constituted perpetrating violations of those laws under 18 U.S.C. § 2.
   Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group knew or should have known if they had conducted a simple
   investigation, and acted in reckless disregard of the fact that, Combs would coerce, defraud,
   and force Mr. Jones to engage in commercial sex acts.



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325. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records,
   and Universal Music Group’s affirmative conduct of blindly financing Defendant Combs and
   Love Records, Inc. aided, abetted, and induced Combs’. Their violations were committed
   knowingly, and in reckless disregard of the facts, that Mr. Combs would use the financial
   support provided by Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group as a means of defrauding, forcing, and coercing
   sex acts from Mr. Jones. Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Groups conduct was outrageous and intentional.
326. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s knowing and intentional conduct
   of aiding, abetting, and inducing Combs’s violations has caused Mr. Jones serious harm
   including, without limitation, physical, psychological, emotional, financial, and reputational
   harm.
327. Through their unchecked financial support Defendants Sean Combs, and Love Records,
   Inc., Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records,
   and Universal Music Group’s aided, abetted, and induced Combs’s violations and caused Mr.
   Jones harm that is sufficiently serious, under all the surrounding circumstances, to compel a
   reasonable person of the same background and in the same circumstances to perform or to
   continue performing commercial sexual activity, in order to avoid incurring that harm.
328. This case does not involve mere fraud. Instead, Defendants’ criminal conduct in aiding,
   abetting, and inducing Combs’s violations of the TVPA was outrageous and intentional,
   because it was in deliberate furtherance of a widespread and dangerous criminal sex
   trafficking organization. Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group’s criminal conduct also evinced a high degree
   of moral turpitude and demonstrated such wanton dishonesty as to imply a criminal
   indifference to civil obligations. Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s criminal conduct was directed
   specifically at Mr. Jones, who was the victim of Mr. Combs’s sexual abuse and sex trafficking
   organization.
329. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records,
   and Universal Music Group’s outrageous and intentional conduct in this case is part of a



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   pattern and practice of Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group profiting by undertaking illegal “high risk, high
   reward” general business partnerships.
330. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(1), 1595,
   Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group are liable to Mr. Jones for the damages he sustained and reasonable
   attorneys’ fees.
331. By virtue of these intentional and outrageous violations of 18 U.S.C. §§ 1591(a)(1), 1595,
   Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group are liable to Mr. Jones for punitive damages.


                             EIGHT CAUSE OF ACTION
                           NIED (FOR SEXUAL ASSAULT)
                (against Defendant Jane Doe 1 (Yung Miami’s Cousin))
332. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
333. Jane Doe 1’s conduct created an unreasonable risk of causing emotional distress to Plaintiff,
   and Jane Doe 1 knew or should have known that such conduct was likely to result in emotional
   distress that might and/or likely would cause illness or bodily harm.
334. The Plaintiff’s emotional distress was foreseeable to Jane Doe 1.
335. As a direct and proximate result of the negligent conduct of Jane Doe 1, Plaintiff suffered
   and will continue to suffer severe emotional distress.
336. Jane Doe 1’s conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff to
   punitive damages.

                             NINTH CAUSE OF ACTION
                           NIED (FOR SEXUAL ASSAULT)
                                   (against Mr. Combs)
337. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
338. Mr. Combs’ conduct created an unreasonable risk of causing emotional distress to Plaintiff,
   and Plaintiff knew or should have known that such conduct was likely to result in emotional
   distress that might and/or would likely cause illness or bodily harm.
339. The Plaintiff’s emotional distress was foreseeable to Mr. Combs.



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340. As a direct and proximate result of the negligent conduct of Mr. Combs, Plaintiff suffered
   and will continue to suffer severe emotional distress.
341. Mr. Combs’ conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff to
   punitive damages.
                              TENTH CAUSE OF ACTION
                            IIED (FOR SEXUAL ASSAULT)
                     Defendant Jane Doe 1 (Yung Miami’s Cousin)
342. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
343. Jane Doe 1 engaged in conduct toward Plaintiff that is extreme and outrageous to exceed
   the bounds of decency in a civilized society, namely by, inter alia, subjecting him to sexual
   assault and misconduct.
344. The sexual assault and misconduct by Jane Doe 1 were extreme and outrageous conduct
   that shocks the conscience.
345. These actions were taken with the intent to cause or disregard for the substantial probability
   of causing severe emotional distress.
346. As a direct and proximate result of Jane Doe 1’s extreme and outrageous conduct, Plaintiff
   has suffered severe emotional distress.
347. The Defendant's conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff
   to punitive damages.

                          ELEVENTH CAUSE OF ACTION
                            IIED (FOR SEXUAL ASSAULT)
                                   (against Mr. Combs)
348. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
349. Mr. Combs engaged in conduct toward Plaintiff that is extreme and outrageous to exceed
   the bounds of decency in a civilized society, namely by, inter alia, subjecting him to sexual
   assault and misconduct.
350. The sexual assault and misconduct by Mr. Combs were extreme and outrageous conduct
   that shocks the conscience.
351. These actions were taken with the intent to cause or disregard for the substantial probability
   of causing severe emotional distress.




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352. As a direct and proximate result of Mr. Combs’ extreme and outrageous conduct, Plaintiff
   has suffered severe emotional distress.
353. The Defendant's conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff
   to punitive damages.
                           TWELFTH CAUSE OF ACTION
                            IIED (FOR SEXUAL ASSAULT)
                                (against Mr. Gooding, Jr.)
354. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
355. Mr. Gooding, Jr. engaged in conduct toward Plaintiff that is extreme and outrageous to
   exceed the bounds of decency in a civilized society, namely by, inter alia, subjecting him to
   sexual assault and misconduct.
356. The sexual assault and misconduct by Mr. Gooding, Jr. were extreme and outrageous
   conduct that shocks the conscience.
357. These actions were taken with the intent to cause or disregard for the substantial probability
   of causing severe emotional distress.
358. As a direct and proximate result of Mr. Gooding, Jrs’ extreme and outrageous conduct,
   Plaintiff has suffered severe emotional distress.
359. The Defendant's conduct was wanton, malicious, willful, and/or cruel, entitling the Plaintiff
   to punitive damages.
                         THIRTEENTH CAUSE OF ACTION
                           NIED (FOR SEXUAL ASSAULT)
                                (against Mr. Gooding, Jr.)
360. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
361. Mr. Gooding, Jrs’ conduct created an unreasonable risk of causing emotional distress to
   Plaintiff, and Plaintiff knew or should have known that such conduct was likely to result in
   emotional distress that might and/or would likely cause illness or bodily harm.
362. The Plaintiff’s emotional distress was foreseeable to Mr. Gooding, Jr.
363. As a direct and proximate result of the negligent conduct of Mr. Gooding, Jr., Plaintiff
   suffered and will continue to suffer severe emotional distress.
364. Mr. Gooding, Jr.s’ conduct was wanton, malicious, willful, and/or cruel, entitling the
   Plaintiff to punitive damages.



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                         FOURTEENTH CAUSE OF ACTION
                                   SEXUAL ASSAULT
                                (against Mr. Gooding, Jr.)
365. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
366. As described above, Mr. Gooding, Jr. frightened and placed Plaintiff in apprehension of
   harm when he physically and sexually assaulted him on a yacht chartered by Mr. Combs in
   the USVI.
367. Mr. Gooding, Jr. forcibly touched and attempted and/or threatened to touch Plaintiff's
   intimate areas and/or touched Plaintiff with his own intimate body parts. Mr. Gooding, Jr.
   used his hand and forcibly touched Plaintiff while he was in sitting on the yacht. The Plaintiff
   pushed him off while Mr. Combs failed to intervene.
368. As a result of Mr. Gooding, Jr.'s conduct, Plaintiff has suffered and continues to suffer
   harm, including physical injury, severe emotional distress, humiliation, anxiety, and other
   consequential damages for which he is entitled to an award of monetary damages and other
   relief.
369. The conduct of Mr. Gooding, Jr. described above was willful, wanton, and malicious. At
   all relevant times, Mr. Gooding, Jr. acted with conscious disregard for Plaintiff's rights and
   feelings, acted with the knowledge of or with reckless disregard for the fact that his conduct
   was certain to cause injury and/or humiliation to Plaintiff, and intended to cause fear, physical
   injury and/or pain and suffering to Plaintiff. By virtue of the foregoing, Plaintiff is entitled to
   recover punitive damages.


                           FIFTEENTH CAUSE OF ACTION
KNOWING BENEFICIARY IN A SEX-TRAFFICKING VENTURE IN VIOLATION OF
  THE TRAFFICKING VICTIMS’ PROTECTION ACT, 18 U.S.C. §§ 1591(A)(2), 1595
  (against Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
                         Records, and Universal Music Group)
370. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
371. Upon information and belief, through their general business partnership with Defendants
   Sean Combs and Love Records, Inc., and their financing of the establishment of Love Records
   and the Love Album, Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group knowingly and intentionally benefitted,


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   financially and by receiving things of value, from participating in, assisting, supporting, and
   facilitating an illegal coercive sex-trafficking venture that was in and affecting interstate and
   foreign commerce, together and with others, in violation of 18 U.S.C. § 1591(a)(2)Defendant
   Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
   Music Group, took many concrete steps to aid and participate in Mr. Combs' sex-trafficking
   venture. Among the concrete steps that Defendant Lucian Charles Grainge, in his capacity as
   CEO of UMG, Motown Records, and Universal Music Group, took to aid Mr. Combs was
   providing unfettered access to financing, which made the sex-trafficking venture possible.
   Providing Mr. Combs with large sums of U.S. currency caused Defendant Lucian Charles
   Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music Group, to
   receive the benefits detailed throughout this pleading. Defendant Lucian Charles Grainge, in
   his capacity as CEO of UMG, Motown Records, and Universal Music Groups, willingness to
   provide large sums of unchecked financing to Mr. Combs was the quid pro quo for it receiving
   the benefits detailed within this pleading from Mr. Combs.
372. Upon information and belief, the financing that Defendant Lucian Charles Grainge, in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group, provided was
   necessary for Mr. Combs to coerce Plaintiff Jones to engage in commercial sex acts. The
   financing directly formed part of the commercial nature of the sex acts. The financing was
   also a necessary and required part of Mr. Combs' recruitment of Plaintiff Jones, as well as
   other sex workers. By providing unchecked financing, Defendant Lucian Charles Grainge, in
   his capacity as CEO of UMG, Motown Records, and Universal Music Group, knew or should
   have known that the money would be used to fund the sex trafficking venture. Through their
   general business partnership with Defendants Sean Combs and Love Records, Inc.,
   Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group, actively participated in the recruitment of victims of the venture.
373. Upon information and belief, the unchecked financing that Defendant Lucian Charles
   Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music Group,
   provided went far beyond providing routine partnership or compensation to a general business
   partner. It was far from routine for Defendants Lucian Charles Grainge, in his capacity as
   CEO of UMG, Motown Records, and Universal Music Group, to provide substantial financing
   throughout the years to Mr. Combs, who did not have an apparent legitimate need for such



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   extravagant sums. The sheer number of "listening parties," yacht parties, and nighttime
   writers camp after parties, which Defendants Lucian Charles Grainge, in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group, either intentionally or
   unintentionally funded, went far beyond normal for the music industry. Defendants Lucian
   Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music
   Group, knew or should have known through reasonable inquiry that they were feeding Mr.
   Combs sexual deviancy. Moreover, the circumstances in which Mr. Combs requested such
   large amounts were far from routine and should have raised numerous "red flags"—taking it
   well outside routine circumstances.
374. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group, provided large sums of financing to
   Mr. Combs, which, under the circumstances of this case, was entirely inconsistent with the
   ordinary duties of a record label, music group, publishing partner, or general business
   partnership member.
375. Upon information and belief, the reason that Defendants Lucian Charles Grainge, in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group, ignored the
   numerous red flags about Mr. Combs was to receive financial benefits from Mr. Combs and
   his sex-trafficking venture. Defendants Lucian Charles Grainge, in his capacity as CEO of
   UMG, Motown Records, and Universal Music Group, knew that it would gain far-from-
   routine financial benefits by ignoring the red flags associated with Mr. Combs and by
   participating in his sex- trafficking venture.
       a. Upon information and belief, among the concrete steps that Defendants Lucian
          Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
          Music Group took to aid and participate in the Combs sex-trafficking venture were
          opening up numerous lines of finance for Mr. Combs's production of the Love Album.
          By opening these unchecked lines of finance, Defendants Lucian Charles Grainge, in
          his capacity as CEO of UMG, Motown Records, and Universal Music Group, received
          many benefits from participating in Mr. Combs's venture. Through their general
          business partnership agreement with Defendant Sean Combs and Love Records, Inc.,
          they adopted by association the intentional acts of their general business partner, Sean
          Combs, and Love Records, Inc.'s affirmative conduct that caused Defendants Lucian
          Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
          Music Group to receive those benefits.
       b. Upon information and belief, among the concrete steps that Defendants Lucian
          Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
          Music Group, took to aid the Combs sex- trafficking venture between about 2003 -


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           2005, 2009-2015, and 2022 and continuing through about November 2023,
           Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
           Records, and Universal Music Group concealed its delivery of vast sums financing
           (likely millions of dollars) to Mr. Combs and his associates. To benefit from the
           Combs sex-trafficking venture, Defendants Lucian Charles Grainge, in his capacity as
           CEO of UMG, Motown Records, and Universal Music Group, willfully failed to do
           their due diligence and ensure that their general business partners, Defendants Sean
           Combs and Love Records, Inc. accurately accounted for all of the financing that they
           received as it relates to the establishment of Love Records, Inc., and distribution of
           Love Album by timely filing required tax disclosures surrounding the funding of these
           sex trafficking parties with the federal government, because doing so would imperil
           its ability to profit from the sex-trafficking venture. Due to their status as a general
           business partner of Defendant Combs and Love Records, Inc., Defendants Lucian
           Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
           Music Group, were equally liable for the concealment of the financial transactions
           caused it to receive financial benefits through the continuation of the Combs sex-
           trafficking venture.
      c.   Upon information and belief, among the concrete steps that Defendants Lucian
           Charles Grainge took in his capacity as CEO of UMG, Motown Records, and
           Universal Music Group took to aid the Combs sex- trafficking venture was its failure
           to ensure that their general business partners Sean Combs and Love Records, Inc.
           followed AML requirements. This failure was not just passive facilitation but a
           deliberate omission by Defendants Lucian Charles Grainge in his capacity as CEO of
           UMG, Motown Records, and Universal Music Group. This omission was a specific
           act of concealment, which allowed Combs to continue funding his sex-trafficking
           venture through suspicious transactions that would have otherwise been prevented.
           Combs paid for his sex workers through cash payments or wire transfers.
      d.   Upon information and belief, by taking the concrete steps outlined above (along with
           the others alleged in this complaint), Defendants Lucian Charles Grainge, in his
           capacity as CEO of UMG, Motown Records, and Universal Music Group, knowingly
           participated in sex trafficking and furthered the Combs sex-trafficking venture. The
           concrete steps above constituted taking part in the sex-trafficking venture and were
           necessary for its success. The concrete steps above constituted active engagement by
           Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
           Records, and Universal Music Group in Combs's sex- trafficking venture.
      e.   Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
           CEO of UMG, Motown Records, and Universal Music Group, knowingly and
           intentionally benefited financially from, and received value for, its participation in the
           sex-trafficking venture, in which Mr. Combs, with Defendants Lucian Charles
           Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
           Group's knowledge, or their reckless disregard of the fact, that Combs would use
           means of force, threats of force, fraud, coercion, and a combination of such means to
           cause Plaintiff Jones, as well as others, some of whom were under the age of
           seventeen, to engage in commercial sex acts.
      f.   Upon information and belief, Defendants Lucian Charles Grainge in his capacity as
           CEO of UMG, Motown Records, and Universal Music Group, knew, through years of



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         lawsuits, hush money settlements, and notice that was provided by Ms. Cassie Venture
         at the beginning of 2023, that Mr. Combs was engaging in sex trafficking, and that
         Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
         Records, and Universal Music Group was participating in a particular sex-trafficking
         venture—i.e., the coercive Combs sex-trafficking venture outlined above through their
         general business partnership deal with Defendants Sean Combs and Love Records,
         Inc. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
         Records, and Universal Music Group's knowledge went far beyond having an abstract
         awareness of sex trafficking in general. Indeed, Defendants Lucian Charles Grainge
         in his capacity as CEO of UMG, Motown Records, and Universal Music Group's
         representatives, were present at Chalice Recording Studios and in Mr. Combs' Miami
         and Los Angeles homes while he was actively engaging in acts enumerated in this
         pleading, and the large sum of financing that Defendants Lucian Charles Grainge in
         his capacity as CEO of UMG, Motown Records, and Universal Music Group gave him
         access to. Thus, Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group, did not simply fail to adequately detect
         signs of Combs' sex trafficking; it did detect multiple signs of Combs' coercive sex-
         trafficking venture and continued to participate in the venture. Defendants Lucian
         Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group, knew or should have known that the venture was ongoing, which was
         why Combs required vast sums of financing.
      g. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group's actions, extend well
         beyond a situation of failing to train themselves and their staff about recognizing the
         warning signs of sex trafficking. Defendants Lucian Charles Grainge, in his capacity
         as CEO of UMG, Motown Records, and Universal Music Group's employees, did
         recognize the signs of Combs' sex trafficking. Upon information and belief, indeed,
         Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown
         Records, and Universal Music Group's employees, knew about Combs' sex-trafficking
         venture. But Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group, decided to continue facilitating the
         Combs sex-trafficking venture rather than ending its participation in the venture.
      h. Upon information and belief, among the signs that Defendants Lucian Charles
         Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music
         Group, was facilitating Combs sex trafficking venture were those facts that came to
         the attention of Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group from the reporting of Cassie Ventura
         mentioned above.
      i. Upon information and belief, among the signs that Defendants Lucian Charles
         Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music
         Group, was facilitating Combs' sex trafficking venture were those facts that came to
         the attention of Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group were those facts that came to its
         attention through complaints filed by Cassie Ventura of Combs' sex trafficking.
         Because of those complaints, Defendants Lucian Charles Grainge, in his capacity as




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         CEO of UMG, Motown Records, and Universal Music Group — knew to a certainty
         that Combs was engaged in sex trafficking.
      j. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group and knew the names of
         many of Combs' sex trafficking/freak-off participants (Yung Miami, Daphne Joy,
         Stevie J, and Jade).
      k. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group, helped to conceal the
         names of Combs' victims from the public and from law enforcement and prosecuting
         agencies by helping to conceal the existence of the sex-trafficking venture. Among
         the ways in which Defendants Lucian Charles Grainge, in his capacity as CEO of
         UMG, Motown Records, and Universal Music Group, helped to conceal the venture's
         existence was by failing to properly monitor or audit Sean Combs and Love Records,
         Inc. to ensure that the finances they provided were being used in the manner outlined
         in the Habtemariam Declaration, as well as ensuring that the proper accounting and
         tax reporting was made to the federal government. Additionally, they knew or should
         have known that Defendant Combs employed and empowered Faheem Muhammad to
         handle law enforcement and Defendant Khorram to compensate the sex workers.
      l. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group's concealment included
         failing to provide enhanced monitoring that is normally required in general business
         partnership agreements where one partner was providing the financing for the
         partnership. Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group, failed to implement enhanced
         monitoring of Mr. Combs to ensure that the finances they provided were being used
         for the purpose identified in Ms. Habtemariams's Declaration. Upon information and
         belief, they failed to do this specifically to help conceal Combs' ongoing sex
         trafficking. Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
         Motown Records, and Universal Music Group, knew that if it implemented that
         enhanced monitoring, it would have to stop providing Combs with the financing he
         needed to run his sex-trafficking venture.
      m. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group's concealment included
         failing to ensure that their general business partners, Sean Combs and Love Records,
         Inc. properly reported their financial support of Mr. Combs to the federal government
         for tax purposes. This includes reporting all payments or wire transfers sent to Caresha
         Romeka Brownlee, Jade Ramey, and Daphne Joy Cervantes Narvaez.
      n. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group, had constructive
         knowledge of Combs' sex-trafficking venture because of specific acts by Mr. Combs
         that put it on notice of a particular and ongoing sex trafficking venture. Among the
         specific acts were Combs' use of vast sums of financing and the club love parties that
         representatives of UMG periodically attended; Defendant Combs had drugs and sex
         workers present in circumstances that should have prompted Defendants Lucian
         Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group and its employees to raise questions about Combs's sex-trafficking, and



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         or his use of the financing provided to him by Defendants Lucian Charles Grainge in
         his capacity as CEO of UMG, Motown Records, and Universal Music Group.
      o. Also, among the specific acts giving rise to constructive knowledge were the facts that
         associates of Mr. Combs made numerous reimbursement requests to Defendants
         Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
         Universal Music Group through Mr. Combs' accountant Robin Greenhill. The
         circumstances of these reimbursement requests gave Defendants notice that Mr.
         Combs' sex-trafficking enterprise was being funded.
      p. Upon information and belief, among the financial benefits that the Defendants Lucian
         Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group received for participating in and facilitating Combs' sex-trafficking
         venture were the affiliation and access to Mr. Combs' popularity. Before Cassie
         Ventura's lawsuit was filed, Mr. Combs was a popular and highly influential figure in
         the music industry to whom everyone wanted to connect. Mr. Combs was known for
         throwing the "best" parties. Affiliation with and/or general business partnerships with
         Mr. Combs garnered legitimacy, immense success, and access to top and emerging
         artists, celebrities, famous athletes, political figures, musicians, and international
         dignitaries like British Royal and Prince Harry. Defendants Lucian Charles Grainge,
         in his capacity as CEO of UMG, Motown Records, and Universal Music Group, knew
         first-hand the power, influence, and effect attaching themselves to Mr. Combs would
         have on their bottom-line and, as evidenced by their repeated general business
         partnership agreements with Mr. Combs from 2003-2005, 2009-2015, and 2022-2023.
         Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown
         Records, and Universal Music Group, profited from their affiliation with Mr. Combs
         and their general business partnership, which came with unmonitored financing that
         may have supported his sex-trafficking enterprise. Mr. Combs and Combs-controlled
         entities used the financing they received from their general business partners to
         facilitate their sex trafficking venture. Mr. Combs benefited from his general business
         partners' apparent willful blindness through their willingness to provide large amounts
         of financing in suspicious circumstances and their failure to ensure that their general
         business partners properly reported their financing to the U.S. Federal Government.
      q. Upon information and belief, among the financial benefits that D Defendants Lucian
         Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group received for participating in Combs' sex-trafficking venture was the
         referral of business opportunities from Mr. Combs and his co-conspirators. Access to
         up-and-coming artists, producers, songwriters, and creatives. Defendants Lucian
         Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group, profited from these referred business opportunities. Mr. Combs referred
         business opportunities to Defendants Lucian Charles Grainge in his capacity as CEO
         of UMG, Motown Records, and Universal Music Group in exchange for financing his
         sex trafficking venture. These referrals were a quid pro quo for Defendants Lucian
         Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
         Music Group's unchecked financing of the establishment of Love Records, Inc., and
         the funding and reimbursement for the invoiced expenses associated with the creation
         of the Love Album.




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      r. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group, knowingly received
         financial benefits in return for its assistance, support, and facilitation of Combs' sex-
         trafficking venture. Defendants Lucian Charles Grainge, in his capacity as CEO of
         UMG, Motown Records, and Universal Music Group, knew or should have known
         that if it stopped assisting, supporting, and facilitating Combs' sex-trafficking venture,
         it would no longer receive those benefits.
      s. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group, knew and was in
         reckless disregard of the fact that it was Combs's pattern and practice to use the
         channels and instrumentalities of interstate and foreign commerce (private jets, yachts,
         and commercial airplanes) to entice, recruit, solicit, harbor, provide, obtain, and
         transport young women, and young men for purposes of causing commercial sex acts,
         in violation of 18 U.S.C. § 1591(a)(1).
      t. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group and its employees had
         actual knowledge that they were facilitating Combs' sexual abuse and sex trafficking
         conspiracy to recruit, solicit, entice, coerce, harbor, transport, obtain and propel Mr.
         Jones into commercial sex acts, through the means of force, threats of force, fraud,
         abuse of process, and coercion, and a combination of all these means.
      u. Upon information and belief, despite such knowledge, Defendants Lucian Charles
         Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music
         Group intentionally paid for, facilitated, and participated in Combs' violations of 18
         U.S.C. § 1591(a)(1), which Defendants Lucian Charles Grainge in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group knew, and were in
         reckless disregard of the fact that Combs would coerce, defraud, and force Mr. Jones
         to engage in commercial sex acts.
      v. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group, through its employees
         and agents, actively participated in the sex trafficking conspiracy and led Mr. Jones
         and sex workers to believe that they would be rewarded if they cooperated and
         acquiesced to Mr. Combs' coercive demands.
      w. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as
         CEO of UMG, Motown Records, and Universal Music Group's affirmative conduct
         was committed knowingly, and in reckless disregard of the facts, that Mr. Combs
         would use the financial support provided by Defendants Lucian Charles Grainge in
         his capacity as CEO of UMG, Motown Records, and Universal Music Group as a
         means of defrauding, forcing, and coercing sex acts from Mr. Jones. Defendants
         Lucian Charles Grainge's capacity as CEO of UMG, Motown Records, and Universal
         Music Group's conduct was outrageous and intentional.
      x. Upon information and belief, in addition to actual knowledge that it was participating
         in and facilitating the Combs sex-trafficking venture, Defendants Lucian Charles
         Grainge, in his capacity as CEO of UMG, Motown Records, and Universal Music
         Group, also should have known that it was participating in and facilitating a venture
         that had engaged in coercive sex trafficking, as covered by 18 U.S.C. § 1595(a).




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      y. Upon information and belief, in exchange for facilitating and covering up Combs'
          commercial sex trafficking, Defendants Lucian Charles Grainge, in his capacity as
          CEO of UMG, Motown Records, and Universal Music Group, received international
          recognition, notoriety, and praise for the establishment of Love Records, Inc., and the
          development and distribution of the Love Album. This was a result of securing the
          Sean Combs Love Records, Inc. relationship.
      z. Facilitating and covering up Combs' sexual trafficking and misconduct was a means
          of obtaining economic success and promotion within the Defendants Lucian Charles
          Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
          Group hierarchy.
      aa. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
          CEO of UMG, Motown Records, and Universal Music Group, knowing and
          intentionally conduct, has caused Mr. Jones serious harm, including, without
          limitation, physical, psychological, emotional, financial, and reputational harm.
      bb. Upon information and belief, Defendants Lucian Charles Grainge, in his capacity as
          CEO of UMG, Motown Records, and Universal Music Group, knowing and
          intentionally conduct has caused Mr. Jones harm that is sufficiently serious, under all
          the surrounding circumstances, to compel a reasonable person of the same background
          and in the same circumstances to perform or to continue performing a commercial
          sexual activity, to avoid incurring that harm.
      cc. This case does not involve mere fraud. Instead, Defendants Lucian Charles Grainge,
          in his capacity as CEO of UMG, Motown Records, and Universal Music Group, 's
          criminal conduct in violating the TVPA was outrageous and intentional because it was
          in deliberate furtherance of a widespread and dangerous criminal sex trafficking
          organization. Defendants Lucian Charles Grainge, in his capacity as CEO of UMG,
          Motown Records, and Universal Music Groups' willful blindness to Combs' criminal
          conduct also evinced a high degree of moral turpitude and demonstrated such wanton
          dishonesty as to imply a criminal indifference to civil obligations. Defendants Lucian
          Charles Grainge, in his capacity as CEO of UMG, Motown Records, and Universal
          Music Group's criminal conduct was directed specifically at Mr. Jones, who was the
          victim of Combs' sexual abuse and sex trafficking organization.
      dd. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as
          CEO of UMG, Motown Records, and Universal Music Group's outrageous and
          intentional conduct, in this case, is part of a pattern and practice of Defendants Lucian
          Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
          Music Group profiting by undertaking illegal "high risk, high reward" general business
          partnerships.
376. By virtue of these knowing and intentional violations of 18 U.S.C. §§ 1591(a)(2), 1595,
      Defendants Lucian Charles Grainge, in his capacity as CEO of UMG, Motown Records, and
      Universal Music Group, is liable to Mr. Jones for the damages he sustained and reasonable
      attorneys' fees.
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                          SIXTEENTH CAUSE OF ACTION
    OBSTRUCTION OF THE ENFORCEMENT OF THE TRAFFICKING VICTIM
                        PROTECTION ACT, 18 U.S.C. § 1591(d)
  (against, Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
                          Records, and Universal Music Group)
377. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
378. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records,
   and Universal Music Group and its officers and employees knowingly and intentionally
   obstructed, attempted to obstruct, interfered with, and prevented the enforcement of 18 U.S.C.
   §§ 1591(a)(1) & (a)(2), all in violation of 18 U.S.C. § 1591(d). This activity is hereinafter
   referred to collectively simply as “obstruction.”
379. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction of the enforcement of
   18 U.S.C. §§ 1591(a)(1) and (a)(2) was forbidden by 18 U.S.C. § 1591(d), and Defendants
   Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
   Music Group thereby violated Chapter 77, Title 18. Defendants Lucian Charles Grainge in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group’s obstruction
   described here and in the preceding paragraph directly, proximately, and foreseeably harmed
   Mr. Jones by directly resulting in him coercively being caused to engage in commercial sex
   acts and in other ways.
380. Upon information and belief, Defendant Sean Combs has a well-documented history of
   criminal investigations. Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group were on notice of Mr. Combs proclivity to
   criminal activity. They knew or should have known that Mr. Combs sex-trafficking operation
   would or could result in a criminal investigation by State and Federal prosecutors for violating
   (among other laws) the TVPA. Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group should have taken a que from the
   Federal Prosecutors arrest and prosecution of Jeffrey Epstein on or about July 8, 2019. On or
   about that date, the U.S. Attorney’s Office for the Southern District of New York indicted
   Epstein (and unnamed “associates”) for violating the TVPA. Later, on about June 29, 2020,
   the same Office indicted Epstein’s co-conspirator, Ghislaine Maxwell, for conspiracy to entice
   minor victims to travel to be abused by Epstein. Mr. Combs, Defendants J. Combs, Khorram


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   and her direct reports: Brendan Paul, Frankie Santella, and Moy Baun all engaged in the same
   activities as Mr. Epstein and Ms. Maxwell. In fact, Mr. Combs, Defendants J. Combs,
   Khorram and her direct reports: Brendan Paul, Frankie Santella, and Moy Baun may have
   done worse.
381. Upon information and belief, by providing financing for Mr. Combs’ sex trafficking
   organization, and concealing its actions thereafter, Defendants Lucian Charles Grainge in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group obstructed,
   interfered with, and prevented the state and federal government enforcement of the TVPA
   against Mr. Combs, Defendants J. Combs, Khorram and her direct reports: Brendan Paul,
   Frankie Santella, and Moy Baun. To the extent that the federal government was able to
   ultimately charge Mr. Combs, Defendants J. Combs, Khorram and her direct reports: Brendan
   Paul, Frankie Santella, and Moy Baun with TVPA violations, the filing of those charges was
   delayed by Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
   Records, and Universal Music Group’s actions. Because of that delay, Mr. Jones was
   coercively caused to engage in commercial sex acts.
382. As one example of how Defendants Lucian Charles Grainge in his capacity as CEO of
   UMG, Motown Records, and Universal Music Group obstructed, attempted to obstruct,
   interfered with, and prevented state and federal government’s enforcement of the TVPA,
   Defendants Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
   Records, and Universal Music Group provided financial resources to Mr. Combs and so that
   the coercive commercial sex acts would escape the detection of state and federal law
   enforcement and prosecuting agencies. Defendants Lucian Charles Grainge in his capacity as
   CEO of UMG, Motown Records, and Universal Music Group provided financial resources to
   further the Mr. Combs, Defendants J. Combs, Khorram and her direct reports: Brendan Paul,
   Frankie Santella, and Moy Baun sex-trafficking venture and with the purpose of helping Mr.
   Combs, Defendants J. Combs, Khorram and her direct reports: Brendan Paul, Frankie
   Santella, and Moy Baun evade criminal liability for violating the TVPA.
383. As an example of how Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group obstructed, attempted to obstruct, interfered
   with, and prevented state and federal government’s enforcement of the TVPA, Defendants
   Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal



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   Music Group failed to ensure that their general business partners, Sean Combs and Love
   Records, Inc. timely and accurately reported to the federal government the required tax forms
   that detailed the partnership payments provided by Defendants Lucian Charles Grainge in his
   capacity as CEO of UMG, Motown Records, and Universal Music Group to Mr. Combs.
   Timely filing of these reports is required by the United States Tax code and related laws and
   regulations. These reports are tools that the federal government uses to detect and prosecute,
   among other illegal activities, sex trafficking in violation of the TVPA. By failing to ensure
   that their general business partner timely and accurately filed, the required tax reporting
   documents regarding Mr. Combs’ partnership financial transactions, Defendants Lucian
   Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
   Group obstructed, attempted to obstruct, interfered with, and prevented the government’s
   enforcement of the TVPA by concealing from the government’s attention Mr. Combs’
   financing in aid of sex trafficking.
384. By providing unchecked financial support to Mr. Combs, Defendants Lucian Charles
   Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music Group
   intended and knew that Mr. Combs’ coercive commercial sex acts would escape the detection
   of law enforcement and prosecuting agencies for some period of time. Defendants Lucian
   Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
   Group provided financial support to further the Combs sex-trafficking venture and with the
   purpose of helping Mr. Combs evade criminal liability for violating the TVPA.
385.   Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction, attempted obstruction,
   interference with, and prevention of the enforcement of the TVPA were all done intentionally
   and knowingly. For example, Defendants Lucian Charles Grainge in his capacity as CEO of
   UMG, Motown Records, and Universal Music Group knew that Mr. Combs was high risk—
   specifically, high risk to violate the TVPA through continuing criminal sex trafficking
   activities. As evidenced by Cassie Ventura’s civil complaint, she informed members of Mr.
   Combs parent label about the abuses he was visiting upon her, and instead of coming to her
   rescue, they forced her to return his calls and to return to his sex trafficking enterprise.
386. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group was aware Mr. Combs had a laundry



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   list of criminal charges, and barely escaped serving prison time. Upon information and belief
   Mr. Combs engaged in witness intimidation, and bribery to escape criminal liability for
   shooting Natania Reuben in the face. Defendants Lucian Charles Grainge in his capacity as
   CEO of UMG, Motown Records, and Universal Music Group was aware that there were
   public allegations that Mr. Combs illegal conduct was facilitated by several named co-
   conspirators. They were made aware of this through complaints made my Cassie Ventura,
   and the lawsuit by former Diddy sex worker Jonathan Oddi. Defendants Lucian Charles
   Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music Group
   concealed from federal the government its numerous financial payments to Mr. Combs and
   Love Records, Inc. Defendants Lucian Charles Grainge in his capacity as CEO of UMG,
   Motown Records, and Universal Music Group continued its affirmative conduct of providing
   financing to Mr. Combs so that he could make payments to his co-conspirators with
   knowledge that such transactions did not produce a clear paper trail. Defendants Lucian
   Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal Music
   Group’s intentional conduct obstructed, attempted to obstruct, in many ways interfered with,
   and prevented the enforcement of the TVPA by investigators and prosecuting agencies.
387. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s relationship with Mr. Combs in
   providing to his sex- trafficking venture with unchecked financing went far beyond a normal
   (and lawful) partnership relationship. Defendants Lucian Charles Grainge in his capacity as
   CEO of UMG, Motown Records, and Universal Music Group knew, and intended, that its
   relationship with Mr. Combs would go far beyond a normal music industry relationship.
   Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group knew that its decision to go beyond a normal music relationship with
   Mr. Combs obstructed the ability of law enforcement and prosecuting agencies to enforce the
   TVPA.
388. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction of the government’s
   TVPA and other law enforcement efforts was intentional and willful and, therefore,
   Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and
   Universal Music Group intentionally and willfully caused Mr. Combs’ commission of the



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   forcible commercial sex acts with Mr. Jones through its obstruction supporting the
   concealment of Mr. Combs’ sex-trafficking venture. Defendants Lucian Charles Grainge in
   his capacity as CEO of UMG, Motown Records, and Universal Music Group knew that Mr.
   Combs and his other co-conspirators would use means of force, threats of force fraud,
   coercion, and a combination of such means to cause Mr. Jones to engage in commercial sex
   acts.
389. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group knew, acted in reckless disregard of
   the fact, and should have known, that its obstruction in violation of 18 U.S.C. § 1591(d) would
   directly and proximately lead to unlawful coercive commercial sex acts by Mr. Combs with
   men, like Plaintiff Jones, young men, and young women.
390. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction has caused Mr. Jones
   serious harm, including, without limitation, physical, psychological, financial, and
   reputational harm. That harm was directly and proximately caused by the obstruction and the
   harm resulting from obstruction was foreseeable.
391. Upon information and belief, Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction has caused Mr. Jones
   harm that is sufficiently serious, under all the surrounding circumstances, to compel a
   reasonable person of the same background and in the same circumstances to perform or to
   continue performing commercial sexual activity to avoid incurring that harm.
392. Upon information and belief, this case does not involve mere fraud. Instead, Defendants
   Lucian Charles Grainge in his capacity as CEO of UMG, Motown Records, and Universal
   Music Group’s criminal conduct in obstructing enforcement of the TVPA was outrageous and
   intentional because it was in deliberate furtherance of a widespread and dangerous criminal
   sex trafficking organization. Defendants Lucian Charles Grainge in his capacity as CEO of
   UMG, Motown Records, and Universal Music Group’s obstruction also evinced a high degree
   of moral turpitude and demonstrated such wanton dishonesty as to imply a criminal
   indifference to civil obligations. Defendants Lucian Charles Grainge in his capacity as CEO
   of UMG, Motown Records, and Universal Music Group’s obstruction was directed
   specifically at Mr. Jones who was the victim of Mr. Combs’ sex trafficking organization.



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393. By virtue of these violations of 18 U.S.C. § 1591(d), Defendants Lucian Charles Grainge
   in his capacity as CEO of UMG, Motown Records, and Universal Music Group is liable to
   Mr. Jones for the damages he sustained and reasonable attorneys’ fees by operation of 18
   U.S.C. § 1595. Defendants Lucian Charles Grainge in his capacity as CEO of UMG, Motown
   Records, and Universal Music Group perpetrated an obstruction of the TVPA, and therefore
   perpetrated a violation of Chapter 77, Title 18.

                        SEVENTEENTH CAUSE OF ACTION
                                 Breach of Oral Contract
                       (against, Love Records, and Sean Combs)
394. Mr. Jones incorporates by reference all preceding paragraphs and re-alleges them as if set
   forth fully herein.
395. Plaintiff Jones and Defendants Mr. Combs and LR had an oral contract for Mr. Jones to
   receive $20,000 for every song he produced on the Love Album. Mr. Combs agreed to allow
   Mr. Jones to keep his publishing, as well as 4 royalty points per song, and to credit him as a
   producer for every song that he touched, as well as credit him for each instrument he played.
396. Mr. Jones fully executed his obligations under the contract when he produced: Deliver Me,
   Stay PT 1, Reachin’, What’s Love, Stay Awhile, Moments, Need Somebody, Homecoming, and
   Tough Love.
397. Mr. Jones worked on the following songs: Brought My Love, and Creepin Remix.
398. Mr. Jones lived and traveled with Mr. Combs from September 2022 to October 2023.
   Through the duration of that time Mr. Combs did not compensate Mr. Jones for his time or
   the work he did on the above-mentioned songs. Mr. Combs also failed to provide Mr. Jones
   with producer credit, or 4 royalty points for all songs.
399. As a result of Mr. Combs’ actions, Mr. Jones has suffered the following losses: $180,000,
   4 royalty points, and producer credit for the following songs: Deliver Me, Stay PT 1, Reachin’,
   What’s Love, Stay Awhile, Moments, Need Somebody, Homecoming, and Tough Love.
400. As a result of Mr. Combs’ actions, Mr. Jones has suffered the following losses: $40,000, 4
   royalty points, and producer credit for the following songs: Brought My Love, and Creepin
   Remix.




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401. As a result of Mr. Combs’ breach of contract, Mr. Jones has suffered and continues to
    suffer harm, including severe emotional distress, anxiety, and other consequential damages
    for which he is entitled to an award of monetary damages and other relief.
402. The conduct of Mr. Combs described above was willful, wanton, and malicious. At all
    relevant times, Mr. Combs acted with conscious disregard for Plaintiff's rights and feelings,
    acted with the knowledge of or with reckless disregard for the fact that his conduct was certain
    to cause injury to Plaintiff Jones. By virtue of the foregoing, Plaintiff is entitled to recover
    punitive damages.

                                     PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against Defendants,
containing the following relief:
           a. A declaratory judgment that the actions, conduct, and practices of Defendants
               complained of herein violate the laws of the State of New York;
           b. An award of damages against Defendant, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all monetary and/or economic
               damages, including, but not limited to, loss of past and future income, wages,
               compensation, seniority, and other benefits of employment;
           c. An award of damages against Defendant, in an amount to be determined at Trial,
               plus prejudgment interest, to compensate Plaintiff for all non-monetary and/or
               compensatory damages, including, but not limited to, compensation for her mental
               anguish, humiliation, embarrassment, stress and anxiety, emotional pain and
               suffering, and emotional distress;
           d. An award of punitive damages, in an amount to be determined at Trial;
           e. Prejudgment interest on all amounts due;
           f. An award of costs that Plaintiff has incurred in this action, including, but not limited
               to, expert witness fees, as well as Plaintiff’s reasonable attorneys’ fees and costs to
               the fullest extent permitted by law; and,
           g. Such other and further relief as the Court may deem just and proper.

                                        JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: April 12, 2024
Brooklyn, New York
                                                              T. A. BLACKBURN LAW, PLLC.
                                                              By:
                                                              Tyrone A. Blackburn, Esq.
                                                              Attorney for Plaintiff
                                                              1242 E. 80th Street, 3rd Floor
                                                              Brooklyn, New York 11236




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                                   PRESERVATION NOTICE
The term "you," "your," or "yours" as used herein shall refer to you (the recipient of this letter), as
well as to the respondents and any individuals responsible for the custody and control of the below
information, including, but not limited to, those individuals' administrative assistants, secretaries,
agents, employees, information technology personnel and third-party vendors. From this point
forward, you are directed to prevent "spoliation," defined as altering, changing, updating,
destroying (even if periodically), editing, or deleting any information set forth hereafter.
If you cause any such alteration, destruction, or change, direct it, or allow it to occur, you may be
charged with discovery rule violations for which sanctions may be imposed. Further, your failure
to abide by this request could result in severe penalties against you and form the basis of legal
claims for spoliation.

Electronically Stored Information:
In terms of electronically stored information, you are directed to prevent any destructive,
alternative or other change to any web pages, virtual profiles or identical (including, but not limited
to, Facebook, Instagram, Pinterest, Twitter, Tumblr, LinkedIn, Snapchat, Google Plus+, Flickr,
Vine, About.me, ask.fm etc., or any other social media-based web profile or networking site
account), emails, voice messages, text messages, instant messages or messaging systems,
recordings, digital recordings, media images and videos, temporary memory, memory sticks,
portable memory devices, laptops or computers, CDs, DVDs, USB devices, databases, computer
activity logs, internet browsing history (including cookies), network access and server activity
logs, word processing files and file fragments, backup and archival files, imaging and facsimile
files, electronic calendar and scheduling program files and file fragments as well as any other
contact and relationship management data (e.g., Outlook), electronic spreadsheet files and file
fragments, pertaining in any way to this controversy of the parties or any potential witnesses. This
includes a request that such information not be modified, altered, or deleted due to data
compression or disk fragmentation (or other optimization procedures), which processes you are
hereby directed to suspend until that data can be preserved, copied, and produced.

You are directed not to modify, alter, or delete or allow modifications, alterations, or deletions to
be made to any electronically stored information. You are further directed to preserve all, and not
to destroy any, passwords, decryption productions (including, if necessary, the software to decrypt
the files), network access codes, manuals, tutorials, written instructions, decompression or
reconstruction software, and any other information and things necessary to access, view and (if
necessary) reconstruct the electronic data we will request through discovery.


Paper Information:
Regarding the paper information, you are directed to preserve any emails, videos, texts, memos,
reports, documents, notes, correspondence, photographs, investigative information, or other
documents about the controversy, parties, or witnesses. We expect to obtain several documents
and other data from you through discovery, including text messages, emails, photographs, and
other information stored on computers, electronic devices, and telephones.

Although we may bring a motion with a court for order-preserving documents and other data from
destruction or alteration, your obligation to preserve documents and other data for discovery, in



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this case, arises independently from any order on such motion. Electronic documents and the
storage media, including but not limited to telephones on which they reside, contain relevant,
discoverable information beyond what may be found in printed documents. Therefore, even where
a paper copy exists, we will likely seek all documents in their original, electronic form, along with
metadata or information about those documents on the media. We will seek paper printouts of
only those documents that contain unique information created after they were printed (e.g., paper
documents containing handwriting, signatures, marginalia, drawings, annotations, highlighting,
and redactions) and any paper documents for which no corresponding electronic files exist.

The laws and rules prohibiting the destruction of evidence apply to electronically stored
information in the same manner they apply to other evidence. Due to its format, electronic
information is quickly deleted, modified, or corrupted. Accordingly, the demand is made that you
take every reasonable step to preserve this information until the final resolution of this matter.
This may include, but would not be limited to, an obligation to discontinue all data destruction and
backup tape recycling policies.

Concerning electronic data created after this Complaint's delivery date, relevant evidence should
not be destroyed. You must take the steps necessary to avoid the destruction of such evidence.

Dated: April 12, 2024
Brooklyn, New York
                                                              T. A. BLACKBURN LAW, PLLC.
                                                              By:
                                                              Tyrone A. Blackburn, Esq.
                                                              Attorney for Plaintiff
                                                              1242 E. 80th Street, 3rd Floor
                                                              Brooklyn, New York 11236


                        DEMAND FOR INSURANCE COVERAGE
Defendants are demanded to provide a complete copy of their applicable insurance policies and
declaration sheets demonstrating coverage within thirty (30) days of service of this Complaint.

Dated: April 12, 2024
Brooklyn, New York
                                                              T. A. BLACKBURN LAW, PLLC.
                                                              By:
                                                              Tyrone A. Blackburn, Esq.
                                                              Attorney for Plaintiff
                                                              1242 E. 80th Street, 3rd Floor
                                                              Brooklyn, New York 11236




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Material, whether or not the same are used and/or exploited and regardless of the medium involved,
and Artist may register such copyright in his own name (or the name of any designee); and (iii) without
limitation of any other rights or remedies of Artist and/or any Artist Parties, Artist and/or the Artist
Parties shall be entitled to recover any and all monies or other benefits whatsoever received by or on
behalf of you, from any and all sources, in connection with any use and/or dissemination by or on
behalf of you of any confidential information and/or Prohibited Material hereunder, and any such
monies or other benefits so received by or on behalf of you shall be held in trust by or on behalf of you
for immediate payment to Artist and/or Artist Parties; (e) you shall not (and shall not authorize or
facilitate any third party to) use and/or reference Artist and/or Artist Parties’ name or identity (including
your relationship with Artist and/or any Artist Party) with respect to any transaction, sale of goods or
other solicitation; and (f) without limiting the foregoing, you shall not at any time defame or disparage
Artist and/or the Artist Parties and/or use, disclose, disseminate or confirm, directly or indirectly, to
anyone any information or material which may harm, disparage, demean or reflect negatively or poorly
upon or cause injury to the reputation, character or career of Artist and/or any of the Artist Parties. The
foregoing expressly includes, without limitation, communications appearing on the Internet via blogging
and/or social networking sites such as Facebook, Twitter and Instagram. Without limiting the
foregoing, you shall not, without Artist’s prior written authorization (in Artist’s sole discretion): (A)
distribute, publish or permit the distribution or publication of photographs, videotapes, films, audio
tapes or any other recorded sound or image or any other materials of Artist and/or Artist Parties
(whether or not the same constitutes Prohibited Material); or (B) copy, excerpt or otherwise use and/or
dispose of any Artist and/or Artist Parties materials, including any property or materials in your
possession or control that belong to Artist and/or the Artist Parties (and/or, if such property does not
belong to Artist and/or Artist Parties, which contain Prohibited Material to the extent you have not
delivered and removed such Prohibited Material therefrom as required hereunder) (including, without
limitation, data, documents, records, smartphones, computers, files, etc.), and that upon expiration or
termination of the relationship with or in connection with Artist (or such earlier date as Artist may
require), you or your legal representatives, heirs, successors or assigns shall promptly deliver
possession to Artist, in good condition, any such property of Artist and/or Artist Parties and/or other
records, copies, excerpts and other aforementioned materials that are in your possession or control.
2. You acknowledge that, due to the nature of the entertainment industry, any disclosure or
dissemination by you of any information or material described in paragraph 1 will deprive Artist and/or
the Artist Parties of the right to use such information or material. You expressly agree that, if you
breach or threaten to breach paragraph 1, Artist and/or the Artist Parties would suffer immediate
irreparable harm and injury which could not be adequately compensated by an award of monetary
damage. In addition to all other rights or remedies available to Artist and/or the Artist Parties, Artist
and/or the Artist Parties shall be entitled to injunctive relief and all other remedies provided in such
event by law or equity. Such remedies shall include, without limitation, the right to prevent
dissemination of any information or materials described in paragraph 1. You agree to execute any
documents and take such other actions as may be reasonably requested by Artist and/or the Artist
Parties to further evidence or effectuate the rights set forth in this Agreement. You hereby appoint
Artist as your attorney-in-fact (which appointment is irrevocable and coupled with an interest) with full
power of substitution and delegation to execute all such documents which you fail to execute within
five (5) days after Artist and/or any Artist Party’s request therefor.
3. The term of this Agreement and duty to keep all information confidential and not use Prohibited
Material shall commence on the first date above and continue for the life of Artist plus twenty (20)
years or seventy (70) years, whichever is longer.
4. You warrant and represent that: (a) you have the full right, power and authority to enter into this
Agreement and be bound by the obligations herein; (b) neither the execution, delivery nor performance
of this Agreement by you shall conflict with or result in a default or loss of rights under any agreement
or understanding to which you or any of your affiliates is a party or by which you or any of your
properties may be bound; (c) this Agreement constitutes your valid and binding obligation enforceable
in accordance with its terms; and (d) you have signed this Agreement voluntarily, without duress,
coercion or undue influence. This Agreement shall be deemed to have been entered into in the State of
New York, and its validity, interpretation and legal effect shall be governed by the laws of the State of
New York applicable to contracts entered into and performed entirely therein. The New York courts




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                                           UNITED STATES FEDERAL COURT
                                          SOUTHERN DISTRICT OF NEW YORK


              RODNEY JONES,

                                                                   Case Number: 24-1457
              Plaintiff,
              v.                                                   DECLARATION OF
                                                                   ETHIOPIA HABTEMARIAM
              SEAN COMBS,
              JUSTIN DIOR COMBS,
              ETHIOPIA HABTEMARIAM,
              LUCIAN CHARLES GRAINGE,
              KRISTINA KHORRAM,
              CHALICE RECORDING STUDIOS,
              LOVE RECORDS,
              MOTOWN RECORDS,
              UNIVERSAL MUSIC GROUP,
              COMBS GLOBAL ENTERPRISES,
              JOHN and JANE DOES 1-10 and
              ABC CORPORATIONS. 1-
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                                Defendants.


            I, Ethiopia Habtemariam, declare according to 28 U.S.C. §1746 as follows:

                 1. I have personal knowledge of the facts set forth herein, which are known by me to be true
                     and correct, and, if called upon to testify as a witness, I could and would competently testify
                     thereto.

                    Employment History with UMG:
                 2. I began my employment with Universal Music Publishing Group (“UMPG”) in January
                     2003.
                 3. In or around February 2014, I was promoted to President of Urban Music/Co-Head of
                     Creative at UMPG.
                 4. In or around February 2014, I was also given the titles of President of Motown Records
                     and Executive Vice President of Capitol Music Group. In those roles, I reported directly to
                     Steve Barnett.


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                 5. In or around March 2021, I became the Chairwoman & CEO of Motown Records. At that
                     time, Motown Records became a standalone label within UMG Recordings, Inc. (“UMG”).
                     In that role, I reported directly to Lucian Grange.
                 6. I left Motown Records and the entire UMG organization in November 2022.

                    Love Records:
                 7. In or around May 2022, Motown Records entered into an agreement with Love Records,
                     Inc. whereby Motown Records obtained the right to distribute one album being produced
                     by Love Records, Inc. entitled The Love Album. UMG was aware of and authorized
                     Motown Records to enter into a license agreement with Love Records.
                 8. To the best of my recollection, under the license agreement, Motown Records agreed to
                     pay (or reimburse) Love Records for certain of the invoiced recording costs incurred by
                     Love Records in making The Love Album.
                 9. I am not personally aware of any financial sponsorship by Motown Records or UMG of
                     any Love Records listening parties or writers camps. To my knowledge, neither Motown
                     Records nor UMG would have organized or run any listening parties or writers camps for
                     The Love Album while I was at Motown.
                 10. I am not personally aware of any cash payments from Motown Records or UMG to Love
                     Records or Mr. Combs. Instead, as I said, to the best of my recollection, under the license
                     agreement, Motown Records would have paid or reimbursed Love Records only for certain
                     invoiced recording costs.
                 11. Since leaving Motown Records in November 2022, I have had no involvement with Love
                     Records.



            I declare under penalty of perjury that the preceding is true and correct.


            Executed on March 21, 2024


                                                             Ethiopia Habtemariam




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